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                            Exhibit 1
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                                                       Weapons
                                                                OF              THE

                                          [gwis & Clark Sxpedition

                                                                BY JIM GARRY




                                              THE ARTHUR H. CLARK COMPANY
                                                      An imprint efthe University efOliahoma Press
                                                             Norman, Oklahoma
                                                                         20I2
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90          WEAPONS OF THE LEWIS AND CLARK EXPEDITION

     either war axes Spears or Bows sprung with quivers of arrows, Mus-
     kets or pistols, and tin flasks to hold their powder;
                                                   Clark, November 4, I80511                           CHAPTER       6
All in all, a well-dressed, well-armed group. One that speaks
volumes about the coastal trade at the beginning of the nineteenth
century.
   There is no mention of the types of pistols Clark saw. One
                                                                                                      Air Rifle
might expect these to be ship's pistols, since the Indians had
obtained them in trade with sailors. By r805 the coastal trade
was well developed. Over a dozen ships had plied the North-

                                                                               T
                                                                                        he image that leaps to mind for most people w~en they
west coast that fall before the expedition arrived at the mouth                         hear the term "air rifle" is a Daisy BB gun, which leads
of the Columbia. As Lewis and Clark noted, the coastal tribes                           to thinking that Meriwether Lewis had brought a toy
were much more sophisticated traders than the expedition had                   along to impress the Indians. It did impress the Indians, but
become accustomed to. The trade was well developed and goods                   not as a toy. At the beginning of the nineteenth century there
were already being manufactured solely for that trade. The tribes              were many people who were not happy with gunpowder and
were very specific about what they would and would not accept.                 the firearms it produced. These were not antigun people. They
Pistols tended to be a secondary item; muskets were the preferred              were gun designers and manufacturers who were displeased with
firearm. The result was a more or less standardized type of trade              many of the characteristics of gunpowder, such as cost, the foul-
musket in the Pacific Northwest. There are no such references to               ing problems associated with dirty burning, the fact that powder
a standardized trade pistol. That suggests that any pistols avail-             often varied from batch to batch, and the fact that it might not
able at the right price were being secured for trade.                          work at all in wet or even damp weather. Then there was the fact
  Two generations after the expedition, the pistol would become                that gunpowder produced so much smoke when a weapon was
an inseparable piece of the myth of the American West. But                     fired that the shooter's vision was often obscured too much to
in the first decade of the nineteenth century, Lewis and Clark                 see whether he had hit his mark. Some of these people thought
rightly felt the horse to be much more important. Indeed, while                compressed air offered a viable alternative.
their pistols were useful, their horses were critical. The captains               As the eighteenth century gave way to the nineteenth, there
recognized that and willingly traded pistols for horses. Yet Lewis             were many gunsmiths in Europe producing compressed air weap-
seemingly kept one of those secret trigger pistols. When it was                ons powerful enough to use for big game hunting or as military
inventoried after his death, was it loaded with anything other                 weapons. Air rifles had a number of advantages. Though not
than memories?                                                                 silent, they were much quieter than firearms. The noise they
                                                                               produced was a low-frequency pop that was hard to recognize ~r
                                                                               to pinpoint if one couldn't see the shooter. And compressed au
                                                                               doesn't smoke when an air gun is fired. Armies of the day fought
                                                                               at close range with massed troops. After the first couple of vol-
                                                                               leys the field was so obscured that aiming was difficult at best.
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A musket had to be reloaded-powder, ball, and priming--for                      had ordered the cannon to cease firing that an orderly sergeant who
each shot. That added up to about four shots a minute. An air rifle             was standing close to us leaped up very high into the air and then
with 750 pounds-per-square-inch of air pressure in its air cylinder             fell down? We supposed, at first, that he was in a fit, and we were
                                                                                greatly astonished to find him dead, as nothing had been heard to
could be discharged twenty to forty times before losing power.                  injure him. On his being undressed, however, a bail was found to
   It did take some time and effort to pump up a cylinder. With                 have struck him, which must have been shot from an air-gun in the
a hand pump, up to 1,500 strokes might be required to fully                     adjoining field and aimed at us." "Yes," replied one of the officers,
charge a cylinder; not a problem for a hunter, but potentially                  "I remember it well, and I think we had a fortunate escape." They
a problem for a soldier. Armies solved this problem by using                    then stated, that on account of this treachery they hung all of that
larger multicylinder cart pumps and by supplying air riflemen                   corps that fell into their hands, considering them not as soldiers but
                                                                                as assassins, and never after gave any quarter. They acknowledged, at
with several air cylinders. The Austrian army equipped its air
                                                                                the same time, that they lost many fine men by that corps of Austri-
rifle companies with enough air cylinders and balls for four to                 ans, which they stated consist of about five hundred men.2
five hundred shots per soldier, this at a time when most armies
issued twenty to a hundred rounds per man.1                                   Thornton's book may well be the origin of the tales of the
  Why didn't armies convert from firearms to air rifles? Some               Austrians' inability to recruit or keep men in air rifle companies,
accounts point to the Napoleonic Wars between 1796 and 1815.                resulting in the guns going out of service. Some other sources, in
The French, so the stories go, didn't have the manufacturing                particular Fred Baer, point to the delicacy of air rifle mechanisms
technology to produce air rifles. Napoleon, on the other hand,              and the difficulty of building air cylinders that could stand up
was facing Austrian troops armed with high-quality repeating                to the high pressures needed as more likely reasons for most
air rifles. These troops had a much higher rate of fire, and sans           armies not using them. The Austrians did use repeating air rifles
smoke it was more accurate. There are stories that Napoleon                 against both the Turks and the French, but Baer indicates only
had captured air riflemen shot as terrorists, making it hard to             the numbers used, the trouble the army had acquiring enough
recruit men for the air rifle companies. Research and develop-              air cylinders, apparently due to the difficulty of constructing
ment therefore slowed, and the weapons became very exclusive,               reliable ones, and their final resting places in magazines and
expensive, and therefore limited in manufacture and in use. In              arsenals as troops were equipped with flintlocks. 3
the meantime, firearm technology improved throughout the                      W. H.B. Smith, who quotes Thornton extensively, goes on to
nineteenth century, ending with the metallic cartridge and                  state that a Hauptman Halla wrote in 1890:
smokeless powder. So the firearm won the competition.                           The fact that this remarkable weapon nevertheless did not remain in
  There is some evidence to support the above-mentioned stories.                use and was removed as expendable supply to the fortress of Olmutz
In 1802, during a lull in the Napoleonic Wars, Col. Thomas                      in 1815 was due not only to the changed tactical principles, but chiefly
                                                                                to the circumstance that there were no adequately trained riflesmiths
Thornton traveled in France and spent some time with Gen.
                                                                                available to take care of the delicate component parts of the locks and
Edouard Mortier, the future marechal of France. Thornton wrote:                 valves, and therefore the percentage of unusable air rifles shown in
     One day in particular, General Mortier, in speaking of air guns,           the reports was frighteningly high.4
     recalled to the recollection of some officers in the company a cir-    2
                                                                              From Thomas Thornton,A Sporting Tour Through France in the Year r802, 2:59. Qyoted in
     cumstance which happened after the retreat of the enemy, but where         Smith's Gas, Air and Spring Guns efthe World, 25.
     I cannot precisely call to mind. He said, "do you remember when I      3Fred Barer, "Napoleon Was Not Afraid oflt," in Heid,Arms and Armor Annual, r:250.

1
                                                                            4
                                                                              [fi.rst name not given] Halla, Bulletins efthe Military Archives for the Year r890. Qyoted
Wolff, Air Guns, 29.                                                            in Smith, Gas, Airarzd Spring Guns efthe World, 30.
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This would suggest that the air rifles were considered good and
viable weapons and not retired from service until they had been
in use for twenty-five years. There is the added fact that in 1815
the Napoleonic Wars ended at Waterloo and the Austrian army
was in a position to give up some of its arms as part of the army
was discharged. Smith goes on to write:
      The Austrians treated the development as a real secret weapon. A
      special shop was set up for Girandoni and workers were specially                         GIRANDONI AIR RIFLE (RIGHT SIDE VIEW)
      selected and sworn to secrecy about equivalent to that required for an
                                                                                   Notice that there is no frizzen and pan in front of the hammer. The
      H-Bomb "O: clearance today.
                                                                                   hammer sets the air charge for the trigger to release; there is no need
         It should be mentioned in passing that the Girandoni pattern was          for spark of fire. Also note that the butt stock is metal; it is the air
      produced by other makers on contract. Then, even as now, Austria
                                                                                   cylinder for the weapon, holding air compressed to about 750 psi.
      was a hotbed of small gunmakers who were good at duplication.5
                                                                                   Courtesy Michael F Carrick.
Smith seems to contradict himself in the above paragraphs. Aus-
tria wasn't going to keep a weapon secret by giving the design
to a number of different manufacturing firms, most of which
were in foreign countries. The Girandoni design was consciously
spread to various German principalities and to Switzerland and
England by the Austrian government. That strongly suggests
that there was no attempt to keep the weapon secret. From any
of those countries the design and quite possibly a weapon itself
could easily have found its way to the United States.                                       GIRANDONI AIR RIFLE (RIGHT SIDE CLOSE-UP)

  The Girandoni air rifles represented a technology that teased                    This view shows the metal butt stock and the tubal magazine in front
                                                                                   of the hammer more clearly. Courtesy Michael F Carrick.
generals and sportsmen alike. Lewis was one of the teased. For
an expedition such as the one on which he was embarking, an
air rifle such as a Girandoni would serve well as a way to impress
the various tribes with the power of the United States. A rifle
that needed no gunpowder was likely to impress tribes who had
to trade for expensive and scarce gunpowder. And the weapon
could serve as a backup if the Corps lost its gunpowder. So                                        GIRANDONI AIR RIFLE (TOP VIEW)

Meriwether Lewis, somehow, somewhere, acquired one.                                In this view one can see the magazine tube on the right, in front of the
  Lewis's air rifle enters the Expedition journals on the day                      hammer. The breech block sticks out on the left. Courtesy Michael F.
Lewis began recording the journey.                                                 Carrick.

      went on shore and being invited on by some of the gentlemen present
      to try my airgun which I purchased     brought it on shore charged it
5
    Smith, Gas, Air and Spring Guns ofthe World, 30.

                                                                                                                                                              95
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           and fired myself seven times fifty_five yards with pretty good success;          This helps to visualize Lewis's air rifle but also presents a problem.
           after which a Mr. Blaze Cenas bemg unacquainted with the manage-                 It contradicts all we knew about that particular air gun before
           ment of the gun suffered her to discharge herself accidently       the
                                                                                            Michael Carrick published the above passage in "Meriwether
           ball passed through the hat of a woman about 40 yards distanc cut-
           ing her temple about the fourth of the diameter of the ball; shee feel           Lewis's Air Gun," his paper on Rodney's description of Lewis's
           instantly and the blood gusing from her temple     we were all in the            air gun, in 2002. Will Rogers once said that it wasn't what we
           greatest consternation     supposed she was dead by [but] in a min-              don't know that gets us in trouble, "it's all the things we know that
           ute she revived to our enespressable satisfaction, and by examination            just ain't so." For the last quarter century, historians looking into
           we found the wound by no means mortal or even dangerous.                         Lewis's air gun have all fallen into the trap of circular reasoning.8
                                                                   Lewis, August 30, IBo/      The loop of misunderstanding began in r977, when Henry M.
    There is an obvious question. How did Lewis find a man west of                          Stewart, Jr., published a paper revealing that he'd found, in Isa-
    Pittsburgh who was "unacquainted with the management of the                             iah Lukens's estate papers, evidence of the disposition of Lewis's
    gun?" In r803, guns were a part of life that far west. One possible                     air rifle. Lukens, a Philadelphia clockmaker and gunsmith, died
    answer is that Lewis's air gun was somehow different from the                           in r846. In January of 1847 his estate was auctioned off. Item 95
    guns to which men along the Ohio River were accustomed. The                             in the auction catalogue states: "r large do [air gun] made for and
    Corps of Discovery's journals aren't much help. The next time                           used by Messrs Lewis & Clark in their exploring expedition.
    the air gun is mentioned is almost a year later, when, on August                        A great curiosity." 9
    3, r804, an entry makes a typical allusion to the air gun, saying                          There is no record of who purchased item 95, so the trail turns
    simply that Lewis had fired it "a few times" for the Otos with                          cold from there and the circular reasoning begins.
    whom they were visiting.                                                                   Lukens, perhaps best known in his own day as a clock maker
      On his way down the Ohio, Lewis wrote that he spent some                              (he made the clock for the tower of Independence Hall), was
    time with Col. Thomas Rodney, on his way from Delaware to                               also a maker of air guns. He had perfected a valve for air guns
    the lower Mississippi. On September 8, r803, Rodney wrote a                              that solved their greatest problem, decreased air pressure after
    bit more about the meeting:                                                             each shot. His guns were considered some of the finest of the
                                                                                             period. And he moved in the same Philadelphia circles Lewis
          Visited Captain Lewess barge. He shewed us his air gun which fired 22
          times at one charge. He shewed us the mode of charging her and then               was moving in during the spring and summer of 1803. So, the
          loaded with r2 balls which he intended to fire one at a time; but she by           logic said, since Lukens had the air gun in r846 and since the
          some means lost the whole charge of air at the first fire. He charged              estate sale said it was "made for" Lewis and Clark, it must have
          her again and then she fired twice. He then found the cause and in                 been one of his that Lewis had bought and either returned to
          some measure prevented the airs escaping, and then she fired seven                 him after the expedition or that Lukens reacquired after Lewis's
          times; but when in perfect order she fires 22 times in a minute. All the
                                                                                             death. Suddenly, the older question of what the air gun was
          balls are pU.t at once into a short side barrel and are then droped into
          the chamber of the gun one at a time by moving a spring; and when                  seemed to be solved. The logic worked; everyone was satisfied.
          the triger is pulled just so much air escapes out of the bag which forms          The gun must have been made by Lukens.
          the britch [breech] of the gun serves for one ball. It is a curious piece of
                                                                                            8
                                                                                                The author pleads guilty to this as well. The original of this chapter, written before Car-
          workmanship not easily discribed and therefore I omit attempting it.7
                                                                                                 rick's article, is currently in the circular file.
    6                                                                                       9   ""A Great Curiosity," Discovering Lewis and Clark, http://lewis-clark.org/content/
        Moulton,Journah ofthe LewiJ and Clark Expedition, :1:65.
    7                                                                                             content- article. asp?Article1 D=18:16.
        Rodney, A Journey through the West, 50, 6:1.




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               WEAPONS OF THE LEWIS AND CLARK EXPEDITION                                                              AIR RIFLE              99
     Various researchers have suggested that Lukens made eight                guns. All of his that remain are single-shot muzzle loaders. Rod-
   air guns during the period leading up to Lewis's time in Phila-            ney describes a repeating weapon. There were a number of designs
   delphia. Four, perhaps five, of them are still extant. So, after           for repeating air guns at the beginning of the nineteenth century.
   Stewart found that Lewis's air gun still existed in 1846, and              But Rodney's account strongly suggests the type designed by G. C.
  everyone interested settled on the gun being a Lukens, experts              Girandoni (a.k.a. Girardoni or Girardony) for the Austrian army.
  began to examine the possible guns. And there the journals enter              Europe was not politically stable during the eighteenth and
  the story again. On June ro, 1805 Lewis wrote, "The day being               early nineteenth centuries. Austria fought wars against the Otto-
  fair and fine we dryed all our baggage and merchandize. Shields             man Empire, the Holy Roman Empire (and following its demise,
  renewed the main Spring of my air gun." 10 Experts examined                 Prussia), various powers in Italy and the Low Countries, and a
  the surviving Lukens air guns, looking for nonoriginal parts.               whole series with France following the French Revolution and
  And they found them.                                                        the rise of Napoleon. One result of all those wars was a large
     The Virginia Military Institute (vMr) has a good collection of           and well-financed military. Girandoni designed weapons for
  air guns, two of which are Lukens air guns from the late eight-             the Austrian military during the last quarter of the eighteenth
  eenth or early nineteenth century. All of the known Lukens air              century. His experiments with a repeating flintlock resulted in
  guns are, as one would expect from a maker of fine clocks, elegant          the loss of his left hand when a malfunction caused a test weapon
  and refined, inside and out. They look like Pennsylvania rifles             to explode while he was firing it. He had better luck when he
  except that they have no pans and frizzens. The hammers are the             adapted the system to a repeating air rifle in the late 1770s. The
  beautiful serpentine design we associate with the Pennsylvania              result was the Model 1780. That weapon was improved, and the
  Rifles. All but one. That one, in the VMI collection, has a more            Model 1799 was the weapon that supposedly so upset Napoleon.
  robust, double-neck hammer of the type associated with military             It is unclear whether Girandoni was the lead manufacturer once
  weapons. The mainspring too is crude, the kind of work a good               he finished the design work. The fact that there were clearly
  blacksmith might do if he was working without a decent shop.                many makers in Austria, Russia, Switzerland, England, and
  Lewis had brought along a number of spare locks and parts from              various German principalities using his design points to him as
  Harper's Ferry. Within a few months of Lewis's leaving there,               primarily an innovator that others then manufactured. 11
  the Harper's Ferry Arsenal was producing the Model 1803 Rifle                 A few of Girandoni's repeating air rifles have survived, and
  with double-neck hammers. All the pieces fit. The VMI gun, it               they are striking-looking weapons, with full-length forearms,
  was assumed, must be the one Lewis took to the Pacific and back.            very high, prominent hammers, and leather-covered metal stocks.
    The puzzle was seemingly solved on the eve of the expedition's            On a Girandoni, as on many air guns of the time, the stock is
  bicentennial. Then Michael Carrick published his paper on the               the gun's air reservoir and detaches from the breech so it can be
  Thomas Rodney description of Lewis's air rifle. The fl.aw in the            pumped up. It took five hundred to a thousand strokes of a hand
  train of logic was suddenly clear. Everyone had assumed that                pump to fill the air chamber to about 750 psi, but the gun can
  because Lukens ended up with the gun, he had made it. But if                then be fired twenty to forty times. (The Austrian army supplied
  Lukens made the gun Thomas Rodney described, not only is it lost            a larger pump mounted on a cart to facilitate refilling the air
· to us, it is radically different from any of the surviving Lukens air       reservoirs.) Along the right side of the gun barrel, immediately
10                                                                            11 Smith,
     Moulton,Journals of the Lewis and Clark. Expedition, 4:275.                          Gas, Air and Spring Guns of the World, 28-30.
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IOO      WEAPONS OF THE LEWIS AND CLARK EXPEDITION                                                                  AIR RIFLE                       IOI


                                                                                  SCHEMATIC OF THE




                                                                                                                                                   iI
                                                                                  GIRANDONI AIR RIFLE
                                                                                  (r) breech block; (2) magazine
                                                                                  (filled with balls); (3) leaf
                                                                                  spring; (4) barrel; (5) hammer.     ,----"Ill-
                                                                                  By pushing the breech block
                                                                                                                     3
                                                                                  to the right while holding the                      4
                                                                                  rifle in a barrel-up position,

                                                  LOADING THE
                                                  GIRANDONI AIR RIFLE

                                                  This shows a soldier loading
                                                  the rifle by pushing the
                                                                                  the leaf spring is displaced to
                                                                                  the right and a ball falls into
                                                                                  the breechblock. Releasing
                                                                                  the block, the leaf spring
                                                                                  pushes the block back,
                                                                                                                     2' ----.:JI-

                                                                                                                     1
                                                                                                                                                   i
                                                  breech block to the right
                                                  with his thumb. This must be
                                                                                  positioning the ball in line
                                                                                  with the barrel and the air
                                                                                  cylinder to the rear. Courtesy
                                                                                                                                      5,   -----------1
                                                  done while holding the rifle
                                                  vertically, as the balls feed   Michael F Carrick.
                        !_   /·'.:.-,,.f.-7       down the magazine by gravity.
                        \,.,:~:_~   ""'' __ ' '
                                                  Courtesy Michael F Carrick.
                                                                                  left, the leaf spring forces the block back to the left and the hole
                                                                                  containing the ball is moved back in line with the rifle barrel.
in front of the hammer, is a tube about a foot long and about a                   The shooter then cocks the hammer and air is released from the
half inch in diameter, capable of holding about twenty rifle balls.               reservoir into a chamber between the stock and the breech block
The front of the tube is gated, and a leaf spring, attached just                  until the pressure in the two chambers is equalized. Then the
behind the gate, runs slightly more than the length of the tube                   reservoir valve closes. (The failure of this valve from something
along its right side. There is a sliding breech block that sticks out             as insignificant as a bit of dirt could easily explain the problem
on both sides of the weapon. The right side of the block closes                   of the weapon when Lewis was demonstrating it to Thomas
the back of the tube magazine, its right edge in contact with the                 Rodney.) Pulling the trigger then opens the valve at the front
magazine's leaf spring. The left side projects from the weapon                    of the forward air chamber, and the air pressure sends the ball
roughly an inch and a half to two inches.                                         down the barrel at a speed of several hundred feet per second.
  When the rifleman pushes that block to the right, it moves                        Lewis's first journal entry does state that he had purchased the
against the spring and places a funnel-shaped hole in the block                   air gun, but neither that or any evidence has surfaced to explain
over the end of the magazine. The hole is large enough in the                     exactly where or when he acquired it. There is no other good
front for a ball to enter and too small in the back for the ball to               evidence for Girandoni-style air rifles having made it to the
fall through-but large enough for air to pass. By holding the                     United States by the beginning of the nineteenth century. Since
rifle muzzle up the shooter allows gravity to drop a ball into the                so many different manufacturers in so many different countries
breechblock's hole. When the block is then released from the                      were producing the weapons, it is easy to imagine them being
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!02            WEAPONS OF THE LEWIS AND CLARK EXPEDITION                                                            AIR RIFLE

traded widely and without great comment during the more than                            deem it necessary to note its every use. For instance, neither
twenty years from the weapon's introduction in 1780 until Lewis                         Sergeant Gass nor Private Whitehouse ever mentions it. The
headed west. Interestingly enough, Lewis's penultimate journal                          various tribes all seem to have had the same reaction to the air
entry also mentions the air rifle and another shooting accident as                      rifle. Most of the journals describe the tribes as astonished or
well. On that day, after being shot by Cruzatte, Lewis assumed                          surprised. On January 24, 1806, Lewis wrote his longest report on
that he and Cruzatte had been attacked by a party oflndians,                            the Indians' reaction to the air gun. "My Air-gun also astonishes
and he called out to Cruzatte, who failed to respond. He made                           them very much, they cannot comprehend it's shooting so often
his way back to the river and called to his men to aid him in his                       and without powder; and think that it is great medicine which
attempt to save Cruzatte from the supposed Indian attack. The                           comprehends every thing that is to them incomprehensible."13
ball that wounded Lewis had passed through both cheeks of his                           The line "shooting so often'' seems to support the idea that Lewis
buttocks, and Lewis found:                                                              had a repeating air rifle such as a Girandoni type.
      my wounds became so painfull and my thye so stiff that I could                      The final mention of the air rifle in the journals is undated.
      scarcely get on; in short I was compelled to halt and ordered the men             After returning to St. Louis, some of Clark's notes refer to the
      to proceed and if they found themselves overpowered by numbers to                 air rifle being boxed for shipment back East.14 Then, as the track-
      retreat in order keeping up a fire. I now got back to the perogue as              ers say, the trail goes cold. But rather than turn away, it is use-
      well as I could and prepared myself with a pistol my rifle and air-gun
                                                                                        ful to look at one last piece of evidence. Isaiah Lukens's estate
      being determined as retreat was impracticable to sell my life as deerly
      as possible.
                                                                                        papers say that the air gun was not only carried by Lewis but
                                                            Lewis, August Ir, r8o6 12
                                                                                        made for him as well. By whom? Based on whose design? Did
                                                                                        Lewis acquire the designs for a Girandoni and take them to
If Lewis's air gun was capable of firing twenty shots in a minute,                      Pennsylvania and have one made for the trip? Did Lukens, after
his defense would likely have been as effective as it was heroic.                       all, make Lewis's air gun, but not from his standard model? Or
As events unfolded, the men returned with Cruzatte, who at                              did the writer of the estate sale brochure make a small literary
least pretended bafflement, claiming he had never fired his rifle.                      error and add "made for" to "used"? Had Lukens only acquired
Lewis had the ball that wounded him, one of the same caliber                            it after Lewis's death? Did he want it because of where it had
as the short rifle Cruzatte carried. Lewis was sure he had been                         been or because he wanted to study the unusual design? Or ... ?
shot accidentally by his one-eyed, nearsighted companion, but,                             The Corps of Discovery's expedition was one of the best docu-
somewhat uncharacteristically, he dropped the matter.                                   mented of the period, but there are many questions about it
  In between those incidents of April 1803 and August 1806, the                         that are probably unanswerable two hundred years later. What
air rifle is mentioned twenty times. Jn sixteen of those instances                      exactly Lewis's air gun was may well be one of those questions.
the air rifle was shot as a demonstration to impress various tribes.                    But historians should be wary of the word "never."
Since not every journalist mentions these performances on the
                                                                                        13
                                                                                             lbid., 6:233.
same days, it seems reasonable to assume the weapon might have                          14
                                                                                             lbid., 8:419.
been fired more often than that. It may be that it became such a
routine piece of equipment to the Corps that the writers didn't
12
     Moulton, Journals ofthe Lewis and Clark Expedition, 8:155.
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                             Exhibit 2
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                           -                   I
        ASSAULT RIFLE HANDBOOK

                       Edited By J. David McFarland




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                                                                                                                                 -
                                                                                     Historical Background


                                                          Colt's AR-15, CAR-15 and M16 rifles are a              mans while the Soviet troops were equally impressed
                                                     direct result of a trend toward ever smaller and            with the German StG45.
                                                     lighter military rifles firing high velocity, small              One of the first successful postwar assault rifles
                                                     caliber bullets. The first rifles of this type to see       to go into production, and undeniably the most
                                                     extensive use were the German sturmgewehr (assault          widely produced , was the Soviet AK-4 7. Designed
                                                     rifles) of World War II. They set the criteria for          by an obscure Red Army noncom named Mikhail
                                                     such rifles that are still followed today: the weapon       Kalashnikov, it was originally envisioned as a
                                                     must be a carbine, have selective fire capability,          submachine gun to replace the obsolete PPSh 41.
                                                     a large capacity detachable magazine, and fire an           But somewhere along the way things went right
                                                     intermediate powered cartridge. The MP43-44 and             and the final weapon became an assault rifle very
                                                     StG45(M) assault rifles are excellent German                similar to the StG45, which it closely resembled. It
                                                     examples of the type from World War II.                     was designed around the already existing Soviet
                                                          Although the Allied powers had mainly used             7.62x39mm cartridge and featured a 30 round
                                                     battle rifles (M1903A3 Springfield and Ml Garand            curved magazine. Introduced in 1947, the AK-47
                                                     in .30-06, the various models of the British SMLE           was first issued in quantity to Soviet troops in
                                                     in .303 British and the Soviet Mosin-Nagant in              1949. The weapon is selective fire, but the oper-
                                                     7.62mm), development of various assault rifle               ating lever goes from "safe" to "auto" to " semi-",
                                                     designs by the Allies began almost immediately              clearly showing that Soviet tactics call for auto-
                                                     after the conclusion of hostilities. Both the U.S.          matic fire as standard. The AK-47 and its successors
                                                     and the Soviet Union had learned the value of               are now the standard infantry weapon of virtually
                                                     smaller, lighter, selective fire weapons during the         all Warsaw Pact nations as well as some Free World
                                                     war with the U.S. M2 Carbine and the Russian                countries.
                                                     PPSh 41. The U.S. had adapted the Ml Carbine to                 The AKM appeared in 1959 and differs from
                                                     selective fire as the M2 Carbine, an unusual pro-           the original AK-4 7 in that it has a stamped, rather
                                                     cedure since rarely is a fully automatic weapon             than milled, receiver, a somewhat straighter butt-
                                                     developed from a semi-automatic design. Even                stock, lighter weight, a muzzle brake, rear sight
                                                     though it didn't go into production until hostilities       adjustable to 1,000 meters instead of 800, rate of
                                                     had (officially) ceased in Europe, the M2 was               fire reducer (essentially useless since it has the
                                                     employed in Korea where it proved its worth. The            same rate of fire as the original AK), ribbed receiver
                                                     M2 was, of course, a shoulder weapon which fired            cover and fluted gas cylinder tube for added
                                                     a rifle cartridge while the Soviet PPSh 41 was a            strength. The latter two changes are especially im-
                                                     submachine gun firing a pistol cartridge. Soviet            portant since a good dent in either could render
                                                     automatic fire proved effective against the Ger-            the weapon inoperative.



IV                                                                                                           1
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                                               AR-15, CAR-15, M16                                                                                                   AR-15, CAR-15, M16


     Numerous variations of the AK-4 7 have been               chambered for the British-developed .280 (7mm)
made in several Communist countries, as well as                cartridge. Both are of "Bull Pup" design, with the
in Finland and Israel. The Finnish AK is known as              magazine placed behind the pistol grip. They have
the Valmet while the Israeli rifle, which is cham-             carrying handles a la the AR-15, but with built-in
bered for the standard U.S. 5.56mm cartridge, is               telescopic sights. The E.M. 2 was slated for adoption
called the Galil. Free World thinking is evident in            in 1949, but the problem of ammunition standardi-
the modifications made on the Galil. Among others,             zation among NATO countries surfaced just long                                               ra   ... ...,
provision has been made for a sniper scope. 35, 50             enough to doom the E .M. 2. Several variants of the
and special 12 round magazines (for grenade                    .280 cartridge were prepared for NATO trials, but
launching ammo, etc.) are available for the Galil.             the member nations finally settled on the American
In East Germany, a .22 rimfire version of the AK is            7.62x51mm (now known in the U.S. simply as
used to teach recruits the basics of rifle handling.           7.62mm NATO or .308 Winchester). Great Britain
Even the Communists are concerned with military                adopted the FN/F AL as its standard service arm, as
spending!                                                      did many other countries in the Free World.
     Rumors of a newer, updated version of the AK                   America's preference for the 7.62mm NATO,
which was chambered for a new, secret cartridge                which is a .30 caliber, is understansable since the
abounded during the late 1970's, but confirmation              military brass argued that we had won World War
didn't take place until one actually surfaced in               II with .30 caliber bullets from the Springfield,
Afghanistan in the early 1980's. This rifle, desig-            the Garand and the Ml Carbine. Somewhere along
nated the AK-7 4, is chambered for a new 5.45mm                the line, they conveniently managed to forget
round and features a muzzle brake which works                  superior air power, America's industrial might and
quite well when the weapon is used in the full auto            the fact that the Allies were able to place literally
mode. The AK-74 also has an excellent carrier-to-              millions more in uniform than could the Axis.
bolt ratio of 6:1; in other words, the carrier out-            American troops had also acquitted themselves
weighs the bolt by 6 times, thus assuring excellent            bravely in Korea with the Garand and the Ml
reliability. While never noted for beauty of design            Carbine.
or quality of exterior finish, the AK series of rifles              The 7 .62mm NATO round was actually a solid
must be considered a resounding success. It is                 step down from the .30-06, giving ballistics which
estimated that well over 30,000,000 AK-47's and                resemble those of the .30-40 Krag-Jorgensen of
AKM's have been produced. The design has a solid               more t h an a half century before . Its origins derived
reputation for ruggedness and reliability, is fairly           from attempts to shorten the .30-06 case for more
cheap to produce, and is designed in such a way                reliable feeding in semi-automatic and automic arms.
that semi-literate or even illiterate troops or guer-          It is an excellent cartridge even though less power-
rilla fighters can be taught to use the rifle effective-       ful than its predecessor. While many other countries
ly with a minimum of training.                                 were adopting FN rifles chambered for this round,
     Many Afghan freedom fighters in the early                 the U.S. opted for the M14 which was quite similar
1980's expressed a preference for their old, trusted           to the Garand but featured a detachable box maga-
Short Magazine Lee Enfield rifles over captured                 zine, a definite improvement over the Garand 's
AK-47's or AKM's, but their choice may have been                fixed magazine which had to be loaded from strip-
based on familiarity and their particular method of             per clips and which could not be "topped off"
fighting rather than on any fault in the AK design.             when only partially full. From the time of its
     A semi-auto only version of the AKM is now                 adoption in 1957 until production ceased in 1964,
manufactured in Egypt, using original Russian                   over 1,000,000 Ml4's were manufactured.
tooling and equipment. This rifle is imported into                  Even as the United States was adopting the
the U.S. by Steyr Daimler Puch Of America                       M14 as its standard service rifle, the search con-
Corporation and makes it legally possible for the               tinued for a suitable weapon/cartridge combination
average American to own a "real" AK. While many                 that would fit in with the world-wide assault rifle
forms of automatic weapons can legally be owned                 trend. Two of the cartridges tested were based on
by American citizens, the full auto AK is an excep-             the 7 .62mm NATO and .30 Carbine rounds necked
tion due to its military origins. Before the semi-              down to take a .22 caliber bullet. The 7 .62mm
auto only version, only police agencies and Class               NATO/.22 "wildcat" produced excellent ballistics
III firearms dealers could own them.                            similar to the popular .220 Swift or .22-250. Its 68
     Britain's postwar entries into the assault rifle           gr. boattail bullet o ffered greater penetration than    The evolution of assault rifles from World War 11       tom: German StG45, Soviet AK-47, British Com-
competition were the E.M. 1 and E.M. 2, both                    the venerated 152 gr . .30-06 ball as far out as         to the present is shown above. From top to bot-         monwealth E. M. 2 and American M16.



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                                              AR-15, CAR-15, M16
                                                                                                                                                                         AR-15, CAR-15, M16

2,000 yards. The round's only drawback was that                 rifle for all branches of the armed forces in 1967
it produced excessive barrel wear. Conversely, the              and will undoubtedly be with us in one form or               spray of lead to replace marksmanship. Obviously,         have to penetrate a bunker or light armored
.30 Carbine/.22 round was considered simply too                 another for many years to come .                             there are very few Sgt. Alvin Yorks around today.         vehicle. The RAW itself is a round, rocket propelled
anemic for serious consideration. In the end, a                       Although hailed in Washington as a great new           The problem of just holding the trigger back until        grenade with zero trajectory. When fitted to the
slightly modified .222 Remington cartridge was                   weapon, the sad truth was that the M16 was fast             the magazine goes dry is solved with a burst fire         M16, the rifleman need only sight on his target as
accepted as the 5.56mm, or .223 Remington. It is                 proving unreliable in the jungles of Vietnam.               feature on the M16A1E1. Other features include            far out as 200 yards with standard sights and fire a
now known as the 5.56mm NATO, indicative of                      GI's in the field were now cursing the demise of            a buttstock that is 5/8" longer than the old ones         standard ball round at it. The RAW will blast a
even more nations' acceptance of the assault rifle               the M14 just as their older brothers had cursed the         and a circular, rather than triangular, forestock.        hole through 8" of double-reinforced concrete
principle.                                                       replacement of the Garand a few years earlier and           The barrel also has a much tighter 7" twist. A new        large enough to crawl through. Fragmentation ,
      The AR-15 was designed by Eugene Stoner                    their fathers or grandfathers had cursed the passing        cartridge has been developed especially for this          smoke, white phosphorous and CS grenades can
who later developed the Stoner weapon system                     of the bolt-action Springfield M1903A3. Stories of          rifle. The XM 855 will probably eventually replace        also be used with the RAW system.
that had the Washington "whiz kids" so enamored                  troops dying with jammed M16's in their hands               the standard M193 since it can penetrate a helmet             Reports from Exercise Bright Sliar in Egypt in
in the early 1960's. The AR-15, CAR-15 and M16                   began filtering back from overseas. The Army and            at 800 yards and still have enough punch to give          1980 indicate that the M16 is unsuited for desert
are direct descendants of the Armalite AR-10                     Colt quickly went to work on the "bugs", which              anyone wearing the helmet a real problem.                 warfare, failing to match up to the Egyptian
which many experts feel would still be our official              turned out to be more a serious comedy of errors
military rifle if it had been adopted instead of the             than any actual fault of the basic rifle design.
Ml4. Although an American design, just like the                        It was found that the training manuals issued
 Luger, the AR-10 was never in production in this                with the rifles de-emphasized the necessity of
 country. It was produced for a time in Holland as               cleaning and regular maintenance. Any real rifle-
 a selective fire weapon and a limited number of                 man would immediately suspect such advice , even
 semi-auto only conversions have been imported in-               if true, as he knows his rifle is his best friend and
 to the United States for sales to the civilian market.          keeps it as clean as possible. But such conscien-
 Early Armalite AR-15's were almost identical to                 tiousness could hardly be expected of draftees,
 the AR-10 except for caliber. However, a number                 many of whom had never held a rifle before
 of changes were made when the design was sold to                entering the service, unless it was drilled into them.
 Colt in 1959, the same year the U.S. Army tested                      The ammunition used in the initial test of the
 prototypes of the M16. Among the most notable                    M16 was loaded with IMR 4475 powder, which
                                                                  produced very little fouling. Once the war in South-       Both revered and reviled, the M 16 is the standard        of its Allies. Late issue round handguard can be
 changes is the location of the bolt retracting
                                                                 east Asia began to accelerate rapidly, the supply           issue infantry rifle of the United States and many        retrofitted to older guns as shown.
 handle, which is now located at the rear of the
 receiver rather than on top of it. All rifles in the             of IMR 4475 fell far short of the demand. OLIN
 AR-15/M16 series are unique among gas-operated                   WC846 was substituted, as was remanufactured
 weapons in that they do not have a piston rod, the               World War II ball powder. These combinations                   In attempts to simplify logistics of ammo             Army's rusty and abused, but reliable, AK-47 's.
 gas blows directly back into the bolt.                           quickly raised the M16's cyclic rate of fire from          supply and to produce weapons for specialized use,        No specific reasons for this failure have been found
       Originally known as the Caliber .223 AR-15,                850 rounds per minute to well over 1,000. They             a number of other arms have emerged either directly       but the added criticism of the M16 under desert
 the M16 is a selective fire weapon and should not                also produced far more fouling than was acceptable         or indirectly from the M16. Those which are easily        conditions has done nothing to enhance its reputa-
 be confused with the current AR-15 civilian arms,                with an added problem of chamber corrosion due             recognizable as variations on the basic M16 include       tion.
 which are semi-auto only. The semi-auto AR-15                    to the extremely high humidity that was prevalent          the Commando SMG, Colt's Heavy Barrel Auto-                   It would appear that many of the M16's prob-
 can be converted to selective fire by the substitu-              in the jungles of Vietnam.                                 matic Rifle (HEAR) , CAR-15 Survival Rifle and            lems are like the proverbial camel which is a horse
 tion of a number of M16 parts, including the lower                    New training manuals were quickly prepared            CAR-15 Heavy Assault Rifle M2. These are all              designed by a committee. Stoner's original AR-15
 receiver and auto sear. The latter item is considered            which emphasized the need for cleaning and a               selective fire weapons and the CAR-15 should not          underwent severe testing by Vietnamese military
 a machine gun in itself if manufactured after•                   change in manufacturing methods assured that all           be confused with the semi-auto only AR-15 carbine         personnel who raved about the weapon - specifi-
  November 1981 and must be registered with the                   M16Al 's leaving the Colt factory had chrome-              which Colt produces. Although the physical                cally its reliability. They requested that the rifle
  BATF as such.                                                   lined chambers to reduce corrosion. Additionally,          resemblance between the two is nonexistent, all           be sent to them in significant quantities, but the
       The first U.S. military purchase of the M16 in             a large number of rifles received the attention of         high wear parts from the CAR-15 system are inter-         U.S. military argued against the idea on the point
  any quantity came in 1962, when 8,500 were sold                 Colt personnel in the field. The addition of a for-        changeable with the CMG-1 series of machine guns.         of logistics - it just didn't make sense to ship
  to the Air Force. Gen. Curtis LeMay thought the                 ward assist, which forces the bolt forward when it             In addition to the standard grenade launcher/         different types of weapons and ammo to different
  little gun would be just the ticket for guarding air            becomes stuck in its rearwardmost position, also           flash suppressor which is supplied on every basic         war zones, or to have allied troops of different
  fields. He was clearly thinking of the M16 as a                 greatly increased reliability, resulting in the designa-   M16, three types of grenade launchers are available       nationalities armed with different weapons in the
  defensive weapon, rather than an offensive one,                 tion M16E1.                                                for the M16: the 40mm grenade launcher which              same war zone. Based on the Vietnamese' experi-
  a role which would be forced upon it in a very few                    One problem with the M16 that wasn't cor-            gives the grenadier the choice of either point or         ence with the AR-15, Gen. William Westmoreland
                                                                  rected until the early 1980's has nothing to do            area fire, an adaptor which allows the "stock"            requested that the Ordnance designed M14, which
  years.
       The first substantial order for M16 's came in              with the basic rifle itself: the tendency of many         launcher to launch standard hand grenades, and the        was proving unreliable in combat, be replaced with
  1963 when the American military ordered 104,000                  frightened, green soldiers to flip the selector lever     Rifleman's Assault Weapon (RAW) launcher. The             the M16. Had the Ml6 been a closer cousin to
  units. The rifle was adopted as the _o fficial infantry          to "full auto" and leave it there, counting on a          RAW system was devised specifically for use in            Stoner's original design, Westmoreland 's request
                                                                                                                             urban areas and where the average rifleman might          would have been a wise one.

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                                              AR-15, CAR-15, M16                                                                                                  AR-15, CAR-15, M16


                                                              als and another change in powder as mentioned                One measure of any weapon's worth and suc-            Numerous accessories are available which enable
                                                              earlier.                                                 cess is the number of its imitators and the wealth        the individual gun owner to customize his or her
                                                                   On the home front, the AR-15 has fared far          of accessories that are available for it. The AR-15       AR-15 to fit their specific needs. Some of the bet-
                                                              better than its M16 cousin, probably because it is       has both .22 Long Rifle and .32 ACP look-alikes.          ter accessories are covered in the final chapter.
                                                              semi-auto only (no cyclic rate to worry about) and
                                                              because the design is much closer to Stoner's origi-
                                                              nal specifications. It is one of the most popular and
                                                              sought-after weapons on the market. Its light
                                                              weight and negligible recoil are undoubtedly two
                                                              of the reasons for its success, but they account for
                                                              only part of it. Of equal importance are its stan-
                                                              dard military caliber, assuring a ready supply of
                                                              surplus ammo or once-fired brass, and the avail-
                                                              ability of surplus spare parts at reasonable prices.
                                                              Despite the tendency of some military minds to
Rifleman's Assault Weapon (RAW) is designed for               reject a weapon such as the Ml6 "because it
urban warfare. Its launcher can be attached to any            doesn't look like a rifle", civilian shooters are a
ordinary M 16 and it is launched L>y firing a round           little more willing to accept the unusual or inno-
of ball ammo at the target. Even with the launcher            vative. Some of the AR-15's popularity is undoubt-
attached, the rifle can still be used instantly for its       edly based on its kinship with the M16, despite the
original purpose, allowing the individual soldier to          disparaging stories floating around concerning the
protect himself from the enemy at all times.                  latter.
                                                                   Many of the people purchasing the AR-15
                                                              today are survivalists who feel that if and when the
    Eugene Stoner was asked to endorse the Army               ultimate chaos hits · (whether from nuclear war,
 Ordnance changes in the M16 after they had been              natural disaster, economic collapse or whatever).
made, including the switch to ball powder. He                 the old .30-30 that they carry into the woods every
expressed his opinion that every single change that           fall just won't cut the mustard in a prolonged fire-
had been made was detrimental to the weapon and               fight. The extra magazine capacity (20, 30 or 40
some of them, such as the decision that the bullet            rounds), flatter trajectory and better penetration
should leave the muzzle at no less than 3250 feet             of the AR-15's .223 ammo is comforting to them.
per second, were purely arbitrary. The cartridges
loaded with IMR powder were only 100 fps slower
and produced far less fouling since the slower-
burning OLIN powder was still burning when the
ejection port opened. The Air Force agreed with
Stoner and argued in favor of keeping the original
M16 specifications which they had adopted, along
with !MR-loaded ammo. The Army argued that as
they were acting as a central procurer for all
services, the Air Force would have to settle for
what the Army wanted.
    If the Army had simply taken the original
Armalite AR-15 and adopted it along with the
ammunition for which it was designed, many of
the unfortunate incidents involving the unreli-
ability of the M16 might never have happened. A               Rifle grenade launcher/flash suppressor will accom-
Congressional investigation failed to find satisfac-          modate current standard U.S. military rifle grenades
tory answers for many of the changes that were                without supplementary attachments. With the
made in the original design and for the change                appropriate adaptor it will also launch standard
in powder. What they did find is what everybody               U.S. military hand grenades. The bipod is recom-
already knew: that the combination of rifle and               mended when firing from the prone position,
ammo were incompatible. The problems were                     either semi-auto or automatic fire, since it provides
solved to some extent with the new training manu-             added stability.


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AR-15, CAR-15, M16




                                                                                                                                            -
                                                                                               Physical Characteristics


                                                                                                                                                           -
                                                                     The AR-15, CAR-15 and M16 family of weap-               length and weight. The AR-15 Sporter, for instance,
                                                                 ons are gas operated, air cooled, magazine fed              weighs 7 .25 lbs. rather than 6.5, the Commando
                                                                 semi-/fully automatic shoulder weapons. The                 SMG weighs 5.5 lbs. and has .a 10" barrel, the
                                                                 AR-15 is, of course, semi-automatic only. They are          HBAR weighs 7.6 lbs., the CAR-15 Survival Rifle
                                                                 of light weight and straight line construction and          has a 10" barrel and weighs 4.75 lbs. and the
                                                                 are, in comparison to many other rifles, extremely          CAR-15 heavy assault rifle weighs 8 .3 lbs. Except
                                                                 simple to maintain. The M16 specifications listed           as noted above, all weapons have a 20" barrel with
                                                                 below apply generally to all weapons in the family,         the exception of the AR-15 Carbine, which has a
                                                                 with a few exceptions, such as barrel length, overall       16" barrel.




                                                                                                        M16 RIFLE SPECIFICATIONS

                                                                                Caliber                                                                      .223
                                                                                Overall Length                                                              38.6"
                                                                                Barrel Length                                                                 20"
                                                                                Width                                                                        2.4"
                                                                                Height (w/o Magazine)                                                        8.8"
                                                                                Height (with 20 Round Magazine)                                              8.8"
                                                                                Height (with 30 Round Magazine)                                            10.2"
                                                                                Rifling                                                                 Button
                                                                                Twist                                            1 in 12 (1 in· 7 on Ml6A1El)
                                                                                Number of Grooves                                                               6
                                                                                Weight (w/o Magazine)                                                   6 .5 lbs.
                                                                                Weight of Bipod                                                            .5 lbs.
                                                                                Weight of Loaded 20 Round Magazine                                      . 71 lbs.
                                                                                Weight of Loaded 30 Round Magazine                                        1.0 lb.
                                                                                Muzzle Velocity       3250 fps (2750 fps for CAR-15 & Commando SMG)
                                                                                Muzzle Energy    1285 ft. lbs. (923 ft. lbs. for CAR-15 & Commando SMG)
                                                                                Rate of Fire                                                      650-850 RPM
                                                                                Safety                                                   Rotary Trigger Block


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                                                                              The front sight of the Ml6 is an adjustable,           on the front sight, each notch of the windage
                                                                          click type post with each click equalling 2.8              adjustment equals 2.8 centimeters per every 100
                                                                          centimeters per every 100 meters of range. The             meters of range.
                                                                          rear sight is adjustable for both windage and                  The Ml 6 is designed to fire ball, tracer and
                                                                          elevation and is of the flip type. The normal range        blank ammo and has a maximum range of 2,653
                                                                          setting is for 0 to 300 meters, with the long range        meters with ball ammo, the maximum effective
                                                                          setting of 300 to 500 meters. As with the elevation        range being 460 meters.


           M16 RIFLE
                                                                                   FRONT SIGHT ASSEMBLY                         CARRYING HANDLE                CHARGING
                                                                                                                                                                HANDLE
.
(
                                                                                                       HANDGUARD




                                                                           FLASH SUPPRESSOR



                                                                                          BIPOD                           MAGAZINE
                                                                                                                                          SELECTOR LEVER

                                                                                                  FORWARD
                                                                                                   ASSIST         REAR SIGHT DRUM
                                                                          RUBBER RECOIL           ASSEMBLY                             EJECTION PORT
                                                                              PAD

                                                                               \
      CAR-15 SURVIVAL RIFLE

                                                                                                                                         DUST COVER
                                                                                                                                                       SLING   7
                                                                                                                                                               /
                                                                                                                                                                           BAYONET
                                                                                                                                                                             STUD


                                                                                                                                     MAGAZINE            UPPER
                                                                                                                                                                        BIPOD
                                                                                                                                     RELEASE              SLING
                                                                                                       TRIGGER GUARD                  BUTTON             SWIVEL




    COMMANDO SUBMACH INE GUN


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                                AR- 15 , CAR-15 , M16




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                         2020 PRODUCT CATALOG
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    VECTOR G2 INERT .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 15




    RIMFIRE
    VECTOR 22 SERIES
    VECTOR 22 CRB .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 19
    VECTOR 22 SDP-SB .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 19
    DMK 22 SERIES
    DMK 22C  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 22
    DMK 22C-LVOA . .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 22
    DMK 22P-SB  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 23
    DMK 22P . .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 23




    HANDGUNS
    SPHINX COMPACT DUTY . . . . . . . . . . . . . . . . . . . . 28
    SPHINX COMPACT . .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 28




    SUPPRESSORS
    4GSK .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 31                                                   The KRISS origin story begins in the early 2000s. With the threat of terrorism seemingly boundless, the founders sought to create a new
    4GC9 COMPACT .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 31                                                                tool to equip those fighting for good in the global war on terror. The idea was simple: create a compact weapon system that would be more
    4GXT9 EXTENDED . .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 31                                                                  controllable, more powerful, and more user friendly than existing, antiquated firearms. It was a simple idea with a very complex solution.


                                                                                                                                                             Through many trials, and to the chagrin of many nay-sayers, KRISS unveiled the Vector Submachine Gun in 2006. At the core of this
    ACCESSORIES . .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 32                                                                           revolutionary firearm was the KRISS Super V System, a multilink bolt design that re-vectors recoil energy away from the shooter The
                                                                                                                                                             Super V System, in conjunction with the Vector’s low bore axis, tames powerful cartridges such as .45ACP in which the first Vectors were
                                                                                                                                                             chambered. Feeding the Vector is done through the ubiquitous Glock® magazine, unifying ammunition between primary and secondary,
                                                                                                                                                             and simplifying gear configuration. The KRISS Vector is a testament to our commitment to innovation and excellence.


                                                                                                                                                             What began as a solitary firearm fourteen years ago is now a burgeoning weapon system available in multiple calibers, colors, and
                                                                                                                                                             configurations. We have also applied the same ingenuity and craftsmanship to other weapons platforms. This 2020 catalog represents
                                                                                                                                                             the very best we have to offer thus far. The past has given us invaluable experience to continue to develop new technologies, every bit as
                                                                                                                                                             revolutionary as the ones that jump started KRISS many years ago.

2                                                                                                                                                                                                                                                                                                         3
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TACTICAL




4                                                                                       5
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    VECTOR G2 SERIES
    The KRISS Vector is the ideal choice for shooters                              B                               C       D       E       B                        F

    seeking a controllable, compact weapon system.
    Available in popular calibers such as 9mm, .40
    S&W, .45 ACP, and 10mm, the KRISS Vector is          A
    compatible with full size Glock® magazines,
    which allows shooters to share ammunition
    between their handgun and KRISS Vector. The
    KRISS Vector field strips without the use of tools
                                                                                                                                           G
    by simply removing 4 takedown pins to separate
    the major components for maintenance.

                                                                                                                               H
    A wide range of accessories are also available to
    give users the ability to reconfigure their KRISS
    Vector to suit their individual needs whether for
    home defense, competition, or duty use.


    PRODUCT HIGHLIGHTS
                                                                                                                       I
    A: Picatinny rail mounting points /
       optional handguards
    B: Low profile folding sights

    C: Brass check feature

    D: Full length Picatinny top rail

    E: Ambidextrous short throw safety levers
                                                                                                                                                KRISS SUPER V RECOIL
                                                         Threaded muzzle for the option of attaching your
    F: Multiple stock options
                                                         favorite muzzle device or suppressor. Selected models                                  MITIGATION SYSTEM
                                                         only.
    G: Tactile pivoting trigger                                                                                                                 At the heart of every KRISS Vector centerfire
    H: Patented KRISS Super V System                                                                                                            platform is the KRISS Super V System. The nonlinear

    I:   Glock® magazine compatibility                                                                                                          operation is unlike any other, providing a shooter
                                                                                                                                                enhanced control through reduced felt recoil and
                                                                                                                                                muzzle climb. The low bore axis also provides
                                                                                                                                                control by aligning the bore directly in front of the
                                                                                                                                                shooter’s hand. Combining both the KRISS Super V
                                                                                                                                                System and a low bore axis, the KRISS Vector allows

                                                         The KRISS Vector is compatible with the ubiquitous full                                for faster recovery between shots and increased
                                                         size, Glock® magazine. The KRISS MagEx is available for                                speeds when transitioning between targets.
                                                         extended .45ACP / 9mm / 10mm capacity.



6                                                                                                                                                                                                       7
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VECTOR G2 CRB                                                                                                                                                                   VECTOR G2 SDP-SB ENHANCED




                                                                                                                                                                                PRODUCT HIGHLIGHTS:
PRODUCT HIGHLIGHTS:
                                                                                                                                       CERAKOTE® COLOR OPTIONS:                    6.5” THREADED BARREL
     16” BARREL                                                                                                                                                                                                                                                                                                           CERAKOTE® COLOR OPTIONS:
                                                                                                                                                                                   VMR 5” MODULAR HANDGUARD
     6 POSITION M4 STOCK
                                                                                                                 FLAT DARK EARTH   OLIVE DRAB       ALPINE       COMBAT GREY       SB TACTICAL SBX-K ARM BRACE
                                                                                                                                                                                                                                                                                                   FLAT DARK EARTH   OLIVE DRAB        ALPINE       COMBAT GREY
                                 Magazine            Frame              Barrel              Overall Length                                                      Weight
       Model         Caliber                                                                                            Height              Width
                                 Capacity           Material            Length          (Collapsed / Extended)                                                (Unloaded)                                             Magazine            Frame                Barrel           Overall Length                                                      Weight
                                                                                                                                                                                      Model            Caliber                                                                                            Height               Width
                                                                                                                                                                                                                     Capacity           Material              Length         (Folded / Extended)                                                 (Unloaded)
                                                Advanced metal +                          34.7 in / 881.3 mm
    Vector CRB 9    9x19, 9x21   10 / 17 / 40                       16 in / 406.4 mm                               6.8 in / 172.7 mm    2.6 in / 66.0 mm     8.2 lbs / 3.7 kg
                                                polymer composite                          38 in / 965.2 mm                                                                                                                         Advanced metal +     6.5 in / 165.1 mm    18.5 in / 470.0 mm
                                                                                                                                                                                 Vector SDP-SB E 9    9x19, 9x21    10 / 17 / 40                                                                      6.8 in / 172.7 mm    2.8 in / 71.1 mm     7.3 lbs / 3.3 kg
                                                                                                                                                                                                                                    polymer composite    1/2” x 28 Thread     25.6 in / 650.2 mm
                                                Advanced metal +                          34.7 in / 881.3 mm
    Vector CRB 45    .45ACP      10 / 13 / 30                       16 in / 406.4 mm                               6.8 in / 172.7 mm    2.6 in / 66.0 mm     8.2 lbs / 3.7 kg
                                                polymer composite                          38 in / 965.2 mm                                                                                                                         Advanced metal +     6.5 in / 165.1 mm    18.5 in / 470.0 mm
                                                                                                                                                                                Vector SDP-SB E 45      .45ACP      10 / 13 / 30                                                                      6.8 in / 172.7 mm    2.8 in / 71.1 mm     7.3 lbs / 3.3 kg
                                                                                                                                                                                                                                    polymer composite    16 x 1 LH Thread     25.6 in / 650.2 mm
                                                Advanced metal +                          34.7 in / 881.3 mm
    Vector CRB 10     10MM       10 / 15 / 33                       16 in / 406.4 mm                               6.8 in / 172.7 mm    2.6 in / 66.0 mm     8.2 lbs / 3.7 kg
                                                polymer composite                          38 in / 965.2 mm                                                                                                                         Advanced metal +     6.5 in / 165.1 mm    18.5 in / 470.0 mm
                                                                                                                                                                                Vector SDP-SB E 10      10MM        10 / 15 / 33                                                                      6.8 in / 172.7 mm    2.8 in / 71.1 mm     7.3 lbs / 3.3 kg
                                                                                                                                                                                                                                    polymer composite    9/16” x 24 Thread    25.6 in / 650.2 mm
                                                Advanced metal +                          34.7 in / 881.3 mm
    Vector CRB 40    .40S&W        10 / 15                          16 in / 406.4 mm                               6.8 in / 172.7 mm    2.6 in / 66.0 mm     8.2 lbs / 3.7 kg
                                                polymer composite                          38 in / 965.2 mm




VECTOR G2 SBR                                                                                                                                                                   VECTOR G2 SDP-SB




PRODUCT HIGHLIGHTS:
                                                                                                                                                                                PRODUCT HIGHLIGHTS:
     6.5” THREADED BARREL                                                                                                                                                                                                                                                                                                 CERAKOTE® COLOR OPTIONS:
                                                                                                                                       CERAKOTE® COLOR OPTIONS:                    5.5” THREADED BARREL
     AMBIDEXTROUS FOLDING STOCK
                                                                                                                                                                                   SB TACTICAL SBX-K ARM BRACE
     VMR 5” MODULAR HANDGUARD                                                                                                                                                                                                                                                                      FLAT DARK EARTH   OLIVE DRAB        ALPINE       COMBAT GREY
                                                                                                                 FLAT DARK EARTH   OLIVE DRAB       ALPINE       COMBAT GREY
                                                                                                                                                                                                                   Magazine             Frame               Barrel                Overall                                                          Weight
                                                                                                                                                                                     Model            Caliber                                                                                             Height               Width
                                 Magazine            Frame              Barrel             Overall Length                                                       Weight                                             Capacity            Material             Length                Length                                                         (Unloaded)
       Model         Caliber                                                                                            Height              Width
                                 Capacity           Material            Length           (Folded / Extended)                                                  (Unloaded)
                                                                                                                                                                                                                                   Advanced metal +     5.5 in / 139.7 mm
                                                                                                                                                                                 Vector SDP-SB 9     9x19, 9x21    10 / 17 / 40                                              23.3 in / 591.8 mm      6.8 in / 172.7 mm     2.6 in / 66.0 mm     6.7 lbs / 3.0 kg
                                                Advanced metal +    6.5 in / 165.1 mm     17.5 in / 444.5 mm                                                                                                                       polymer composite    1/2” x 28 Thread
    Vector SBR 9    9x19, 9x21   10 / 17 / 40                                                                      6.8 in / 172.7 mm    2.8 in / 71.1 mm     7.5 lbs / 3.4 kg
                                                polymer composite   1/2” x 28 Thread        26.9 in / 683.3
                                                                                                                                                                                                                                   Advanced metal +     5.5 in / 139.7 mm
                                                                                                                                                                                Vector SDP-SB 45      .45ACP       10 / 13 / 30                                              23.3 in / 591.8 mm      6.8 in / 172.7 mm     2.6 in / 66.0 mm     6.7 lbs / 3.0 kg
                                                Advanced metal +    6.5 in / 165.1 mm     17.5 in / 444.5 mm                                                                                                                       polymer composite    16 x 1 LH Thread
    Vector SBR 45    .45ACP      10 / 13 / 30                                                                      6.8 in / 172.7 mm    2.8 in / 71.1 mm     7.5 lbs / 3.4 kg
                                                polymer composite   16 x 1 LH Thread        26.9 in / 683.3
                                                                                                                                                                                                                                   Advanced metal +     5.5 in / 139.7 mm
                                                                                                                                                                                Vector SDP-SB 10       10MM        10 / 15 / 33                                              23.3 in / 591.8 mm      6.8 in / 172.7 mm     2.6 in / 66.0 mm     6.7 lbs / 3.0 kg
                                                Advanced metal +    6.5 in / 165.1 mm     17.5 in / 444.5 mm                                                                                                                       polymer composite    9/16” x 24 Thread
    Vector SBR 10     10MM       10 / 15 / 33                                                                      6.8 in / 172.7 mm    2.8 in / 71.1 mm     7.5 lbs / 3.4 kg
                                                polymer composite   9/16” x 24 Thread       26.9 in / 683.3
                                                                                                                                                                                                                                   Advanced metal +     5.5 in / 139.7 mm
                                                                                                                                                                                Vector SDP-SB 40      .40S&W         10 / 15                                                 23.3 in / 591.8 mm      6.8 in / 172.7 mm     2.6 in / 66.0 mm     6.7 lbs / 3.0 kg
                                                                                                                                                                                                                                   polymer composite    9/16” x 24 Thread


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VECTOR G2 SDP




PRODUCT HIGHLIGHTS:
                                                                                                                                     CERAKOTE® COLOR OPTIONS:
     5.5” THREADED BARREL
     END PLATE WITH QD SLING MOUNT
                                                                                                               FLAT DARK EARTH   OLIVE DRAB       ALPINE       COMBAT GREY

                                 Magazine              Frame              Barrel                                                                              Weight
      Model       Caliber                                                                  Overall Length             Height              Width
                                 Capacity             Material            Length                                                                            (Unloaded)
                                                  Advanced metal +    5.5 in / 139.7 mm
 Vector SDP 9    9x19, 9x21      10 / 17 / 40                                             16.7 in / 425.4 mm     6.8 in / 172.7 mm    2.6 in / 66.0 mm     5.9 lbs / 2.7 kg
                                                  polymer composite   1/2” x 28 Thread
                                                  Advanced metal +    5.5 in / 139.7 mm
 Vector SDP 45    .45ACP         10 / 13 / 30                                             16.7 in / 425.4 mm     6.8 in / 172.7 mm    2.6 in / 66.0 mm     5.9 lbs / 2.7 kg
                                                  polymer composite   16 x 1 LH Thread
                                                  Advanced metal +    5.5 in / 139.7 mm
 Vector SDP 10     10MM          10 / 15 / 33                                             16.7 in / 425.4 mm     6.8 in / 172.7 mm    2.6 in / 66.0 mm     5.9 lbs / 2.7 kg
                                                  polymer composite   9/16” x 24 Thread
                                                  Advanced metal +    5.5 in / 139.7 mm
 Vector SDP 40    .40S&W           10 / 15                                                16.7 in / 425.4 mm     6.8 in / 172.7 mm    2.6 in / 66.0 mm     5.9 lbs / 2.7 kg
                                                  polymer composite   9/16” x 24 Thread




       EXPANDED CAPACITY
       The KRISS MagEx2 Kit is a must
       have accessory to complement your
       KRISS Vector, or Glock® handgun. The
       MagEx2 Kit replaces the baseplate on
       your full size, standard capacity Glock®
                                                                                                                    MagEx2 9mm shown with Glock® G17.
       magazine      to       drastically       increase
       capacity. The MagEx2 Kit boasts a
       capacity of 40 rounds of 9mm when
       affixed to a G17 magazine, 33 rounds of
       10mm when affixed to a G20 magazine,
       and 30 rounds of .45ACP when affixed
       to a G21 magazine.                                                                                           MagEx2 .45ACP shown with Vector CRB.




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LAW ENFORCEMENT
& MILITARY




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VECTOR G2 SMG                                                                                                                                                               VECTOR TRAINING TOOLS
                                                                                                                                                                            KRISS Vector Training Products are designed for users seeking to safely train for weapons familiarity and force-on-force scenarios.
                                                                                                                                                                            The lowers are designed to accept any KRISS Vector compatible accessory, allowing users to configure according to training
                                                                                                                                                                            requirements.




                                                                                                                                                                            VECTOR G2 SMG FX
                                                                                                                                                                            The KRISS Vector can be outfitted
                                                                                                                                                                            with a FX Lower which allows it to
                                                                                                                                                                            fire training cartridges for force-on-
                                                                                                                                                                            force training. Accessories used on
      The KRISS Vector SMG is the ideal choice for law                    STOCK OPTIONS:                                                                                    duty weapons may be mounted to the
      enforcement and military seeking a controllable,                                                                                                                      FX Lower, allowing shooters to train
                                                                          AR15 STOCK
      compact weapon system for CQB environments.                         The rear of the Vector’s receiver                                                                 seamlessly.
      Available in popular calibers      9x19mm and                       is threaded to accept any
                                                                          commercial spec or MIL-SPEC
      .45 ACP, the KRISS Vector SMG is compatible
                                                                          AR-15 buffer tube or stock,
      with full size Glock® magazines, which allows                       offering the same stability and                                                                                               Magazine          Frame              Barrel            Overall Length                                                Weight
                                                                                                                                                                                 Model        Caliber                                                                                  Height              Width
      users to share ammunition between their duty                        feel that many operators are                                                                                                  Capacity         Material            Length          (Folded / Unfolded)                                           (Unloaded)
                                                                          already accustomed.                                                                                                                        Advanced metal +    5.5 in / 139.7 mm    18.5 in / 469.9 mm
      handgun and the KRISS Vector. Its safety and                                                                                                                            Vector SMG 9     9x19       17 / 40
                                                                                                                                                                                                                     polymer composite   1/2” x 28 Thread     27.9 in / 708.6 mm
                                                                                                                                                                                                                                                                                   6.8 in / 172.7 mm   2.8 in / 71.1 mm   6.3 lbs / 2.8 kg

      fire select levers are specifically designed to
      be separate and are ambidextrous. The KRISS
      Vector field strips without the use of tools by
      simply removing 4 takedown pins to separate                         HELMET STOCK
                                                                          Designed for users involved
      the major components for maintenance.
                                                                          in high risk operations where
                                                                          the use of a standard stock is
      Whether for personal security or kinetic                            impractical due to additional
                                                                          layers of protection. The stock
      operations, the KRISS Vector SMG provides
      users the flexibility to reconfigure their KRISS
                                                                          may be folded for compact
                                                                          storage and is adjustable for                                                                     VECTOR G2 SMG INERT
      Vectors to suit individual needs through a wide                     length of pull.

      range of accessories.
                                                                                                                                                                            The Vector SMG Inert is an invaluable
                                                                                                                                                                            training tool with the same dimensions
                                                                                                                                                                            and functions of the firearm, but
                                                                                                                                                                            without the ability to chamber and
PRODUCT HIGHLIGHTS:                                                                                                                                                         fire, it is ideal for dynamic training
     6.5” THREADED BARREL                                                                                                                                                   environments.
                                                                                                                                  CERAKOTE® COLOR OPTIONS:
     FOLDING AND TELESCOPING STOCK WITH QD SLING MOUNTS
     VMR MK5 HANDGUARD WITH HAND STOP AND ACCESSORY RAIL SECTIONS
                                                                                                          FLAT DARK EARTH     OLIVE DRAB       ALPINE        COMBAT GREY

                              Magazine        Frame              Barrel               Overall Length                                                       Weight                                       Magazine          Frame              Barrel            Overall Length                                                Weight
      Model      Caliber                                                                                          Height               Width                                     Model        Caliber                                                                                  Height              Width
                              Capacity       Material            Length             (Folded / Unfolded)                                                  (Unloaded)                                     Capacity         Material            Length          (Folded / Unfolded)                                           (Unloaded)
                                         Advanced metal +    6.5 in / 165.1 mm       18.5 in / 469.9 mm                                                                                                              Advanced metal +    6.5 in / 165.1 mm    18.5 in / 469.9 mm
 Vector SMG 9     9x19         17 / 40                                                                        6.8 in / 172.7 mm    2.8 in / 71.1 mm     7.45 lbs / 3.4 kg     Vector SMG 9     9x19       17 / 40                                                                  6.8 in / 172.7 mm   2.8 in / 71.1 mm   7.45 lbs / 3.4 kg
                                         polymer composite   1/2” x 28 Thread        27.9 in / 708.6 mm                                                                                                              polymer composite   1/2” x 28 Thread     27.9 in / 708.6 mm
                                         Advanced metal +    6.5 in / 165.1 mm       18.5 in / 469.9 mm                                                                                                              Advanced metal +    6.5 in / 165.1 mm    18.5 in / 469.9 mm
 Vector SMG 45   .45ACP        13 / 30                                                                        6.8 in / 172.7 mm    2.8 in / 71.1 mm     7.45 lbs / 3.4 kg     Vector SMG 45   .45ACP      13 / 30                                                                  6.8 in / 172.7 mm   2.8 in / 71.1 mm   7.45 lbs / 3.4 kg
                                         polymer composite   16 x 1 LH Thread        27.9 in / 708.6 mm                                                                                                              polymer composite   16 x 1 LH Thread     27.9 in / 708.6 mm


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RIMFIRE




16                                                                                      17
                                                                                                     NEW
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                                                                                                      VECTOR 22 CRB
     The KRISS Vector 22 series firearms are
     distinct, semi-automatic rimfire sporting rifles
     that incorporate the iconic aesthetics and
     ergonomics of the patented KRISS Vector
     submachine gun design.

                                                                                                      PRODUCT HIGHLIGHTS:
     Engineered to fire the .22 LR cartridge and
                                                                                                         16” THREADED BARREL
     designed for both training and small game
                                                                                                         LAST ROUND BOLT LOCK
     hunting, the Vector 22 is a one of a kind
                                                                                                         ALUMINUM M-LOK HANDGUARD
     firearm that brings out of the box precision,                                                       AMBIDEXTROUS SAFETY
     performance, and value in an iconic design.                                                         6 POSITION M4 STOCK
                                                                                                                                                                                                                                                  COLOR OPTIONS:
                                                                                                         10RD MAGAZINE
                                                                                                         LOW PROFILE FOLDING SIGHTS
                                                                                                                                                                                                                                            FLAT DARK EARTH      ALPINE

                                                                                                                                   Magazine        Frame               Barrel              Overall Length                                                  Weight
                                                                                                           Model         Caliber                                                                                     Height              Width
                                                                                                                                   Capacity       Material             Length          (Collapsed / Extended)                                            (Unloaded)
                                                                                                                                              Advanced metal +    16.0 in / 406.4 mm     34.5 in / 876.3 mm
                                                                                                        Vector 22 CRB     .22LR     10 / 30                                                                     6.8 in / 172.7 mm   2.6 in / 66.0 mm     7.4 lbs / 3.3kg
                                                                                                                                              polymer composite    1/2” x 28 Thread      37.7 in / 958.8 mm




                                                                                                      NEW
                                                                                                     VECTOR 22 SDP-SB




                                                                                                     PRODUCT HIGHLIGHTS:
                                                                                                        6.5” THREADED BARREL
                                                                                                                                                                                                                                                  COLOR OPTIONS:
                                                                                                        LAST ROUND BOLT LOCK
                                                                                                        SB TACTICAL SBX-K ARM BRACE
                                                                                                                                                                                                                                            FLAT DARK EARTH      ALPINE

                                                                                                                                   Magazine        Frame              Barrel                                                                               Weight
                                                                                                          Model          Caliber                                                          Overall Length            Height              Width
                                                                                                                                   Capacity       Material            Length                                                                             (Unloaded)
                                                                                                                                              Advanced metal +    6.5 in / 165.0 mm
                                                                                                      Vector 22 SDP-SB    .22LR     10 / 30                                              24.3 in / 617.2 mm     6.8 in / 172.7 mm   2.6 in / 66.0 mm    5.6 lbs / 2.5 kg
                                                                                                                                              polymer composite    1/2” x 28 Thread


18                                                                                                                                                                                                                                                                     19
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     DMK22 SERIES
     The DMK22 is a dedicated .22LR semi-                    A                    B                       C                            D                           E                      F                        B         G               H

     automatic rifle platform that is optimized for
     accuracy, realistic training, and offers limitless
     customization from front to back. Recognizing
     the need for low cost training and familiarization,
     KRISS USA Inc set out to design a rimfire
     rifle that replicates the form and function of
     centerfire AR15 rifles, while taking advantage of
                                                                                                                                                                                                                                 I
     low cost .22 LR ammunition.


     The patented barrel adapter allows         DMK22
     Series rifles to accept aftermarket 10/22 barrels
     to accommodate different performance needs.                    Customize and add your favorite attachments by mounting
     To accurately mimic AR15s, a functional,                       keymod rail sections directly onto the DMK22 handguard.

     last round bolt catch is also included, which
     engages once ammunition in the DMK22
     magazines has been expended. Popular .22 LR
     AR15 magazines may also be used, however the
     last round bolt catch only engages with KRISS
     DMK22 magazines.                                               Designed as the ultimate AR training platform the DMK22
                                                                    features a true last round bolt lock function.


     PRODUCT HIGHLIGHTS
     A: Ruger® 10/22 barrel compatibility*                 CUSTOMIZABILITY                                                    2. A variable zoom, first focal plane, scope has
                                                                                                                                 been added to the MIL-STD 1913 top receiver rail,
     B: Low profile folding sights                         The DMK22 is in a class of its own among                              allowing for competition grade accuracy.


     C: Free float handguard                               .22LR firearms, thanks to its unparalleled
                                                           construction         and           features.       However,
     D: Full length Picatinny top rail
                                                           when customized with industry leading
     E: Forged aluminum receivers                          performance         upgrades,          the     DMK22     is                                                                                                               5. Ruger® 10/22, sporting chambered,
                                                                                                                                                                                                                                        barrels can be used in the DMK
     F: Last round bolt lock                               elevated to a whole new level.                                                                                                                                               thanks to our patented barrel
                                                                                                                                                                                                                                        adaptor. This rifle has been
     G: Standard AR15 charging handle                                                                                                                                      3. The DMK22 is compatible with AR-15                        fitted with a lightweight carbon
                                                                                                                                                                               triggers. Installed on this rifle is a flat              fiber tension barrel to tighten its
     H: M4 6 position stock                                1. The DMK22 is equipped with                                                                                       bow, two stage, trigger with a 2.5lb press.              groupings to sub 1 MOA*.

                                                              a mil-spec AR-15 buffer tube.
     I:   Standard AR15 safety selector                       The OEM stock on this model
                                                              has been exchanged for one                                                                                   4. Additional AR-15 furniture add the
     * KRISS USA recommends installation by a                 featuring a short picatinny                                                                                      finishing touches to this DMK22; such
       professional gunsmith.                                                                                                                                                  as the ergonomic pistol grip, extended
                                                              rail section, designed for a
                                                              monopod.                                                                                                         charging handle, polished aluminum
                                                                                                                                                                               magazine     release,   and    polished
                                                                                                                                                                               aluminum forward assist.

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DMK 22C                                                                                                                                                               DMK 22P-SB




PRODUCT HIGHLIGHTS:                                                                                                                                                   PRODUCT HIGHLIGHTS:
  16.5” THREADED BARREL                                                                                                                                                 8” THREADED BARREL
                                                                                                                             CERAKOTE® COLOR OPTIONS:                                                                                                                                      CERAKOTE® COLOR OPTIONS:
  ALUMINUM FREE FLOAT HANDGUARD                                                                                                                                         ALUMINUM FREE FLOAT HANDGUARD
  PATENTED RUGER® 10/22 BARREL COMPATIBILITY                                                           FLAT DARK EARTH   OLIVE DRAB       ALPINE       COMBAT GREY
                                                                                                                                                                        SB TACTICAL SBX-K ARM BRACE                                                                  FLAT DARK EARTH   OLIVE DRAB       ALPINE        COMBAT GREY

                          Magazine        Frame               Barrel              Overall Length                                                      Weight                                  Magazine        Frame              Barrel                                                                             Weight
     Model      Caliber                                                                                       Height              Width                                  Model      Caliber                                                      Overall Length             Height              Width
                          Capacity       Material             Length          (Collapsed / Extended)                                                (Unloaded)                                Capacity       Material            Length                                                                           (Unloaded)
                                     Advanced metal +    16.5 in / 419.1 mm     32.0 in / 812.8 mm                                                                                                       Advanced metal +    8 in / 203.2 mm
     DMK 22C     .22LR     10 / 15                                                                       7.3 in / 184.4 mm    2.6 in / 66.0 mm     6.6 lbs / 2.9 kg    DMK 22P-SB    .22LR     10 / 15                                          22.9 in / 581.6 mm     7.3 in / 184.4 mm    2.5 in / 65.5 mm     4.85 lbs / 2.2 kg
                                     polymer composite    1/2” x 28 Thread      35.2 in / 895.4 mm                                                                                                       polymer composite   1/2” x 28 Thread




DMK 22C-LVOA                                                                                                                                                          DMK 22P




PRODUCT HIGHLIGHTS:                                                                                                                                                   PRODUCT HIGHLIGHTS:
  16.5” THREADED BARREL                                                                                                                                                 8” THREADED BARREL
                                                                                                                             CERAKOTE® COLOR OPTIONS:                                                                                                                                      CERAKOTE® COLOR OPTIONS:
  LICENSED WARSPORT® LVOA HANDGUARD                                                                                                                                     ALUMINUM FREE FLOAT M-LOK HANDGUARD
  PATENTED RUGER® 10/22 BARREL COMPATIBILITY                                                                                                                            END CAP WITH QD SLING MOUNT
                                                                                                       FLAT DARK EARTH   OLIVE DRAB       ALPINE       COMBAT GREY                                                                                                   FLAT DARK EARTH   OLIVE DRAB       ALPINE        COMBAT GREY

                          Magazine        Frame               Barrel              Overall Length                                                      Weight                                  Magazine        Frame              Barrel                                                                             Weight
     Model      Caliber                                                                                       Height              Width                                  Model      Caliber                                                      Overall Length             Height              Width
                          Capacity       Material             Length          (Collapsed / Extended)                                                (Unloaded)                                Capacity       Material            Length                                                                           (Unloaded)
                                     Advanced metal +    16.5 in / 419.1 mm     32.0 in / 812.8 mm                                                                                                       Advanced metal +    8 in / 203.2 mm
 DMK 22C LVOA    .22LR     10 / 15                                                                       7.3 in / 184.4 mm    2.6 in / 66.0 mm     7.1 lbs / 3.2 kg     DMK 22P      .22LR     10 / 15                                          16.6 in / 421.5 mm     7.3 in / 184.4 mm    2.5 in / 65.5 mm     4.25 lbs / 1.9 kg
                                     polymer composite    1/2” x 28 Thread      35.2 in / 895.4 mm                                                                                                       polymer composite   1/2” x 28 Thread




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HANDGUNS




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SPHINX PISTOL SERIES
                                                                                     D

                                   A       B        C

                                                                                                                   E
                                                                                                                                 THREADED BARREL                                            CUSTOMIZABLE COMFORT
                                                                                                                                 Optional threaded barrel                                   Three comfort grip inserts (S, M, L), allowing
                                                                                                                                 for the attachment of                                      the shooter to adjust the width and depth of
                                                                                                                                 suppressors                                                their pistol grip for the ideal fit.




                                                                                                               F




                                                                                                                                 SPHINX SIGNATURE DESIGN                                                                                       The slide of a SPHINX SDP is shallow in order
                               K                                                                                                                                                                                                               to lower the bore axis, aiding the shooter with
                                                                                                                                 Integrating the designs of the SPHINX
                                                                                                                                                                                                                                               recoil management.
                                                                                                                                 tactical and competition lineage, the
                                                           J                                                                     SPHINX SDP series is the complete
                                                                                                               G                 package of the highest quality steel,
                                                                    I     H                                                                                                                                                                    The frame of the SPHINX SDP is machined with
                                                                                                                                 aluminum, and advanced polymer
                                                                                                                                                                                                                                               full length guide rails designed to reduce axial
                                                                                                                                 composite construction.                                                                                       slide movement and improve accuracy.

                                                                                                                                 A closer look at individual
                                                                                                                                 components will reveal the value
     SPHINX pistols are precision built for the                                                                                                                                                                                                                    The lower frame of
                                                                                                                                 of SPHINX, and why it is quickly                                                                                                  the SPHINX SDP is a
     discerning shooter. Each part in a SPHINX pistol                                                                            becoming the top choice for shooters                                                                                              standalone      component
                                                                                                                                 worldwide.                                                                                                                        that can be changed per
     is machined from quality materials and fitted to                                                                                                                                                                                                              the shooter’s length and
                                                                                                                                                                                                                                                                   material preferences.
     ensure premium performance. Every pistol is
     packaged with grip inserts that accommodate               PRODUCT HIGHLIGHTS
     various hand sizes. The grip inserts not only             A: Front slide serrations
     adjust the length of the grip but also the width of       B: PVD coated slide
     the palm swells.                                          C: Hard anodized aluminum upper and lower frame
                                                               D: Ambidextrous decocking lever
     Though there are many faster and more                     E: High cut bevertail
     economical ways to produce a pistol, there is             F: Interchangeable grip inserts
     only one way to make a SPHINX and the tradition           G: Beveled magazine well
     of excellence is the cornerstone of the SPHINX            H: Reversible magazine release
     brand.                                                    I:       Enlarged trigger guard with undercut

                                                               J: Match grade trigger
                                                               K: Picatinny accessory rail
                                                                                                                                 Every metal component on every SPHINX pistol is                        The white dot front sight and black rear U-notch sight
                                                                                                                                 machined from a solid block of billet, then meticulously               allow for immediate recognition when acquiring your
                                                                                                                                 hand fitted. Custom quality craftsmanship in a                         sight picture for fast and accurate shooting.
                                                                                                                                 production pistol.

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SPHINX COMPACT DUTY




                                                                                         FRAME MATERIAL & FINISH
                                                                                                                 Black                     Colors

                                                                                             Slide        PVD coated steel             Cerakote® steel
                                                                                            Upper             Hard anodized              Cerakote®
                                                                                            Frame              aluminum                  aluminum
                                                                                            Lower             Hard anodized              Cerakote®
                                                                                            Frame              aluminum                  aluminum



PRODUCT HIGHLIGHTS:                                                                                             CERAKOTE® COLOR OPTIONS:
  EXTENDED FRAME FOR USE WITH
  17 ROUND MAGAZINES                                                                   FLAT DARK EARTH    OLIVE DRAB          ALPINE         COMBAT GREY

                          Magazine       Barrel          Twist                                                                              Weight
     Model      Caliber                                                Length                 Height                  Width
                          Capacity       Length          Rate                                                                             (Unloaded)

 Compact Duty    9x19      10 / 17   3.7 in / 93.9 mm   1:10” RH   7.4 in / 187.9 mm     5.7 in / 144.8 mm        1.4 in / 35.5 mm      29.7 oz / 841.9 g




SPHINX COMPACT




                                                                                         FRAME MATERIAL & FINISH
                                                                                                                 Black                     Colors

                                                                                             Slide        PVD coated steel             Cerakote® steel
                                                                                            Upper             Hard anodized              Cerakote®
                                                                                            Frame              aluminum                  aluminum
                                                                                            Lower             Hard anodized              Cerakote®
                                                                                            Frame              aluminum                  aluminum



PRODUCT HIGHLIGHTS:                                                                                             CERAKOTE® COLOR OPTIONS:
  COMPACT FRAME FOR USE WITH
  15 ROUND MAGAZINES                                                                   FLAT DARK EARTH    OLIVE DRAB          ALPINE         COMBAT GREY

                          Magazine       Barrel          Twist                                                                              Weight
     Model      Caliber                                                Length                 Height                  Width
                          Capacity       Length          Rate                                                                             (Unloaded)

     Compact     9x19      10 / 15   3.7 in / 93.9 mm   1:10” RH   7.4 in / 187.9 mm      5.4 in / 137.1 mm       1.4 in / 35.5 mm      29.1 oz / 824.9 g



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SUPPRESSOR                                         4GSK
                                                   KRISS High Precision Suppressors are
                                                   designed for various host firearms to
                                                   deliver outstanding sound reduction
                                                   and accuracy. The suppressors are full
                                                   auto rated and minimize point of impact
                                                   shift when in use. Attachment methods
                                                                                                    CROSS SECTION:
                                                   include: direct thread and 3 lug.
                                                                                                                                      QPQ coated steel and anodized
                                                                                                                                         aluminum constructon

                                                                                                                                                                          K-baffle design




                                                                                                           Designed
                                                                                                         specifically for
                                                                                                                               Two steel blast baffles
                                                                                                          KRISS Vector
                                                                                                                                 for full auto fire
                                                   PRODUCT HIGHLIGHT:                                                                                        Three aluminum
                                                                                                                                                               front baffles
                                                      K-TYPE BAFFLE
                                                      5 BAFFLE COUNT


                                                        Model          Caliber         Length   Weight              Diameter                      Material                     Treatment          Barrel Threading

                                                                                                                                                T6 aluminum                  Type III Mil-Spec       16 x 1 mm
                                                        4GSK           .45ACP          197 mm   500 g                 46 mm
                                                                                                                                                & steel alloys             black hard anodizing      LH Thread




                                                   4GC9 COMPACT
                                                   PRODUCT HIGHLIGHT:
                                                      K-TYPE BAFFLE
                                                      4 BAFFLE COUNT


                                                        Model          Caliber         Length   Weight              Diameter                      Material                     Treatment          Barrel Threading

                                                         4GC5                                                                                   T6 aluminum                  Type III Mil-Spec       M13.5 x 1
                                                                        9x19           153 mm   300 g                35.5 mm
                                                       COMPACT                                                                                  & steel alloys             black hard anodizing      LH Thread




                                                   4GXT9 EXTENDED
                                                   PRODUCT HIGHLIGHT:
                                                      K-TYPE BAFFLE
                                                      6 BAFFLE COUNT


                                                        Model          Caliber         Length   Weight              Diameter                      Material                     Treatment          Barrel Threading

                                                         4GXT9                                                                                  T6 aluminum                  Type III Mil-Spec
                                                                        9x19           197 mm   420 g                35.5 mm                                                                      1/2” x 28 Thread
                                                       EXTENDED                                                                                 & steel alloys             black hard anodizing


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ACCESSORIES
     MAGEX2 KIT
     The KRISS MagEx2 Kit           BLACK                                         DMK22 10RDS & 15RDS                                                                     KRISS LOW PROFILE
                                                                                                                                                                                                                                                                                        DS150 STOCK
                                                                                                                                                                                                                                                                                        Made from advanced polymer composites,
     is the ultimate baseplate      9x19 [SKU: KVA-MX2K90BL00]                    MAGAZINE                                                                                FLIP SIGHTS
                                                                                                                                                                                                                                                                                        the DS150 is made to withstand the
     extension     for    your      .45ACP [SKU: KVA-MX2K45BL00]
                                                                                  The DMK22 magazines are designed to                                                     These KRISS sights are designed
                                    10mm [SKU: KVA-MX2K10BL00]
                                                                                                                                                                                                                                                                                        elements and provide stability with the
     factory standard Glock®                                                      engage the last round bolt catch feature                                                to minimize bulk while folded. Point
                                                                                                                                                                                                                                                                                        use of a rifle. It also features two QD sling
     magazines. Available in                                                      on DMK22 rifles and pistols when empty.                                                 of impact adjustment can be made
                                    FLAT DARK EARTH                                                                                                                                                                                                                                     attachment points, rubber butt pad, and a
     9x19, .45 ACP, and 10mm                                                      Constructed of durable polymer, the                                                     without tools, and the wide range of
                                    9x19 [SKU: KVA-MX2K90FD00]                                                                                                                                                                                                                          specially designed adjustment lever that
     calibers.                      .45ACP [SKU: KVA-MX2K45FD00]                  magazines are user serviceable with minimal                                             elevation adjustment is ideal for rifle
                                                                                                                                                                                                                                                                                        eases installation of the stock.
                                    10mm [SKU: KVA-MX2K10FD00]                    tools. Available in 10 and 15 round capacities                                          and pistol caliber platforms.
                                                                                                                                                                                                                                                                                        BLACK [SKU: DA-DS150BL00]
                                                                                                                                                                          STEEL FRONT [SKU: DA-FSBL00]
     COLOR OPTIONS:                                                               10RDS [SKU: DA-M10BL00]
                                                                                                                                                                                                                                 COLOR OPTIONS:                                         FLAT DARK EARTH [SKU: DA-DS150FD00]
                                    ALPINE                                        15RDS [SKU: DA-M15BL00]                                                                 STEEL REAR [SKU: DA-RSBL00]                                                                                   OLIVE DRAB [SKU: DA-DS150GR00]
                                    9x19 [SKU: KVA-MX2K90AP00]                                                                                                            POLYMER FRONT [SKU: DA-PFSBL00]                                                                               ALPINE [SKU: DA-DS150AP00]
                                    .45ACP [SKU: KVA-MX2K45AP00]                                                                                                          PLYMER REAR [SKU: DA-PRSBL00]
     FLAT DARK EARTH   ALPINE                                                                                                                                                                                                                                                           COMBAT GREY [SKU: DA-DS150CG00]
                                    10mm [SKU: KVA-MX2K10AP00]                                                                                                                                                                   FLAT DARK EARTH OLIVE DRAB   ALPINE     COMBAT GREY




                                                                                                                                                                                       MK1 VECTOR MODULAR
                                                                             VECTOR 22 30RDS MAGAZINE                                                                                  RAIL (VMR)
                                                                             The Vector 22 30 round magazine provides more
                                                                                                                                                                                       The MK1 Vector Modular Rail is a form
     VECTOR 22 10RDS MAGAZINE                                                ammunition capacity whether for training or
                                                                                                                                                                                       fitting hand guard extension that accepts
     The Vector 22 10 round magazine is a drop free,                         competition. Fits all models of the Vector 22.
                                                                                                                                                                                       the addition of the side rail kits for the
     polymer magazine included with every Vector 22                          BLACK [SKU: DA-V22M30BL00]
                                                                                                                                                                                       attachment of accessories. Mounts
     model.                                                                  FLAT DARK EARTH [SKU: DA-V22M30FD00]                                                                                                                                                      VECTOR AMBIDEXTROUS FOLDING
                                                                                                                                                                                       directly to the body of GEN 2 Vector                                            STOCK
     [SKU: DA-V22M10BL00]                                                    ALPINE [SKU: DA-V22M30AP00]
                                                                                                                                                                                       Models.                                                                         The KRISS Vector Ambi Folding Stock is a drop in,
                                                                                                                                                                                       BLACK [SKU: KVA-VMRBK01]
                                                                             COLOR OPTIONS:                                        COLOR OPTIONS:                                                                                                                      replacement stock for the KRISS Vector Gen 2.1 platform. It
                                                                                                                                                                                       FLAT DARK EARTH [SKU: KVA-VMRFD01]
                                                                                                                                                                                                                                                                       features ambidextrous folding capability as well as 3 length
                                                                                                                                                                                       OLIVE DRAB [SKU: KVA-VMRGR01]
                                                                                                                                                                                       ALPINE [SKU: KVA-VMRAP01]                                                       of pull positions.
                                                                             FLAT DARK EARTH   ALPINE                              FLAT DARK EARTH OLIVE DRAB   ALPINE   COMBAT GREY                                                                                   [SKU: KVA-FSBL30]
                                                                                                                                                                                       COMBAT GREY [SKU: KVA-VMRCG01]




     SPHINX MAGAZINES                                                        ENHANCED SAFETY LEVER                                                                                     MK5 VECTOR MODULAR                                                              VECTOR HELMET STOCK
                                                                                                                                                                                       RAIL (VMR)                                                                      The KRISS Vector Helmet Stock is designed for users
     SPHINX magazines are masterfully made in                                The KRISS Vector enhanced safety levers are CNC
                                                                                                                                                                                       The KRISS VMR MK5 is a handguard                                                involved in high risk operations, where the use of a standard
     Italy from top quality steel and polymer. SPHINX                        machined, drop in upgrades for the KRISS Vector
                                                                                                                                                                                       designed specifically for Vectors with                                          stock is impractical due to additional layers of protection.
     magazines utilize high visibility, red followers and                    platform. The increased texturing and precision
                                                                                                                                                                                       6.5” length barrels or 5.5” length barrels                                                                       The stock may be folded
     are available in 10, 15, and 17 round capacities.                       machining provides improved control, ensuring
                                                                                                                                                                                       with extended muzzle devices (such as                                                                            for compact storage and is
     10RDS [SKU: S4-PXXXX-X008]                                              consistent and positive manipulation.
     15RDS [SKU: S4-PXXXX-X001]                                              BLACK [SKU: KVA-SSBK00]
                                                                                                                                                                                       suppressors and linear compensators). It                                                                         adjustable for length of pull.
     17RDS [SKU: S4-PXXXX-X009]                                              RED [SKU: KVA-SSRD00]                                                                                     allows users to attach a larger variety of                                                                       [SKU: KVA-FSBL32]
                                                                                                                                                                                       accessories to the Vector.
                                                                                                                                                                                       [SKU: KVA-VMRBK07]




     DMK22 AMBIDEXTROUS                                                      VECTOR AMBIDEXTROUS
     FOLDING STOCK ADAPTER                                                   FOLDING STOCK ADAPTER
                                                                                                                                                                                                                                                                                                                    COLOR OPTIONS:
     The DMK22 stock adapter is constructed of                               The KRISS Vector Folding Stock Adapter is a drop
                                                                                                                                                                                       KRISS VERTICAL GRIP                                                             ERGONOMIC PISTOL GRIP
     aluminum and steel and allows for the attachment                        in accessory for those looking to attach their own
                                                                                                                                                                                       The KRISS Vertical Grip is designed for                                         This rugged pistol grip is comfortable
     of AR-15 type buffer or pistol tubes, and can be                        stocks that utilize a standard MILSPEC buffer tube.                                                                                                                                                                                     FLAT DARK EARTH
                                                                                                                                                                                       short submachine gun platforms such                                             and controllable with the grooved
     configured to fold to the left or right side with only                  Fits Vector Gen 2.1 models
                                                                                                                                                                                       as the KRISS Vector. The integrated hand                                        and channel cut front section for a
     a few tools, in a matter of moments.                                    [SKU:KVA-FSABL00]
                                                                                                                                                                                       stop helps to prevent end users from                                            secure grip.                                     OLIVE DRAB
     [SKU: DA-FSABL00]
                                                                                                                                                                                       moving their fingers dangerously close to                                       BLACK [SKU: DA-PGBL00]

                                                                                                                                                                                       a weapon’s muzzle. The grip features side                                       FLAT DARK EARTH [SKU: DA-PGFD00]
                                                                                                                                                                                                                                                                       OLIVE DRAB [SKU: DA-PGGR00]
                                                                                                                                                                                       panels which allow users to mount and                                                                                              ALPINE
                                                                                                                                                                                                                                                                       ALPINE [SKU: DA-PGAP00]
                                                                                                                                                                                       route their light/laser tape switches to the
                                                                             SIDE RAIL KIT                                                                                             vertical grip directly.
                                                                                                                                                                                                                                                                       COMBAT GREY [SKU: DA-PGCG00]
     PICATINNY HAND STOP                                                     7-slot Picatinny rail section that can be attached                                                                                                                                                                                        COMBAT GREY
                                                                                                                                                                                       [SKU: KVA-VGBL00]
     Serves as a point of reference to prevent the                           to the left or right side of the KRISS Vector lower
     shooter’s support hand from coming in contact                           receiver. The perfect solution for adding lights,
     with the barrel. Compatible with any MIL-STD 1913                                                                                                                                                                                 VECTOR ENHANCED SHROUD
                                                                             lasers, and other shooting aids, to the Vector.
     Picatinny Rails.                                                                                                                                                                                                                  Standard equipment on the KRISS Vector GEN 2, the Enhanced Shroud serves as an
                                                                             [SKU: KVA-SRKBL00]
     [SKU: KVA-FGBL00]                                                                                                                                                                                                                 upgrade option for KRISS Vector GEN 1 owners seeking the modern look.
                                                                                                                                                                                                                                       [SKU: KVA-CSSBL16]




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All product specifications are subject to change without notice.

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of aftermarket components.
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                             Exhibit 6
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                   2020 FIREARMS C ATALOG
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              TA B L E O F CO NTE NT S
                                                                                                                    NEW PRODUCT QUICK REFERENCE

    Ruger Custom Shop®                     3-6   Autoloading Rifles                                                 Ruger Custom Shop® SR1911® Competition in .45 Auto                 5   AR-556® with Lite Free-Float Handguard                                 106
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    Centerfire Pistols                                                                                              Ruger Custom Shop® SR1911® Officer-Style                           5   AR-556® with Free-Float Handguard 10-Round                             106
    Ruger-57™                              7-8   Silent-SR® ISB                                93-96
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                                                                                                                                                            ®                          5   AR-556 with Free-Float Handguard in .300 BLK
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    Security-9®                           9-12   PC Carbine ™                                 97-100
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       ®
    LCP / LCP II  ®
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    LC380CA™                               26    Ruger Precision® Rimfire                    119-122
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    AR-556® Pistol                       79-80   Ruger American® Rifle                       123-130
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                                                 Ruger American® Rimfire                     131-136                                                                                       Ruger American® Rifle Compact
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    SR22®                                27-30   Ruger® Scout Rifle                          137-140
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    Mark IV   ™
                                         31-38   Hawkeye®                                    141-150                                                                                       with GO Wild® Camo I-M Brush Stock in 6.5 Creedmoor                    130
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    Silent-SR® .22 CAL                   37-42   77-Series Rifles                            151-154                                                                                       Ruger American® Rifle
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    22 Charger ™                         81-84   Single-Shot Rifles
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                                                                                                                         ®                                                            25   Ruger American® Rimfire with GO Wild® Camo I-M Brush Stock             135
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                                                     The rugged reliability you expect.
                                                     The Craftsmanship you Deserve.




                                                                                                                Team Ruger Captain
                                                                                                                Doug Koenig
                                                                                                                and the SR1911®
                                                                                                                Competition Pistol




                                                     The Ruger Custom Shop® embodies the pinnacle of style, performance and design, offering a level
                                                     of refinement and attention to detail that could only be expected from an industry leader like
                                                     Ruger. Custom Shop products have been designed by Ruger’s expert team of engineers with
                                                     input from professionals in the field: competitive shooters, renowned hunters and award-winning
                                                     writers. This line of firearms represents the finest example of quality and innovation in Ruger®
                                                     products built to the highest of standards. The Custom Shop features exclusive collectible,
                                                     competition, hunting and personal defense firearms for the most discriminating shooters.

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                                                                                                                                             ®
    Ruger Custom Shop




                                                                                                                  SR1911                                                                                            10/22
                                                                                                                                                                                                                ®                                                                             ®




                                                                                                                                                                                                                                                                                                     Competition Rifle


                           Model 6766 Shown




                                                            Hand-Fitted Slide and Frame Provide        Model 6766 Features                 25 Lines-Per-Inch                  Undercut Trigger Guard
                                                           a Remarkably Tight, Yet Smooth, Action       a Techwell Magwell               Checkered Front Strap               and Beavertail Grip Safety


    COMPETITION
             COMPARE
             Caliber     Capacity     Slide/                  Grip Frame               Grip          Sights                Barrel         Overall      Height    Width       Weight        Twist    Suggested
    Model                             Finish                                           Panels                              Length         Length                                                    Retail
    Number
    6766     9mm         10+1         Stainless Steel/        Black Nitrided           Hogue ®       Fiber Optic/          5''            8.67''       5.63''    1.45''      41 oz.        1:16''   $2,499.00
             Luger                    Black Nitrided and      Stainless Steel          Piranha       Adjustable
                                      Stainless Two-Tone                               G10           Target
    6776     45 Auto     8+1          Stainless Steel/        Black Nitrided           Textured      Fiber Optic/          5''            8.67''       5.63''    1.45''      40 oz.        1:16''   $2,299.00
                                      Black Nitrided and      Stainless Steel          G10           Adjustable
                                      Stainless Two-Tone                                             Target

    OFFICER-STYLE
    Model    Caliber     Capacity     Slide/                  Grip Frame               Grip          Sights                Barrel         Overall      Height    Width       Weight        Twist    Suggested
    Number                            Finish                                           Panels                              Length         Length                                                    Retail
    6779     45 Auto     7+1          Stainless Steel/        Black Nitrided           Deluxe        Tritium Front/        3.60''         7.25''       5''       1.34''      31 oz.        1:16''   $1,899.00
                                      Black Nitrided and      Stainless Steel          G10           Adjustable
                                      Stainless Two-Tone                                             Combat Rear




                                                                                                                      SUPER
                                                                                                                    GP100
                                                                                                                                                                                                                ®




                                                                                                                      C o m p e t i t i o n R e v o lv e r
                                                                                                                                                                                                                    Top Barrel Locator Allows for         Integral, Optics-Ready 30 MOA         Easy-to-Use, Prominent Magazine Release     BX-Trigger® with a Light, Crisp            Fully Adjustable Cheek Rest
                                                                                                                                                                                                                      a Free-Floating Barrel for            Picatinny Rail for Increased          Provides Smooth, No-Fuss Removal of   2.5 - 3 Pound Trigger Pull Weight with    Can be Repositioned to Accommodate
                                                                                                                                                                                                                          Superior Accuracy              Long-Range Elevation Capabilities              Flush-Mounted Magazine          Minimal Overtravel and a Positive Reset    Varying Comb Heights and Positions
                                                                                                                                                                                                                                                                                                                                                                                         (Excludes Model 31147)
                           Model 5066 Shown
                                                                                                                                                                                                                                                                      COMPARE
                                                                 Superior Action of the Super        Ships with Three Full Moon Clips          Hogue® Hardwood Grip is     Replaceable, Fiber Optic Front Sight
                                                                                                                                                                                                                    Model      Caliber              Capacity    Barrel Material/             Stock             Sights              Barrel           Overall        Weight         Length       Twist       Suggested
                                                                 Redhawk® Allows for a Two-         that Act as Speed Loaders and Aid         Hand-Finished for a Glowing,   and Adjustable Rear Sight Allow
                                                                                                                                                                                                                    Number                                      Finish                                                             Length           Length                        of Pull                  Retail
                                                                Spring Lock Work Arrangement        in the Ejection of Spent Cartridges          Smooth, Polished Feel         for Quick Target Acquisition
                                                                                                                                                                                                                    31120      22 LR                10          Alloy Steel/                 Speckled Black/   None                16.12''          36''           6 lbs.         13.50''      1:16''      $899.00
               COMPARE                                                                                                                                                                                                                                          Satin Black                  Gray Laminate
    Model      Caliber         Capacity    Material/             Grips                      Front Sight       Rear Sight         Barrel             Overall         Weight            Twist         Suggested       31127      22 LR                10          Stainless Steel/             Natural Brown     None                16.12''          36''           6 lbs.         13.50''      1:16''      $899.00
    Number                                 Finish                                                                                Length             Length                                          Retail                                                      Satin Stainless, Black       Laminate
    5065       357             8           Stainless Steel/      Hogue® Hand-Finished       Fiber Optic       Adjustable         5.50''             11''            47 oz.            1:16''        $1,549.00                                                   Cerakote Accents
               Magnum                      Matte PVD             Hardwood                                                                                                                                           31147      22 LR                10          Stainless Steel/             Skeletonized      None                16.12''          36.75''        5.5 lbs.       14.25''      1:16''      $899.00
    5066       9mm             8           Stainless Steel/      Hogue® Hand-Finished       Fiber Optic       Adjustable         6.0''              11''            45.6 oz.          1:16''        $1,549.00                                                   Satin Stainless, Black       Green Mountain
               Luger                       Satin Stainless       Hardwood                                                                                                                                                                                       Cerakote Accents             Laminate
                                           with Matte Black
                                           PVD Accents
5                                                                                                                                                                                                                                                                                                                                                          RUGER.COM/CUSTOMSHOP                                         6
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    RUGER-57
                               ™

                                                                                                                                                                                  R U G E R - 5 7™


    The all new Ruger-57™ pistol is a cutting edge platform for Ruger. The Ruger-57™ is
    a full-featured handgun wrapped around a standard capacity, 20-round steel magazine,
    chambered in the high performance and low-recoiling 5.7x28mm caliber.

                                                                                                                                                                                            5.7
                                                                                                                                                                                         x28mm




                                                                                                                                                               FEATURES
                                                                                                                                                                   Robust, all-steel slide is drilled and tapped                Safe, easy takedown with no tools or
                                                                                                                                                                   for easy mounting of optics with separately                  trigger pull required.
                                                                                                                                                                   available optic adapter plate, available at
                                                                                                                                                                                                                                Inspection port allows for visual confirmation
                                                                                                                                                                   ShopRuger.com.
                                                                                                                                                                                                                                of a loaded or empty chamber.
                                                                                                                                                                   Windage and elevation adjustable, serrated
                                                                                                                                                                                                                                Picatinny-style accessory rail for easy
                                                                                                                                                                   rear sight and rapid acquisition fiber optic
                                                                                                                                                                                                                                mounting of lights and lasers.
                                                                                                                                                                   front sight for fast, accurate shooting.
                                                                                                                                                                                                                                Easily operated ergonomic controls like
                                                                                                                                                                   The alloy steel barrel features a black nitride
                                                                                                                                                                                                                                the popular 1911-style ambidextrous manual
                                                                                                                                                                   treatment for wear resistance.
                                                                                                                                                                                                                                safety, reversible magazine release and robust
                                                                                                                                                                   Steel magazine provides double stack capacity                slide release.
                                                                                                                                                                   without unnecessary bulk.
                                                                                                                                                                                                                                Magazine drops free on release for
                                                                                                                                                                   Textured, ergonomic frame provides a secure                  convenient reloading.
                                                                                                                                                                   and comfortable grip.
                                                                                                                                                                                                                                Also includes: two, steel magazines.
                                                                                                                                                                   The Secure Action™ fire control is derived from
                                                                                                                                                                   the reliable and proven hammer-fired LCP® fire
                                                                                                                                                                   control system. The Secure Action™ fire control
                                                                                                                                                                   combines the smooth trigger pull of the LCP®
                                                                                                                                                                   with the short, crisp feel and positive reset of
                                                                                                                                                                   a single action.

                                                                                                                                    Ruger-57™
                                                                                                                                    (Model 16401)




                                                                                                                                   COMPARE
                                                                                                               Model    Caliber    Capacity   Slide/         Grip Frame            Sights                    Barrel   Overall    Height    Slide    Weight     Twist   Suggested
                                                                                                               Number                         Finish                                                         Length   Length               Width                       Retail
                                                                                                               16401    5.7x28mm   20+1       Alloy Steel/   Black, High-          Fiber Optic Front/        4.94''   8.65''     5.60''    1.20''   24.5 oz.   1:9''   $799.00
                                                                                                                                              Black Oxide    Performance,          Adjustable Rear
                                                                                                                                                             Glass-Filled Nylon
                                                                                                               16402    5.7x28mm   10+1       Alloy Steel/   Black, High-          Fiber Optic Front/        4.94''   8.65''     5.60''    1.20''   24.5 oz.   1:9''   $799.00
                                                                                                                                              Black Oxide    Performance,          Adjustable Rear
                                                                                                                                                             Glass-Filled Nylon




7                                                                                                                                                                                                                                         R UGER .C OM / W R A N G L E R           8
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    SECURITY-9
                                    ®

                                                                                                                                                        S E C U R I T Y - 9®


    When it comes to security, simple and affordable is hard to beat. Ideal for everyday carry
    and self-defense, the Security-9 is an affordable, rugged, centerfire pistol that provides
                                        ®




    everyday security in the perfect caliber and size, at the perfect price point.

                                                                                                                                                              9mm
                                                                                                                                                              LUGER



                                                                                                                                      ONE CALIBER                          NINE MODELS


                                                                                                                                            FULL-SIZE                          COMPACT




                                                                                                                         Security-9 ® Pro
                                                                                                                         (Model 3825)


                                                                                                                                                                                    Security-9 ® Compact
                                                                                                                                                                                    with Hogue® Grip Sleeve
                                                                                                                                                                                    (Model 3829)




9                                                                                                                                                                                   R UGER .C OM / S E C U R I T Y - 9   10
                                                                                                                                         Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 51 of 174 PageID #: 729
                                                        ®
                S E CU R I TY-9
     FEATURES                                                                                                                                                                                               SECURITY-9®
       Compact for easy concealment, the Security-9® pistol is designed to fit                                    Internal, Secure Action™ hammer provides strong ignition force, yet allows
       a variety of available holsters.                                                                           for easier slide racking when compared with many striker-fired pistols.
                                                                                                                  Front cocking serrations enable positive slide manipulation.
       Rugged construction with black oxide, through-hardened alloy steel slide
       and barrel and high-performance, glass-filled nylon grip frame.                                            Safety features include integrated trigger safety; external manual safety
                                                                                                                  (excludes Pro models); neutrally balanced sear with significant engagement                            Model 3825 Shown
       Precision-machined, hard-coat anodized aluminum chassis
                                                                                                                  and strong spring tension; and hammer catch to help prevent the hammer
       with full-length guide rails.
                                                                                                                  from contacting the firing pin unless the trigger is pulled.                                                                                     Pro Models Feature Square Ledge Tritium Sights,              Model 3816 Features                      Model 3819 Features
       The Secure Action™ is derived from the reliable and proven                                                                                                                                                                                                       Three Magazines and No Safety Lever               a Viridian® E-Series™ Red Laser                a Hogue® Grip Sleeve
       hammer-fired LCP® fire control system. The Secure Action™ combines                                         Safe, easy takedown with no special tools or trigger pull required.                                             CO MPARE
                                                                                                                                                                                                            Model     Caliber     Capacity   Slide/         Grip Frame           Feature               Sights             Barrel     Overall    Height      Slide    Weight      Twist    Suggested
       the smooth trigger pull of the LCP® with the short, crisp feel and                                         Also includes: two alloy steel magazines. Pro models                                      Number                           Finish                                                                       Length     Length                 Width                         Retail
       positive reset of a single-action.                                                                         ship with three magazines.                                                                3810*     9mm Luger   15+1       Alloy Steel/   Black, High-         –                     Fixed Front,       4''        7.24''     5''         1.02''   23.8 oz.    1:10''   $379.00
                                                                                                                                                                                                                                             Black Oxide    Performance,                               Drift Adjustable
                                                                                                                                                                                                                                                            Glass-Filled Nylon                         Rear
       Textured grip frame provides a secure and comfortable grip.                                                                                                                                  9mm     3825*     9mm Luger   15+1       Alloy Steel/   Black, High-         Pro                   Steel Tritium      4''        7.24''     5''         1.02''   23.8 oz.    1:10''   $549.00
       Dovetailed, high-visibility sight system with drift adjustable rear sight and
                                                                                                                                                                                                    LUGER                                    Black Oxide    Performance,
                                                                                                                                                                                                                                                            Glass-Filled Nylon
       fixed front sight. Sights can be easily changed out for different color options
                                                                                                                                                                                                            3811**    9mm Luger   10+1       Alloy Steel/   Black, High-         –                     Fixed Front,       4''        7.24''     5''         1.02''   23.8 oz.    1:10''   $379.00
       (available separately). Pro models feature square ledge tritium sights.                                                                                                                                                               Black Oxide    Performance,                               Drift Adjustable
                                                                                                                                                                                                                                                            Glass-Filled Nylon                         Rear

                                                                                                                                                                                                            3816*     9mm Luger   15+1       Alloy Steel/   Black, High-         Viridian® E-Series™   Fixed Front,       4''        7.24''     5''         1.02''   24.3 oz.    1:10''   $439.00
                                                                                                                                                                                                                                             Black Oxide    Performance,         Red Laser             Drift Adjustable
                                                                                                                                                                                                                                                            Glass-Filled Nylon                         Rear
                                                                                                                                                                                                            3819*     9mm Luger   10+1       Alloy Steel/   Black, High-         Hogue ®               Fixed Front,       4''        7.24''     5''         1.02''   24.5 oz.    1:10''   $399.00
                                                                                                                                                                                                                                             Black Oxide    Performance,         Grip Sleeve           Drift Adjustable
                                                                                                                                                                                                                                                            Glass-Filled Nylon                         Rear




                                                                                                                                                                                                            SECURITY-9® COMPACT


                Textured Grip Frame for                                                                                    Front Cocking Serrations
              Secure and Comfortable Grip

                                                                                                                                                                                                                        Model 3815 Shown

                                                                                                                                                                                                                                                                   Pro Models Feature Square Ledge Tritium Sights,              Model 3830 Features                      Model 3829 Features
                                                                                                                                                                                                                                                                        Three Magazines and No Safety Lever               a Viridian® E-Series™ Red Laser                a Hogue® Grip Sleeve
                                                                                                                                                                                                                                  CO MPARE
                                                                                                                                                                                                            Model     Caliber     Capacity   Slide/         Grip Frame           Feature               Sights             Barrel     Overall    Height      Slide    Weight      Twist    Suggested
                                                                                                                                                                                                            Number                           Finish                                                                       Length     Length                 Width                         Retail
                                                                                                                                                                                                            3818**    9mm Luger   10+1       Alloy Steel/   Black, High-         Compact               Fixed Front,       3.42''     6.52''     4.35''      1.02''   21.9 oz.    1:10''   $379.00
                                                                                                                                                                                                                                             Black Oxide    Performance,                               Drift Adjustable
                                                                                                                                                                                                                                                            Glass-Filled Nylon                         Rear

                                                                                                                                                                                                            3829**    9mm Luger   10+1       Alloy Steel/   Black, High-         Compact with          Fixed Front,       3.42''     6.52''     4.35''      1.02''   22.5 oz.    1:10''   $399.00
                                                                                                                                                                                                                                             Black Oxide    Performance,         Hogue ® Grip          Drift Adjustable
                                                                                                                                                                                                                                                            Glass-Filled Nylon   Sleeve                Rear
                                                                                                                                                                                                            3830**    9mm Luger   10+1       Alloy Steel/   Black, High-         Compact with          Fixed Front,       3.42''     6.52''     4.35''      1.02''   22.4 oz.    1:10''   $439.00
                                                                                                                                                                                                                                             Black Oxide    Performance,         Viridian® E-Series™   Drift Adjustable
                                                                                                                                                                                                                                                            Glass-Filled Nylon   Red Laser             Rear

                                                                                                                                                                                                            3815***   9mm Luger   10+1       Alloy Steel/   Black, High-         Compact Pro           Steel Tritium      3.42''     6.52''     4.35''      1.02''   21.9 oz.    1:10''   $549.00
                                                                                                                                                                                                                                             Black Oxide    Performance,
            Eye-Catching Sights for Superior Visibility                       Available with or without External Manual Safety                           Secure Action™ Fire Control System Provides                                                        Glass-Filled Nylon
                                                                                                                                                        the Crisp Feel of a Hammer-Fired Single-Action




     * Some magazines are not available for sale in all states and locales due to laws and regulations limiting magazine capacity. Prior to purchasing, please check your state and local regulations
       to verify that you may legally possess such magazines. ** Ships with two, 10-round magazines. *** Ships with three, 10-round magazines.

11                                                                                                                                                                                                                                                                                                                                                    R UGER .C OM / S E C U R I T Y - 9              12
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     RUGER AMERICAN PISTOL
                                                      ®

                                                                                                                                             R U G E R A M E R I C A N® P I S T O L


     Designed with the latest U.S. Military Standards in mind, the Ruger American Pistol®




     is built to perform in the harshest conditions. A true American innovation, this pistol is
     a revolutionary platform for Ruger – one that combines a recoil-reducing barrel cam
     (which is designed to better spread recoil energy over time) with a low-mass slide,
                                                                                                                                                     9mm
                                                                                                                                                     LUGER
                                                                                                                                                                     45
                                                                                                                                                                     AUTO
     low center of gravity and low bore axis to provide an unparalleled shooting experience.

                                                                                                                                  TWO CALIBERS                       FIFTEEN MODELS

                                                                                                                          ENVIRONMENTAL                                              8
                                                                                                                                                                                                       TRIGGER PULL
                                                                                                                          PERFORMANCE:
                                                                                                                                                                                     7       RUGER AMERICAN® PISTOL       Brand X
                                                                                                                          Engineered to                                                                                   Brand Y
                                                                                                                                                                                     6
                                                                                                                          Withstand Arctic                                                                                Brand Z
                                                                                                                                                                                     5
                                                                                                                          Temperatures,




                                                                                                                                                                       FORCE (LB.)
                                                                                                                                                                                     4
                                                                                                                          Desert Heat and
                                                                                                                                                                                     3
                                                                                                                          Dust, Rainforest
                                                                                                                                                                                     2
                                                                                                                          Humidity,
                                                                                                                                                                                     1
                                                                                                                          Ocean Salt
                                                                                                                                                                                     0
                                                                                                                          and Surf.                                                      0             0.225          0.450         0.675
                                                                                                                                                                                                       DISTANCE (IN.)




                                                                                              Ruger
                                                                                              American®
                                                                                              Pistol
                                                                                              Compact
                                                                                              in .45 Auto
                                                                                              (Model 8648)

                                                                                                                                                                                         Ruger American® Pistol
                                                                                                                                                                                         Pro Duty in 9mm Luger
                                                                                                                                                                                         (Model 8605)




13                                                                                                                                                                                                     R UGER .C OM / A M E R I C A N P I S T O L   14
                                                                                                                                          Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 53 of 174 PageID #: 731
                                                                              ®
                R U G E R A ME RICA N P IS T OL
     FEATURES                                                                                                                                                                                                          RUGER AMERICAN ® PISTOL DUTY
        Pre-tensioned striker system features a powerful striker spring                                            Black nitride finish on stainless steel slide and chassis
        for positive ignition without a heavier trigger pull.                                                      is durable, non-reflective and corrosion-resistant.
        Barrel cam distributes recoil forces over a longer period of time                                          MIL-STD-1913 Picatinny rail acts as a mounting point for
        to reduce felt recoil.                                                                                     a wide variety of standard lights and lasers.
        Safe, easy takedown with no tools or trigger pull required.                                                Non-slip surfaces include functional slide serrations and                                                      Model 8615 Shown
                                                                                                                   purpose-oriented grip frame texturing for enhanced control.                                                                                                                                                                             Available with or without Manual Safety
        Rigid, one-piece, precision-machined, black nitrided, stainless                                                                                                                                                         C O M PARE
        steel chassis with integral frame rails and fire control housing.                                          Safety features include internal, automatic sear block system,                                      Model    Caliber      Capacity   Slide/             Grip                 Sights           Safety        Barrel   Overall   Height    Width     Weight     Twist    Suggested
                                                                                                                   ambidextrous manual safety and integrated trigger safety.                                           Number                           Finish             Frame                                 Option        Length   Length                                            Retail
        Modular, wrap-around grip system allows for adjustment of palm swell                                                                                                                                           8605*    9mm Luger    17+1       Stainless Steel/   One-Piece,           Novak® LoMount   Integrated    4.20''   7.50''    5.60''    1.40''    30 oz.     1:10''   $579.00
                                                                                                                   Pro models come without manual safety.                                                              Pro
        and trigger reach to fit a wide range of hand sizes. Ergonomic grip                                                                                                                                                                             Black Nitride      High-Performance,    Carry 3-Dot      Trigger
                                                                                                                                                                                                                                                                           Glass-Filled Nylon                    Safety Only
        modules lock in solidly and do not loosen.                                                                 Also includes: two nickel-Teflon® plated steel magazines; small
                                                                                                                                                                                                                       8607     9mm Luger    10+1       Stainless Steel/   One-Piece,           Novak® LoMount   Integrated    4.20''   7.50''    5.60''    1.40''    30 oz.     1:10''   $579.00
                                                                                                                   (9mm Luger models only), medium and large grip modules.                                             Pro                              Black Nitride      High-Performance,    Carry 3-Dot      Trigger
        Genuine Novak® LoMount Carry three-dot sights with wide rear notch                                                                                                                                                                                                 Glass-Filled Nylon                    Safety Only
        for rapid sight acquisition and alignment.                                                                                                                                                                     8608*    9mm Luger    17+1       Stainless Steel/   One-Piece,           Novak® LoMount   Manual        4.20''   7.50''    5.60''    1.50''    30.5 oz.   1:10''   $579.00
                                                                                                                                                                                                                                                        Black Nitride      High-Performance,    Carry 3-Dot      Safety
        Ambidextrous slide stop and magazine release.                                                                                                                                                                                                                      Glass-Filled Nylon
                                                                                                                                                                                                                       8638     9mm Luger    10+1       Stainless Steel/   One-Piece,           Novak® LoMount   Manual        4.20''   7.50''    5.60''    1.50''    30.5 oz.   1:10''   $579.00
        Performance tested for sustained +P ammunition use.                                                                                                                                                                                             Black Nitride      High-Performance,    Carry 3-Dot      Safety
                                                                                                                                                                                                                                                                           Glass-Filled Nylon
                                                                                                                                                                       45                            9mm
                                                                                                                                                                                                     LUGER             8661**   9mm Luger    10+1       Stainless Steel/   One-Piece,           Novak® LoMount   Manual        4.20''   7.50''    5.60''    1.50''    30.5 oz.   1:10''   $579.00
                                                                                                                                                                      AUTO                                                                              Black Nitride      High-Performance,    Carry 3-Dot      Safety
                                                                                                                                                                                                                                                                           Glass-Filled Nylon
                                                                                                                                                                                                                       8615     45 Auto      10+1       Stainless Steel/   One-Piece,           Novak® LoMount   Integrated    4.50''   8''       5.70''    1.40''    31.5 oz.   1:16''   $579.00
                                                                                                                                                                                                                       Pro                              Black Nitride      High-Performance,    Carry 3-Dot      Trigger
                                                                                                                                                                                                                                                                           Glass-Filled Nylon                    Safety Only
                                                                                                                                                                                                                       8618     45 Auto      10+1       Stainless Steel/   One-Piece,           Novak® LoMount   Manual        4.50''   8''       5.70''    1.50''    32.5 oz.   1:16''   $579.00
                                                                                                                                                                                                                                                        Black Nitride      High-Performance,    Carry 3-Dot      Safety
                                                                                                                                                                                                                                                                           Glass-Filled Nylon
                                                                                                                                                                                                                       8680**   45 Auto      10+1       Stainless Steel/   One-Piece,           Novak® LoMount   Manual        4.50''   8''       5.70''    1.50''    32.5 oz.   1:16''   $579.00
                                                                                                                                                                                                                                                        Black Nitride      High-Performance,    Carry 3-Dot      Safety
                                                                                                                                                                                                                                                                           Glass-Filled Nylon




                                                                                                                                                                                                                       RUGER AMERICAN ® PISTOL COMPACT
                                 Short Takeup Trigger with Positive Reset                                                             Genuine Novak® LoMount Carry Three-Dot Sights




                                                                                                                                                                                                                                  Model 8648 Shown
                                                                                                                                                                                                                                                                                                                                                           Available with or without Manual Safety
                                                                                                                                                                                                                                C O M PARE
                                                                                                                                                                                                                       Model    Caliber      Capacity   Slide/             Grip                 Sights           Safety        Barrel   Overall   Height    Width     Weight     Twist    Suggested
                                                                                                                                                                                                                       Number                           Finish             Frame                                 Option        Length   Length                                            Retail
                                                                                                                                                                                                                       8635*    9mm Luger    17+1       Stainless Steel/   One-Piece,           Novak® LoMount   Integrated    3.55''   6.65''    4.48''    1.40''    28.7 oz.   1:10''   $579.00
                                                                                                                                                                                                                       Pro                              Black Nitride      High-Performance,    Carry 3-Dot      Trigger
                                                                                                                                                                                                                                                                           Glass-Filled Nylon                    Safety Only
                             Recoil-Reducing Barrel Cam, Low-Mass Slide,                                             Modular, Wrap-Around Grip System for Adjusting Palm Swell and Trigger Reach                       8637     9mm Luger    10+1       Stainless Steel/   One-Piece,           Novak® LoMount   Integrated    3.55''   6.65''    4.48''    1.40''    28.7 oz.   1:10''   $579.00
                               Low Center of Gravity and Low Bore Axis                                                                                                                                                 Pro                              Black Nitride      High-Performance,    Carry 3-Dot      Trigger
                                                                                                                                                                                                                                                                           Glass-Filled Nylon                    Safety Only
                                                                                                                                                                                                                       8639*    9mm Luger    17+1       Stainless Steel/   One-Piece, High-     Novak® LoMount   Manual        3.55''   6.65''    4.48''    1.50''    29.2       1:10''   $579.00
                                                                                                                                                                                                                                                        Black Nitride      Performance,         Carry 3-Dot      Safety                                               oz.
                                                                                                                                                                                                                                                                           Glass-Filled Nylon
                                                                                                                                                                                                                       8633     9mm Luger    10+1       Stainless Steel/   One-Piece,           Novak® LoMount   Manual        3.55''   6.65''    4.48''    1.50''    29.2       1:10''   $579.00
                                                                                                                                                                                                                                                        Black Nitride      High-Performance,    Carry 3-Dot      Safety                                               oz.
                                                                                                                                                                                                                                                                           Glass-Filled Nylon
                                                                                                                                                                                                                       8663**   9mm Luger    10+1       Stainless Steel/   One-Piece,           Novak® LoMount   Manual        3.55''   6.65''    4.48''    1.50''    29.2       1:10''   $579.00
                                                                                                                                                                                                                                                        Black Nitride      High-Performance,    Carry 3-Dot      Safety                                               oz.
                                                                                                                                                                                                                                                                           Glass-Filled Nylon
                                                                                                                                                                                                                       8645     45 Auto      10         Stainless Steel/   One-Piece,           Novak® LoMount   Integrated    3.75''   7.25''    4.65''    1.40''    28.6 oz.   1:16''   $579.00
                                                                                                                                                                                                                       Pro                              Black Nitride      High-Performance,    Carry 3-Dot      Trigger
                                                                                                                                                                                                                                                                           Glass-Filled Nylon                    Safety Only
                                                                                                                                                                                                                       8648     45 Auto      10         Stainless Steel/   One-Piece,           Novak® LoMount   Manual        3.75''   7.25''    4.65''    1.50''    29 oz.     1:16''   $579.00
                      Safe, Easy Takedown with No Tools or Trigger Pull Required                                     Ambidextrous Slide Stop, Manual Safety and Magazine Release Allow Actuation                                                        Black Nitride      High-Performance,    Carry 3-Dot      Safety
                                                                                                                              with Either Hand (Pro Models Come without External Safety)                                                                                   Glass-Filled Nylon

     * Some magazines are not available for sale in all states and locales due to laws and regulations limiting magazine capacity. Prior to purchasing, please check your state and local regulations to verify that
       you may legally possess such magazines. ** Ships with large grip module installed.

15                                                                                                                                                                                                                                                                                                                                      R UGER .C OM / A M E R I C A N P I S T O L                    16
                                                              Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 54 of 174 PageID #: 732




     SR1911
                        ®

                                                                                                                                                 S R 1 9 11®


     A classically styled pistol, the SR1911 has been designed with modern features
                                           ®




     to make an ergonomic, accurate, rugged and reliable pistol.



                                                                                                                                         45        9mm
                                                                                                                                                   LUGER
                                                                                                                                                                10mm
                                                                                                                                                                AUTO
                                                                                                                                         AUTO



                                                                                                                            THREE CALIBERS                     NINE MODELS


                                                                                                                        FULL-SIZE       COMMANDER-         OFFICER-                 TARGET
                                                                                                                                           STYLE            STYLE




                                                                                                                     SR1911® Target
                                                                                                                     (Model 6736)



                                                                                                                                                                 SR1911® Officer-Style
                                                                                                                                                                 in .45 Auto
                                                                                                                                                                 (Model 6762)




17                                                                                                                                                                                       R UGER .C OM / S R 1 9 1 1   18
                                                                                                                            Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 55 of 174 PageID #: 733
                                      ®
               SR 19 11
     FEATURES                                                                                                                                                                                       SR1911® COMMANDER-STYLE
        Classic, original 1911 fire control.                                                             Extended thumb safety and slide stop lever for improved,
                                                                                                         positive manipulation.
        Precision CNC-controlled machining process results in a superior
        slide-to-frame fit and smooth slide travel.                                                      Integral plunger tube for slide stop and thumb safety is not staked
                                                                                                         and will never come loose.
        Positive barrel lock-up allows for superior accuracy out of the box.
                                                                                                         Features a flat mainspring housing and rear slide serrations for
        Oversized ejection port and extended magazine release                                                                                                                                                           Model 6722 Shown
                                                                                                         a positive grip.                                                                                                                                                                              Drift Adjustable Novak® Three-Dot Sights       Steel and Aluminum Frames Available
        enhance performance.
                                                                                                         Inspection port allows for visual confirmation of a loaded or
        Traditional design with replaceable grip panels and checkered backstrap.                                                                                                                              COMPARE
                                                                                                         empty chamber.                                                                             Model     Caliber     Capacity   Slide/                Grip Frame/           Grip         Sights           Barrel        Overall     Height   Width        Weight †    Twist     Suggested
        Lightweight, aluminum, skeletonized trigger provides a very crisp,                                                                                                                          Number                           Finish                Finish                Panels                        Length        Length                                                  Retail
                                                                                                         Accepts most standard, aftermarket 1911 parts and accessories.                             6702**    45 Auto     7+1        Stainless Steel/      Stainless Steel/      Hardwood     Drift            4.25''        7.75''      5.45''   1.34''       36.4 oz.    1:16''    $939.00
        no creep, light trigger pull with a quick, positive reset.
                                                                                                                                                                                                                                     Low-Glare Stainless   Low-Glare Stainless                Adjustable
                                                                                                         Model 6711 features a polished titanium feed ramp.                                                                                                                                   Novak® 3-Dot
        Skeletonized hammer and titanium firing pin for faster lock time.
                                                                                                         Also includes: two stainless steel magazines.                                              6711**    45 Auto     7+1        Stainless Steel/      Anodized              Hardwood     Drift            4.25''        7.75''      5.45''   1.34''       28.6 oz.    1:16''    $979.00
        Oversized beavertail grip safety provides positive function and reliability.                                                                                                                                                 Low-Glare Stainless   Aluminum/                          Adjustable
                                                                                                                                                                                                                                                           Armor Black                        Novak® 3-Dot
                                                                                                                                                                                                                                                           Cerakote®
                                                                                                                                                                                                    6722***   9mm         9+1        Stainless Steel/      Anodized              Black        Drift            4.25''        7.75''      5.45''   1.34''       29.5 oz.    1:10''    $979.00
                                                                                                                                                                                                              Luger                  Low-Glare Stainless   Aluminum/             Rubberized   Adjustable
                                                                                                                            45                        9mm
                                                                                                                                                      LUGER
                                                                                                                                                                                     10mm
                                                                                                                                                                                     AUTO
                                                                                                                                                                                                                                                           Tungsten Cerakote®                 Novak® 3-Dot
                                                                                                                           AUTO

                                                                                                                                                                                                    SR1911® OFFICER-STYLE




                                                                                                                                                                                                                        Model 6762 Shown
                                                                                                                                                                                                                                                            Steel and Aluminum Frames Available            Deluxe Textured G10 Grip Panels                 3.60'' Officer-Style Barrel Length
                                                                           Available in a Variety of Grip Configurations                                                                                                                                                                                                                                      with Bushingless Bull Barrel
                                                                                                                                                                                                              COMPARE

                                                                                                                                                                                                    Model     Caliber     Capacity   Slide/                Grip Frame/           Grip         Sights            Barrel       Overall     Height   Width        Weight †    Twist     Suggested
                                                                                                                                                                                                    Number                           Finish                Finish                Panels                         Length       Length                                                  Retail
                                                                                                                                                                                                    6758**    9mm         7+1        Stainless Steel/      Anodized              Deluxe       Drift             3.60''       7.25''      5''      1.34''       27.2 oz.    1:10''    $979.00
                                                                                                                                                                                                              Luger                  Low-Glare Stainless   Aluminum/             Textured     Adjustable
                                                                                                                                                                                                                                                           Tungsten Cerakote ®   G10          Novak® 3-Dot
                                                                                                                                                                                                    6762**    45 Auto     7+1        Stainless Steel/      Stainless Steel/      Deluxe       Drift             3.60''       7.25''      5''      1.34''       31 oz.      1:16''    $979.00
                                                                                                                                                                                                                                     Low-Glare Stainless   Low-Glare Stainless   Textured     Adjustable
                                                                                                                                                                                                                                                                                 G10          Novak® 3-Dot



                   Lightweight, Aluminum, Skeletonized Trigger                                 Superior Slide-to-Frame Fit                              Oversized Beavertail Grip Safety

                                                                                                                                                                                                    SR1911® TARGET
     SR1911® FULL-SIZE



                                                                                                                                                                                                                      Model 6739 Shown
                                                                                                                                                                                                                                                              Models 6736 and 6759 Feature                 Models 6739 and 6759 Feature                        Adjustable Target Sights
                                                                                                                                                                                                                                                            Ambidextrous Extended Thumb Safety                Bushingless Bull Barrel
                                                                                                                                                                                                              COMPARE

                                                                                                                                                         Drift Adjustable Novak® Three-Dot Sights   Model     Caliber     Capacity   Slide/                Grip Frame/           Grip         Sights           Barrel        Overall     Height   Width        Weight †    Twist     Suggested
                                                                                                                                                                                                    Number                           Finish                Finish                Panels                        Length        Length                                                  Retail
                                                                                                                                                                                                    6736*     45 Auto     8+1        Stainless Steel/      Stainless Steel/      Deluxe       Adjustable       5''           8.67''      5.45''   1.34''       39 oz.      1:16''    $1,019.00
      Model      Caliber   Capacity    Slide/                Grip Frame/           Grip         Sights             Barrel      Overall       Height   Width     Weight †    Twist     Suggested                                      Low-Glare Stainless   Low-Glare Stainless   Checkered    Target
      Number                           Finish                Finish                Panels                          Length      Length                                                 Retail                                                                                     G10
      6700*      45 Auto   8+1         Stainless Steel/      Stainless Steel/      Hardwood     Drift Adjustable   5''         8.67''        5.45''   1.34''    39 oz.      1:16''    $939.00       6739*     10mm        8+1        Stainless Steel/      Stainless Steel/      Black        Adjustable       5''           8.67''      5.45''   1.34''       40.4 oz.    1:16''    $1,019.00
                                       Low-Glare Stainless   Low-Glare Stainless                Novak® 3-Dot                                                                                                  Auto                   Low-Glare Stainless   Low-Glare Stainless   Rubberized   Target
                                                                                                                                                                                                    6759***   9mm         9+1        Stainless Steel/      Stainless Steel/      Deluxe       Adjustable       5''           8.67''      5.45''   1.45''       41.9 oz.    1:10''    $1,019.00
                                                                                                                                                                                                              Luger                  Low-Glare Stainless   Low-Glare Stainless   Checkered    Target
                                                                                                                                                                                                                                                                                 G10
     * Ships with one, 7-round and one, 8-round magazine. ** Ships with two, 7-round magazines. *** Ships with two, 9-round magazines.   †
                                                                                                                                             With empty magazine.

19                                                                                                                                                                                                                                                                                                                                                 R UGER .C OM / S R 1 9 1 1                    20
                                                                Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 56 of 174 PageID #: 734




     RUGER LIGHTWEIGHT,
                      ®

                                                                                                                                 R U G E R® L I G H T W E I G H T , C O M P A C T P I S T O L S

     COMPACT PISTOLS
     Ruger offers lightweight, compact pistols for every personal protection need.



                                                                                                                             LCP                LCP II                       EC9s       LC380CA
                                                                                                                                   ®                  ®                                                      ™
                                                                                                                                                                                    ®




                                                                                                                            THREE CALIBERS                                   FOUR FAMILIES




                                                                                                                                                                                           EC9s® with
                                                                                                                                                                                           Gray Grip Frame
                                                                                                                                                                                           (Model 13201)




                                                                                                                                                              LC380CA™
                                                                                                                                                              (Model 3253)




                                                                  LCP® II in .22 LR
                                                                  (Model 13705)


21                                                                                                                                                                                                               R UGER .C OM   22
                                                                                                                                      Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 57 of 174 PageID #: 735

               L CP | LCP II ®                      ®




     LCP ® FEATURES
        Compact and lightweight, the LCP® is designed to fit a variety of holsters.                           Includes finger grip extension floorplate that can be added
        Textured grip frame provides a secure and comfortable grip.                                           to the magazine for comfort and improved grip.

        Fixed front and rear sights are integral to the slide,                                                Black oxide, alloy steel barrel.
        while the hammer is recessed within the slide.                                                        Also includes: one magazine.
        Rugged construction with through-hardened steel slide and
                                                                                                                                                                                             380
                                                                                                                                                                                             AUTO
        one-piece, high-performance, glass-filled nylon grip frame.

     LCP®



                        Model 3701 Shown                                                                                                                               Model 13704 Includes an IWB Holster
                                                                                                      COMPARE
      Model       Caliber         Capacity     Slide/         Grip Frame                        Sights                       Barrel    Overall     Height    Width     Weight       Twist      Suggested
      Number                                   Finish                                                                        Length    Length                                                  Retail
      3701        380 Auto        6+1          Alloy Steel/   Black, High-Performance,          Integral                     2.75''    5.16''      3.60''    0.82''    9.6 oz.      1:16''     $259.00
                                               Black Oxide    Glass-Filled Nylon
      3752        380 Auto        6+1          Alloy Steel/   Black, High-Performance,          Integral/ Viridian®          2.75''    5.16''      3.60''    0.82''    10.4 oz.     1:16''     $349.00
                                               Black Oxide    Glass-Filled Nylon                E-Series™ Red Laser
      13704       380 Auto        6+1          Alloy Steel/   Black, High-Performance,          Integral                     2.75''    5.16''      3.60''    0.82''    9.6 oz.      1:16''     $279.00
                                               Black Oxide    Glass-Filled Nylon



     LCP® II FEATURES
        Secure Action™ fire control that combines the smooth pull of the LCP®                                 Magazine is designed to hold open slide after last round ejection.
        with the short, crisp feel and positive reset of a single action.                                     Safety features include an integrated trigger safety; neutrally balanced
        Larger grip surface for better distribution of recoil forces.                                         sear with significant engagement and strong spring tension; and hammer
        Improved sights for superior visibility.                                                              catch to help prevent the hammer from contacting the firing pin unless
                                                                                                              the trigger is pulled.
                                                                                                              Also includes: one magazine. Model 13705 includes one magazine loader.
     LCP® II

                                                                                                                                                                       380                   22
                                                                                                                                                                       AUTO                  LR
                        Model 3750 Shown
                                  C O MPARE
      Model       Caliber         Capacity     Slide/         Grip Frame                        Sights                   Barrel       Overall    Height*     Width     Weight       Twist      Suggested
      Number                                   Finish                                                                    Length       Length                                                   Retail
      3750        380 Auto        6+1          Alloy Steel/   Black, High-Performance,          Integral                 2.75''       5.17''     3.71''      0.91''    10.6 oz.     1:16''     $349.00
                                               Black Oxide    Glass-Filled Nylon
      3758        380 Auto        6+1          Alloy Steel/   Black, High-Performance,          Integral/ Viridian®      2.75''       5.17''     3.71''      0.91''    11.4 oz.     1:16''     $439.00
                                               Black Oxide    Glass-Filled Nylon                E-Series™ Red Laser
      3787        380 Auto        7+1          Alloy Steel/   Black, High-Performance,          Integral                 2.75''       5.17''     4.40''      0.91''    11 oz.       1:16''     $399.00
                                               Black Oxide    Glass-Filled Nylon



     LCP® II in .22 LR



                                              Lite Rack™ System Includes Refined Slide Serrations,      Low Recoil for          Patent-Pending Floorplate Assembly        Manual Safety Oriented in an
                                              Pronounced Cocking Ears and a Lighter Recoil Spring,    Comfortable Training     Extends the Grip for Improved Control       Instinctive and Unobtrusive
                                                      Allowing for Easy Slide Manipulation                                                                             Push-Forward-to-Fire Configuration
      Model       Caliber         Capacity     Slide/         Grip Frame                        Sights                   Barrel       Overall    Height*     Width     Weight       Twist      Suggested
      Number                                   Finish                                                                    Length       Length                                                   Retail
      13705       22 LR           10+1         Alloy Steel/   Black, High-Performance,          Integral                 2.75''       5.20''     4''         0.97''    11.2 oz.     1:16''     $349.00
                                               Black Oxide    Glass-Filled Nylon

     * With magazine installed.

23                                                                                                                                                                                                                       R UGER .C OM / L C P   24
                                                                                                                           Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 58 of 174 PageID #: 736

              E C 9s       ®
                                                                                                                                                                                                    L C38 0CA                 ™




     FEATURES                                                                                                                                                                                FEATURES
      Striker-fired with a short, light, crisp trigger pull for faster,                                Sights are machined integrally with the slide and feature                              Same compact size as the popular EC9s® with the reduced recoil                               Dovetailed, high-visibility, three-dot sight system with drift
      more accurate shooting.                                                                          glare-reducing, rear-facing serrations.                                                of the .380 Auto cartridge and a lighter recoil spring allowing                              adjustable rear sight and fixed front sight.
                                                                                                                                                                                              for easier slide manipulation.
      Slim, lightweight and compact for personal protection.                                           Black oxide, alloy steel barrel.                                                                                                                                                    Black oxide, alloy steel barrel.
      Just slightly larger than the popular and incredibly compact LCP®.                                                                                                                      Rugged construction with through-hardened steel slide and
                                                                                                       Safety features include integrated trigger safety, manual safety,                                                                                                                   Safety features include internal lock, manual safety, magazine
                                                                                                                                                                                              one-piece, high-performance, glass-filled nylon grip frame.
      Rugged construction with through-hardened steel slide and                                        magazine disconnect and inspection port that allows for                                                                                                                             disconnect and patented loaded chamber indicator that
      one-piece, high-performance, glass-filled nylon grip frame.                                      visual confirmation of a loaded or empty chamber.                                      Checkered grip frame provides a secure and comfortable grip.                                 allows for visual confirmation of a loaded or
                                                                                                                                                                                                                                                                                           empty chamber.
      Checkered grip frame provides a secure and comfortable grip.                                     Also includes: one, 7-round magazine.                                                  Includes finger grip extension floorplate that can be added to
      Includes finger grip extension floorplate that can be added                                                                                                               9mm
                                                                                                                                                                                LUGER
                                                                                                                                                                                              the magazine for comfort and grip.                                                           Also includes: one, 7-round magazine.
                                                                                                                                                                                                                                                                                                                                                                    380
      to the magazine for comfort and improved grip.                                                                                                                                                                                                                                                                                                                AUTO




                      EC9s® with                                        EC9s® with                                                                                                                          LC380CA™
                      Purple                                            Turquoise                                                                                                                           (Model 3253)
                      Grip Frame                                        Grip Frame
                      (Model 3295)                                      (Model 13200)                      Model 13202 Includes an IWB Holster                 Integral Sights                                                            LC9® Conversion Kit for LC380CA™ Converts the              Chambered in Reliable and                  Easy-to-Rack Slide
                                                                                                                                                                                                                                           LC380CA™ (.380 Auto) to Accept 9mm Luger                     Effective .380 Auto
                                                                                                                                                                                                                                                 Available At ShopRuger.com
                                          C OMPA RE
     Model    Caliber   Capacity     Slide/                Grip                              Feature       Sights     Barrel   Overall    Height   Width    Weight     Twist     Suggested   Model Number     Caliber      Capacity   Slide/Finish     Grip Frame                 Sights                  Barrel   Overall    Height   Width    Weight     Twist     Suggested
     Number                          Finish                Frame                                                      Length   Length                                            Retail                                                                                                                   Length   Length                                            Retail
     3283     9mm       7+1          Alloy Steel/          Black, High-Performance,          –             Integral   3.12''   6''        4.50''   0.90''   17.2 oz.   1:10''    $299.00     3253             380 Auto     7+1        Alloy Steel/     Black, High-Performance,   Drift Adjustable        3.12''   6''        4.50''   0.90''   17.2 oz.   1:16''    $539.00
              Luger                  Black Oxide           Glass-Filled Nylon                                                                                                                                                         Black Oxide      Glass-Filled Nylon         3-Dot

     3295     9mm       7+1          Alloy Steel/          Purple, High-Performance,         –             Integral   3.12''   6''        4.50''   0.90''   17.2 oz.   1:10''    $329.00
              Luger                  Aluminum Cerakote ®   Glass-Filled Nylon

     3297     9mm       7+1          Alloy Steel/          Flat Dark Earth, High-            –             Integral   3.12''   6''        4.50''   0.90''   17.2 oz.   1:10''    $319.00
              Luger                  Black Oxide           Performance, Glass-Filled Nylon

     13200    9mm       7+1          Alloy Steel/          Turquoise, High-Performance,      –             Integral   3.12''   6''        4.50''   0.90''   17.2 oz.   1:10''    $329.00
              Luger                  Aluminum Cerakote ®   Glass-Filled Nylon

     13201    9mm       7+1          Alloy Steel/          Gray, High-Performance,           –             Integral   3.12''   6''        4.50''   0.90''   17.2 oz.   1:10''    $319.00
              Luger                  Black Oxide           Glass-Filled Nylon

     13202    9mm       7+1          Alloy Steel/          Black, High-Performance,          IWB           Integral   3.12''   6''        4.50''   0.90''   17.2 oz.   1:10''    $319.00
              Luger                  Black Oxide           Glass-Filled Nylon                Holster




25                                                                                                                                                                                                                                                                                                                                                                               26
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     SR22
                   ®

                                                                                                                                                                                                   S R 2 2®


     The do-it-all .22 LR pistol for the shooter who appreciates style and demands reliability,
     the SR22 is packed with versatile features. It is lightweight, easy to field strip, fun to shoot
               ®




     and will run reliably with a wide variety of ammunition (not just high-velocity ammunition).

                                                                                                                                                                                                      22
                                                                                                                                                                                                      LR

                                                                                                                                                 ONE CALIBER                                                            FOUR MODELS

                                                                                                                                 SR22 ® THREADED BARREL KIT*
                                                                                                                                 Comes with Factory-Manufactured Stainless Steel Barrel,
                                                                                                                                 Thread Protector, Adapter and Wrench. BUY NOW AT SHOPRUGER.COM


                                                                                                                                                                   Threaded Barrel (Model 3604)




                                                                                                                                                                   Accepts any .22 Caliber 1/2''-28 Muzzle Device (Not Included) – Thread Protector, Adapter and Wrench Provided




                                                                                                                                 SR22® with
                                                                                                                                 4.50'' Barrel
                                                                                                                                 (Model 3620)




                                                                                                                                                                                                                                                              SR22® with Silver
                                                                                                                                                                                                                                                              Anodized Slide Finish
                                                                                                                                                                                                                                                              (Model 3607)




                                                                                                                  * Compatible with SR22 ® pistols bearing serial numbers 361-7XXXX and higher.
27                                                                                                                  Not available in states that prohibit threaded barrels.                                                                                       R UGER .C OM / S R 2 2   28
                                                                                                                                           Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 60 of 174 PageID #: 738

                SR22              ®




     FEATURES
        Light double-action and crisp single-action trigger pulls.                                                    The easy-to-use underside Picatinny rail features multiple cross slots
        External hammer is designed with a rounded spur for easy cocking                                              for variable mounting of most popular accessories.
        and single-action shooting.
                                                                                                                      Inspection port allows for visual confirmation of a loaded or empty chamber.
        Polymer frame and two interchangeable rubberized grips with
                                                                                                                      Readily replaceable stainless steel barrel.
        angled serrations allow shooters to select either a slim or
        wider palm swell option (no tools required).                                                                  Ambidextrous manual thumb safety/decocking lever
                                                                                                                      and magazine release.
        The aerospace-grade aluminum slide has serrations on both
        the front and rear for better grip and slide manipulation.                                                    Easy to field strip.
        The dovetailed, high-visibility, three-dot sight system has a fixed front sight                               Also includes: two, 10-round magazines;
        and a rear sight that is both windage- and elevation-adjustable. A reversible                                 two finger grip extension floorplates.
        blade allows shooters to select two white dots or a solid black blade.




                                               SR22®
                                               (Model 3600)

                                                                                                                                                                                                         22
                                                                                                                                                                                                         LR
                                                      C OMPA RE
      Model          Caliber       Capacity       Slide/                  Grip Frame           Sights             Thread       Barrel      Overall      Height       Width      Weight        Twist      Suggested
      Number                                      Finish                                                          Pattern      Length      Length                                                        Retail
      3600           22 LR         10+1           Aluminum/               Black Polymer        Adjustable         –            3.50''      6.40''       4.90''       0.97''     17.5 oz.      1:16''     $439.00
                                                  Black Anodized                               3-Dot
      3604*          22 LR         10+1           Aluminum/               Black Polymer        Adjustable         1/2''-28     3.50''      6.40''†      4.90''       0.97''     17.5 oz.      1:16''     $479.00
                                                  Black Anodized                               3-Dot
      3607           22 LR         10+1           Aluminum/               Black Polymer        Adjustable         –            3.50''      6.40''       4.90''       0.97''     17.5 oz.      1:16''     $469.00
                                                  Silver Anodized                              3-Dot
      3620           22 LR         10+1           Aluminum/               Black Polymer        Adjustable         –            4.50''      7.40''       4.90''       0.97''     18.7 oz.      1:16''     $459.00
                                                  Black Anodized                               3-Dot




                External Hammer with a                                   Picatinny Rail with Multiple Cross Slots                                       Ambidextrous Manual Thumb Safety/
             Rounded Spur for Easy Cocking                                for Mounting a Variety of Accessories                                        Decocking Lever and Magazine Release




                                Fixed, White Dot Front Sight and Adjustable Rear Sight with Reversible Blade                                                Two Grip Options for Slim or Wider Palm Swell


     * Pistols with threaded barrels are not available in all states and locales due to laws containing feature-based restrictions. Prior to purchasing, please check your state and local regulations
       to verify that you may legally possess such firearms. † With thread protector installed.

29                                                                                                                                                                                                                            R UGER .C OM / S R 2 2   30
                                                                Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 61 of 174 PageID #: 739




     MARK IV
                            ™

                                                                                                                                                              MARK IV™


     Ruger has long set the standard for reliable, affordable and accurate .22 LR handguns,
     beginning with the introduction of the Standard Pistol in 1949. Since then, the Standard
     Pistol has undergone a series of enhancements with the development of the Mark I,
     Mark II , Mark III and now the Mark IV Pistol. The Mark IV maintains the classic look
           ™         ™                      ™                     ™

                                                                                                                                                                      22
     of the original but adds a simple, one-button takedown for quick and easy field stripping.                                                                       LR

                                                                                                                                    ONE CALIBER                             NINETEEN MODELS


                                                                                                                           STANDARD                       TARGET            HUNTER      COMPETITION



                                                                                                                            TACTICAL                      22/45   ™
                                                                                                                                                                           22/45 LITE
                                                                                                                                                                                ™         22/45    ™


                                                                                                                                                                                         TACTICAL




                                                                                                                       Mark IV™ Target with 10'' Barrel
                                                                                                                       (Model 40173)




                                                                                                                                                                                             Mark IV™ 22/45™ Lite
                                                                                                                                                                                             with Diamond Gray
                                                                                                                                                                                             Anodized Finish and Gold Barrel
                                                                                                                                                                                             (Model 43934)




31                                                                                                                                                                                          R UGER .C OM / M A R K I V         32
                                                                                                                  Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 62 of 174 PageID #: 740
                                     ™
            MARK IV
     FEATURES
      Simple, one-button takedown for quick and easy field-stripping and                      Accurate sighting system features a drilled and tapped receiver for
      proper chamber-to-muzzle cleaning. Pressing a button in the back                        Weaver- or Picatinny-style rail for easy mounting of optics (rail included
      of the frame allows the barrel-receiver assembly to tilt up and off                     only on Tactical models).
      the grip frame without the use of tools.
                                                                                              Ambidextrous manual safety can be converted to left-side only
      One-piece, precision CNC-machined grip frame.                                           with included washer.
      Cold hammer-forged barrel results in ultra-precise rifling that provides                Features a conveniently located push-button magazine release
      exceptional accuracy and longevity.                                                     on the left side of the frame.
      Ergonomic bolt stop.                                                                    Magazine drops free on release for convenient reloading.
      Smoothly contoured, comfortable grip features a natural-pointing                        Magazine disconnect prevents discharge when
      grip angle with replaceable, checkered or textured grip panels for                      the magazine has been removed.
      a non-slip hold. Some models are also available with laminate,
                                                                                              Also includes: two, nickel-Teflon® coated magazines.
      target grips featuring wrap-around finger grooves.
      Internal cylindrical bolt construction ensures permanent sight-to-                      RUGER® MARK IV™ OWNERS: SEE INSIDE BACK COVER FOR AN IMPORTANT
      barrel alignment and higher accuracy potential than conventional                        PRODUCT SAFETY WARNING AND RECALL NOTICE FROM RUGER!
      moving-slide designs.
      Contoured ejection port and easy-to-grasp bolt ears allow for durable
      and reliable operation round after round.                                                                                                                  22
                                                                                                                                                                 LR




                                                                   Available in Multiple Barrel Configurations




          Accurate, Adjustable Sighting System               Simple, One-Button Takedown for Quick and Easy Field-Stripping           Ambidextrous Manual Safety Positively
                                                                                  (No Tools Required)                                    Locks the Sear When Applied




                                                                  Available in a Variety of Grip Configurations




33                                                                                                                                                                                                   R UGER .C OM / M A R K I V   34
                                                                                                                                                  Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 63 of 174 PageID #: 741
                                              ™
                MARK IV
     MARK IV™ STANDARD                                                                                                                                                                                                                  MARK IV™ HUNTER




                                                                                                                                                                                                                                                           Model 40118 Shown
                             Model 40105 Shown
                                                                                  One-Piece Aluminum Grip Frame                       Checkered Synthetic Grips                                        Tapered Barrel                                                                                        One-Piece, Stainless Steel Grip Frame Checkered Laminate or Laminate, Target Grips                                           Fluted Bull Barrel
                                                                                                                               C OMPARE                                                                                                                                                                                         COMPARE

      Model          Caliber      Capacity    Upper/          Grip Frame/       Barrel         Grips                  Sights    Barrel        Overall              Height        Width          Weight       Twist      Suggested       Model    Caliber     Capacity   Upper/                 Grip Frame/           Barrel     Grips          Sights                  Barrel       Overall         Height      Width          Weight       Twist        Suggested
      Number                                  Finish          Finish                                                            Length        Length                                                                    Retail          Number                          Finish                 Finish                                                                  Length       Length                                                               Retail
      40104          22 LR        10+1        Alloy Steel/    Aluminum/         Tapered        Checkered              Fixed     4.75''        9''                  5.40''        1.20''         28.2 oz.     1:16''     $449.00         40118    22 LR       10+1       Stainless Steel/       Stainless Steel/      Fluted     Checkered      Fiber Optic Front,      6.88''       11.12''         5.50''      1.20''         44 oz.       1:16''       $769.00
                                              Blued           Anodized                         Synthetic                                                                                                                                                                Satin Stainless        Satin Stainless       Bull       Laminate       Adjustable Rear
      40105          22 LR       10+1         Alloy Steel/    Aluminum/         Tapered        Checkered              Fixed     6''           10.25''              5.40''        1.20''         30.1 oz.     1:16''     $449.00         40160    22 LR       10+1       Stainless Steel/       Stainless Steel/      Fluted     Laminate,      Fiber Optic Front,      6.88''       11.12''         5.50''      1.46''         44.2 oz.     1:16''       $799.00
                                              Blued           Anodized                         Synthetic                                                                                                                                                                Satin Stainless        Satin Stainless       Bull       Target         Adjustable Rear




     MARK IV™ STANDARD 70TH ANNIVERSARY LIMITED EDITION                                                                                                                                                                                 MARK IV™ COMPETITION




                                                                                                                                                                                                                                                                                                                        One-Piece, Stainless                      Checkered Laminate Grips                                       Slab-Sided Bull Barrel
                                                                              Custom Wood Case                    Commemorative 70th Anniversary Laser Engraving                          Limited Edition “70th” Serial Number Prefix
                                                                                                                                                                                                                                                                                                                         Steel Grip Frame                             with Thumb Rest
      Model          Caliber      Capacity    Upper/          Grip Frame/     Barrel         Grips            Sights              Barrel          Overall          Height        Width        Weight       Twist        Suggested       Model    Caliber     Capacity      Upper/              Grip Frame/        Barrel        Grips                Sights              Barrel           Overall      Height         Width       Weight        Twist     Suggested
      Number                                  Finish          Finish                                                              Length          Length                                                                Retail          Number                             Finish              Finish                                                                    Length           Length                                                          Retail
      40168          22 LR        10+1        Alloy Steel/    Aluminum/       Tapered        Checkered        Fixed               4.75''          9''              5.40''        1.20''       28.2 oz.     1:16''       $529.00         40112    22 LR       10+1          Stainless Steel/    Stainless Steel/   Slab-         Checkered            Fixed Front,        6.88''           11.12''      5.50''         1.75''      45.8 oz.      1:16''    $749.00
                                              Blued           Anodized                       Synthetic                                                                                                                                                                     Satin Stainless     Satin Stainless    Sided         Laminate with        Adjustable Rear
                                                                                                                                                                                                                                                                                                                  Bull          Thumb Rest




     MARK IV™ TARGET                                                                                                                                                                                                                    MARK IV™ TACTICAL




                             Model 40174 Shown
                                                                                                              One-Piece, Aluminum or                        Checkered Synthetic or                     Bull Barrel (Model 40126                                                                Factory-Installed Top and Bottom Picatinny Rails          Checkered Synthetic Grips             Threaded Barrel (1/2''-28) for Popular Muzzle Accessories
                                                                                                             Stainless Steel Grip Frame                     Laminate, Target Grips                     Features Threaded Barrel)
                                                                                                                                                                                                                                        Model      Caliber      Capacity     Upper/           Grip Frame/   Barrel            Grips         Sights               Barrel         Overall       Height         Width        Weight           Twist         Suggested
                                             COMPARE                                                                                                                                                                                    Number                               Finish           Finish                                                             Length         Length                                                                   Retail
      Model        Caliber     Capacity    Upper/              Grip Frame/          Barrel           Grips            Sights               Barrel           Overall         Height   Width        Weight       Twist     Suggested      40150*     22 LR        10+1         Alloy Steel/     Aluminum/     Threaded          Checkered     Fixed Front,         4.40''         8.50''        5.50''         1.20''       34.6 oz.         1:16''        $569.00
      Number                               Finish              Finish                                                                      Length           Length                                                       Retail                                              Blued            Anodized      Bull              Synthetic     Adjustable Rear
      40101        22 LR       10+1        Alloy Steel/        Aluminum/            Bull             Checkered        Fixed Front,         5.50''           9.75''          5.50''   1.20''       35.6 oz.     1:16''    $529.00
                                           Blued               Anodized                              Synthetic        Adjustable Rear
      40159        22 LR       10+1        Alloy Steel/        Aluminum/            Bull             Laminate,        Fixed Front,         5.50''           9.75''          5.50''   1.46''       35.8 oz.     1:16''    $569.00
                                           Blued               Anodized                              Target           Adjustable Rear
      40103        22 LR       10+1        Stainless Steel/    Stainless Steel/     Bull             Checkered        Fixed Front,         5.50''           9.75''          5.50''   1.20''       42.8 oz.     1:16''    $689.00
                                           Satin Stainless     Satin Stainless                       Synthetic        Adjustable Rear
      40126*       22 LR       10+1        Stainless Steel/    Stainless Steel/     Threaded         Checkered        Fixed Front,         5.50''           9.75''          5.50''   1.20''       42.8 oz.     1:16''    $699.00
                                           Satin Stainless     Satin Stainless      Bull             Synthetic        Adjustable Rear
      40173        22 LR       10+1        Alloy Steel/        Aluminum/            Bull             Checkered        Fixed Front,         10''             14''            5.50''   1.20''       46.3 oz.     1:16''    $645.00
                                           Blued               Anodized                              Synthetic        Adjustable Rear
      40174        22 LR       10+1        Stainless Steel/    Stainless Steel/     Bull             Checkered        Fixed Front,         10''             14''            5.50''   1.20''       53.5 oz.     1:16''    $719.00
                                           Satin Stainless     Satin Stainless                       Synthetic        Adjustable Rear




     * Pistols with threaded barrels are not available in all states and locales due to laws containing feature-based restrictions.
       Prior to purchasing, please check your state and local regulations to verify that you may legally possess such firearms.

35                                                                                                                                                                                                                                                                                                                                                                                                                 R UGER .C OM / M A R K I V                         36
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             M A R K I V 22/4 5        ™                    ™




     FEATURES                                                                                                                                                                 MARK IV™ 22/45™ LITE
      Simple, one-button takedown for quick and easy field-stripping                              Contoured ejection port and easy-to-grasp bolt ears allow
      and proper chamber to muzzle cleaning. Pressing a button in the                             for durable and reliable operation round after round.
      back of the frame allows the barrel-receiver assembly to tilt up
                                                                                                  Accurate sighting system features an adjustable rear sight and a
      and off the grip frame without the use of tools.
                                                                                                  factory-installed Picatinny rail for easy mounting of optics (excludes
      Lite models feature a lightweight, ventilated, aerospace-grade                              model 40107).
      aluminum receiver and a tensioned stainless steel barrel.
                                                                                                  Ambidextrous manual safety can be converted to left-side only                                      Model 43934 Shown
      Cold hammer-forged barrel results in ultra-precise rifling that provides                    with included washer.                                                                                                                                Checkered 1911-Style or             Lightweight, Ventilated, Aerospace-Grade            Threaded Barrel (1/2''-28) for Popular
      exceptional accuracy and longevity.                                                                                                                                                                                                               Laminate, Target Grips               Aluminum Barrel-Receiver Assembly               Muzzle Accessories (Excludes Model 43921)
                                                                                                  Features a conveniently located push-button magazine release                                                         COMPARE

      Threaded barrel models feature a 1/2''-28 thread pattern for                                on the left side of the frame.                                               Model       Caliber     Capacity     Upper/                Barrel         Grip         Grips          Sights               Barrel     Overall    Height       Width    Weight         Twist     Suggested
                                                                                                                                                                               Number                               Finish                               Frame                                            Length     Length                                                    Retail
      popular muzzle accessories (thread protector included).
                                                                                                  Magazine drops free on release for faster reloading.                         43934*      22 LR       10+1         Aluminum/             Gold,          Polymer      Checkered      Fixed Front,         4.40''     8.40''     5.50''       1.22''   25 oz.         1:16''    $559.00
                                                                                                                                                                                                                    Diamond Gray          Threaded                    1911-Style     Adjustable Rear
      Comfortable, precision-molded polymer grip frame with                                                                                                                                                         Anodized
                                                                                                  Magazine disconnect prevents discharge when
      a serrated frontstrap and checkered backstrap.                                                                                                                           43921       22 LR       10+1         Aluminum/             Stainless,     Polymer      Laminate,      Fixed Front,         4.40''     8.40''     5.50''       1.50''   27 oz.         1:16''    $599.00
                                                                                                  the magazine has been removed.
      Checkered, 1911-style grip panels for a great appearance                                                                                                           22                                         Diamond Gray          Non-                        Target         Adjustable Rear

      and comfortable, non-slip hold.
                                                                                                  Also includes: two, nickel-Teflon® coated magazines.
                                                                                                                                                                         LR    43926*      22 LR       10+1
                                                                                                                                                                                                                    Anodized
                                                                                                                                                                                                                    Aluminum/
                                                                                                                                                                                                                                          Threaded
                                                                                                                                                                                                                                          Black,         Polymer      Checkered      Fixed Front,         4.40''     8.40''     5.50''       1.22''   25 oz.         1:16''    $559.00
                                                                                                                                                                                                                    Gold Anodized         Threaded                    1911-Style     Adjustable Rear
      Ergonomic bolt stop.
                                                                                                                                                                               43927*      22 LR       10+1         Aluminum/             Gold,          Polymer      Checkered      Fixed Front,         4.40''     8.40''     5.50''       1.22''   25 oz.         1:16''    $559.00
                                                                                                                                                                                                                    Black Anodized        Threaded                    1911-Style     Adjustable Rear
      Internal cylindrical bolt construction ensures permanent sight-                            RUGER MARK IV 22/45 OWNERS: SEE INSIDE BACK COVER FOR AN
                                                                                                         ®            ™         ™

      to-barrel alignment and higher accuracy potential than                                     IMPORTANT PRODUCT SAFETY WARNING AND RECALL NOTICE FROM RUGER!
      conventional moving-slide designs.

                                                                                                                                                                              MARK IV™ 22/45™ TACTICAL




                                                                                                                                                                                                                                                                                          Factory-Installed Top and Bottom Picatinny Rails            Threaded Barrel (1/2''-28) for
                                                                                                                                                                                                                                                                                                                                                       Popular Muzzle Accessories
                                                                Lightweight, Ventilated, Aerospace-Grade Aluminum Receiver
                                                                                                                                                                               Model       Caliber     Capacity     Upper/                 Barrel        Grip         Grips           Sights               Barrel    Overall    Height       Width    Weight         Twist     Suggested
                                                                                                                                                                               Number                               Finish                               Frame                                             Length    Length                                                    Retail
                                                                                                                                                                               40149*      22 LR       10+1         Alloy Steel/           Threaded      Polymer      Checkered       Fixed Front,         4.40''    8.50''     5.50''       1.22''   33.3 oz.       1:16''    $529.00
                                                                                                                                                                                                                    Blued                  Bull                       1911-Style      Adjustable Rear




                                                                                                                                                                              MARK IV™ 22/45™



             Ambidextrous Manual Safety Positively Locks the Sear When Applied                                   Comfortable, Precision-Molded Polymer Grip Frame




                                                                                                                                                                                                                                                                                                                                                                 Bull Barrel


                                                                                                                                                                               Model       Caliber     Capacity     Upper/                 Barrel        Grip         Grips           Sights               Barrel    Overall    Height       Width    Weight         Twist     Suggested
                                                                                                                                                                               Number                               Finish                               Frame                                             Length    Length                                                    Retail
                                                                                                                                                                               40107       22 LR       10+1         Alloy Steel/           Bull          Polymer      Checkered       Fixed Front,         5.50''    9.75''     5.50''       1.22''   34.4 oz.       1:16''    $409.00
                                                                                                                                                                                                                    Blued                                             1911-Style      Adjustable Rear




      Accurate Sighting System Features an Adjustable Rear Sight and a Factory-Installed                      Threaded Barrel Models Feature a 1/2''-28 Thread Pattern
              Picatinny Rail for Easy Mounting of Optics (Excludes Model 40107)                                           for Popular Muzzle Accessories                      * Pistols with threaded barrels are not available in all states and locales due to laws containing feature-based restrictions.
                                                                                                                                                                                Prior to purchasing, please check your state and local regulations to verify that you may legally possess such firearms.

37                                                                                                                                                                                                                                                                                                                                              R UGER .C OM / M A R K I V                 38
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     SILENT-SR .22 CAL
                                 ®

                                                                                                                                                                    S I L E N T - S R® . 2 2 C A L


     Offering top-tier sound reduction, the Silent-SR .22 CAL sound suppressor features
                                                       ®




     best-in-class materials and an advanced design resulting in a lightweight, compact size.
     It was designed and built by Ruger utilizing the very latest in fluid dynamic simulation and
     computer numeric controlled (CNC) machining equipment.                                                                                                      22                  22                      17
                                                                                                                                                                 LR                 WMR                      HMR



                                                                                                                                  RATED FOR .22 LR FULL AUTO, .22 WMR AND .17 HMR PISTOLS AND RIFLES.
                                                                                                                         REDUCES SOUND PRESSURE LEVELS BY UP TO 40 dB.
                                                                                                                         T H E S I L E N T- S R ® . 2 2 C A L I S C O M PAT I B L E W I T H A H O S T O F R U G E R ® F I R E A R M S

                                                                                                                            SR22® Pistol with Threaded Barrel                   10/22® Tactical                         10/22® Competition

                                                                                                                          Mark IV™ Target with Threaded Barrel                 10/22® Target Lite                     Ruger American® Rimfire
                                                                                                                                                                                                                      Threaded Barrel Models
                                                                                                                                    Mark IV™ Tactical                        10/22 Takedown® Lite
                                                                                                                                                                                                                      Ruger American® Rimfire
                                                                                                                                Mark IV™ 22/45™ Tactical              10/22 Takedown® with Threaded Barrel         Compact Threaded Barrel Models
                                                                                                                        Mark IV™ 22/45™ Lite with Threaded Barrel            10/22 Takedown® with                     Ruger Precision® Rimfire
                                                                                                                                                                          Fluted .920'' Diameter Barrel
                                                                                                                          22 Charger ™/22 Charger ™ Takedown




                                                                        Pistol Not Included
                                                                                                                        Silent-SR® .22 CAL
                                                                                                                        (Model 19000)




39                                                                                                                                                                                                                              R UGER .C OM / S I L E N T - S R   40
                                                                                                                                         Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 66 of 174 PageID #: 744

                S I L EN T-SR .22 L R               ®




     FEATURES
        Reduces sound pressure levels of .22 LR, .22 WMR and                                                       Utilizing a titanium tube, aluminum rear cap, and stainless steel
        .17 HMR pistols and rifles by up to 40 dB.                                                                 thread mount, baffles and front cap, Ruger has selected the best
                                                                                                                   material for each part to maximize strength and minimize
        Rated for .22 LR full auto, .22 WMR and .17 HMR pistols and rifles.
                                                                                                                   weight without sacrificing durability.
        Features a standard 1/2''-28 thread pattern for compatibility
        with most threaded rimfire firearms.
        Patented outer tube and muzzle mount are interlocked to
        prevent inadvertent disassembly when removing the suppressor
        from your firearm. Disassembly tool is included.
        Compact and lightweight for balance and portability.
        Easy to disassemble and clean; each piece snaps together
        to seal the baffles and keep the byproducts of combustion
        away from the tube and end caps.                                                                                                22                              22                        17
                                                                                                                                        LR                            WMR                         HMR



          For additional information on National Firearms Act (NFA) item restrictions, visit: RUGER.COM/NFA




                                      Easy Disassembly for Cleaning                                                      Using the Provided Disassembly Tool, Remove the Front and Rear Caps




               Slide the Entire Stack of Baffles Out of the Rear of the Suppressor Tube                                                   Snap Apart Each Part of the Baffle Stack



      Model Number         Caliber                                       Material/Finish                                                Length      Diameter      Weight       Thread Pattern   Suggested
                                                                                                                                                                                                Retail
      19000*               22 LR / 22 WMR / 17 HMR                       Titanium, 17-4 Stainless and Aluminum/Cerakote ®               5.37''      1.06''        6.3 oz.      1/2''-28         $449.00




     * Sound suppressors are not available in all states and locales due to laws restricting their ownership and use. Prior to purchasing, please check your state and local regulations
       to verify that you may legally possess a suppressor.

41                                                                                                                                                                                                                          R UGER .C OM / S I L E N T - S R   42
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     RUGER DOUBLE-ACTION REVOLVERS
                      ®

                                                                                                                                       RUGER® DOUBLE-ACTION REVOLVERS


     Combining superior design and engineering with dedicated craftsmanship, Ruger   ®




     Double-Action Revolvers are packed with features and inspire genuine pride
     of ownership and provide years of reliable service.

                                                                                                                          RUGER        ®     GP100   ®
                                                                                                                                                         REDHAWK   ®    SUPER             ®
                                                                                                                          SP101                                        REDHAWK

                                                                                                                                              FOUR FAMILIES




                                                                                                                                                                           Redhawk®
                                                                                                                                                                           in .44 Rem. Mag.
                                                                                                                                                                           (Model 5043)




                                                                                                                   Ruger SP101®
                                                                                                                   with Blued Finish
                                                                                                                   (Model 15702)




                                                                                                                                                                        GP100 ®
                                                                                                                                                                        Match Champion®
                                                                                                                                                                        in 10mm Auto
                                                                                                                                                                        (Model 1775)




43                                                                                                                                                                                        R UGER .C OM   44
                                                                                                        Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 68 of 174 PageID #: 746

           R U G E R SP101                          ®




     FEATURES
      Grip frame easily accommodates a variety of custom grips.                         Takedown of integrated subassemblies requires no special tools,
                                                                                        allowing for easy maintenance and re-assembly.
      Triple-locking cylinder is locked into the frame at the front,
      rear and bottom for more positive alignment and dependable                        Transfer bar mechanism provides an unparalleled measure
      operation shot after shot.                                                        of security against accidental discharge.
      Cushioned rubber grip with black synthetic or hardwood inserts
      (excludes model 5782) has no exposed metal in the backstrap,
      making it extremely comfortable.
      Dual chambering allows .357 Magnum models to accept
      factory .38 Special cartridges.
                                                                       22                 9mm                38 SPL
                                                                                                                                     327                     357
                                                                                                                                     FED
                                                                       LR                 LUGER                +P                    MAG                     MAG
     RUGER SP101®




                     Grip Frame Design                                 Triple-Locking Cylinder                         Available in a Variety of Grip Configurations




                                 Transfer Bar Mechanism                                                  Easy Takedown Requires No Special Tools




     RUGER SP101® MATCH CHAMPION®




            Full-Lug Barrel with 11˚ Target Crown                       Match-Tuned Action                      Dovetailed, Fiber Optic Front and Adjustable Rear Sights
               for Competition-Level Accuracy


45                                                                                                                                                                                         R UGER .C OM / S P 1 0 1   46
                                                                                                                       Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 69 of 174 PageID #: 747

              R U G E R SP101                          ®




     RUGER SP101® with 2.25'' Barrel                                                                                                                                                     RUGER SP101® with Blued Finish




                                                                   Pinned, Replaceable Black Ramp Front       Moon Clips Included with Model 5783         Cushioned Rubber Grip with                                                                                                          Pinned, Replaceable Black Ramp Front                Cushioned Rubber Grip with
                                                                          and Integral Rear Sights                  for Convenient Loading                  Black Synthetic Inserts                                                                                                                  and Integral Rear Sights                     Engraved Hardwood Inserts
                        Model 5718 Shown


              COMPARE
                                                                                                                                                                                         Model    Caliber         Capacity     Material/          Grip                        Front Sight    Rear Sight       Barrel        Overall    Weight         Twist          Suggested
     Model    Caliber         Capacity   Material/          Grip                         Front Sight      Rear Sight    Barrel       Overall     Weight       Twist          Suggested
                                                                                                                                                                                         Number                                Finish                                                                         Length        Length                                   Retail
     Number                              Finish                                                                         Length       Length                                  Retail
                                                                                                                                                                                         15702    357 Mag         5            Alloy Steel/       Cushioned Rubber,           Ramp           Integral         2.25''        7.20''     26 oz.         1:16''         $719.00
     5737     38 Spl +P       5          Stainless Steel/   Cushioned Rubber/            Ramp             Integral      2.25''       7.20''      26 oz.       1:18.75''      $719.00
                                                                                                                                                                                                                               Blued              Engraved Hardwood
                                         Satin Stainless    Black Synthetic Inserts
     5718     357 Mag         5          Stainless Steel/   Cushioned Rubber/            Ramp             Integral      2.25''       7.20''      26 oz.       1:16''         $719.00
                                         Satin Stainless    Black Synthetic Inserts
     5783     9mm Luger       5          Stainless Steel/   Cushioned Rubber/            Ramp             Integral      2.25''       7.20''      25 oz.       1:16''         $719.00
                                         Satin Stainless    Black Synthetic Inserts
                                                                                                                                                                                         RUGER SP101® with Engraved Hardwood Inserts



     RUGER SP101® with 3'' Barrel

                                                                                                                                                                                                                                                                                            Dovetailed, Fiber Optic Front and Adjustable          Cushioned Rubber Grip with
                                                                                                                                                                                                            Model 5773 Shown                                                                   Rear Sights (Excludes Model 5784)                  Engraved Hardwood Inserts



                                                                                                                                                                                                  COMPARE
                                                                                                                                                                                         Model    Caliber         Capacity     Material/          Grip                        Front Sight    Rear Sight       Barrel        Overall    Weight         Twist          Suggested
                                                                                                          Pinned, Replaceable Black Ramp Front            Cushioned Rubber Grip with     Number                                Finish                                                                         Length        Length                                   Retail
                                                                                                                 and Integral Rear Sights                   Black Synthetic Inserts      5765     22 LR           8            Stainless Steel/   Cushioned Rubber/           Fiber Optic    Adjustable       4.20''        9.12''     30 oz.         1:16''         $769.00
                                                                                                                                                                                                                               Satin Stainless    Engraved Hardwood Inserts
                                                                                                                                                                                         5773     327 Fed Mag     6            Stainless Steel/   Cushioned Rubber/           Fiber Optic    Adjustable       4.20''        9.12''     29.5 oz.       1:16''         $769.00
     Model    Caliber         Capacity   Material/          Grip                         Front Sight      Rear Sight    Barrel       Overall     Weight       Twist          Suggested                                         Satin Stainless    Engraved Hardwood Inserts
     Number                              Finish                                                                         Length       Length                                  Retail      5771     357 Mag         5            Stainless Steel/   Cushioned Rubber/           Fiber Optic    Adjustable       4.20''        9.12''     29.5 oz.       1:16''         $769.00
     5719     357 Mag         5          Stainless Steel/   Cushioned Rubber/            Ramp             Integral      3''          8''         27 oz.       1:16''         $719.00                                           Satin Stainless    Engraved Hardwood Inserts
                                         Satin Stainless    Black Synthetic Inserts                                                                                                      5784     327 Fed Mag     6            Stainless Steel/   Cushioned Rubber/           Ramp           Integral         3''           8''        27 oz.         1:16''         $749.00
                                                                                                                                                                                                                               Satin Stainless    Engraved Hardwood Inserts




     RUGER SP101® with Spurless Hammer                                                                                                                                                   RUGER SP101® MATCH CHAMPION®




                                                            Double-Action Only Spurless Hammer            Pinned, Replaceable Black Ramp Front            Cushioned Rubber Grip with                                                                                                             Dovetailed, Fiber Optic Front and                    Custom Stippled,
                                                               is Ideal for a Snag-Free Draw                     and Integral Rear Sights                   Black Synthetic Inserts                                                                                                                  Adjustable Rear Sights                       Checkered Hardwood Grip




     Model    Caliber         Capacity   Material/          Grip                         Front Sight      Rear Sight    Barrel       Overall     Weight       Twist          Suggested   Model    Caliber         Capacity     Material/          Grip                        Front Sight    Rear Sight       Barrel        Overall    Weight         Twist          Suggested
     Number                              Finish                                                                         Length       Length                                  Retail      Number                                Finish                                                                         Length        Length                                   Retail
     5720     357 Mag         5          Stainless Steel/   Cushioned Rubber/            Ramp             Integral      2.25''       7.20''      25 oz.       1:16''         $719.00     5782     357 Mag         5            Stainless Steel/   Altamont Stippled,          Fiber Optic    Adjustable       4.20''        9.12''     30 oz.         1:16''         $859.00
                                         Satin Stainless    Black Synthetic Inserts                                                                                                                                            Gloss Stainless    Checkered Hardwood




47                                                                                                                                                                                                                                                                                                                                         R UGER .C OM / S P 1 0 1              48
                                                                                                             Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 70 of 174 PageID #: 748

            G P10 0           ®




     FEATURES
      Triple-locking cylinder is locked into the frame at the front,                     Disassembly of integrated subassemblies requires no special tools
      rear and bottom for more positive alignment and                                    and allows for easy maintenance and assembly.
      dependable operation shot after shot.
                                                                                         Transfer bar mechanism provides an unparalleled measure of security
      Grip frame design easily accommodates a wide variety of custom grips.              against accidental discharge.
      Dual chambering allows .357 Magnum models to accept
      factory .38 Special cartridges.
                                                                                                                     22                  10mm                   357
                                                                                                                     LR                  AUTO                   MAG
     GP100®




                     Easy Disassembly with No Special Tools Required                                                   Triple-Locking Cylinder




                        Available in a Variety of Grip Configurations                                                    Grip Frame Design




     GP100® MATCH CHAMPION®




                Match-Tuned Action                      Custom Hogue® Hardwood Grip   Slab-Sided, Half-Lug Barrel with 11˚ Target            Chamfered Cylinder Ejector
                                                             with Stippled Sides        Crown for Competition-Level Accuracy                  for Convenient Reloading


49                                                                                                                                                                                              R UGER .C OM / G P 1 0 0   50
                                                                                                                      Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 71 of 174 PageID #: 749

              G P10 0         ®




     GP100®                                                                                                                                                                           GP100® in .22 LR




                                                                                                                        Heavy, Full-Shrouded Barrel     Recoil-Reducing, Cushioned,                                                                                            Half-Lug Barrel                     Fiber Optic Front and          Cushioned Rubber Grip with
                                                                                                                                                      Black Rubber Hogue® Monogrip®                                                                                                                               Adjustable Rear Sights               Hardwood Insert



     Model     Caliber    Capacity     Material/          Grips               Front Sight   Rear Sight       Barrel       Overall          Weight     Twist         Suggested         Model    Caliber   Capacity    Material/          Grips               Front Sight       Rear Sight         Barrel           Overall          Weight        Twist           Suggested
     Number                            Finish                                                                Length       Length                                    Retail            Number                         Finish                                                                      Length           Length                                         Retail
     1715      357 Mag    6            Stainless Steel/   Hogue® Monogrip ®   Ramp          Integral         3''          8.50''           36 oz.     1:18.75''     $799.00           1757     22 LR     10          Stainless Steel/   Cushioned Rubber/   Fiber Optic       Adjustable         5.50''           11''             42 oz.        1:16''          $829.00
                                       Satin Stainless                                                                                                                                                               Satin Stainless    Hardwood Inserts




     GP100® with 4.20'' Barrel                                                                                                                                                        GP100® 7-Round




                                                                                                                                                                                                  Model 1771 Shown                                                                                                  Cushioned Rubber Grip with Hardwood Insert
                                                                                        Heavy, Full-Shrouded Barrel         Ramp Front and              Recoil-Reducing, Cushioned,
                    Model 1705 Shown                                                                                      Adjustable Rear Sight       Black Rubber Hogue® Monogrip®
                                                                                                                                                                                                                                                                                                  COMPARE
                                                                                                                                                                                      Model    Caliber   Capacity    Material/          Grips                Front Sight        Rear Sight        Barrel          Overall          Weight        Twist           Suggested
                                         COMPARE                                                                                                                                      Number                         Finish                                                                       Length          Length                                         Retail
     Model     Caliber    Capacity     Material/          Grips               Front Sight   Rear Sight       Barrel       Overall          Weight     Twist         Suggested         1774     357 Mag   7           Stainless Steel/   Cushioned Rubber/    Fiber Optic        Adjustable        2.50''          8''              36 oz.        1:18.75''       $899.00
     Number                            Finish                                                                Length       Length                                    Retail                                           Satin Stainless    Hardwood Inserts
     1702      357 Mag    6            Alloy Steel/       Hogue® Monogrip ®   Ramp          Adjustable       4.20''       9.50''           40 oz.     1:18.75''     $769.00
                                       Blued                                                                                                                                          1771     357 Mag   7           Stainless Steel/   Cushioned Rubber/    Fiber Optic        Adjustable        4.20''          9.50''           40 oz.        1:18.75''       $899.00
                                                                                                                                                                                                                     Satin Stainless    Hardwood Inserts
     1705      357 Mag    6            Stainless Steel/   Hogue® Monogrip ®   Ramp          Adjustable       4.20''       9.50''           40 oz.     1:18.75''     $829.00
                                       Satin Stainless                                                                                                                                1773     357 Mag   7           Stainless Steel/   Cushioned Rubber/    Fiber Optic        Adjustable        6''             11.50''          43.5 oz.      1:18.75''       $899.00
                                                                                                                                                                                                                     Satin Stainless    Hardwood Inserts




     GP100® with 6'' Barrel                                                                                                                                                           GP100® MATCH CHAMPION®




                                                                                                                                                                                                  Model 1775 Shown                                                        Slab-Sided, Half-Lug Barrel            Novak® LoMount Carry or                  Hogue® Stippled
                                                                                        Heavy, Full-Shrouded Barrel          Ramp Front and             Recoil-Reducing, Cushioned,                                                                                       and Fiber Optic Front Sight             Adjustable Rear Sights                   Hardwood Grip
                    Model 1704 Shown                                                                                      Adjustable Rear Sights      Black Rubber Hogue® Monogrip®
                                                                                                                                                                                               COMPARE
                                                                                                                                                                                      Model    Caliber   Capacity    Material/          Grips               Front Sight       Rear Sight         Barrel Length    Overall          Weight        Twist           Suggested
                                         COMPARE                                                                                                                                      Number                         Finish                                                                                       Length                                         Retail
     Model     Caliber    Capacity     Material/          Grips               Front Sight   Rear Sight       Barrel       Overall          Weight     Twist         Suggested         1754     357 Mag   6           Stainless Steel/   Hogue® Stippled     Fiber Optic       Fixed              4.20''           9.50''           38 oz.        1:18.75''       $969.00
     Number                            Finish                                                                Length       Length                                    Retail                                           Satin Stainless    Hardwood
     1704      357 Mag    6            Alloy Steel/       Hogue® Monogrip ®   Ramp          Adjustable       6''          11.50''          45 oz.     1:18.75''     $769.00
                                       Blued                                                                                                                                          1755     357 Mag   6           Stainless Steel/   Hogue® Stippled     Fiber Optic       Adjustable         4.20''           9.50''           38 oz.        1:18.75''       $969.00
                                                                                                                                                                                                                     Satin Stainless    Hardwood
     1707      357 Mag    6            Stainless Steel/   Hogue® Monogrip ®   Ramp          Adjustable       6''          11.50''          45 oz.     1:18.75''     $829.00
                                       Satin Stainless                                                                                                                                1775     10mm      6           Stainless Steel/   Hogue® Stippled     Fiber Optic       Adjustable         4.20''           9.50''           37 oz.        1:16''          $969.00
                                                                                                                                                                                               Auto                  Satin Stainless    Hardwood



51                                                                                                                                                                                                                                                                                                                                         R UGER .C OM / G P 1 0 0            52
                                                                                                  Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 72 of 174 PageID #: 750

            R ED H AW K                ®




     FEATURES                                                                                                                                                REDHAWK®
      Unique, single-spring mechanism allows for a smooth,                      Transfer bar mechanism provides an unparalleled measure of security
      light trigger pull.                                                       against accidental discharge.
      Triple-locking cylinder is locked into the frame at the front,            Cold hammer-forged sleeve and shroud barrel provides
      rear and bottom for more positive alignment and dependable                outstanding accuracy.
      operation shot after shot.                                                .44 Magnum models are dual chambered to also accept
      Easy sighting with readily replaceable colored front blade sight insert   factory .44 Special cartridges.
      and adjustable rear sight with white outline.                             .357 Magnum models are dual chambered to also accept                                   Model 5051 Shown
                                                                                                                                                                                                                                                      Moon Clips Included with .357 Magnum Models         Hardwood Grips
      Rugged, stainless steel construction with no side plates is designed      factory .38 Special cartridges.                                                                                                                                                   for Convenient Loading
      specifically to handle powerful magnum loads through extra metal                                                                                                  COMPARE
                                                                                                                                                             Model    Caliber           Capacity   Material/          Grips         Sights                      Barrel        Overall        Weight     Twist         Suggested
      in the top strap, sidewalls and barrel mounting areas.
                                                                                               357                          44                         45    Number                                Finish                                                       Length        Length                                  Retail

                                                                                               MAG                          REM                       AUTO
                                                                                                                                                             5043     44 Rem Mag        6          Stainless Steel/
                                                                                                                                                                                                   Satin Stainless
                                                                                                                                                                                                                      Hardwood      Ramp Front,
                                                                                                                                                                                                                                    Adjustable Rear
                                                                                                                                                                                                                                                                5.50''        11''           49 oz.     1:20''        $1,079.00
                                                                                                                            MAG
                                                                                                                                                             5041     44 Rem Mag        6          Stainless Steel/   Hardwood      Ramp Front,                 7.50''        13''           54 oz.     1:20''        $1,079.00
                                                                                                                                                                                                   Satin Stainless                  Adjustable Rear
                                                                                                                                                             5051     357 Mag           8          Stainless Steel/   Hardwood      Ramp Front,                 2.75''        8.25''         44 oz.     1:18.75''     $1,079.00
                                                                                                                                                                                                   Satin Stainless                  Adjustable Rear
                                                                                                                                                             5059     357 Mag           8          Stainless Steel/   Hardwood      Ramp Front,                 4.20''        9.50''         49 oz.     1:18.75''     $1,079.00
                                                                                                                                                                                                   Satin Stainless                  Adjustable Rear
                                                                                                                                                             5060     357 Mag           8          Stainless Steel/   Hardwood      Ramp Front,                 5.50''        11''           52 oz.     1:18.75''     $1,079.00
                                                                                                                                                                                                   Satin Stainless                  Adjustable Rear




                                                                                                                                                             REDHAWK® in .45 Auto/.45 Colt




                     Cold Hammer-Forged Sleeve and Shroud Barrel                      Readily Replaceable Colored Front Blade Sight Insert and Adjustable
                                                                                                        Rear Sight with White Outline


                                                                                                                                                                                                                                                       Moon Clips Included for Convenient Loading     Engraved Hardwood Grips


                                                                                                                                                             Model    Caliber           Capacity   Material/          Grips         Sights                      Barrel        Overall        Weight    Twist         Suggested
                                                                                                                                                             Number                                Finish                                                       Length        Length                                 Retail
                                                                                                                                                             5050     45 Auto/45 Colt   6          Stainless Steel/   Engraved      Ramp Front,                 4.20''        9.50''         44 oz.    1:16''        $1,079.00
                                                                                                                                                                                                   Satin Stainless    Hardwood      Adjustable Rear




                                                                                                                                                             REDHAWK® with Hogue ® Monogrip ®

                                           Unique, Single-Spring Mechanism                                                 Triple-Locking Cylinder




                                                                                                                                                                                                                                                                                                      Black Hogue® Monogrip®



                                                                                                                                                             Model    Caliber           Capacity   Material/          Grips        Sights                      Barrel        Overall         Weight    Twist         Suggested
                                                                                                                                                             Number                                Finish                                                      Length        Length                                  Retail
                                                                                                                                                             5044     44 Rem Mag        6          Stainless Steel/   Hogue ®      Ramp Front,                 4.20''        9.50''          47 oz.    1:20''        $1,079.00
                                                                                                                                                                                                   Satin Stainless    Monogrip ®   Adjustable Rear


                                Transfer Bar Mechanism                                            Available in a Variety of Grip Configurations


53                                                                                                                                                                                                                                                                                         R UGER .C OM / R E D H A W K           54
                                                                                                               Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 73 of 174 PageID #: 751

            S U PE R RE D HAWK                               ®




     FEATURES                                                                                                                                                           SUPER REDHAWK®
      Triple-locking cylinder is locked into the frame at the front,                          Transfer bar mechanism provides an unparalleled measure of security
      rear and bottom for more positive alignment and dependable                              against accidental discharge.
      operation shot after shot.
                                                                                              Replaceable front sight ramp insert and adjustable rear sight
      Durable, corrosion-resistant stainless steel construction.                              (non-Alaskan models feature a red ramp insert).
      Strong, extended frame with extra metal in the top strap, sidewalls                     Cold hammer-forged barrel results in ultra-precise rifling that
      and barrel mounting areas to handle powerful, big game loads.                           provides exceptional accuracy, longevity and easy cleaning.
                                                                                                                                                                                       Model 5501 Shown                                                                Integral Mounts are Machined Directly on the Solid-Steel Barrel Rib to Provide
      Hogue ® Tamer ™ Monogrip ® with an internal recoil cushion positioned                                                                                                                                                                                       a Stable Mounting Surface for Scope Rings, Eliminating a Potential Source of Looseness
      under the web of the hand helps reduce the impact of powerful loads,                                                                                                                                                                                                           and Inaccuracy in the Field (Scope Not Included)
      while the peg-style grip frame easily accommodates custom grips                                                                                                             COMPARE
                                                                                                                                                                        Model    Caliber      Capacity    Material/          Grip                        Sights                   Barrel           Overall       Weight        Twist         Suggested
      (excludes some models).                                                                                                                                           Number                            Finish                                                                  Length           Length                                    Retail
                                                                                                                                                                        5507     480 Ruger    6           Stainless Steel/   Hogue ® Tamer™ Monogrip ®   Ramp Front,              7.50''           13''          53 oz.        1:18''        $1,189.00
      Dual chambering allows .44 Magnum models to accept                                                                                                                                                  Satin Stainless                                Adjustable Rear
      factory .44 Special cartridges and .454 Casull models to
      accept factory .45 Colt cartridges.                                           10mm                      44                      454                       480
                                                                                                                                                                        5501     44 Rem Mag   6           Stainless Steel/
                                                                                                                                                                                                          Satin Stainless
                                                                                                                                                                                                                             Hogue ® Tamer™ Monogrip ®   Ramp Front,
                                                                                                                                                                                                                                                         Adjustable Rear
                                                                                                                                                                                                                                                                                  7.50''           13''          53 oz.        1:20''        $1,159.00

                                                                                     AUTO                    REM                      CASULL                    RUGER   5502     44 Rem Mag   6           Stainless Steel/   Hogue ® Tamer™ Monogrip ®   Ramp Front,              9.50''           15''          58 oz.        1:20''        $1,159.00
                                                                                                             MAG                                                                                          Satin Stainless                                Adjustable Rear
                                                                                                                                                                        5505     454 Casull   6           Stainless Steel/   Hogue ® Tamer™ Monogrip ®   Ramp Front,              7.50''           13''          52 oz.        1:24''        $1,189.00
                                                                                                                                                                                                          Satin Stainless                                Adjustable Rear




                                                                                                                                                                        SUPER REDHAWK® in 10mm Auto




                                                                              Strong, Extended Frame
                                                                                                                                                                                                                                                                                       Moon Clips Included for Convenient Loading



                                                                                                                                                                        Model    Caliber      Capacity    Material/          Grip                        Sights                   Barrel           Overall       Weight        Twist         Suggested
                                                                                                                                                                        Number                            Finish                                                                  Length           Length                                    Retail
                                                                                                                                                                        5524     10mm Auto    6           Stainless Steel/   Cushioned Rubber/           Ramp Front,              6.50''           12''          54 oz.        1:16''        $1,159.00
                                                                                                                                                                                                          Satin Stainless    Hardwood Inserts            Adjustable Rear




                                                                                                                                                                        SUPER REDHAWK ALASKAN ®


            Recoil-Reducing, Cushioned, Black Rubber Hogue® Tamer™ Monogrip®                                              Triple-Locking Cylinder




                                                                                                                                                                                                                                                                                           Compact 2.50'' Barrel for Ease of Carry
                                                                                                                                                                                       Model 5302 Shown

                                                                                                                                                                                  COMPARE
                                                                                                                                                                        Model    Caliber      Capacity    Material/          Grip                        Sights                   Barrel           Overall       Weight        Twist         Suggested
                                                                                                                                                                        Number                            Finish                                                                  Length           Length                                    Retail
                                                                                                                                                                        5302     480 Ruger    6           Stainless Steel/   Hogue ® Tamer™ Monogrip ®   Ramp Front,              2.50''           7.62''        44 oz.        1:18''        $1,189.00
                                                                                                                                                                                                          Satin Stainless                                Adjustable Rear
                                                                                                                                                                        5303     44 Rem Mag   6           Stainless Steel/   Hogue ® Tamer™ Monogrip ®   Ramp Front,              2.50''           7.62''        45 oz.        1:20''        $1,189.00
                                                                                                                                                                                                          Satin Stainless                                Adjustable Rear
                                                                                                                                                                        5301     454 Casull   6           Stainless Steel/   Hogue ® Tamer™ Monogrip ®   Ramp Front,              2.50''           7.62''        44 oz.        1:24''        $1,189.00
                                                                                                                                                                                                          Satin Stainless                                Adjustable Rear
                         Replaceable Front Ramp Insert and Adjustable Rear Sights                                             Cold Hammer-Forged Barrel


55                                                                                                                                                                                                                                                                                               R UGER .C OM / S U P E R R E D H A W K                    56
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     LCR
                 ®

                                                                                                                                                          L C R®


     The LCR is the evolution of the revolver. Packed with the latest technological advances
             ®




     and features required by today’s most demanding shooters, the LCR is a lightweight,
                                                                        ®




     small-frame revolver with a uniquely smooth trigger and highly manageable recoil.

                                                                                                                          22                  22    327                          9mm         38 SPL                357
                                                                                                                                                    FED
                                                                                                                          LR                  WMR   MAG
                                                                                                                                                                                 LUGER         +P                  MAG


                                                                                                                                 SIX CALIBERS                                     FIFTEEN MODELS

                                                                                                                                                                               TRIGGER PULL COMPARISON




                                                                                                                                                          TRIGGER PULL FORCE
                                                                                                                                                                                                     Brand X
                                                                                                                                                                                         Brand Y
                                                                                                                                                                                                   LCR Trigger

                                                                                                                                                                                    TRIGGER PULL DISTANCE




                                                                                                                      LCRx® in .357 Magnum
                                                                                                                      with 3'' Barrel and
                                                                                                                      Adjustable Rear Sight
                                                                                                                      (Model 5444)



                                                                                                                                                                                                                 LCRx® in 9mm Luger
                                                                                                                                                                                                                 (Model 5464)




57                                                                                                                                                                                                                  R UGER .C OM / L C R   58
                                                                                               Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 75 of 174 PageID #: 753

            LCR       ®




     FEATURES
      Monolithic frame is made from aerospace-grade, 7000-series             Grip peg allows for a variety of grip styles to be installed.
      aluminum in .22 LR, .22 Magnum and .38 Special models and from
                                                                             Replaceable, pinned ramp front sight with white bar.
      400-series stainless steel in the powerful .357 Magnum, 9mm Luger
      and .327 Federal Magnum models.                                        Models chambered in 9mm Luger ship with three full moon clips that
                                                                             both act as speed loaders and aid in the ejection of spent cartridges.
      Patented friction-reducing cam is a next generation design in fire
      control systems that results in a smooth, non-stacking trigger pull.
      Patented polymer fire control housing holds all the fire control
      components in their proper dimensional relationships, reduces
                                                                                   22                       22                      327
      weight significantly and helps reduce felt recoil.                                                                            FED
      High-strength stainless steel cylinder, featuring a PVD finish for
                                                                                   LR                      WMR                      MAG
      excellent durability, is extensively fluted, reducing weight.
      Hogue® Tamer ™ Monogrip® reduces perceived recoil.
                                                                                              9mm
                                                                                              LUGER
                                                                                                                      38 SPL                    357
                                                                                                                         +P                     MAG




                          High-Strength Stainless Steel Cylinder                          Replaceable, Pinned Ramp Front Sight with White Bar




                            Patented Friction-Reducing Cam                                Hogue® Tamer™ Monogrip® Reduces Perceived Recoil




59                                                                                                                                                                                R UGER .C OM / L C R   60
                                                                                                                           Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 76 of 174 PageID #: 754

              LCR        ®




     LCR®                                                                                                                                                                                            LCRx® with 3'' Barrel and Adjustable Rear Sight




                    Model 5452 Shown                                                                             Replaceable, Pinned Ramp Front                   Compact Hogue® Tamer™
                                                                                                                 and Integral U-Notch Rear Sights               Monogrip® with Finger Grooves                                                                    Replaceable, Pinned Ramp Front               Full-Size Smooth                External Hammer for Single-Action Use
                                                                                                                                                                                                                   Model 5444 Shown
                                                                                                                                                                                                                                                              and Adjustable Black Blade Rear Sights      Hogue® Tamer™ Monogrip®
               COMPARE
     Model     Caliber       Capacity   Grip               Frame/Finish        Front Sight            Rear Sight             Barrel    Overall      Height       Weight     Twist       Suggested
     Number                                                                                                                  Length    Length                                           Retail                COMPARE

     5410      22 LR         8          Compact Hogue®     Aluminum/           Ramp                   Integral               1.87''    6.50''       4.50''       14.9 oz.   1:16''      $579.00      Model    Caliber      Capacity   Grip               Frame/Finish        Front Sight         Rear Sight       Barrel   Overall   Height       Weight     Twist       Suggested
                                        Tamer™ Monogrip®   Matte Black                                                                                                                               Number                                                                                                       Length   Length                                        Retail
                                                                                                                                                                                                     5435     22 LR        8          Full-Size Hogue®   Aluminum/           Ramp                Adjustable       3''      7.50''    5.80''       17.3 oz.   1:16''      $579.00
     5414      22 WMR        6          Compact Hogue®     Aluminum/           Ramp                   Integral               1.87''    6.50''       4.50''       16.6 oz.   1:9''       $579.00
                                                                                                                                                                                                                                      Tamer™ Monogrip®   Matte Black
                                        Tamer™ Monogrip®   Matte Black
                                                                                                                                                                                                     5437     22 WMR       6          Full-Size Hogue®   Aluminum/           Ramp                Adjustable       3''      7.50''    5.80''       17.8 oz.   1:9''       $579.00
     5401      38 Spl +P     5          Compact Hogue®     Aluminum/           Ramp                   Integral               1.87''    6.50''       4.50''       13.5 oz.   1:16''      $579.00
                                                                                                                                                                                                                                      Tamer™ Monogrip®   Matte Black
                                        Tamer™ Monogrip®   Matte Black
                                                                                                                                                                                                     5431     38 Spl +P    5          Full-Size Hogue®   Aluminum/           Ramp                Adjustable       3''      7.50''    5.80''       15.7 oz.   1:16''      $579.00
     5456      9mm Luger     5          Compact Hogue®     Stainless Steel/    Ramp                   Integral               1.87''    6.50''       4.50''       17.2 oz.   1:16''      $669.00
                                                                                                                                                                                                                                      Tamer™ Monogrip®   Matte Black
                                        Tamer™ Monogrip®   Matte Black
                                                                                                                                                                                                     5444     357 Mag      5          Full-Size Hogue®   Stainless Steel/    Ramp                Adjustable       3''      7.50''    5.80''       21.3 oz.   1:16''      $669.00
     5452      327 Fed Mag   6          Compact Hogue®     Stainless Steel/    Ramp                   Integral               1.87''    6.50''       4.50''       17 oz.     1:16''      $669.00
                                                                                                                                                                                                                                      Tamer™ Monogrip®   Matte Black
                                        Tamer™ Monogrip®   Matte Black
     5450      357 Mag       5          Compact Hogue®     Stainless Steel/    Ramp                   Integral               1.87''    6.50''       4.50''       17.1 oz.   1:16''      $669.00
                                        Tamer™ Monogrip®   Matte Black




     LCRx®




                    Model 5460 Shown                               Replaceable, Pinned Ramp Front                  Compact Hogue® Tamer™                     External Hammer for Single-Action Use
                                                                   and Integral U-Notch Rear Sights              Monogrip® with Finger Grooves
               COMPARE

     Model     Caliber       Capacity   Grip               Frame/Finish        Front Sight            Rear Sight             Barrel    Overall      Height       Weight     Twist       Suggested
     Number                                                                                                                  Length    Length                                           Retail
     5439      22 WMR        6          Compact Hogue®     Aluminum/           Ramp                   Integral               1.87''    6.50''       4.50''       15.4 oz.   1:9''       $579.00
                                        Tamer™ Monogrip®   Matte Black
     5430      38 Spl +P     5          Compact Hogue®     Aluminum/           Ramp                   Integral               1.87''    6.50''       4.50''       13.5 oz.   1:16''      $579.00
                                        Tamer™ Monogrip®   Matte Black
     5464      9mm Luger     5          Compact Hogue®     Stainless Steel/    Ramp                   Integral               1.87''    6.50''       4.50''       17.4 oz.   1:16''      $669.00
                                        Tamer™ Monogrip®   Matte Black
     5462      327 Fed Mag   6          Compact Hogue®     Stainless Steel/    Ramp                   Integral               1.87''    6.50''       4.50''       17.7 oz.   1:16''      $669.00
                                        Tamer™ Monogrip®   Matte Black
     5460      357 Mag       5          Compact Hogue®     Stainless Steel/    Ramp                   Integral               1.87''    6.50''       4.50''       17.1 oz.   1:16''      $669.00
                                        Tamer™ Monogrip®   Matte Black




61                                                                                                                                                                                                                                                                                                                                                 R UGER .C OM / L C R               62
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     WRANGLER
                                    ®

                                                                                                                                                                                       W R A N G L E R®


     Built on the legacy of Ruger’s Single-Six®, the new Wrangler ® expands Ruger’s rich history
     in both quality single-action revolvers and rugged, reliable .22 LR firearms. The attractive price,
     combined with affordable rimfire ammunition, make this revolver ideal for learning to shoot,
     introducing friends or family to the sport, or just experiencing the fun of single-action shooting.
                                                                                                                                                                                                  22
                                                                                                                                                                                                  LR

                                                                                                                                              ONE CALIBER                                                          THREE MODELS




                                                                                                                                                                                                                                                       Wrangler ® with
                                                                                                                                                                                                                                                       Silver Cerakote® Finish
                                                                                                                                                                                                                                                       (Model 2003)




                                                                                                                               Wrangler ® with
                                                                                                                               Black Cerakote® Finish
                                                                                                                               (Model 2002)
                                                                                                                                                                                                                       Wrangler ® with Burnt
                                                                                                                                                                                                                       Bronze Cerakote® Finish
                                                                                                                                                                                                                       (Model 2004)




                                                                                                                   FEATURES
                                                                                                                     Blade front and integral notch rear sights.                                            Cold hammer-forged barrel results in ultra-precise rifling that provides
                                                                                                                                                                                                            exceptional accuracy and longevity.
                                                                                                                     Chambered for affordable .22 LR ammunition.
                                                                                                                                                                                                            Cerakote® finish provides rugged reliability in all environments.
                                                                                                                     Transfer bar mechanism and loading gate interlock provide an unparalleled
                                                                                                                     measure of security against accidental discharge.                                      Checkered synthetic grips on a Single-Six® pattern grip frame.

                                                                                                                                                                   COMPARE
                                                                                                                    Model           Caliber      Capacity    Cylinder Frame           Grips        Sights               Barrel       Overall      Weight      Twist     Suggested Retail
                                                                                                                    Number                                   Material/Finish                                            Length       Length
                                                                                                                    2002            22 LR        6           Aluminum Alloy/          Checkered    Blade Front,         4.62''       10.25''      30 oz.      1:14''    $249.00
                                                                                                                                                             Black Cerakote®          Synthetic    Integral Rear
                                                                                                                    2003            22 LR        6           Aluminum Alloy/          Checkered    Blade Front,         4.62''       10.25''      30 oz.      1:14''    $249.00
                                                                                                                                                             Silver Cerakote®         Synthetic    Integral Rear
                                                                                                                    2004            22 LR        6           Aluminum Alloy/          Checkered    Blade Front,         4.62''       10.25''      30 oz.      1:14''    $249.00
                                                                                                                                                             Burnt Bronze Cerakote®   Synthetic    Integral Rear




63                                                                                                                                                                                                                                             R UGER .C OM / W R A N G L E R              64
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     RUGER SINGLE-ACTION REVOLVERS
                       ®

                                                                                                                                         RUGER® SINGLE-ACTION REVOLVERS


     With superb grip, balance and mechanical simplicity, Ruger Single-Action Revolvers
                                                                   ®




     are offered in a wide variety of sizes and calibers, and include features that are sure to
     please any fan of these timeless firearms.

                                                                                                                            RUGER          NEW MODEL    NEW MODEL             NEW MODEL                            ®
                                                                                                                                     ®       SUPER                                                    BEARCAT
                                                                                                                           VAQUERO         BLACKHAWK®   BLACKHAWK ®           SINGLE-SIX        ®




                                                                                                                                                    FIVE FAMILIES




                                                                                                                                                                                                    Single-Ten®
                                                                                                                                                                                                    (Model 8100)



                                                                         Ruger Vaquero®
                                                                         in .357 Magnum
                                                                         with Blued Finish
                                                                         (Model 5106)




                                                                                                                                                             Ruger Vaquero® in .357 Magnum
                                                                                                                                                             with High-Gloss Stainless Finish
                                                                                                                                                             (Model 5109)




65                                                                                                                                                                                                                     R UGER .C OM   66
                                                                                                                              Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 79 of 174 PageID #: 757

              R U G E R VAQ UE R O                               ®




     FEATURES                                                                                                                                                                        RUGER VAQUERO ® with High-Gloss Stainless Finish
      Traditional western-style, hand-filling grip has long been acknowledged as                      Cold hammer-forged barrel results in ultra-precise rifling that provides
      one of the most comfortable and natural-pointing of any grip style.                             exceptional accuracy and longevity.
      Patented reverse indexing pawl allows for easier loading and unloading,                         Blade front and integral notch rear sights.
      while the traditional beveled cylinder simplifies holstering.
                                                                                                      Models chambered in .357 Magnum also accept factory
      Transfer bar mechanism and loading gate interlock provide an unparalleled                       .38 Special cartridges
      measure of security against accidental discharge.                                                                                                                                        Model 5104 Shown

      Handsome, larger crescent-shaped ejector rod head boasts traditional
      form, perfect for every cowboy or cowgirl.                                                                                                       357                  45       Model
                                                                                                                                                                                                COMPARE
                                                                                                                                                                                                Caliber    Capacity   Material/              Grips             Sights                 Barrel      Overall   Weight       Twist        Suggested Retail
                                                                                                                                                       MAG                  COLT     Number                           Finish                                                          Length      Length
                                                                                                                                                                                     5109       357 Mag    6          Stainless Steel/       Hardwood          Blade Front,           4.62''      10.25''   43 oz.       1:16''       $829.00
                                                                                                                                                                                                                      High-Gloss Stainless                     Integral Rear
                                                                                                                                                                                     5108       357 Mag    6          Stainless Steel/       Hardwood          Blade Front,           5.50''      11.12''   44 oz.       1:16''       $829.00
                                                                                                                                                                                                                      High-Gloss Stainless                     Integral Rear
                                                                                                                                                                                     5105       45 Colt    6          Stainless Steel/       Hardwood          Blade Front,           4.62''      10.25''   40 oz.       1:16''       $829.00
                                                                                                                                                                                                                      High-Gloss Stainless                     Integral Rear
                                                                                                                                                                                     5104       45 Colt    6          Stainless Steel/       Hardwood          Blade Front,           5.50''      11.12''   41 oz.       1:16''       $829.00
                                                                                                                                                                                                                      High-Gloss Stainless                     Integral Rear




                                                                                                                                                                                     BISLEY™ RUGER VAQUERO ®




        Traditional Western-Style,              Blade Front and Integral Notch Rear Sights                   Patented Reverse Indexing Pawl             Transfer Bar Mechanism
            Hand-Filling Grip
                                                                                                                                                                                               Model 5129 Shown
                                                                                                                                                                                                                                                                        Simulated Ivory Grips                        Bisley-Style Hammer




     The Gun That Won The New West
                                                                                                                                                                                                COMPARE
                                                                                                                                                                                     Model      Caliber    Capacity   Material/              Grips             Sights                 Barrel      Overall   Weight       Twist        Suggested Retail
                                                                                                                                                                                     Number                           Finish                                                          Length      Length
                                                                                                                                                                                     5130       357 Mag    6          Stainless Steel/       Simulated Ivory   Blade Front,           5.50''      11.12''   45 oz.       1:16''       $899.00
                                                                                                                                                                                                                      High-Gloss Stainless                     Integral Rear
                                                                                                                                                                                     5129       45 Colt    6          Stainless Steel/       Simulated Ivory   Blade Front,           5.50''      11.12''   41 oz.       1:16''       $899.00
                                                                                                                                                                                                                      High-Gloss Stainless                     Integral Rear




     RUGER VAQUERO ® with Blued Finish
                                                                                                                                                                                     SASS® RUGER VAQUERO ® Two-Gun Set




                     Model 5101 Shown

                      COMPARE
     Model            Caliber        Capacity     Material/             Grips                Sights                  Barrel       Overall     Weight   Twist      Suggested Retail             Model 5133 Shown
                                                                                                                                                                                                                                               Black Checkered Grips                Montado-Style Hammer        Consecutive Serial Numbers with “SASS”
     Number                                       Finish                                                             Length       Length                                                                                                          with SASS® Logo                                           Prefix, Shipped Together in Commemorative Case
     5107             357 Mag        6            Alloy Steel/          Hardwood             Blade Front,            4.62''       10.25''     43 oz.   1:16''     $829.00
                                                  Blued                                      Integral Rear                                                                                      COMPARE
     5106             357 Mag        6            Alloy Steel/          Hardwood             Blade Front,            5.50''       11.12''     44 oz.   1:16''     $829.00            Model      Caliber    Capacity   Material/              Grips             Sights                 Barrel      Overall   Weight       Twist        Suggested Retail
                                                  Blued                                      Integral Rear                                                                           Number                           Finish                                                          Length      Length
     5102             45 Colt        6            Alloy Steel/          Hardwood             Blade Front,            4.62''       10.25''     40 oz.   1:16''     $829.00            5133       357 Mag    6          Stainless Steel/       Black Checkered   Blade Front,           4.62''      10.25''   45 oz.       1:16''       $1,699.00
                                                  Blued                                      Integral Rear                                                                                                            High-Gloss Stainless                     Integral Rear                                                          (Two-Gun Set)

     5101             45 Colt        6            Alloy Steel/          Hardwood             Blade Front,            5.50''       11.12''     40 oz.   1:16''     $829.00            5134       45 Colt    6          Stainless Steel/       Black Checkered   Blade Front,           5.50''      11.12''   40 oz.       1:16''       $1,699.00
                                                  Blued                                      Integral Rear                                                                                                            High-Gloss Stainless                     Integral Rear                                                          (Two-Gun Set)




67                                                                                                                                                                                                                                                                                                          R UGER .C OM / V A Q U E R O                     68
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              N EW M O D EL SU PE R B L A C KH AW K                                                                  ®




     FEATURES                                                                                                                                                                                       NEW MODEL SUPER BLACKHAWK®
      Traditional western-style, hand-filling grip has long been acknowledged                        Chambered in the powerful .44 Magnum, these models also
      as one of the most comfortable and natural-pointing of any grip style.                         accept factory .44 Special cartridges, which deliver superb accuracy
                                                                                                     and milder recoil.
      Transfer bar mechanism and loading gate interlock provide an unparalleled
      measure of security against accidental discharge.                                              Cold hammer-forged barrel results in ultra-precise rifling that provides
                                                                                                     exceptional accuracy and longevity.
      Durable coil springs throughout for maximum reliability.
      Fixed ramp front sight and adjustable rear sight.                                              ORIGINAL “OLD MODEL” (PRE-1973) OWNERS: SEE INSIDE BACK                                                  Model 0813 Shown
                                                                                                                                                                                                                                                                                                                           Blued or Stainless Finish
                                                                                                     COVER FOR AN IMPORTANT FREE SAFETY OFFER FROM RUGER!
      Integral mounts, machined directly on the solid-steel barrel rib of                                                                                                                                                                   COMPARE

      Hunter models, provide a stable mounting surface for scope rings,                                                                                                                             Model    Caliber       Capacity   Material/Finish     Grips      Sights                  Barrel         Overall   Weight       Twist         Suggested
                                                                                                                                                                                                    Number                                                                                   Length         Length                               Retail
      eliminating a potential source of looseness and inaccuracy in the
      field (scope rings included).                                                                                                                                                  44             0813     44 Rem Mag    6          Alloy Steel/Blued   Hardwood   Ramp Front,
                                                                                                                                                                                                                                                                     Adjustable Rear
                                                                                                                                                                                                                                                                                             4.62''         10.50''   45 oz.       1:20''        $829.00

                                                                                                                                                                                    REM             0814     44 Rem Mag    6          Stainless Steel/    Hardwood   Ramp Front,             4.62''         10.50''   45 oz.       1:20''        $829.00
                                                                                                                                                                                    MAG                                               Satin Stainless                Adjustable Rear




                                                                                                                                                                                                    NEW MODEL SUPER BLACKHAWK® with Fluted Cylinder



              Transfer Bar Mechanism                           Traditional Western-Style,                   Chambered for .44 Magnum                Ramp Front and Adjustable Rear Sights
                                                                   Hand-Filling Grip                         and .44 Special Cartridges

                                                                                                                                                                                                              Model 0811 Shown
     NEW MODEL SUPER BLACKHAWK® HUNTER                                                                                                                                                                                                                                            Blued or Stainless Finish                       Fluted Cylinder

                                                                                                                                                                                                                                            COMPARE
                                                                                                                                                                                                    Model    Caliber       Capacity   Material/Finish     Grips      Sights                  Barrel         Overall   Weight       Twist         Suggested
                                                                                                                                                                                                    Number                                                                                   Length         Length                               Retail
                                                                                                                                                                                                    0810     44 Rem Mag    6          Alloy Steel/Blued   Hardwood   Ramp Front,             5.50''         11.38''   45 oz.       1:20''        $829.00
                                                                                                                                                                                                                                                                     Adjustable Rear
                                                                                                                                                                                                    0811     44 Rem Mag    6          Stainless Steel/    Hardwood   Ramp Front,             5.50''         11.38''   45 oz.       1:20''        $829.00
                                                                                                                                                                                                                                      Satin Stainless                Adjustable Rear


                                                                                                                  Ramp Front with Red Insert         Integral Scope Mounts Provide Stable Surface
                                                                                                                  and Adjustable Rear Sights               for Mounting Included Scope RIngs

     Model         Caliber             Capacity   Material/Finish             Grips                Sights                  Barrel         Overall      Weight       Twist        Suggested
     Number                                                                                                                Length         Length                                 Retail             NEW MODEL SUPER BLACKHAWK® with Square Back Trigger Guard
     0860          44 Rem Mag          6          Stainless Steel/            Black Laminate       Ramp Front,             7.50''         13.63''      52 oz.       1:20''       $959.00
                                                  Satin Stainless                                  Adjustable Rear




     NEW MODEL SUPER BLACKHAWK® BISLEY™ HUNTER


                                                                                                                                                                                                              Model 0804 Shown
                                                                                                                                                                                                                                                                                       Blued or Stainless Finish               Square Back Trigger Guard

                                                                                                                                                                                                                                            COMPARE
                                                                                                                                                                                                    Model    Caliber       Capacity   Material/Finish     Grips      Sights                  Barrel         Overall   Weight       Twist         Suggested
                                                                                                                                                                                                    Number                                                                                   Length         Length                               Retail
                                                                                                                                                                                                    0802     44 Rem Mag    6          Alloy Steel/Blued   Hardwood   Ramp Front,             7.50''         13.38''   48 oz.       1:20''        $829.00
                                                                                                                                                                                                                                                                     Adjustable Rear
                                                                              Bisley-Style Black               Ramp Front with Red Ramp Insert       Integral Scope Mounts Provide Stable Surface
                                                                               Laminate Grips                    and Adjustable Rear Sights                for Mounting Included Scope RIngs        0807     44 Rem Mag    6          Alloy Steel/Blued   Hardwood   Ramp Front,             10.50''        16.38''   55 oz.       1:20''        $829.00
                                                                                                                                                                                                                                                                     Adjustable Rear         (Target)
                                                                                                                                                                                                    0804     44 Rem Mag    6          Stainless Steel/    Hardwood   Ramp Front,             7.50''         13.38''   48 oz.       1:20''        $829.00
     Model         Caliber             Capacity   Material/Finish             Grips                Sights                  Barrel         Overall      Weight       Twist        Suggested
                                                                                                                                                                                                                                      Satin Stainless                Adjustable Rear
     Number                                                                                                                Length         Length                                 Retail
     0862          44 Rem Mag          6          Stainless Steel/            Black Laminate       Ramp Front,             7.50''         13.12''      52 oz.       1:20''       $959.00            0806     44 Rem Mag    6          Stainless Steel/    Hardwood   Ramp Front,             10.50''        16.38''   55 oz.       1:20''        $859.00
                                                  Satin Stainless                                  Adjustable Rear                                                                                                                    Satin Stainless                Adjustable Rear         (Target)



69                                                                                                                                                                                                                                                                                                 R UGER .C OM / S U P E R B L A C K H A W K                70
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               N EW M O D EL BL AC KH AW K                                                 ®




     FEATURES                                                                                                                                                                           NEW MODEL BLACKHAWK ® with Satin Stainless Finish
      Traditional western-style, hand-filling grip has long been acknowledged as                     Cold hammer-forged barrel results in ultra-precise rifling that provides
      one of the most comfortable and natural pointing of any grip style.                            exceptional accuracy and longevity.
      Target-grade accuracy with ramp front and adjustable rear sights.                              .357 Magnum models are dual chambered to also accept factory
                                                                                                     .38 Special cartridges.
      Transfer bar mechanism and loading gate interlock provide an unparalleled
      measure of security against accidental discharge.
      Variety of calibers, barrel lengths, grips, finishes and weights guarantees a                  ORIGINAL “OLD MODEL” (PRE-1973) OWNERS: SEE INSIDE BACK                                          Model 0319 Shown
      model to meet the needs of today’s single-action shooters.                                     COVER FOR AN IMPORTANT FREE SAFETY OFFER FROM RUGER!
                                                                                                                                                                                                                                                                                    COMPARE
                                                                                                                                                                                        Model    Caliber       Capacity   Material/          Grips               Sights            Barrel     Overall     Weight           Twist            Suggested
                                                                                                                                                                                        Number                            Finish                                                   Length     Length                                        Retail

                                                                                                       30                    357                   41
                                                                                                                                                  REM
                                                                                                                                                                            45          0309     357 Mag       6          Stainless Steel/
                                                                                                                                                                                                                          Satin Stainless
                                                                                                                                                                                                                                             Hardwood            Ramp Front,
                                                                                                                                                                                                                                                                 Adjustable Rear
                                                                                                                                                                                                                                                                                   4.62''     10.50''     46 oz.           1:16''           $799.00

                                                                                                     CARB                    MAG                  MAG
                                                                                                                                                                          COLT          0319     357 Mag       6          Stainless Steel/   Hardwood            Ramp Front,       6.50''     12.38''     48 oz.           1:16''           $799.00
                                                                                                                                                                                                                          Satin Stainless                        Adjustable Rear




                                                                                                                                                                                        NEW MODEL BLACKHAWK ® CONVERTIBLE




            Variety of Calibers, Barrel Lengths,                  Transfer Bar Mechanism                     Target-Grade Accuracy       Traditional Western-Style, Hand-Filling Grip
               Grips and Finishes Available
                                                                                                                                                                                                      Model 0318 Shown                                                                                              Includes Two Cylinders That Can Be
                                                                                                                                                                                                                                                                                                                   Interchanged Without the Use of Tools

     NEW MODEL BLACKHAWK ® with Blued Finish                                                                                                                                                      COMPARE
                                                                                                                                                                                        Model    Caliber       Capacity   Material/          Grips               Sights            Barrel     Overall     Weight           Twist            Suggested
                                                                                                                                                                                        Number                            Finish                                                   Length     Length                                        Retail
                                                                                                                                                                                        0308     357 Mag/      6          Alloy Steel/       Black, Checkered,   Ramp Front,       4.62''     10.50''     42 oz.           1:16''           $749.00
                                                                                                                                                                                                 9mm Luger                Blued              Hard-Rubber         Adjustable Rear
                                                                                                                                                                                        0318     357 Mag/      6          Alloy Steel/       Black, Checkered,   Ramp Front,       6.50''     12.38''     45 oz.           1:16''           $749.00
                                                                                                                                                                                                 9mm Luger                Blued              Hard-Rubber         Adjustable Rear
                                                                                                                                                                                        0446     45 Colt/      6          Alloy Steel/       Black, Checkered,   Ramp Front,       4.62''     10.50''     39 oz.           1:16''           $749.00
                                                                                                                                                                                                 45 Auto                  Blued              Hard-Rubber         Adjustable Rear

                         Model 0505 Shown                                                                                                                                               0463     45 Colt/      6          Alloy Steel/       Black, Checkered,   Ramp Front,       5.50''     11.38''     40 oz.           1:16''           $749.00
                                                                                                                                                                                                 45 Auto                  Blued              Hard-Rubber         Adjustable Rear


                     COMPARE
     Model         Caliber           Capacity      Material/        Grips                  Sights              Barrel        Overall    Weight         Twist           Suggested
     Number                                        Finish                                                      Length        Length                                    Retail
     0505          30 Carb           6             Alloy Steel/     Black, Checkered,      Ramp Front,         7.50''        13.38''    46 oz.         1:20''          $669.00
                                                   Blued            Hard-Rubber            Adjustable Rear
     0306          357 Mag           6             Alloy Steel/     Black, Checkered,      Ramp Front,         4.62''        10.50''    42 oz.         1:16''          $669.00
                                                   Blued            Hard-Rubber            Adjustable Rear
     0316          357 Mag           6             Alloy Steel/     Black, Checkered,      Ramp Front,         6.50''        12.38''    45 oz.         1:16''          $669.00
                                                   Blued            Hard-Rubber            Adjustable Rear
     0405          41 Rem Mag        6             Alloy Steel/     Black, Checkered,      Ramp Front,         4.62''        10.50''    38 oz.         1:20''          $669.00
                                                   Blued            Hard-Rubber            Adjustable Rear
     0406          41 Rem Mag        6             Alloy Steel/     Black, Checkered,      Ramp Front,         6.50''        12.38''    41 oz.         1:20''          $669.00
                                                   Blued            Hard-Rubber            Adjustable Rear
     0445          45 Colt           6             Alloy Steel/     Black, Checkered,      Ramp Front,         4.62''        10.50''    39 oz.         1:16''          $669.00
                                                   Blued            Hard-Rubber            Adjustable Rear
     0455          45 Colt           6             Alloy Steel/     Black, Checkered,      Ramp Front,         7.50''        13.38''    42 oz.         1:16''          $669.00
                                                   Blued            Hard-Rubber            Adjustable Rear
     0465          45 Colt           6             Alloy Steel/     Black, Checkered,      Ramp Front,         5.50''        11.38''    40 oz.         1:16''          $669.00
                                                   Blued            Hard-Rubber            Adjustable Rear




71                                                                                                                                                                                                                                                                                                      R UGER .C OM / B L A C K H A W K                   72
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           N EW M O D EL SINGLE -SI X FAM I LY                                   ®




     FEATURES
      Windage- and elevation-adjustable rear sights (available on most models)       Cold hammer-forged barrel results in ultra-precise rifling that provides
      help put you on target and keep you there.                                     exceptional accuracy and longevity.
      Chambered for affordable rimfire shooting.
      Transfer bar mechanism and loading gate interlock provide an unparalleled      ORIGINAL “OLD MODEL” (PRE-1973) SINGLE-SIX® OWNERS:
                                                                                     SEE INSIDE BACK COVER FOR AN IMPORTANT FREE SAFETY OFFER FROM RUGER!
      measure of security against accidental discharge.




                                                                                                          22                       22                  17
                                                                                                         LR                      WMR                   HMR




               Available in a Variety of Sight, Grip and Finish Configurations                               Cold Hammer-Forged Barrel




                                                                                                 22 LR               22 WMR                   17 HMR


                                 Transfer Bar Mechanism                                                      Available in Multiple Calibers




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              N EW M O D EL SINGLE -SI X FAM I LY                            ®




     SINGLE-TEN®                                                                                                                                                                       NEW MODEL SINGLE-SIX® CONVERTIBLE




                                                                                                                                          Williams™ Adjustable Fiber Optic Sights
                                                                                                                                                                                                     Model 0625 Shown                                Blued or Stainless Finish        Ramp Front and                  Extra Cylinder Allows Shooters to
                                                                                                                                                                                                                                                                                   Adjustable Rear Sights               Easily Change from Shooting
     Model     Caliber   Capacity   Material/          Grips                Sights                 Barrel          Overall             Weight            Twist             Suggested                                                                                                                                         .22 LR to .22 WMR
     Number                         Finish                                                         Length          Length                                                  Retail                                            COMPARE

     8100      22 LR     10         Stainless Steel/   Hardwood             Williams™ Adjustable   5.50''          11''                38 oz.            1:14''            $699.00     Model    Caliber       Capacity   Material/          Grips               Sights            Barrel         Overall     Weight            Twist             Suggested
                                    Satin Stainless    Gunfighter           Fiber Optic                                                                                                Number                            Finish                                                   Length         Length                                          Retail
                                                                                                                                                                                       0625     22 LR/        6          Stainless Steel/   Hardwood            Ramp Front,       5.50''         11''        39 oz.            1:14''            $699.00
                                                                                                                                                                                                22 WMR                   Satin Stainless                        Adjustable Rear
                                                                                                                                                                                       0626     22 LR/        6          Stainless Steel/   Hardwood            Ramp Front,       6.50''         12''        40 oz.            1:14''            $699.00
     SINGLE-NINE®                                                                                                                                                                               22 WMR                   Satin Stainless                        Adjustable Rear
                                                                                                                                                                                       0623     22 LR/        6          Alloy Steel/       Black, Checkered,   Ramp Front,       4.62''         10.25''     32 oz.            1:14''            $629.00
                                                                                                                                                                                                22 WMR                   Blued              Hard-Rubber         Adjustable Rear
                                                                                                                                                                                       0621     22 LR/        6          Alloy Steel/       Black, Checkered,   Ramp Front,       5.50''         11''        33 oz.            1:14''            $629.00
                                                                                                                                                                                                22 WMR                   Blued              Hard-Rubber         Adjustable Rear
                                                                                                                                                                                       0622     22 LR/        6          Alloy Steel/       Black, Checkered,   Ramp Front,       6.50''         12''        35 oz.            1:14''            $629.00
                                                                                                                                                                                                22 WMR                   Blued              Hard-Rubber         Adjustable Rear
                                                                                                                                                                                       0624     22 LR/        6          Alloy Steel/       Black, Checkered,   Ramp Front,       9.50''         15''        39 oz.            1:14''            $629.00
                                                                                                                                                                                                22 WMR                   Blued              Hard-Rubber         Adjustable Rear
                                                                                                    Williams™ Adjustable                 6.50'' Barrel Helps the .22 WMR Cartridge
                                                                                                     Fiber Optic Sights                          Reach its Fullest Potential

     Model     Caliber   Capacity   Material/          Grips                Sights                 Barrel          Overall             Weight            Twist             Suggested
     Number                         Finish                                                         Length          Length                                                  Retail
     8150      22 WMR    9          Stainless Steel/   Hardwood             Williams™ Adjustable   6.50''          12''                39 oz.            1:14''            $699.00
                                    Satin Stainless    Gunfighter           Fiber Optic
                                                                                                                                                                                       NEW MODEL SINGLE-SIX® CONVERTIBLE with Fixed Sights



     NEW MODEL SINGLE-SIX® in .17 HMR


                                                                                                                                                                                                                                                                                      Blade Front and                 Extra Cylinder Allows Shooters to
                                                                                                                                                                                                                                                                                    Integral Rear Sights                Easily Change from Shooting
                                                                                                                                                                                                                                                                                                                             .22 LR to .22 WMR

                                                                                                                                                                                       Model    Caliber       Capacity   Material/          Grips               Sights            Barrel         Overall     Weight            Twist             Suggested
                                                                                                                                                            Ramp Front and             Number                            Finish                                                   Length         Length                                          Retail
                                                                                                                                                         Adjustable Rear Sights
                                                                                                                                                                                       0629     22 LR/        6          Alloy Steel/       Black, Checkered,   Blade Front,      5.50''         11''        33 oz.            1:14''            $699.00
                                                                                                                                                                                                22 WMR                   Blued              Hard-Rubber         Integral Rear
     Model     Caliber   Capacity   Material/          Grips                Sights                 Barrel          Overall             Weight            Twist             Suggested
     Number                         Finish                                                         Length          Length                                                  Retail
     0661      17 HMR    6          Alloy Steel/       Black, Checkered,    Ramp Front,            6.50''          12''                35 oz.            1:7''             $629.00
                                    Blued              Hard-Rubber          Adjustable Rear




     NEW MODEL SINGLE-SIX® HUNTER




                                                                    Bead Front and Adjustable      Extra Cylinder Allows Shooters to                   Integral Scope Mounts
                                                                           Rear Sights               Easily Change from Shooting                Provide Stable Surface for Mounting
                                                                                                          .22 LR to .22 WMR                             Included Scope Rings

     Model     Caliber   Capacity   Material/          Grips                Sights                 Barrel          Overall             Weight            Twist             Suggested
     Number                         Finish                                                         Length          Length                                                  Retail
     0662      22 LR/    6          Stainless Steel/   Black Laminate       Bead Front,            7.50''          13''                45 oz.            1:14''            $879.00
               22 WMR               Satin Stainless                         Adjustable Rear



75                                                                                                                                                                                                                                                                                                          R UGER .C OM / S I N G L E S I X                 76
                                                                                                          Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 84 of 174 PageID #: 762
                                      ®
              B E A R C AT
     FEATURES
      Decorative, unfluted cylinder displays a rollmark with                             Cold hammer-forged barrel results in ultra-precise rifling that provides
      a bear and cougar design.                                                          exceptional accuracy and longevity.
      Classic styling and one-piece frame are reminiscent of Civil War-era
      Remington ® revolvers.                                                             ORIGINAL BEARCAT® AND SUPER BEARCAT® OWNERS: SEE INSIDE
      Transfer bar mechanism and loading gate interlock provide an unparalleled          BACK COVER FOR AN IMPORTANT FREE SAFETY OFFER FROM RUGER!
      measure of security against accidental discharge.
      Lightweight and accurate with blade front and integral notch rear sights.




                            Bearcat®                                      Bearcat ® with
                            (Model 0912)                                  Satin Stainless Finish                                                                 22
                                                                          (Model 0913)
                                                                                                                                                                 LR
                                              COMPARE
     Model      Caliber       Capacity     Material/          Grips      Sights                Barrel         Overall        Weight            Twist        Suggested
     Number                                Finish                                              Length         Length                                        Retail
     0912       22 LR         6            Alloy Steel/       Hardwood   Blade Front,          4.20''         9''            24 oz.            1:16''       $639.00
                                           Blued                         Integral Rear
     0913       22 LR         6            Stainless Steel/   Hardwood   Blade Front,          4.20''         9''            24 oz.            1:16''       $689.00
                                           Satin Stainless               Integral Rear




                              Decorative Unfluted Cylinder                                                          Lightweight and Accurate




                                  Transfer Bar Mechanism                                   Cold Hammer-Forged Barrel                  Classic Styling and One-Piece Frame

77                                                                                                                                                                                           R UGER .C OM / B E A R C A T   78
                                                                                                                                      Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 85 of 174 PageID #: 763




            AR-556 PISTOL
                                                     ®

                                                                                                                                                                                                                                                                           A R - 5 5 6® P I S T O L


            The AR-556 Pistol is equipped with an SB Tactical SBA3 Pistol Stabilizing Brace ,
                                       ®                                                                                  ®              ®                                                  ®




            which features integral QD sling sockets and a minimalist design.
                  COMPARE
      Model       Caliber         Capacity     Finish             Sights    Feature                        Handguard                    Barrel       Overall      Weight     Thread      Twist      Suggested
      Number                                                                                                                            Length       Length                  Pattern                Retail
      8570*       5.56 NATO/      30           Type III Hard      None      SB Tactical® SBA3® Pistol      Free-Float with M-LOK®       10.50''      25.30''-     6.2 lbs.   1/2''-28    1:8''      $899.00
                                                                                                                                                                                                                                                                   5.56
                  223 Rem                      Coat Anodized                Stabilizing Brace ®            Attachment Slots                          27.90''
                                                                                                                                                                                                                                                                   NATO/                 300             350
      8571*       350 Legend      5            Type III Hard      None      SB Tactical® SBA3® Pistol      Free-Float with M-LOK®       9.50''       24''-        5.6 lbs.   1/2''-28    1:16''     $949.00                                                        223                   BLK             LEGEND
                                               Coat Anodized                Stabilizing Brace ®            Attachment Slots                          26.60''                 x 0.4                                                                                 REM
      8572*       300 BLK         30           Type III Hard      None      SB Tactical® SBA3® Pistol      Free-Float with M-LOK®       10.50''      25.30''-     5.8 lbs.   5/8''-24    1:7''      $949.00
                                               Coat Anodized                Stabilizing Brace ®            Attachment Slots                          27.90''

      8573*       5.56 NATO/      30           American Flag      None      SB Tactical® SBA3® Pistol      Free-Float with M-LOK®       10.50''      25.30''-     6.2 lbs.   1/2''-28    1:8''      $949.00
                  223 Rem                      Cerakote®                    Stabilizing Brace ®            Attachment Slots                          27.90''                                                                       THREE CALIBERS                                                   FOUR MODELS




                                                                                                                                                                                                                                                                                                                            AR-556® Pistol
                                                                                                                                                                                                                                                                                                                            in .300 BLK
                                                                                                                                                                                                                                                                                                                            (Model 8572)




                                                                                                                                                                                                                                                                                                                                                   AR-556® Pistol
                                                                                                                                                                                                                                                                                                                                                   Flag Series
                                                                                                                                                                                                                                                                                                                                                   (Model 8573)
                                                                                                                                                                                                                                     AR-556® Pistol
                                                                                                                                                                                                                                     in .350 Legend (Model 8571)



                                                                                                                                                                                                                FEATURES
                                                                                                                                                                                                                 Lower receiver is fitted with an adjustable SB Tactical® SBA3® Pistol         Cold hammer-forged 4140 chrome-moly steel barrel with ultra-precise
                                                                                                                                                                                                                 Stabilizing Brace® to aid in accuracy, balance and recoil management.         rifling provides exceptional accuracy, longevity and easy cleaning. M4 feed
                                                                                                                                                                                                                                                                                               ramps provide improved reliability, and the matte black oxide finish
                                                                                                                                                                                                                 Slim handguard is free-floated for accuracy and its slim 9'' length
                                                                                                                                                                                                                                                                                               reduces glare and provides corrosion resistance.
                                                                                                                                                                                                                 provides enhanced ergonomics and support. Magpul® M-LOK® accessory
                                                                                                                                                                                                                 attachment slots along the 3:00, 6:00 and 9:00 positions.                     Bolt carrier and gas key have chrome-plated inside diameters to provide
                                                                                                                                                                                                                                                                                               exceptional resistance to hot gases. The gas key is staked so that it will not
                                                                                                                                                                                                                 Made from aerospace-grade 7075-T6 aluminum forging, the flattop upper
                                                                                                                                                                                                                                                                                               loosen after extensive firing. A matte black oxide finish on the exterior of
                                                                                                                                                                                                                 receiver includes a forward assist, dust cover and brass deflector.
                                                                                                                                                                                                                                                                                               the bolt carrier provides corrosion resistance.
                                                                                                                                                                                                                 Bolt is machined from 9310 alloy steel and is shot peened and pressure
                                                                                                                                                                                                                                                                                               A Ruger® flash suppressor is provided, and the threaded barrel allows
                                                                                                                                                                                                                 (proof) tested to ensure strength, structural integrity and durability.
                                                                                                                                                                                                                                                                                               for standard muzzle accessories to be installed.
                                                                                                                                                                                                                 Carbine-length gas system ensures reliable function with a wide variety
                                                                                                                                                                                                                                                                                               Also includes: One magazine.
                                                                                                                                                                                                                 of ammunition. Models 8571 and 8572 feature a pistol-length gas system.
     * Some firearms may not be available in all states and locales due to laws limiting magazine capacity or other feature-based restrictions. Please check with your local law enforcement agency prior
       to purchasing this firearm to verify that it may legally be purchased and/or possessed in your particular state and locale.

79                                                                                                                                                                                                                                                                                                                            R UGER .C OM / A R 5 5 6 P I S T O L              80
                                                                 Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 86 of 174 PageID #: 764




     22 CHARGER
                                      ™

                                                                                                                                                     2 2 C H A R G E R™


     First introduced in 2007, the 22 Charger .22 LR pistol has become a favorite of
                                                ™




     target shooters and plinkers alike. This unique pistol offers enhanced ergonomics, the BX-15®
     magazine and the takedown model employs the very popular 10/22 Takedown® quick
     disconnect feature that allows this pistol to be taken down quickly and easily.                                                                         22
                                                                                                                                                             LR

                                                                                                                                ONE CALIBER                            FOUR MODELS




                                                                                                                                 The 22 Charger™ Takedown model quickly and easily breaks down
                                                                                                                                      into two sections for convenient storage and transport.




                                                                                                                                                                       22 Charger ™
                                                                                                                                                                       (Model 4923)
                                                                22 Charger Takedown
                                                                           ™

                                                                Lite with Picatinny-Style
                                                                Rail Brace Mount
                                                                (Model 4935)




81                                                                                                                                                                                         R UGER .C OM / C H A R G E R   82
                                                                                                                                       Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 87 of 174 PageID #: 765
                                                           ™
                2 2 C H AR GE R
     FEATURES
        Cold hammer-forged barrel results in ultra-precise rifling                                                 Included adjustable bipod provides rock-steady sighting.
        that provides exceptional accuracy and longevity.
                                                                                                                   Threaded barrel features a 1/2''-28 thread pattern that accepts most
        Features a standard A2-style grip that can be easily replaced                                              suppressors, flash hiders and the factory-installed thread protector.
        with any AR-style grip.
                                                                                                                   Takedown models quickly and easily breaks down into two sections
        Factory-installed Picatinny-style rail provides ample room for scopes                                      for convenient storage and transport.
        and red-dot sights.
                                                                                                                   Brace-ready models feature a factory-installed Picatinny-style rail
        Includes one, 15-round, BX-15® magazine, which is the perfect length                                       brace mount with integrated QD cup.
        when shooting with the included bipod prone or from the bench.




                                                               22 Charger™ with
                                                               Picatinny-Style                                                                                                                      22
                                                               Rail Brace Mount
                                                               (Model 4938*)
                                                                                                                                                                                                    LR
                                                                                             COMPARE
      Model           Caliber           Capacity     Barrel Material/    Stock              Stock Option       Stock Feature           Barrel          Overall         Weight**      Twist       Suggested
      Number                                         Finish                                                                            Length          Length                                    Retail
      4923*           22 LR             15           Alloy Steel/        Black Polymer      Standard           –                       10''            19.25''         3.1 lbs.      1:16''      $309.00
                                                     Matte Black
      4924*           22 LR             15           Alloy Steel/        Black Polymer      Takedown           –                       10''            19.25''         3.2 lbs.      1:16''      $419.00
                                                     Matte Black
      4938*           22 LR             15           Alloy Steel/        Black Polymer      Standard           Picatinny-Style Rail    8''             17''            3.2 lbs.      1:16''      $349.00
                                                     Matte Black                                               Brace Mount
      4935*           22 LR             15           Alloy Steel/        Black Polymer      Takedown           Picatinny-Style Rail    10''            19''            3.5 lbs.      1:16''      $599.00
                                                     Matte Black                                               Brace Mount




                                Adjustable Bipod for Rock-Steady Sighting                                               Takedown Model is Easily                     Includes a 15-Round, BX-15® Magazine
                                                                                                                       Separated and Reassembled




        Brace-Ready Models Feature a Factory-Installed                             Standard A2-Style Pistol Grip                                       Factory-Installed Picatinny-Style Rail
               Picatinny-Style Rail Brace Mount

     * Some firearms may not be available in all states and locales due to laws limiting magazine capacity or other feature-based restrictions. Please check with your local law enforcement agency prior
       to purchasing this firearm to verify that it may legally be purchased and/or possessed in your particular state and locale. ** Without magazine and bipod.

83                                                                                                                                                                                                                        R UGER .C OM / C H A R G E R   84
                                                                   Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 88 of 174 PageID #: 766




     10/22
                     ®

                                                                                                                                                                    10 / 2 2®


     Built in our American factories by American workers, every 10/22 rifle that comes off
                                                                           ®




     the line is a quality firearm. With millions sold over a span of more than half a century,
     the Ruger 10/22 has long been America’s favorite rimfire rifle. When it comes to
               ®         ®




     choosing your next .22 rifle, don’t settle for an imitation, make it an original.                                                                                22
                                                                                                                                                                      LR

                                                                                                                                   ONE CALIBER                                     SIXTEEN MODELS


                                                                                                                              CARBINE          COMPACT                      SPORTER                             TACTICAL



                                                                                                                               TARGET LITE                   TAKEDOWN                            TAKEDOWN LITE




                                                                                                                                             10/22® Carbine
                                                                                                                                             with Viridian® Scope
                                                                                                                                             (Model 31143)




                                                                                                                                                                                10/22® Carbine with
                                                                                                                                                                                Factory-Installed Combination
                                                                                                                                                                                Scope Base Adapter
                                                                                                                                                                                (Model 31139)




85                                                                                                                                                                                                                   R UGER .C OM / 1 0 2 2   86
                                                                                             Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 89 of 174 PageID #: 767

           10 / 2 2         ®




     FEATURES
      This legendary action is a tried and true Ruger design that ensures   Cold hammer-forged barrel is locked into the receiver by a unique,
      consistent, reliable performance.                                     two-screw, V-block system.
      Detachable 10-round rotary magazine features a unique rotor to        Heat-stabilized, glass-filled, polymer trigger housing assembly is
      separate cartridges and provide reliable feeding.                     precision made of high-tech material for improved manufacturing
                                                                            tolerances, impact and abrasion resistance and an unmatched
      Easy-to-use, prominent magazine release provides smooth,
                                                                            ability to withstand the elements.
      no-fuss removal of the flush-mounted magazine.
                                                                            The receiver and stock combine to create classic lines
      Positive, push-button, cross-bolt manual safety.
                                                                            for attractive styling.
      Combination scope base adapter for both Weaver-style                                                                                   22
      and .22 tip-off scope mounts included.                                                                                                 LR




                         Detachable 10-Round Rotary Magazine                                 Easy-to-Use, Prominent Magazine Release




                        Combination Scope Base Adapter Included                            Positive, Push-Button, Cross-Bolt Manual Safety


87                                                                                                                                                                              R UGER .C OM / 1 0 2 2   88
                                                                                                                                        Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 90 of 174 PageID #: 768

                10 / 2 2            ®




     10/22® CARBINE                                                                                                                                                                                                    10/22® COMPACT



                                                              Model 1103 Shown



                                                                                               Gold Bead Front and Adjustable,          Model 21194 Ships with                    Model 31143 Ships with a                                                                                                                          Ruger® Modular Stock System with Low Comb            Fiber Optic Front and Adjustable
                                                                                                     Folding Rear Sights           Factory-Installed Weaver ™ 3-9x40           Factory-Installed Viridian® 3-9x40                                                                                                                     Compact Length of Pull Module Installed                Fiber Optic Rear Sights
                                                                                                                                         Scope and Hard Case                         Scope and Hard Case
                                                        COMPARE
                                                                                                                                                                                                                        Model       Caliber        Capacity      Barrel Material/   Stock          Sights                 Barrel            Overall          Weight          Length            Twist        Suggested
      Model        Caliber              Capacity      Barrel Material/    Stock            Sights                  Barrel            Overall         Weight           Length               Twist      Suggested
                                                                                                                                                                                                                        Number                                   Finish                                                   Length            Length                           of Pull                        Retail
      Number                                          Finish                                                       Length            Length                           of Pull                         Retail
                                                                                                                                                                                                                        31114       22 LR          10            Alloy Steel/       Black          Fiber Optic Front,     16.12''           34''             4.4 lbs.        12.50''           1:16''       $309.00
      1103         22 LR                10            Alloy Steel/        Hardwood         Gold Bead Front,        18.50''           37''            5 lbs.           13.50''              1:16''     $309.00
                                                                                                                                                                                                                                                                 Satin Black        Synthetic      Adjustable Fiber
                                                      Satin Black                          Adjustable Rear
                                                                                                                                                                                                                                                                                                   Optic Rear
      1151         22 LR                10            Alloy Steel/        Black            Gold Bead Front,        18.50''           37''            4.4 lbs.         13.50''              1:16''      $309.00
                                                      Satin Black         Synthetic        Adjustable Rear
      21194        22 LR                10            Alloy Steel/        Black            Gold Bead Front,        18.50''           37''            5.4 lbs.         13.50''              1:16''     $399.00
                                                      Satin Black         Synthetic        Adjustable Rear                                                                                                             10/22® TACTICAL
                                                                                           (3-9x40 Weaver™
                                                                                           Scope Included)
      31143        22 LR                10            Alloy Steel/        Black            Gold Bead Front,        18.50''           37''            5.4 lbs.         13.50''              1:16''     $399.00
                                                      Satin Black         Synthetic        Adjustable Rear
                                                                                           (Viridian® EON
                                                                                           3-9x40 Scope
                                                                                           Included)
      1256         22 LR                10            Stainless Steel/    Black            Gold Bead Front,        18.50''           37''            4.4 lbs.         13.50''              1:16''     $339.00
                                                      Satin Stainless     Synthetic        Adjustable Rear                                                                                                                                                                                                                                            Factory-Installed Flash Suppressor             Contoured Buttplate on
                                                                                                                                                                                                                                                                                                                                                         with 1/2"-28 Thread Pattern                 Black Synthetic Stock

                                                                                                                                                                                                                        Model       Caliber        Capacity      Barrel Material/   Stock          Sights                 Barrel            Overall          Weight          Length            Twist        Suggested
     10/22® CARBINE with Scope Base Adapter                                                                                                                                                                             Number                                   Finish                                                   Length            Length                           of Pull                        Retail
                                                                                                                                                                                                                        1261*       22 LR          10            Alloy Steel/       Black          None                   16.12''           36.25''          4.3 lbs.        13.50''           1:16''       $359.00
                                                                                                                                                                                                                                                                 Satin Black        Synthetic




                                                                                                                                                                                                                      10/22® SPORTER
                                                              Model 31145 Shown


                                                                                                                                     Classic Lines for Attractive Styling             Factory-Installed Combination
                                                                                                                                                                                           Scope Base Adapter
                                                                          COMPARE
      Model        Caliber            Capacity        Barrel Material/    Stock            Sights                  Barrel            Overall         Weight          Length               Twist       Suggested
      Number                                          Finish                                                       Length            Length                          of Pull                          Retail
      31139        22 LR              10              Alloy Steel/        Gray             None                    18.50''           37''            4.5 lbs.        13.50''              1:16''      $309.00
                                                                                                                                                                                                                                                                                                                                              Gold Bead Front and Adjustable,               Flat Buttplate with Rubber
                                                      Satin Black         Synthetic
                                                                                                                                                                                                                                                                                                                                                    Folding Rear Sights                    Buttpad and Sling Swivels on
      31145        22 LR              10              Alloy Steel/        Charcoal         None                    18.50''           37''            4.5 lbs.        13.50''              1:16''      $309.00                                                                                                                                                                                American Walnut Stock
                                                      Satin Black         Synthetic
                                                                                                                                                                                                                      Model      Caliber      Capacity        Barrel Material/   Stock          Sights                  Barrel           Overall          Weight          Length            Twist        Suggested
                                                                                                                                                                                                                      Number                                  Finish                                                    Length           Length                           of Pull                        Retail
                                                                                                                                                                                                                      1102       22 LR        10              Alloy Steel/       American       Gold Bead Front,        18.50''          37''             5.2 lbs.        13.88''           1:16''       $419.00
     10/22® CARBINE with GO Wild® Camo Rock-Star® Stock                                                                                                                                                                                                       Satin Black        Walnut         Adjustable Rear




                                                                                                                                                                                                                       10/22® TARGET LITE




                                                                                              1/2''-28 Threaded Muzzle          GO Wild® Camo Rock-Star® Stock         Ships with Soft-Sided 10/22® Rifle Case
                                                                                               Fitted with Thread Cap

      Model        Caliber            Capacity        Barrel Material/    Stock               Sights                  Barrel            Overall         Weight              Length           Twist       Suggested                                                                                          1/2''-28 Threaded Barrel Tensioned in Black       Light, Crisp BX-Trigger®       Laminate Thumbhole Stock
      Number                                          Finish                                                          Length            Length                              of Pull                      Retail                                                                                               Anodized Aluminum Alloy Barrel Sleeve                                         with Adjustable Length of Pull
      31113*       22 LR              10              Alloy Steel/        GO Wild® Camo       Gold Bead Front,        18.50''           37''            4.4 lbs.            13.50''          1:16''      $399.00
                                                                                                                                                                                                                        Model       Caliber        Capacity      Barrel Material/   Stock                Sights            Barrel            Overall          Weight          Length            Twist        Suggested
                                                      Satin Black         Rock-Star®          Adjustable Rear
                                                                                                                                                                                                                        Number                                   Finish                                                    Length            Length                           of Pull                        Retail
                                                                          Synthetic
                                                                                                                                                                                                                        21186*      22 LR          10            Alloy Steel/       Black Laminate       None              16.13''           35.25''          5 lbs.          13.75''           1:16''       $649.00
     * Some rifles may not be available in all states and locales due to laws limiting magazine capacity or other feature-based restrictions. Please check with your local law enforcement agency prior                                                          Satin Black        with Thumbhole
       to purchasing this firearm to verify that it may legally be purchased and/or possessed in your particular state and locale.

89                                                                                                                                                                                                                                                                                                                                                                                  R UGER .C OM / 1 0 2 2                    90
                                                                                                                                       Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 91 of 174 PageID #: 769

               10 / 2 2 TAK E D OWN                                        ®




     FEATURES                                                                                                                                                                                                      10/22 TAKEDOWN®
        Easy takedown enables quick separation of the barrel from the action for                                 Positive, push-button, cross-bolt manual safety.
        ease of transport and storage. Takedown is as simple as locking the bolt
                                                                                                                 Combination scope base adapter for both Weaver-style
        back and verifying that the rifle is unloaded, pushing a recessed lever,
                                                                                                                 and .22 tip-off scope mounts included.
        twisting the subassemblies and pulling them apart.
                                                                                                                 Heat-stabilized, glass-filled, polymer trigger housing assembly
        Simple reassembly allows for a secure connection of the barrel and action
                                                                                                                 is precision-made of high-tech material for improved manufacturing
        and returns the firearm to zero, even when receiver-mounted optics are
                                                                                                                 tolerances, impact and abrasion resistance and unmatched ability
        used, ensuring consistent accuracy, shot after shot.                                                                                                                                                                               Model 11100 Shown
                                                                                                                 to withstand the elements.
                                                                                                                                                                                                                                                                                                                                           Gold Bead Front and                         Satin Stainless or
        This legendary action is a tried and true Ruger design that ensures                                                                                                                                                                                                                                                               Adjustable Rear Sights                       Satin Black Finish
                                                                                                                 Precision-rifled, cold hammer-forged barrel.
        consistent, reliable performance.                                                                                                                                                                                                          COMPARE

                                                                                                                 The receiver and stock combine to create classic lines                                            Model    Caliber   Capacity   Barrel Material/   Stock        Sights              Barrel Feature      Thread     Barrel     Overall       Weight        Length       Twist      Suggested
        Detachable 10-round rotary magazine features a unique rotor to separate                                                                                                                                    Number                        Finish                                                                  Pattern    Length     Length                      of Pull                 Retail
                                                                                                                 for attractive styling.
        cartridges and provide reliable feeding.                                                                                                                                                                   11100    22 LR     10         Stainless Steel/   Black        Gold Bead Front,    Standard            _          18.50''    37''          4.6 lbs.      13.87''      1:16''     $439.00

        Easy-to-use, prominent magazine release provides smooth,
                                                                                                                 Also includes: convenient carry-case.                                             22                                            Satin Stainless    Synthetic    Adjustable Rear

        no-fuss removal of the flush-mounted magazine.                                                                                                                                             LR              11112*   22 LR     10         Alloy Steel/
                                                                                                                                                                                                                                                 Satin Black
                                                                                                                                                                                                                                                                    Black
                                                                                                                                                                                                                                                                    Synthetic
                                                                                                                                                                                                                                                                                 Gold Bead Front,
                                                                                                                                                                                                                                                                                 Adjustable Rear
                                                                                                                                                                                                                                                                                                     Threaded with
                                                                                                                                                                                                                                                                                                     Flash Suppressor
                                                                                                                                                                                                                                                                                                                         1/2''-28   16.40''    36.75''       4.6 lbs.      13.87''      1:16''     $459.00




                                                                                                                                                                                                                   10/22 TAKEDOWN® with Fluted .920'' Diameter Barrel




                                         Recessed Locking Lever                                                                          Detachable 10-Round Rotary Magazine

                                                                                                                                                                                                                                                                                                                    Ruger® Modular Stock System with Low Comb,                   .920'' Diameter Barrel is
                                                                                                                                                                                                                                                                                                                  Standard Length of Pull Module Installed (Ships with         Fluted for Weight Reduction
                                                                                                                                                                                                                                                                                                                 Additional High Comb, Standard Length of Pull Module)

                                                                                                                                                                                                                   Model    Caliber   Capacity   Barrel Material/   Stock        Sights         Barrel Feature          Thread       Barrel       Overall       Weight       Length      Twist      Suggested
                                                                                                                                                                                                                   Number                        Finish                                                                 Pattern      Length       Length                     of Pull                Retail
                                                                                                                                                                                                                   21133*   22 LR     10         Alloy Steel/       Black        None           Threaded, Fluted        1/2''-28     16.12''      34.62''       5.3 lbs.     13.87''     1:16''     $629.00
                                                                                                                                                                                                                                                 Satin Black        Synthetic                   .920'' Diameter




                                    Classic Lines for Attractive Styling
                                                                                                                                                                                                                   10/22 TAKEDOWN® LITE
                                                                                                                                    Positive, Push-Button, Cross-Bolt Manual Safety



                                                                                                                               Lock Bolt Back and Verify
                                                                                                                          1    Rifle is Unloaded

                                                                                                                                                                      3    Rotate Barrel Assembly



                                                                                                                                                                      Remove Barrel Assembly                                                                                                                        Ruger® Modular Stock System with Low Comb,               Alloy Steel Barrel Tensioned in
                                                                                                                                                                                    from Receiver                                                                                                                 Standard Length of Pull Module Installed (Ships with        a 6061-T6 Aluminum Alloy,
                                                                                                                                                                                                                                                                                                                 Additional High Comb, Standard Length of Pull Module)              Ventilated Sleeve
                                                                                                                                 Pull Locking 2                                  4
                                                                                                                                 Lever to Unlock                                                                   Model    Caliber   Capacity   Barrel Material/   Stock       Sights              Barrel Feature      Thread      Barrel        Overall      Weight        Length     Twist      Suggested
                                                                                                                                                                                                                   Number                        Finish                                                                 Pattern     Length        Length                     of Pull               Retail
                                                                                                                                                                                                                   21152*   22 LR     10         Alloy Steel/       Black       None                Threaded,           1/2''-28    16.12''       34.62''      4.5 lbs.      13.87''    1:16''     $659.00
                               Easy-to-Use, Prominent Magazine Release                                                            Patented Takedown Design Enables Quick and Easy                                                                Satin Black        Synthetic                       Tensioned in
                                                                                                                                       Separation of the Barrel from the Action                                                                                                                     Aluminum Sleeve


     * Some rifles may not be available in all states and locales due to laws limiting magazine capacity and feature-based restrictions. Please check with your local law enforcement agency prior to purchasing
       this firearm to verify that it may legally be purchased and/or possessed in your particular state and locale.

91                                                                                                                                                                                                                                                                                                                                               R UGER .C OM / 1 0 2 2 T A K E D O W N                         92
                                                              Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 92 of 174 PageID #: 770




     SILENT-SR ISB
                               ®

                                                                                                                                                                  S I L E N T - S R® I S B


     Offering top-tier sound reduction, the Silent-SR Integrally Suppressed Barrel features
                                                    ®




     best-in-class materials and an advanced design resulting in a lightweight, compact package.



                                                                                                                                                                            22
                                                                                                                                                                            LR

                                                                                                                                   REDUCES SOUND PRESSURE LEVELS OF .22 LR TO

                                                                                                                       AN AVERAGE OF 113.2 dB
                                                                                                                                           WITH STANDARD VELOCITY AMMUNITION.

                                                                                                                       T H E S I L E N T- S R ® I S B I S C O M P AT I B L E W I T H T H E F O L L O W I N G R U G E R® F I R E A R M S

                                                                                                                                                                                  10/22 Takedown® with
                                                                                                                      22 Charger™ Takedown            10/22 Takedown®                                            10/22 Takedown® Lite
                                                                                                                                                                                  .920'' Diameter Barrel




                                                                 Rifle Not Included



                                                                                                                                                 Silent-SR® ISB
                                                                                                                                                 (Model 19001)




93                                                                                                                                                                                                              R UGER .C OM / S I L E N T - S R I S B   94
                                                                                                                                          Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 93 of 174 PageID #: 771

                S I L EN T-SR ISB                   ®




     FEATURES
        Reduces sound pressure levels of .22 LR to an average of 113.2 dB                                          Stainless steel barrel, baffles and front cap were chosen for maximum
        with standard velocity ammunition.                                                                         strength and serviceability. The aluminum sleeve is permanently attached
                                                                                                                   to the barrel to minimize weight and maintain a minimum overall length.
        Lightweight for balance and portability. Once installed on the firearm,
        the center of gravity is close to the receiver, making it easy to
        maneuver and shoot.
        Easy to disassemble and clean. All internal components seal together
        to keep the byproducts of combustion away from the tube. A single screw
        retains the baffles and cap within the sleeve and doubles as a removal tool.
        The included 5/32'' hex key tool allows the integrally suppressed barrel to
        be completely disassembled for cleaning.
        Sleeve surrounding the 17-4 stainless baffles is matched to the forend for
        a clean, but distinctive, appearance.                                                                                                                                                      22
                                                                                                                                                                                                   LR

          For additional information on National Firearms Act (NFA) item restrictions, visit: RUGER.COM/NFA




                                      Easy Disassembly for Cleaning                                                            Using the Provided Disassembly Tool, Remove the Barrel Cap




                            Slide the Entire Stack of Baffles Out of the Barrel                                                           Snap Apart Each Part of the Baffle Stack



      Model Number         Caliber                         Material/Finish                                                Effective              Legal                    Weight           Suggested Retail
                                                                                                                          Barrel Length          Barrel Length
      19001*               22 LR                           17-4 Stainless and Aluminum/Cerakote ®                         10.62''                16.12''                  2.6 lbs.         $629.00




     * Sound suppressors are not available in all states and locales due to laws restricting their ownership and use. Prior to purchasing, please check your state and local regulations
       to verify that you may legally possess a suppressor.

95                                                                                                                                                                                                                           R UGER .C OM / S I L E N T - S R I S B   96
                                                                 Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 94 of 174 PageID #: 772




     PC CARBINE
                                      ™

                                                                                                                                                            PC CARBINE™


     Practical and versatile, the PC Carbine is built to excel in a variety of roles, from plinking or
                                              ™




     competition to home or personal defense. The PC Carbine is highly configurable, yet compact,
                                                                ™




     making it the perfect, portable companion to match with a variety of pistols.

                                                                                                                                                           9mm
                                                                                                                                                           LUGER
                                                                                                                                                                    40
                                                                                                                                                                    S&W



                                                                                                                                        TWO CALIBERS                 THIRTEEN MODELS




                                                                                                                        PC Carbine ™
                                                                                                                        (Model 19100)




                                                                                                                                           PC Carbine ™
                                                                                                                                           Chassis Model
                                                                                                                                           (Model 19122)




97                                                                                                                                                                             R UGER .C OM / P C C A R B I N E   98
                                                                                                                                   Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 95 of 174 PageID #: 773
                                                        ™
               P C CA RB INE
     FEATURES                                                                                                                                                                                                   PC CARBINE™
        Interchangeable magazine wells for use of common Ruger® and                                           Threaded barrel with included thread protector allows for use
        Glock® magazines. Ships with SR-Series ™ and Security-9® pistol                                       of standard muzzle accessories (excludes non-threaded models).
        magazine well installed and an additional magazine well accepting
                                                                                                              Accurate sighting system with adjustable ghost ring rear aperture sight                                                                              Model 19100 Shown
        Glock® magazines is included**. Ruger American® Pistol magazine
                                                                                                              and non-glare, protected blade front sight (excludes Chassis models).
        wells are available at ShopRuger.com.
                                                                                                              Soft rubber buttpad with spacers allows the rifle to be properly sized                                     COMPARE

        Easy takedown enables quick separation of the barrel/forend assembly from                             for different shooters or varying levels of outerwear. Three, 1/2''
                                                                                                                                                                                                                Model    Caliber   Capacity   Receiver Material/            Stock       Sights                        Barrel      Thread     Barrel      Overall    Weight     Length     Twist    Suggested
                                                                                                                                                                                                                Number                        Finish                                                                  Feature     Pattern    Length      Length                of Pull             Retail
        the action for ease of transportation and storage. Takedown is as simple                              spacers included.                                                                                 19100*   9mm       17         Aluminum Alloy/ Type III      Black       Protected Blade Front/        Threaded,   1/2''-28   16.12''     34.37''    6.8 lbs.   12.62''-   1:10''   $649.00
        as locking the bolt back and verifying that the rifle is unloaded, pushing a                                                                                                                                     Luger                Hard-Coat Anodized            Synthetic   Adjustable Ghost Ring Rear    Fluted                                                   14.12''
        recessed lever, twisting the subassemblies and pulling them apart.                                    Durable, glass-filled nylon synthetic stock features sling swivel studs
                                                                                                                                                                                                                19101    9mm       10         Aluminum Alloy/ Type III      Black       Protected Blade Front/        Fluted      –          16.12''     34.37''    6.8 lbs.   12.62''-   1:10''   $649.00
                                                                                                              for rapid sling attachment and forward mounted accessory rail to                                           Luger                Hard-Coat Anodized            Synthetic   Adjustable Ghost Ring Rear                                                             14.12''
        Dead blow action features a custom tungsten dead blow weight                                          allow for a variety of under-barrel accessories such as lights or lasers.
        that shortens bolt travel and reduces felt recoil and muzzle rise.                                                                                                                                      19102*   9mm       10         Aluminum Alloy/ Type III      Black       Protected Blade Front/        Threaded,   1/2''-28   16.12''     34.37''    6.8 lbs.   12.62''-   1:10''   $649.00
                                                                                                              The grip features a proprietary texture for enhanced control.                                              Luger                Hard-Coat Anodized            Synthetic   Adjustable Ghost Ring Rear    Fluted                                                   14.12''
        Bolt is machined from heat treated, chrome-moly steel to ensure
                                                                                                                                                                                                                19109*   40        15         Aluminum Alloy/ Type III      Black       Protected Blade Front/        Threaded,   9/16''-    16.12''     34.37''    6.6 lbs.   12.62''-   1:16''   $649.00
        strength, structural integrity and durability.                                                        Light, crisp trigger pull with minimal overtravel and positive reset                                       S&W                  Hard-Coat Anodized            Synthetic   Adjustable Ghost Ring Rear    Fluted      24                                           14.12''
                                                                                                              utilizing proven 10/22® trigger components.
        Reversible magazine release and reversible charging handle to                                                                                                                                           19110    40        10         Aluminum Alloy/ Type III      Black       Protected Blade Front/        Fluted      –          16.12''     34.37''    6.6 lbs.   12.62''-   1:16''   $649.00
                                                                                                              CNC-machined from an aerospace-grade 7075-T6 aluminum billet,                                              S&W                  Hard-Coat Anodized            Synthetic   Adjustable Ghost Ring Rear                                                             14.12''
        support left- or right-handed use or one-handed control manipulation
                                                                                                              the receiver includes an integrated Picatinny-style † rail and is Type III                        19111*   40        10         Aluminum Alloy/ Type III      Black       Protected Blade Front/        Threaded,   9/16''-    16.12''      34.37''   6.6 lbs.   12.62''-   1:16''   $649.00
        while maintaining a proper firing grip***.                                                                                                                                                                       S&W                  Hard-Coat Anodized            Synthetic   Adjustable Ghost Ring Rear    Fluted      24                                           14.12''
                                                                                                              hard-coat anodized for maximum durability.
        Cold hammer-forged, chrome-moly steel barrel with ultra-precise rifling
        provides exceptional accuracy and longevity. The heavy-contour barrel                                 Also includes: one SR-Series™ pistol magazine. Non-chassis models
        provides consistent accuracy, while barrel fluting sheds unnecessary                                  include hex wrenches for rear sight adjustment, buttpad spacer                                    PC CARBINE™ WITH FREE-FLOAT HANDGUARD
        weight and allows for quick handling.                                                                 adjustment and charging handle removal.




                                                                                                                                                                                                                                                                   Model 19115 Shown
                                                                                                                                                                                                                                                                                                                                                        Free-Float Hard Black Anodized Aluminum Handguard
                                                                                                                                                                                                                                                                                                                                                       Featuring Magpul® M-LOK® Accessory Attachment Slots
                                                                                                                                                                                                                                   COMPARE
                                                                                                                                                                                                                Model    Caliber   Capacity   Receiver              Stock                          Sights             Barrel      Thread     Barrel      Overall     Weight    Length     Twist    Suggested
             Interchangeable Magazine Wells                                        Easy Takedown Enables Quick Separation of                                  Dead Blow Action to Shorten Bolt Travel           Number                        Material/Finish                                                         Feature     Pattern    Length      Length                of Pull             Retail
                                                                                   the Barrel/Forend Assembly from the Action                                 and Reduce Felt Recoil and Muzzle Rise            19115*   9mm       17         Aluminum Alloy/       Black Synthetic                Protected Blade    Threaded,   1/2''-28   16.12''     34.37''     7         12.62''-   1:10''   $729.00
                                                                                                                                                                                                                         Luger                Type III Hard-Coat                                   Front/Adjustable   Fluted                                         lbs.      14.12''
                                                                                                                                                                                                                                              Anodized                                             Ghost Ring Rear
                                                                                                                                                                                                                19116    9mm       10         Aluminum Alloy/       Black Synthetic                Protected Blade    Fluted      –          16.12''     34.37''     7         12.62''-   1:10''   $729.00
                                                                                                                                                                                                                         Luger                Type III Hard-Coat                                   Front/Adjustable                                                  lbs.      14.12''
                                                                                                                                                                                                                                              Anodized                                             Ghost Ring Rear
                                                                                                                                                                                                                19117*   9mm       10         Aluminum Alloy/       Black Synthetic                Protected Blade    Threaded,   1/2''-28   16.12''     34.37''     7         12.62''-   1:10''   $729.00
                                                                                                                                                                                                                         Luger                Type III Hard-Coat                                   Front/Adjustable   Fluted                                         lbs.      14.12''
                                                                                                                                                                                                                                              Anodized                                             Ghost Ring Rear
                                                                                                                                                                                                                19121*   9mm       17         Aluminum Alloy/       Synthetic with                 Protected Blade    Threaded,   1/2''-28   16.12''     34.37''     7         12.62''-   1:10''   $779.00
                                                                                                                                                                                                                         Luger                Type III Hard-Coat    American Flag Camo             Front/Adjustable   Fluted                                         lbs.      14.12''
                                                                                                                                                                                                                                              Anodized                                             Ghost Ring Rear


                                                                                                                                                                                                                PC CARBINE™ CHASSIS MODEL
        Reversible Magazine Release**               Buttpad Spacers Allow for            Integrated Picatinny-Style Rail † is Type III              Non-Glare, Protected Blade Front Sight and
        and Reversible Charging Handle              Adjustable Length of Pull           Hard-Coat Anodized for Maximum Durability                   Adjustable Ghost Ring Rear Aperture Sight


     CHASSIS MODEL FEATURES
                                                                                                                                                                                                                                                                                                  Model 19122 Shown


                                                                                                                                                                                                                                   COMPARE
                                                                                                                                                                                                                Model    Caliber   Capacity   Receiver              Stock                          Sights             Barrel      Thread     Barrel      Overall     Weight    Length     Twist    Suggested
                                                                                                                                                                                                                Number                        Material/Finish                                                         Feature     Pattern    Length      Length                of Pull             Retail

                     Chassis System Features Flared Magwell for Improved Magazine                                     Six-Position, Telescoping,                     Ergonomic Pistol Grip Features             19122*   9mm       17         Aluminum Alloy/       Adjustable, Black Synthetic    None               Threaded,   1/2''-28   16.12''     32.25''-    7.3       10.50''-   1:10''   $799.00
                                                                                                                                                                                                                         Luger                Type III Hard-Coat    Chassis with Aluminum                             Fluted                             35.50''     lbs.      13.75''
                   Reloading Capabilities as Well as Integrated, Rear-Mounted QD Cups                                 Magpul® MOE® Buttstock                         an Extended Trigger Reach for                                            Anodized              Free-Float Handguard
                                                                                                                                                                      More Precise Trigger Control
                                                                                                                                                                                                                19124*   9mm       10         Aluminum Alloy/       Adjustable, Black Synthetic    None               Threaded,   1/2''-28   16.12''     32.25''-    7.3       10.50''-   1:10''   $799.00
     * Some firearms may not be available in all states and locales due to laws limiting magazine         *** Older Glock® magazines with only one magazine latch slot require magazine release button                   Luger                Type III Hard-Coat    Chassis with Aluminum                             Fluted                             35.50''     lbs.      13.75''
        capacity or other feature-based restrictions. Please check with your local law enforcement            installed on the left side.                                                                                                     Anodized              Free-Float Handguard
        agency prior to purchasing this firearm to verify that it may legally be purchased and/or         †
                                                                                                              The receiver-mounted, Picatinny-style rail is designed to accommodate most optics and optic       19126*   9mm       10         Aluminum Alloy/       Fixed, Black Synthetic         None               Fluted      –          16.12''     35.50''     7.3       13.75''    1:10''   $799.00
        possessed in your particular state and locale.                                                        mounts intended for use with Picatinny/ MIL-STD 1913 rails. However, due to reduced clearance              Luger                Type III Hard-Coat    Chassis with Aluminum                                                                            lbs.
     ** Early versions of Glock® -brand magazines with a “U” shaped notch at the rear of the magazine         between the top of the receiver and the bottom of the optics rail, optics and optic mounts that                                 Anodized              Free-Float Handguard
        feed lips will not function in the PC Carbine™.                                                       extend more than .275'' below the top of the rail may not fit the PC Carbine™. Ensure that the
99                                                                                                            optic or optic mount you intend to use does not extend more than .275'' below the top of the                                                                                                                                                  R UGER .C OM / P C C A R B I N E                   100
                                                                                                              Picatinny-style rail when installed.
                                                                 Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 96 of 174 PageID #: 774




      AR-556
                         ®

                                                                                                                                                                 A R - 5 5 6®


      A semi-automatic, M4-Style, direct impingement Modern Sporting Rifle, the AR-556 offers
                                                                                         ®




      consumers an affordable, American-made rifle with the rugged reliability they have come to
      expect from Ruger. Extensively tested during its development, the AR-556 is constructed from
                                                                              ®




      top-quality components, including forged 7075-T6 aluminum upper and lower receivers and a                                              5.56
                                                                                                                                                               300                                450
                                                                                                                                             NATO/
                                                                                                                                              223
                                                                                                                                                                           350                   BUSH-
      cold hammer-forged, chrome-moly steel barrel with M4 feed ramp cuts. With standardized                                                 REM               BLK         LEGEND                MASTER



      M4/AR components utilized throughout, the AR-556 is readily customizable.
                                                         ®


                                                                                                                               FOUR CALIBERS                                    SIXTEEN MODELS


                                                                                                                                                                           AR-556 MPR
                                                                                                                                                                                                          ®


                                                                                                                                  AR-556
                                                                                                                                                           ®




                                                                                                                               AR-556 ® with
                                                                                                                               Lite Free-Float Handguard
                                                                                                                               (Model 8542)




                                                                                                                                                                        AR-556 ® MPR with Free-Float
                                                                                                                                                                        Handguard in .300 BLK
                                                                                                                                                                        (Model 8530)




101                                                                                                                                                                                                           R UGER .C OM / A R 5 5 6   102
                                                                                                                   Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 97 of 174 PageID #: 775

            AR-556              ®




  FEATURES
      Ruger® Rapid Deploy folding rear sight provides windage adjustability                     Single-stage trigger provides durable and reliable fire control. The enlarged
      and pairs with the A2-style, F-height, elevation-adjustable front sight                   trigger guard is designed to allow for gloved shooting in cold weather.
      for a solid, reliable aiming system (excludes models 8525, 8529 and
                                                                                                Complete rifles are equipped with a cold hammer-forged alloy barrel
      AR-lower receivers).
                                                                                                with 1:8'' twist rifling that provides exceptional accuracy with bullets
      Made from 7075-T6 hard-coat anodized aluminum forgings, shot-peened                       from 35 to 77 grains. The barrel and Ruger® flash suppressor have
      and proof-tested 9310 steel bolt, and 8620 steel bolt carrier. The inside                 a matte black oxide finish to reduce glare and provide corrosion
      diameter of the carrier and gas key are chrome plated and the key is                      resistance (excludes model 8502).
      staked for longevity.
      Barrel nut and delta ring allow easy, one-person service of the heat-
      resistant glass-filled nylon handguard. The design accepts most standard
      carbine-length handguards. The barrel nut uses a standard wrench
      (excludes model 8529).
      Gas block is located at a carbine-length (M4) position for improved balance                     5.56
      and handling. Multiple attachment points include a QD socket and bayonet                        NATO/                300                350                   450
                                                                                                       223                                                          BUSH-
      lug for many sling and accessory mounting options. Serrations on the angled
                                                                                                      REM                  BLK                LEGEND                MASTER
      face of the gas block provide a low-glare surface (excludes model 8529).




         A2-Style Front Sight and Ruger® Rapid Deploy                       16.10'' Cold Hammer-Forged Barrel                     Flattop Upper Receiver Features a Forward
           Folding Rear Sight (Excludes Model 8525)                           with Ruger® Flash Suppressor                          Assist, Dust Cover and Brass Deflector




                                                        AR-Lower and AR-Lower Elite Receivers Available for Purchase Separately




103                                                                                                                                                                                                   R UGER .C OM / A R 5 5 6   104
                                                                                                                                       Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 98 of 174 PageID #: 776

               AR-556                  ®




  AR-556®                                                                                                                                                                                                           AR-556® with Lite Free-Float Handguard




                 Model 8515 Shown

                                                                                                                                                                                                                                                                                                                             B5 Systems Bravo                          B5 Systems             Lightweight Free-Float Handguard for
                                                                                                                                                                                                                                                                                                                            Collapsible Buttstock                     Type P23 Grip         Reduced Weight and Improved Grip Access

                                                                                                            Available with Glass-Filled Nylon Handguard or Magpul®                 Ships with One, 30-Round         Model     Caliber                Capacity    Stock                             Barrel          Overall         Height**            Weight             Length                   Thread          Twist      Suggested
                                                                                                                 MOE® Handguard with Magpul® M-LOK® Slots                              Magpul® PMAG®                Number                                                                         Length          Length                                                 of Pull                  Pattern                    Retail
                                                                                                                                                                                                                    8542*     5.56 NATO/223 Rem      30          B5 Bravo                          16.10''         33''-36.25''    7.20''              6.7 lbs.           11.13''-14.38''          1/2''-28        1:8''      $899.00
                                                                  COMPA R E
      Model     Caliber                    Capacity   Stock                                  Barrel       Overall           Height**     Weight        Length           Thread          Twist       Suggested
      Number                                                                                 Length       Length                                       of Pull          Pattern                     Retail          AR-556® with Free-Float Handguard
      8500*     5.56 NATO/223 Rem          30         Black Synthetic, Collapsible           16.10''      32.25''-          8''          6.5 lbs.      10.25'' -        1/2''-28        1:8''       $799.00
                                                                                                          35.50''                                      13.50''
      8515*     5.56 NATO/223 Rem          30         Magpul® MOE® Synthetic,                16.10''      32.25''-          8''          6.5 lbs.      10.25'' -        1/2''-28        1:8''       $849.00
                                                      Collapsible                                         35.50''                                      13.50''



                                                                                                                                                                                                                              Model 8529 Shown
  AR-556® Optics Carbine
                                                                                                                                                                                                                                                                                                                        11'' Free-Floating Aluminum Handguard                                   Flattop Picatinny Upper Receiver
                                                                                                                                                                                                                                                                                                                                                                                                 for Easy Attachment of Optics
                                                                                                                                                                                                                                  CO MPARE
                                                                                                                                                                                                                    Model     Caliber               Capacity    Stock                            Barrel       Overall                 Height**         Weight          Length                     Thread          Twist      Suggested
                                                                                                                                                                                                                    Number                                                                       Length       Length                                                   of Pull                    Pattern                    Retail
                                                                                                                                                                                                                    8529*     5.56 NATO/223 Rem     30          Black Synthetic, Collapsible     16.10''      32.25''- 35.50''        7.20''           6.7 lbs.        10.25'' - 13.50''          1/2''-28        1:8''      $819.00

                                                                                                                                                                                                                    8537*     5.56 NATO/223 Rem     10          Black Synthetic, Collapsible     16.10''      32.25''- 35.50''        7.20''           6.7 lbs.        10.25'' - 13.50''          1/2''-28        1:8''      $819.00

                                                                                                                                                                                                                    8530*     300 BLK               30          Black Synthetic, Collapsible     16.10''      33''- 36.25''           7.20''           6.4 lbs.        10.25'' - 13.50''          5/8''-24        1:7''      $819.00


                                                                                                                                                    Flattop Picatinny Upper Receiver and Same-Plane                 AR-556® with Fixed Magazine
                                                                                                                                                    Picatinny Gas Block for Easy Attachment of Optics

      Model     Caliber                    Capacity   Stock                                  Barrel       Overall           Height**     Weight        Length           Thread          Twist       Suggested
      Number                                                                                 Length       Length                                       of Pull          Pattern                     Retail
      8525*     5.56 NATO/223 Rem          30         Black Synthetic, Collapsible           16.10''      32.25''-          7.20''       6.7 lbs.      10.25'' -        1/2''-28        1:8''       $789.00
                                                                                                          35.50''                                      13.50''




  AR-556® State Compliant
                                                                                                                                                                                                                                                                                                                          Equipped with Juggernaut Tactical’s                              Quick-Release Takedown Pin Allows for
                                                                                                                                                                                                                                                                                                                                 Fixed Magazine Kit                                         Convenient Separation for Reloading
                                                                                                                                                                                                                    Model     Caliber                Capacity   Stock                                    Barrel        Overall            Height**          Weight            Length              Thread          Twist      Suggested
                                                                                                                                                                                                                    Number                                                                               Length        Length                                                 of Pull             Pattern                    Retail
                                                                                                                                                                                                                    8523*     5.56 NATO/223 Rem      10         Magpul® MOE® Synthetic,                  16.10''       32.25''-           8''               6.5 lbs.          10.25'' -           1/2''-28        1:8''      $849.00
                                                                                                                                                                                                                                                                Collapsible                                            35.50''                                                13.50''
                 Model 8502 Shown
                                                                                                                                                                                                                    AR-LOWER RECEIVERS

                                                                                                            Models 8502 and             Model 8502 Features a Fixed Stock and        Ships with One, 10-Round
                                                                                                             8511 Feature a              No Bayonet Lug or Flash Suppressor               Metal Magazine
                                                                                                           Heavy-Contour Barrel
                                                                  COMPA R E
      Model     Caliber                    Capacity   Stock                                   Barrel      Overall           Height**     Weight         Length          Thread          Twist       Suggested
      Number                                                                                  Length      Length                                        of Pull         Pattern                     Retail                    Model 8516 Shown
      8502*     5.56 NATO/223 Rem          10         Black Synthetic, Fixed                  16.10''     34.40''           8''          7.1 lbs.       13.50''         –               1:8''       $799.00                                                                                                                                                                           Stripped AR-Lower Receiver (Model 8506)
                                                                                                                                                                                                                                                                                                              COM PA RE

      8511*     5.56 NATO/223 Rem          10         Black Synthetic, Collapsible            16.10''     32.25''-          8''          6.7 lbs.       10.25'' -       1/2''-28        1:8''       $799.00         Model     Material            Finish                    Hammer/            Takedown/       Weight         Stock             Grip              Trigger             Overall        Length       Height      Suggested
                                                                                                          35.50''                                       13.50''                                                     Number                                                  Trigger Pins       Pivot Pins                                                                             Length         of Pull                  Retail
                                                                                                                                                                                                                    8506***   7075 Forged         Hard-Coat Anodized        0.154''            0.250''         8.8 oz.        _                 _                 _                   7.75''         _            4''         $129.00
                                                                                                                                                                                                                              Aluminum
                                                                                                                                                                                                                    8516***   7075 Forged         Hard-Coat Anodized        0.154''            0.250''         2.2 lbs.       Magpul®           Magpul®           Elite 452®          15.63''-       11.10''-     6.75''      $299.00
  * Some rifles may not be available in all states and locales due to laws limiting magazine capacity and feature-based restrictions. Please check with your local law enforcement agency prior to purchasing       Elite     Aluminum                                                                                        MOE SL®           MOE®              AR-Trigger          19''           14.40''
    this firearm to verify that it may legally be purchased and/or possessed in your particular state and locale. ** Without magazine. *** Some states prohibit the purchase of certain firearm receivers. Please
    check with your local law enforcement agency prior to purchasing this firearm receiver to verify that it may legally be purchased and/or possessed in your particular state and locale.
105                                                                                                                                                                                                                                                                                                                                                                                              R UGER .C OM / A R 5 5 6                 106
                                                                                                                                       Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 99 of 174 PageID #: 777

               A R - 5 5 6 MPR        ®




  FEATURES

       Lower receiver is fitted with Magpul® MOE® grip and MOE SL®                                            Magpul® M-LOK® accessory attachment slots along the 3:00, 6:00 and
       collapsible buttstock on a Mil-Spec buffer tube.                                                       9:00 positions with additional slots on the angled faces near the muzzle.
       Handguard is free-floated for accuracy and the slim profile provides                                   Ruger® muzzle brake is a radial port design that significantly reduces
       enhanced ergonomics.                                                                                   felt recoil and muzzle movement. The threaded barrel allows for
                                                                                                              standard muzzle accessories to be installed.
       The bolt on models 8514 and 8532 is mil-spec 9310 and is machined and
       shot peened for strength and durability. To support the large case head of                             Models 8522 and 8532 features a cold hammer-forged 4140 chrome-moly
       .450 Bushmaster ammunition, the .450 Bushmaster bolt is engineered                                     steel barrel with ultra-precise 5R rifling and black nitrided finish provides
       with tapered lugs and machined from a high-strength superalloy.                                        exceptional accuracy, longevity and easy cleaning. The heavy barrel
                                                                                                              profile and 1:16'' twist rate maximizes accuracy with bullets ranging
       The Ruger® Elite 452 ® AR-Trigger is a two-stage trigger that offers a                                 from 170 to 260 grains.
       smooth, crisp, 4.5 pound trigger pull. It features a full-strength hammer
       spring for consistent primer ignition and a lightweight hammer that                                    Also includes: one magazine.
       enables a faster lock time for improved accuracy.




                                                                                                       AR-556® MPR in
                               Model 8522 Shown                                                        .450 Bushmaster                         5.56
                                                                                                                                               NATO/                  350                       450
                                                                                                                                                223                   LEGEND
                                                                                                                                                                                                BUSH-
                                                                                                                                                                                                MASTER
                                                                                                                                               REM
                 C O MPAR E
      Model      Caliber       Capacity     Stock                Finish              Handguard      Barrel        Overall     Height**     Weight      Length       Thread Pattern     Twist    Suggested
      Number                                                                         Length         Length        Length                               of Pull                                  Retail
      8514*      5.56 NATO/    30           Magpul® MOE          Type III Hard       15''           18''          35''-       7.30''       6.8 lbs.    11.10''-     1/2''-28           1:8''    $899.00
                 223 Rem                    SL® Synthetic,       Coat Anodized                                    38.25''                              14.40''
                                            Collapsible
      8522*      450           5            Magpul® MOE          Type III Hard       15''           18.63''       35.60''-    7.30''       7.4 lbs.    11.10''-     11/16''-24         1:16''   $1,099.00
                 Bushmaster                 SL® Synthetic,       Coat Anodized                                    38.90''                              14.40''
                                            Collapsible
      8532*      350 Legend    5            Magpul® MOE          Type III Hard       15''           16.38''       33.38''-    7.30''       6.6 lbs.    11.10''-     1/2''-28 x 0.4''   1:16''   $1,099.00
                                            SL® Synthetic,       Coat Anodized                                    36.63''                              14.40''
                                            Collapsible
      8535*      5.56 NATO/    10           Magpul® MOE          Type III Hard       15''           18''          35''-       7.30''       6.8 lbs.    11.10''-     1/2''-28           1:8''    $899.00
                 223 Rem                    SL® Synthetic,       Coat Anodized                                    38.25''                              14.40''
                                            Collapsible
      8538*      5.56 NATO/    30           Magpul® MOE          American Flag       15''           18''          35''-       7.30''       6.8 lbs.    11.10''-     1/2''-28           1:8''    $949.00
                 223 Rem                    SL® Synthetic,       Cerakote ®                                       38.25''                              14.40''
                                            Collapsible




                                     Flat Top Upper Receiver Features a Forward                                                             Lower Receiver Fitted with Magpul® MOE® Grip
                                        Assist, Dust Cover and Brass Deflector                                                                   and MOE SL® Collapsible Buttstock




      Two-Stage, Ruger® Elite 452® AR-Trigger Offers a Smooth, Crisp, 4.5 Pound Trigger Pull                                      Magpul® M-LOK® Accessory Attachment Slots
                                                                                                                                    Along the 3:00, 6:00 and 9:00 Positions

  * Some rifles may not be available in all states and locales due to laws limiting magazine capacity and feature-based restrictions. Please check with your local law enforcement agency prior to purchasing
    this firearm to verify that it may legally be purchased and/or possessed in your particular state and locale. ** Without magazine.

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      MINI-14 AND MINI THIRTY
                           ®                                             ®

                                                                                                                                             M I N I - 14® A N D M I N I T H I R T Y®


      From the farm and ranch to the deep woods and personal defense, Mini-14 and  ®




      Mini Thirty rifles have been the people’s choice. Their shorter barrels and overall length
                   ®




      make them favorites in any application where reliability, maneuverability and ease
      of handling are priorities.                                                                                                                  5.56
                                                                                                                                                   NATO/                   300          7.62
                                                                                                                                                   223                     BLK          x39
                                                                                                                                                   REM



                                                                                                                            THREE CALIBERS                                           SIXTEEN MODELS


                                                                                                                           MINI-14
                                                                                                                                      ®
                                                                                                                                                  MINI-14
                                                                                                                                                                       ®
                                                                                                                                                                                      MINI          MINI      ®


                                                                                                                           RANCH                 TACTICAL                            THIRTY
                                                                                                                                                                                              ®    THIRTY
                                                                                                                                                                                                  TACTICAL



                                                                                                                                          Mini-14® Tactical with Speckled
                                                                                                                                          Black/Brown Hardwood Stock
                                                                                                                                          (Model 5889)




                                                                                                                                                                      Mini Thirty®
                                                                                                                                                                      (Model 5806)




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                                                                                                     Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 101 of 174 PageID #: 779

            M IN I - 14 A ND MINI THI RTY
                                  ®                                              ®




  FEATURES
      Simple, rugged, Garand-style action with breech bolt locking system,           Accurate sighting system with adjustable ghost ring rear aperture sight
      a fixed-piston gas system and self-cleaning moving gas cylinder gives          and a non-glare, protected blade front sight.
      unparalleled reliability under harsh operating conditions.
                                                                                     Receiver is drilled and tapped for mounting the included Picatinny rail.
      Cold hammer-forged barrel results in ultra-precise rifling that provides
                                                                                     Also includes: two magazines; Picatinny rail; scope rings.
      exceptional accuracy and longevity.
      Integral scope mounts, machined directly on the solid steel receiver,
      provide a stable mounting surface for included scope rings, eliminating
      a potential source of looseness and inaccuracy in the field.

                                                                                                        5.56
                                                                                                        NATO/                  300                     7.62
                                                                                                         223                   BLK                     x39
                                                                                                        REM




                            Simple, Rugged, Garand-Style Action                                      Adjustable Ghost Ring Rear Aperture Sight and
                                                                                                         Non-Glare, Protected Blade Front Sight




                                  Integral Scope Mounts                                                       Cold Hammer-Forged Barrel



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                                                                                                                                      Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 102 of 174 PageID #: 780

               M IN I - 14 A ND MINI THI RTY
                                        ®                                                              ®




  MINI-14® RANCH with Hardwood Stock                                                                                                                                                                                          MINI-14® TACTICAL with Collapsible Folding Stock




                                                                                                                                                                  Blued or Matte                     Integral Sling Swivels                                                                                                                                      Strikeforce ATI Six-Position Factory-Installed                    Picatinny Rails
                              Model 5802 Shown                                                                                                                    Stainless Finish                                                                                                                                                                                Collapsible Folding Stock Flash Suppressor
                                            COMPA RE
      Model               Caliber           Capacity      Material/              Stock                 Sights               Barrel         Overall           Weight         Length           Twist         Suggested          Model    Caliber             Capacity        Material/               Stock                     Sights               Barrel        Overall        Thread        Weight         Length            Twist       Suggested
      Number                                              Finish                                                            Length         Length                           of Pull                        Retail             Number                                       Finish                                                                 Length        Length         Pattern                      of Pull                       Retail
      5816*               5.56 NATO/        20            Alloy Steel/           Hardwood              Blade Front,         18.50''        38''              7 lbs.         13.50''          1:9''         $1,049.00          5888*    5.56 NATO/          20              Alloy Steel/            Black Synthetic,          Blade Front,         16.12''       34.50''-       1/2''-28      7.5 lbs.       11.19''-          1:9''       $1,089.00
                          223 Rem                         Blued                                        Adjustable Rear                                                                                                                 223 Rem                             Blued                   Collapsible/Folding       Adjustable Rear                    38''                                        14.56''
      5801                5.56 NATO/        5             Alloy Steel/           Hardwood              Blade Front,         18.50''        38''              7 lbs.         13.50''          1:9''         $999.00
                          223 Rem                         Blued                                        Adjustable Rear
      5802                5.56 NATO/        5             Stainless Steel/       Hardwood              Blade Front,         18.50''        38''              7 lbs.         13.50''          1:9''         $1,069.00
                          223 Rem                         Matte Stainless                              Adjustable Rear



  MINI-14® RANCH with Black Synthetic Stock                                                                                                                                                                                   MINI THIRTY ®




                                                                                                                                                                                                                                                    Model 5804 Shown                                                                                                                 Black Synthetic or Hardwood Stock                 Integral Sling
                                                                                                                                                                                                                                                                                                                                                                                                                                          Swivels
                                                                                                                                                                  Blued or Matte                     Integral Sling Swivels                                       COM PA RE
                              Model 5817 Shown
                                                                                                                                                                  Stainless Finish                                            Model              Caliber              Capacity      Material/                 Stock                   Sights                Barrel         Overall        Weight         Length           Twist        Suggested
                                            COMPA R E
                                                                                                                                                                                                                              Number                                                Finish                                                                  Length         Length                        of Pull                       Retail
      Model               Caliber           Capacity      Material/              Stock                 Sights               Barrel         Overall           Weight         Length           Twist         Suggested          5853*              7.62x39              20            Stainless Steel/          Black Synthetic         Blade Front,          18.50''        37.50''        6.7 lbs.       13''             1:10''       $1,139.00
      Number                                              Finish                                                            Length         Length                           of Pull                        Retail                                                                   Matte Stainless                                   Adjustable Rear
      5805                5.56 NATO/        5             Stainless Steel/       Black Synthetic       Blade Front,         18.50''        37.50''           6.7 lbs.       13''             1:9''         $1,069.00          5806               7.62x39              5             Stainless Steel/          Black Synthetic         Blade Front,          18.50''        37.50''        6.7 lbs.       13''             1:10''       $1,069.00
                          223 Rem                         Matte Stainless                              Adjustable Rear                                                                                                                                                              Matte Stainless                                   Adjustable Rear
      5817*               5.56 NATO/        20            Stainless Steel/       Black Synthetic       Blade Front,         18.50''        37.50''           6.7 lbs.       13''             1:9''         $1,139.00          5804               7.62x39              5             Stainless Steel/          Hardwood                Blade Front,          18.50''        37.50''        7 lbs.         13''             1:10''       $1,069.00
                          223 Rem                         Matte Stainless                              Adjustable Rear                                                                                                                                                              Matte Stainless                                   Adjustable Rear
      5855                5.56 NATO/        5             Alloy Steel/           Black Synthetic       Blade Front,         18.50''        37.50''           6.7 lbs.       13''             1:9''         $999.00
                          223 Rem                         Blued                                        Adjustable Rear




  MINI-14® TACTICAL                                                                                                                                                                                                           MINI THIRTY ® TACTICAL




                              Model 5889 Shown
                                                                                                                                                                                                                                                                                                                                                                      Blued or Matte               Factory-Installed Flash             Integral Sling
                                                                                                                                Blued or Matte                                                       Integral Sling Swivels
                                                                                                                                                                                                                                                    Model 5854 Shown
                                                                                                                                                              Factory-Installed Flash                                                                                                                                                                                 Stainless Finish                  Suppressor                        Swivels
                                                                                                                                Stainless Finish                   Suppressor                                                                                                         CO M PA RE
                 COMPARE
                                                                                                                                                                                                                              Model              Caliber              Capacity      Material/              Stock                Sights               Barrel       Overall      Thread         Weight            Length        Twist        Suggested
      Model     Caliber          Capacity        Material/               Stock                Sights              Barrel         Overall          Thread         Weight            Length        Twist         Suggested      Number                                                Finish                                                           Length       Length       Pattern                          of Pull                    Retail
      Number                                     Finish                                                           Length         Length           Pattern                          of Pull                     Retail
                                                                                                                                                                                                                              5854*              7.62x39              20            Alloy Steel/           Black Synthetic      Blade Front,         16.12''      36.75''      5/8''-24       6.7 lbs.          13''          1:10''       $1,089.00
      5847*     5.56 NATO/       20              Alloy Steel/            Black Synthetic      Blade Front,        16.12''        36.75''          1/2''-28       6.7 lbs.          13''          1:9''         $1,089.00                                                            Blued                                       Adjustable Rear
                223 Rem                          Blued                                        Adjustable Rear
                                                                                                                                                                                                                              5868*              7.62x39              20            Stainless Steel/       Black Synthetic      Blade Front,         16.12''      36.75''      5/8''-24       6.7 lbs.          13''          1:10''       $1,169.00
      5819*     5.56 NATO/       20              Stainless Steel/        Black Synthetic      Blade Front,        16.12''        36.75''          1/2''-28       6.7 lbs.          13''          1:9''         $1,169.00                                                            Matte Stainless                             Adjustable Rear
                223 Rem                          Matte Stainless                              Adjustable Rear
      5864*     300 BLK          20              Alloy Steel/            Black Synthetic      Blade Front,        16.12''        36.25''          5/8''-24       6.7 lbs.          13''          1:7''         $1,089.00
                                                 Blued                                        Adjustable Rear
      5889*     5.56 NATO/       20              Alloy Steel/            Speckled Black/      Blade Front,        16.12''        37''             1/2''-28       7.2 lbs.          13.62''       1:9''         $1,069.00
                223 Rem                          Blued                   Brown Hardwood       Adjustable Rear


  * Some rifles may not be available in all states and locales due to laws limiting magazine capacity and feature-based restrictions. Please check with your local law enforcement agency prior to purchasing
    this firearm to verify that it may legally be purchased and/or possessed in your particular state and locale.

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      RUGER PRECISION RIFLE
                                                           ®

                                                                                                                                                               R U G E R P R E C I S I O N® R I F L E


      Purpose-built to distance itself from the typical long-range rifle, the Ruger Precision Rifle  ®




      is a highly configurable, in-line recoil path, bolt-action rifle. Available in a variety of calibers,
      the Ruger Precision Rifle offers outstanding accuracy and long-range capability.
                           ®




                                                                                                                                  6mm                   6.5        6.5         308          300          300               338
                                                                                                                                CREEDMOOR          CREEDMOOR       PRC         WIN          WIN          PRC
                                                                                                                                                                                                                           LAPUA
                                                                                                                                                                                            MAG                            MAG



                                                                                                                                       SEVEN CALIBERS                                     EIGHT MODELS

                                                                                                                                OUTSTANDING ACCURACY AND LONG-RANGE CAPABILITY




                                                                                                                               Ruger Precision® Rifle
                                                                                                                               in .300 Win. Mag.
                                                                                                                               (Model 18081)




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                                                                 ®
              R U G E R PR EC ISION RIF L E
  FEATURES
       In-line recoil path manages recoil directly from the rear of the receiver                 “Upper” receiver and one-piece bolt are precision CNC-machined
       to the buttstock, not through a traditional bedding system, providing                     from pre-hardened 4140 chrome-moly steel to minimize distortion.
       maximum accuracy potential.
                                                                                                 Three-lug bolt with 70˚ throw features dual cocking cams and a
       Cold hammer-forged, chrome-moly steel barrel with 5R Rifling at                           smooth-running, full diameter bolt body. Bolt body is nitrided for corrosion
       minimum bore and groove dimensions, minimum headspace and                                 resistance, smooth operation and durability.
       centralized chamber.
                                                                                                 Barrel can be replaced easily by a competent gunsmith using
       Ruger Marksman Adjustable™ trigger is externally adjustable, with a                       headspace gauges.
       trigger pull range of 2.25 to 5 pounds; wrench is stored in the bolt shroud.
                                                                                                 Magazine well front is contoured for a positive grip when bracing
       Ruger Precision® MSR stock with QD sling attachment points features a                     against shooting supports.
       bottom Picatinny rail and soft rubber buttpad. The left-folding stock hinge
                                                                                                 Oversized bolt handle for positive bolt manipulation, with a 5/16''-24
       is attached to an AR-style buffer tube and accepts any AR-style stock.
                                                                                                 thread pattern for easy replacement. Bolt disassembly tool is stored
       Length of pull and comb height are adjustable.
                                                                                                 in the Ruger Precision ® Rifle Billet Aluminum Bolt Shroud for easy
       Barrel features a Ruger Precision® Rifle Hybrid or Magnum Muzzle                          striker channel cleaning.
       Brake to effectively reduce recoil while minimizing noise and blast
                                                                                                 “Lower” magazine well halves are precision machined from aerospace-
       to the sides of the shooter.
                                                                                                 grade 7075-T6 aluminum and are Type III hard-coat anodized for
       Aluminum free-float handguard is black hard-coat anodized aluminum                        maximum durability.
       and features Magpul® M-LOK® slots on all four sides for improved
                                                                                                 Extended trigger-reach AR-style grip and 45˚ ambidextrous safety selector.
       scope clearance for long-range scopes and easy mounting of                                May be configured with any AR-style grip and selector.
       M-LOK-compatible rails and accessories.
                                                                                                 Also includes: two magazines.
       Ambidextrous manual safety for left- or right-handed lever manipulation.
       20 or 30 MOA Picatinny rail secured with # 8-40 screws for increased
       long-range elevation capabilities, depending on caliber.




                                                                              Ruger Precision® Rifle in 6.5 PRC
                                                                              (Model 18042)




                         COMPARE
      Model Number    Caliber            Capacity    Barrel Length     Folded Length       Overall Length           Height        Width    Weight      Twist       Suggested Retail

      18028           308 Win            10          20''              31.60''             39.25'' - 42.75''        7.30''        3.30''   9.8 lbs.    1:10''      $1,599.00

      18029           6.5 Creedmoor      10          24''              35.60''             43.25'' - 46.75''        7.30''        3.30''   10.7 lbs.   1:8''       $1,599.00

      18032           6mm Creedmoor      10          24''              35.60''             43.25'' - 46.75''        7.30''        3.30''   10.8 lbs.   1:7.7''     $1,599.00

      18057           6mm Creedmoor      10          26''              35.60''             45.25'' - 48.75''        7.30''        3.30''   11 lbs.     1:7.7''     $1,599.00

      18042           6.5 PRC            8           26''              35.60''             45.25'' - 48.75''        7.30''        3.30''   11 lbs.     1:8''       $1,599.00

      18080           338 Lapua Mag      5           26''              40.35''             49'' - 52.50''           7.50''        3.50''   15.2 lbs.   1:9.375''   $2,099.00

      18081           300 Win Mag        5           26''              40.35''             49'' - 52.50''           7.50''        3.50''   15.2 lbs.   1:9''       $2,099.00

      18083           300 PRC            5           26''              40.35''             49'' - 52.50''           7.50''        3.50''   15.2 lbs.   1:9''       $2,099.00




       Equipped with a Free-Float Handguard                  Picatinny Rail                                 Ambidextrous Safety                  Ruger Precision® MSR Stock with
         Featuring Magpul® M-LOK® Slots                                                                                                            QD Sling Attachment Points
                                                                                                                                                 Features a Bottom Picatinny Rail
                                                                                                                                                    and Soft Rubber Buttpad

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      RUGER PRECISION RIMFIRE
                                                         ®

                                                                                                                                                       R U G E R P R E C I S I O N® R I M F I R E


      Bringing the big-gun experience to the rimfire world, the Ruger Precision Rimfire®




      is a scaled down version of the Ruger Precision Rifle that maintains the same ergonomics,
                                                         ®




      trigger and manual of arms as the larger centerfire rifle. This rifle is the ideal rimfire
      trainer and the go-to rifle for your next rimfire match.                                                                                           22              22                  17
                                                                                                                                                         LR              WMR                HMR



                                                                                                                                   THREE CALIBERS                                  SEVEN MODELS

                                                                                                                               QUICK-FIT PRECISION RIMFIRE ADJUSTABLE STOCK




                                                                                                                            Ruger Precision® Rimfire
                                                                                                                            in .17 HMR
                                                                                                                            (Model 8402)




                                                                                                                                                                                 Ruger Precision® Rimfire
                                                                                                                                                                                 Flag Series
                                                                                                                                                                                 (Model 8422)




119                                                                                                                                                                                                 R UGER .C OM / P R E C I S I O N R I M F I R E   120
                                                                                                                                    Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 106 of 174 PageID #: 784
                                                                            ®
                R U G E R PR EC ISION R IMF I R E
  FEATURES
        Molded, one-piece chassis and adjustable buttstock assembly are                                        Features anodized Picatinny scope base.
        manufactured with glass-filled nylon for strength, stiffness and stability,                            Oversized bolt handle for positive bolt manipulation (same as
        making a solid foundation for accuracy each and every shot. Adjustable                                 the Ruger Precision® Rifle).
        buttstock features a flat Picatinny bag rider, making it easy to affix a rear
        monopod. A molded-in window provides a tether point for your squeeze                                   15'' aluminum free-float handguard is black hard-coat anodized aluminum
        bag, and a metal QD pocket makes it easy to secure a sling.                                            and features Magpul® M-LOK® slots on all four sides for improved
                                                                                                               scope clearance for long-range scopes and easy mounting of
        Quick-Fit adjustable Precision Rimfire stock allows length of pull and                                 M-LOK-compatible rails and accessories.
        comb height to be quickly and easily adjusted to get proper fit over a wide
        range of shooter sizes, outerwear and shooting positions. Indicating marks                             18'' target barrel is cold hammer-forged from 1137 alloy steel
        molded into the chassis help you quickly return to a previous position.                                to create ultra-precise rifling for excellent accuracy. Barrel can
                                                                                                               be replaced easily by a competent gunsmith using AR-style wrenches
        Big-Gun bolt throw adjustment enables shooters to change from a rimfire                                and headspace gauges.
        1-1/2'' bolt throw to a short-action centerfire 3'' bolt throw, reducing the
        chance of short-stroking your bolt in competition.                                                     1/2''-28 threaded barrel for standard muzzle accessories, like the
                                                                                                               Silent-SR® suppressor. Comes with a factory-installed thread protector
        Ruger Marksman Adjustable™ trigger is externally adjustable,                                           covering both the threads and crown.
        with a trigger pull range of 2.25 to 5 pounds; wrench is stored
        in a buttstock compartment.
        Ruger’s own AR-pattern pistol grip and safety selector provides an
        extended reach for maximum control and access to the 45˚, reversible                                                       22                              22                             17
        safety selector. May be configured with most AR-style grips and selectors.                                                 LR                            WMR                              HMR




                                                                                                            Ruger Precision® Rimfire in .22 LR
                                                                                                            (Model 8400*)




                C O MPAR E
       Model     Caliber     Capacity   Handguard Finish                Magazine           Barrel     Overall Length      Height     Width     Weight     Length           Thread        Twist     Suggested
       Number                                                                              Length                                                         of Pull          Pattern                 Retail
       8400*     22 LR       15         Black, Hard-Coat Anodized       One BX-15 ®        18''       35.13''-38.63''     6.88''     3.38''    6.8 lbs.   12''-15.50''     1/2''-28      1:16''    $529.00


       8401      22 LR       10         Black, Hard-Coat Anodized       Two BX-1           18''       35.13' -38.63''     6.88''     3.38''    6.8 lbs.   12''-15.50''     1/2''-28      1:16''    $529.00


       8402*     17 HMR      15         Black, Hard-Coat Anodized       One BX-15 ®        18''       35.13''-38.63''     6.88''     3.38''    6.8 lbs.   12''-15.50''     1/2''-28      1:9''     $529.00
                                                                        Magnum
       8403      17 HMR      9          Black, Hard-Coat Anodized       One JMX-1          18''       35.13''-38.63''     6.88''     3.38''    6.8 lbs.   12''-15.50''     1/2''-28      1:9''     $529.00


       8404*     22 WMR      15         Black, Hard-Coat Anodized       One BX-15 ®        18''       35.13''-38.63''     6.88''     3.38''    6.8 lbs.   12''-15.50''     1/2''-28      1:14''    $529.00
                                                                        Magnum
       8405      22 WMR      9          Black, Hard-Coat Anodized       One JMX-1          18''       35.13''-38.63''     6.88''     3.38''    6.8 lbs.   12''-15.50''     1/2''-28      1:14''    $529.00


       8422*     22 LR       15         American Flag Cerakote ®        One BX-15 ®        18''       35.13''-38.63''     6.88''     3.38''    6.8 lbs.   12''-15.50''     1/2''-28      1:16''    $579.00




      Ruger Marksman Adjustable™ Trigger                 Quick-Fit Adjustable                     Adjustable Big-Gun                 15'' Free-Float Hard Black               1/2''-28 Threaded Barrel for
        with 2.25 to 5.0 lb. Pull Weight                Precision Rimfire Stock                       Bolt Throw                   Anodized Aluminum Handguard                Standard Muzzle Accessories,
                                                                                                                                                                                 Including the Silent-SR®


  * Some rifles may not be available in all states and locales due to laws limiting magazine capacity. Please check with your local law enforcement agency prior to purchasing this firearm to verify that it may
    legally be purchased and/or possessed in your particular state and locale.

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      RUGER AMERICAN RIFLE
                                                    ®

                                                                                                                                                       R U G E R A M E R I C A N® R I F L E


      Another engineering innovation from America’s leading firearms manufacturer,
      the Ruger American Rifle combines Ruger’s famous rugged reliability with
                           ®




      the award-winning ingenuity featured in so many of Ruger’s products.
                                                                                                                                                                                 5.56
                                                                                                                         204           223         22-250           243          NATO/
                                                                                                                                                                                 223
                                                                                                                                                                                             6mm         6.5               6.5          6.5
                                                                                                                         RUGER         REM          REM             WIN          REM
                                                                                                                                                                                            CREEDMOOR   CREEDMOOR        GRENDEL        PRC


                                                                                                                         270          7mm-08        30-06           300          7.62        300        350               308           450
                                                                                                                                                                    WIN                                                                BUSH-
                                                                                                                         WIN           REM          SPRG            MAG          x39         BLK        LEGEND            WIN           MASTER




                                                                                                                                 STANDARD                                  PREDATOR                                    RANCH

                                                                                                                          GO WILD ®                HUNTER                   COMPACT                 VORTEX® CROSSFIRE® II
                                                                                                                           CAMO                                                                         RIFLESCOPE




                                                                                                                                 Ruger American® Rifle with
                                                                                                                                 GO Wild® Camo in 6.5 PRC
                                                                                                                                 (Model 36925)




                                                                                                                                                              Ruger American® Ranch Rifle
                                                                                                                                                              in 6.5 Grendel
                                                                                                                                                              (Model 36926)




123                                                                                                                                                                                                                 R UGER .C OM / A M E R I C A N R I F L E   124
                                                                                                         Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 108 of 174 PageID #: 786
                                                                  ®
              R U G E R A ME RICA N R IF L E
  FEATURES
       Ruger Marksman Adjustable™ trigger offers a crisp release with                   Factory-installed, one-piece Picatinny scope base.
       a pull weight that is user adjustable between 3 and 5 pounds,
                                                                                        Offers minute-of-angle accuracy that can make every hunt a success.
       allowing shooters to make that perfect shot.
                                                                                        Cold hammer-forged barrel results in ultra-precise rifling that provides
       Ergonomic, lightweight synthetic stock designed for quick, easy handling
                                                                                        exceptional accuracy and longevity.
       blends a classic look with modern forend contouring and grip serrations.
                                                                                        The visible, accessible and easy-to-actuate tang safety provides
       Soft rubber buttpad is crafted for maximum recoil reduction.                     instant security.
       The one-piece, three-lug bolt with 70° throw provides ample scope
                                                                                        Also includes: one magazine; sling swivel studs.
       clearance and utilizes a full diameter bolt body and dual cocking cams
       for smooth, easy cycling from the shoulder.
                                                                                                                                                     5.56
       Patented Power Bedding®, integral bedding block system positively                204          223            22-250           243             NATO/
                                                                                                                                                     223
                                                                                                                                                                  6mm
       locates the receiver and free-floats the barrel for outstanding accuracy.        RUGER        REM             REM             WIN             REM
                                                                                                                                                                 CREEDMOOR




                                                    270                                 300          7.62            300                            308           450
       6.5            6.5            6.5
                                                    WIN
                                                                  7mm-08        30-06
                                                                                SPRG    WIN
                                                                                                                     BLK
                                                                                                                                    350             WIN           BUSH-
      CREEDMOOR     GRENDEL          PRC                           REM                  MAG          x39                            LEGEND                        MASTER




          Patented Power Bedding® Integral Bedding Blocks for Outstanding Accuracy                       Ruger Marksman Adjustable™ Trigger Provides a
                                                                                                     Crisp Release with a User-Adjustable 3-5 lb. Trigger Pull




                     Visible, Accessible and Easy-to-Actuate Tang Safety                                           Cold Hammer-Forged Barrel




                               Ergonomic, Lightweight Stock                                 One-Piece, Three-Lug Bolt with 70˚ Throw Provides Ample Scope Clearance




125                                                                                                                                                                                          R UGER .C OM / A M E R I C A N R I F L E   126
                                                                                                                   Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 109 of 174 PageID #: 787
                                                                   ®
               R U G E R A ME RICA N R IF L E
  RUGER AMERICAN ® RIFLE                                                                                                                                                 RUGER AMERICAN ® RIFLE with Vortex® Crossfire II ® Riflescope




                             Model 6901 Shown
                 COMPARE
      Model     Caliber         Capacity   Magazine    Material/               Stock             Sights   Barrel    Overall   Weight     Length    Twist     Suggested                           Model 16933 Shown
      Number                                           Finish                                             Length    Length               of Pull             Retail
      6904      243 Win         4          Flush-Fit   Alloy Steel/            Black             None     22''      42''      6.2 lbs.   13.75''   1:9''     $489.00
                                                       Matte Black             Synthetic
                                                                                                                                                                          SCOPE SPECIFICATIONS
                                                                                                                                                                          Reticle: Dead-Hold BDC                                     Adjustment Markings: 1/4 MOA                                     Magnification: 3-9x
      6902      270 Win         4          Flush-Fit   Alloy Steel/            Black             None     22''      42.50''   6.2 lbs.   13.75''   1:10''    $489.00
                                                                                                                                                                                                                                                          Finger Click Adjustments
                                                       Matte Black             Synthetic                                                                                  Item Number: CF2-31007                                                                                                      Linear Field of View (ft @ 100yd): 34.1 - 12.6
      6906      7mm-08 Rem      4          Flush-Fit   Alloy Steel/            Black             None     22''      42''      6.3 lbs.   13.75''   1:8.5''   $489.00                                                                 Maintube Diameter: 1''
                                                                                                                                                                          Construction Features: Waterproof,                                                                                          Objective Lens Diameter: 40mm
                                                       Matte Black             Synthetic                                                                                                         Fogproof, Shockproof                Material: Aircraft Grade Aluminum
      6901      30-06 Sprg      4          Flush-Fit   Alloy Steel/            Black             None     22''      42.50''   6.2 lbs.   13.75''   1:10''    $489.00
                                                       Matte Black             Synthetic                                                                                            COMPARE
      6903      308 Win         4          Flush-Fit   Alloy Steel/            Black             None     22''      42''      6.1 lbs.   13.75''   1:10''    $489.00     Model     Caliber          Capacity   Magazine    Material/      Stock         Sights                  Barrel      Overall      Weight         Length      Twist          Suggested
                                                       Matte Black             Synthetic                                                                                 Number                                            Finish                                               Length      Length                      of Pull                    Retail
      6917      308 Win         4          Flush-Fit   Alloy Steel/            Black             None     22''      42''      6.1 lbs.   13.75''   1:10''    $489.00     16931     243 Win          4          Flush-Fit   Alloy Steel/   Black         Vortex® Crossfire II®   22''        42''         7.2 lbs.       13.75''     1:9''          $639.00
      LH                                               Matte Black             Synthetic                                                                                                                                   Matte Black    Synthetic     Riflescope
                                                                                                                                                                         16932     270 Win          4          Flush-Fit   Alloy Steel/   Black         Vortex® Crossfire II®   22''        42.50''      7.1 lbs.       13.75''     1:10''         $639.00
                                                                                                                                                                                                                           Matte Black    Synthetic     Riflescope
                                                                                                                                                                         16933     30-06 Sprg       4          Flush-Fit   Alloy Steel/   Black         Vortex® Crossfire II®   22''        42.50''      7.1 lbs.       13.75''     1:10''         $639.00
                                                                                                                                                                                                                           Matte Black    Synthetic     Riflescope
                                                                                                                                                                         16934     308 Win          4          Flush-Fit   Alloy Steel/   Black         Vortex® Crossfire II®   22''        42''         7 lbs.         13.75''     1:10''         $639.00
                                                                                                                                                                                                                           Matte Black    Synthetic     Riflescope




  RUGER AMERICAN ® RIFLE COMPACT                                                                                                                                         RUGER AMERICAN ® RIFLE RANCH




                                                                       Compact models have a shorter length of pull (for smaller shooters
                                                                       or those wearing heavier outerwear) and a shorter barrel (for a
                                                                       reduction in overall length of more than five inches).                                                            Model 16976 Shown
                             Model 6908 Shown                                                                                                                                                                                                                                                                Threaded Barrel with Factory-Installed Thread Protector
                                                                                                                                                                                                                                                                                                                 or Ruger® Hybrid Muzzle Brake (Model 16950)
                 COMPARE                                                                                                                                                            COMPARE
      Model    Caliber          Capacity   Magazine    Material/               Stock             Sights   Barrel    Overall   Weight     Length    Twist     Suggested   Model     Caliber          Capacity   Magazine    Material/      Stock             Sights    Barrel     Overall   Thread          Weight       Length          Twist         Suggested
      Number                                           Finish                                             Length    Length               of Pull             Retail      Number                                            Finish                                     Length     Length    Pattern                      of Pull                       Retail
      6908     243 Win          4          Flush-Fit   Alloy Steel/            Black Synthetic   None     18''      36.75''   6 lbs.     12.50''   1:9''     $489.00     26965     5.56 NATO/       10         AR-Style    Alloy Steel/   Flat Dark Earth   None      16.12''    36''      1/2''-28        6.1 lbs.     13.75''         1:8''         $549.00
                                                       Matte Black                                                                                                                 223 Rem                                 Matte Black    Synthetic
      6909     7mm-08 Rem       4          Flush-Fit   Alloy Steel/            Black Synthetic   None     18''      36.75''   6 lbs.     12.50''   1:8.5''   $489.00     26968     300 BLK          10         AR-Style    Alloy Steel/   Flat Dark Earth   None      16.12''    36''      5/8''-24        5.9 lbs.     13.75''         1:7''         $549.00
                                                       Matte Black                                                                                                                                                         Matte Black    Synthetic
      6907      308 Win         4          Flush-Fit   Alloy Steel/            Black Synthetic   None     18''      36.75''   6 lbs.     12.50''   1:10''    $489.00     16950     450              3          Single-     Alloy Steel/   Flat Dark Earth   None      16.12''    36''      11/16''-24      5.5 lbs.     13.75''         1:16''        $549.00
                                                       Matte Black                                                                                                                 Bushmaster                  Stack       Matte Black    Synthetic
                                                                                                                                                                         16976     7.62x39          5          Mini        Alloy Steel/   Flat Dark Earth   None      16.12''    36''      5/8''-24        5.9 lbs.     13.75''         1:9.5''       $549.00
                                                                                                                                                                                                               Thirty®     Matte Black    Synthetic
                                                                                                                                                                         26981     350 Legend       5          AR-Style    Alloy Steel/   Flat Dark Earth   None      16.38''    36''      1/2''-28        6.1 lbs.     13.75''         1:16''        $549.00
                                                                                                                                                                                                                           Matte Black    Synthetic                                        x 0.4
                                                                                                                                                                         26985     350 Legend       5          AR-Style    Alloy Steel/   Flat Dark Earth   None      16.38''    34.75''   1/2''-28        6 lbs.       12.50''         1:16''        $549.00
                                                                                                                                                                         Compact                                           Matte Black    Synthetic                                        x 0.4
                                                                                                                                                                         36926     6.5 Grendel      10         AR-Style    Alloy Steel/   Flat Dark Earth   None      16.10''    36''      5/8''-24        6.1 lbs.     13.75''         1:8''         $549.00
                                                                                                                                                                                                                           Matte Black    Synthetic




127                                                                                                                                                                                                                                                                                                     R UGER .C OM / A M E R I C A N R I F L E                       128
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                                                                      ®
               R U G E R A ME RICA N R IF L E
  RUGER AMERICAN ® RIFLE PREDATOR                                                                                                                                                                             RUGER AMERICAN ® RIFLE PREDATOR with Vortex® Crossfire II ® Riflescope




                              Model 26973 Shown                                                                                                                                Threaded Barrel with
                                                                                                                                                                         Factory-Installed Thread Protector
                 COMPARE
      Model     Caliber           Capacity   Magazine       Material/        Stock        Sights       Barrel          Overall      Thread        Weight       Length         Twist         Suggested                                 Model 26952 Shown
      Number                                                Finish                                     Length          Length       Pattern                    of Pull                      Retail
      26971     204 Ruger         10         AI-Style       Alloy Steel/     Moss Green   None         22''            42''         1/2''-28      6.6 lbs.     13.75''        1:12''        $549.00            SCOPE SPECIFICATIONS
                                                            Matte Black      Synthetic                                                                                                                         Reticle: Dead-Hold BDC                                     Adjustment Markings: 1/4 MOA                                   Magnification: 4-12x
      6945      22-250 Rem        4          Flush-Fit      Alloy Steel/     Moss Green   None         22''            42''         1/2''-28      6.6 lbs.     13.75''        1:10''        $529.00                                                                                            Finger Click Adjustments
                                                                                                                                                                                                               Construction Features: Waterproof,                                                                                        Linear Field of View (ft @ 100yd): 24.7 - 8.4
                                                            Matte Black      Synthetic                                                                                                                                                Fogproof, Shockproof                Maintube Diameter: 1''
      26944     223 Rem           10         AR-Style       Alloy Steel/     Moss Green   None         22''            42''         1/2''-28      6.6 lbs.     13.75''        1:8''         $549.00
                                                                                                                                                                                                                                                                                                                                         Objective Lens Diameter: 44 mm
                                                            Matte Black      Synthetic                                                                                                                                                                                    Material: Aircraft-Grade Aluminum
      6972      243 Win           3          AI-Style       Alloy Steel/     Moss Green   None         22''            42''         5/8''-24      6.6 lbs.     13.75''        1:9''         $549.00                      COMPARE
                                                            Matte Black      Synthetic                                                                                                                        Model     Caliber          Capacity   Magazine    Material/      Stock        Sights                  Barrel    Overall    Thread     Weight     Length    Twist      Suggested
      26973     6.5 Creedmoor     3          AI-Style       Alloy Steel/     Moss Green   None         22''            42''         5/8''-24      6.6 lbs.     13.75''        1:8''         $549.00           Number                                            Finish                                              Length    Length     Pattern               of Pull              Retail
                                                            Matte Black      Synthetic                                                                                                                        26951     223 Rem          10         AR-Style    Alloy Steel/   Moss Green   Vortex® Crossfire II®   22''      42''       1/2''-28   7.6 lbs.   13.75''   1:8''      $699.00
                                                                                                                                                                                                                                                                Matte Black    Synthetic    Riflescope
      6973      6.5 Creedmoor     4          Flush-Fit      Alloy Steel/     Moss Green   None         22''            42''         5/8''-24      6.6 lbs.     13.75''        1:8''         $529.00
                                                            Matte Black      Synthetic                                                                                                                        26952     204 Ruger        10         AI-Style    Alloy Steel/   Moss Green   Vortex® Crossfire II®   22''      42''       1/2''-28   7.6 lbs.   13.75''   1:12''     $699.00
                                                                                                                                                                                                                                                                Matte Black    Synthetic    Riflescope
      16977     6.5 Creedmoor     4          Flush-Fit      Alloy Steel/     Moss Green   None         22''            42''         5/8''-24      6.6 lbs.     13.75''        1:8''         $569.00
      LH                                                    Matte Black      Synthetic                                                                                                                        26953     6.5 Creedmoor    3          AI-Style    Alloy Steel/   Moss Green   Vortex® Crossfire II®   22''      42''       5/8''-24   7.6 lbs.   13.75''   1:8''      $699.00
                                                                                                                                                                                                                                                                Matte Black    Synthetic    Riflescope
      26916     243 Win           4          Flush-Fit      Alloy Steel/     Moss Green   None         22''            42''         5/8''-24      6.6 lbs.     13.75''        1:9''         $569.00
      LH                                                    Matte Black      Synthetic                                                                                                                        16953     6.5 Creedmoor    4          Flush-Fit   Alloy Steel/   Moss Green   Vortex® Crossfire II®   22''      42''       5/8''-24   7.6 lbs.   13.75''   1:8''      $699.00
                                                                                                                                                                                                                                                                Matte Black    Synthetic    Riflescope
      26917     7mm-08 Rem        4          Flush-Fit      Alloy Steel/     Moss Green   None         22''            42''         5/8''-24      6.6 lbs.     13.75''        1:8.5''       $569.00
      LH                                                    Matte Black      Synthetic
      26918     308 Win           4          Flush-Fit      Alloy Steel/     Moss Green   None         22''            42''         5/8''-24      6.6 lbs.     13.75''        1:10''        $569.00
      LH                                                    Matte Black      Synthetic
      26948     6mm               3          AI-Style       Alloy Steel/     Moss Green   None         22''            42''         5/8''-24      6.6 lbs.     13.75''        1:7.7''       $549.00
                Creedmoor                                   Matte Black      Synthetic
      6974      308 Win           4          Flush-Fit      Alloy Steel/     Moss Green   None         18''            38''         5/8''-24      6.2 lbs.     13.75''        1:10''        $529.00           RUGER AMERICAN ® RIFLE with GO Wild® Camo I-M Brush® Stock
                                                            Matte Black      Synthetic
      26922     6.5 Grendel       10         Metal          Alloy Steel/     Moss Green   None         22''            42''         5/8''-24      6.6 lbs.     13.75''        1:8''         $549.00
                                             AR-Style       Matte Black      Synthetic




  RUGER AMERICAN ® RIFLE HUNTER                                                                                                                                                                                               Model 26925 Shown                                                                                                                   GO Wild® Camo I-M Brush® Stock
                                                                                                                                                                                                                         COMPARE
                                                                                                                                                                                                              Model     Caliber          Capacity   Magazine    Finish             Stock             Sights     Barrel       Overall    Thread      Weight     Length     Twist       Suggested
                                                                                                                                                                                                              Number                                                                                            Length       Length     Pattern                of Pull                Retail
                                                                                                                                                                                                              26923     7mm-08 Rem       3          AI-Style    Bronze             GO Wild® Camo     None       22''         42''       5/8''-24    6.6 lbs.   13.75''    1:8.5''     $629.00
                                                                                                                                                                                                                                                                Cerakote ®         I-M Brush®
                                                                                                                                                                                                              26924     243 Win          3          AI-Style    Bronze             GO Wild® Camo     None       22''         42''       5/8''-24    6.6 lbs.   13.75''    1:9''       $629.00
                                                                                                                                                                                                                                                                Cerakote ®         I-M Brush®
                                                                                                                                                                                                              26925     6.5 Creedmoor    3          AI-Style    Bronze             GO Wild® Camo     None       22''         42''       5/8''-24    6.6 lbs.   13.75''    1:8''       $629.00
                                                                                                                                                                                                                                                                Cerakote ®         I-M Brush®
                              Model 26983 Shown                                                                                                                                                               26926     308 Win          3          AI-Style    Bronze             GO Wild® Camo     None       22''         42''       5/8''-24    6.6 lbs.   13.75''    1:10''      $629.00
                                                                                                                                  Magpul® Hunter American Stock                  Ruger Precision® Rifle                                                         Cerakote ®         I-M Brush®
                                                                                                                                 with Fully Adjustable Length of Pull             Hybrid Muzzle Brake
               COMPARE                                                                                                                                                                                        26927     30-06 Sprg       4          Flush-Fit   Bronze             GO Wild® Camo     None       22''         42''       5/8''-24    6.6 lbs.   13.75''    1:10''      $629.00
      Model     Caliber       Capacity   Magazine             Material/       Stock                Sights     Barrel     Overall       Weight       Thread        Length          Twist         Suggested                                                       Cerakote ®         I-M Brush®
      Number                                                  Finish                                          Length     Length                     Pattern       of Pull                       Retail        26928     450              3          Single-     Bronze             GO Wild® Camo     None       22''         42''       11/16''-    6.6 lbs.   13.75''    1:16''      $629.00
      26983     6.5           5          Magpul® PMAG ® 5     Alloy Steel/    Gray Magpul®         None       20''       41.25''-      9.2 lbs.     5/8''-24      13''-15''       1:8''         $799.00                 Bushmaster                  Stack       Cerakote ®         I-M Brush®                                           24
                Creedmoor                7.62 AC              Matte Black     Hunter American                            43.25''
                                                                                                                                                                                                              26929     300 Win Mag      3          Single-     Bronze             GO Wild® Camo     None       24''         44''       5/8''-24    7 lbs.     13.75''    1:10''      $629.00
      26993     308 Win       5          Magpul® PMAG ® 5     Alloy Steel/    Gray Magpul®         None       20''       41.25''-      9.2 lbs.     5/8''-24      13''-15''       1:10''        $799.00                                             Stack       Cerakote ®         I-M Brush®
                                         7.62 AC              Matte Black     Hunter American                            43.25''
                                                                                                                                                                                                              26986     350 Legend       5          AI-Style    Bronze             GO Wild® Camo     None       22''         43.75''    1/2''-28    6.8 lbs.   13.75''    1:16''      $629.00
                                                                                                                                                                                                                                                                Cerakote ®         I-M Brush®                                           x0.4
                                                                                                                                                                                                              36923     243 Win          4          Flush-Fit   Bronze             GO Wild® Camo     None       16.10''      34.75''    5/8''-24    5.6 lbs.   12.50''    1:9''       $629.00
                                                                                                                                                                                                              Compact                                           Cerakote ®         I-M Brush®
                                                                                                                                                                                                              36924     6.5 Creedmoor    4          Flush-Fit   Bronze             GO Wild® Camo     None       16.10''      34.75''    5/8''-24    5.6 lbs.   12.50''    1:8''       $629.00
                                                                                                                                                                                                              Compact                                           Cerakote ®         I-M Brush®
                                                                                                                                                                                                              36925     6.5 PRC          3          Single-     Bronze             GO Wild® Camo     None       24''         44''       5/8''-24    7.1 lbs.   13.75''    1:8''       $629.00
                                                                                                                                                                                                                                                    Stack       Cerakote ®         I-M Brush®
  LH: Left-Handed.


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      RUGER AMERICAN RIMFIRE
                                                          ®

                                                                                                                                                 R U G E R A M E R I C A N® R I M F I R E


      The Ruger American Rimfire bolt-action rifle builds on the enormous success of
                                ®




      the centerfire Ruger American Rifle. With many of the standard Ruger American Rifle
                                       ®                                                         ®




      features, this line also combines several design innovations from the popular 10/22            ®




      rimfire rifle. This combination, along with the rifle’s adaptability, will appeal to all                                                     22                 22              17
      bolt-action rifle enthusiasts – young or old, novice or experienced.                                                                         LR                WMR             HMR



                                                                                                                                     THREE CALIBERS                           TWENTY-FIVE MODELS

                                                                                                                                                                                      LONG-            GO WILD         ®

                                                                                                                                STANDARD COMPACT                  TARGET             RANGE              CAMO
                                                                                                                                                                                     TARGET




                                                                                                                                                         Ruger American® Rimfire
                                                                                                                                                         Long-Range Target
                                                                                                                                                         (Model 8378)




                                                                                                                                                           Ruger American® Rimfire
                                                                                                                                                           Stainless in .22 LR
                                                                                                                                                           (Model 8351)




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                                                                ®
           R U G E R A ME RICA N R IM F I R E
  FEATURES
      Models configured with a synthetic stock include two interchangeable              Features a visible, accessible and easy-to-actuate tang safety that
      stock modules that provide comb height options for scope or iron                  provides instant security.
      sight use. By simply removing the rear sling swivel stud, stock modules
                                                                                        Cold hammer-forged barrel results in ultra-precise rifling that provides
      can be changed in seconds. Stock modules are completely interchangeable
                                                                                        exceptional accuracy and longevity.
      across all models and are available at ShopRuger.com.
                                                                                        A 3/8'' rimfire scope base is machined into the receiver, which is
      Models chambered in .22 LR include the patented, detachable,
                                                                                        also drilled and tapped for Weaver™ #12 bases. Long-Range Target model
      flush-mounted BX-1, 10-round rotary magazine and accept all 10/22®
                                                                                        features a factory-installed, one-piece aluminum scope rail.
      magazines, including the BX-25®, BX-25® x2 and BX-15®.
                                                                                        A 60˚ bolt provides ample scope clearance and the easy-to-use,
      Models chambered in .22 Magnum and .17 HMR use the detachable,
                                                                                        receiver-mounted bolt release allows the bolt to be readily removed
      flush-mounted JMX-1, 9-round rotary magazine and accept the
                                                                                        without requiring a pull of the trigger, a unique safety feature
      BX-15® Magnum magazine.
                                                                                        among rimfire, bolt-action rifles.
      Easy-to-use, extended magazine release provides smooth,
                                                                                        Also includes: sling swivel studs.
      no-fuss removal of the flush-mounted magazine.
      Patented Power Bedding® integral bedding block system positively locates
      the receiver and free-floats the barrel for outstanding accuracy.
      Ruger Marksman Adjustable™ trigger offers a crisp release with a pull                                  22                     22                      17
      weight that is user adjustable between three and five pounds, allowing
      shooters to make that perfect shot.
                                                                                                             LR                    WMR                      HMR




                   Visible, Accessible and Easy-to-Actuate Tang Safety                               Ruger Marksman Adjustable™ Trigger Provides a Crisp
                                                                                                      Release with a User-Adjustable 3-5 lb. Trigger Pull




              Detachable Rotary Magazine                                   Patented Power Bedding® Integral Bedding Block for Outstanding Accuracy
               Provides Reliable Feeding
133                                                                                                                                                                                           R UGER .C OM / A M E R I C A N R I M F I R E   134
                                                                                                                                        Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 113 of 174 PageID #: 791
                                                                         ®
               R U G E R A ME RICA N R IM F I R E
      RUGER AMERICAN ® RIMFIRE                                                                                                                                                                                       RUGER AMERICAN ® RIMFIRE STAINLESS




                               Model 8301 Shown                                                                                                         Available with and without           Two Interchangeable
                                                                                                                                                             Threaded Barrel                Stock Modules Included                          Model 8351 Shown                                                                        Two, Interchangeable             Factory-Installed, One-Piece
               COMPARE                                                                                                                                                                                                                                                                                                             Stock Modules Included               Aluminum Scope Rail
                                                                                                                                                                                                                              COMPARE
      Model     Caliber   Capacity    Material/ Finish       Stock                    Sights                           Barrel       Overall       Thread         Weight         Length       Twist     Suggested
      Number                                                                                                           Length       Length        Pattern                       of Pull                Retail        Model    Caliber   Capacity    Material/ Finish   Stock               Sights         Barrel        Overall          Thread       Weight      Length       Twist        Suggested
                                                                                                                                                                                                                     Number                                                                               Length        Length           Pattern                  of Pull                   Retail
      8311      17 HMR    9           Alloy Steel/           Black                    Williams™ Fiber Optic Front,     22''         41''          –              6 lbs.         13.75''      1:9''     $359.00
                                      Satin Blued            Synthetic                Adjustable Rear                                                                                                                8351     22 LR     10          Stainless Steel/   Black Synthetic     None           18''          37''             1/2''-28     5.3 lbs.    13.75''      1:16''       $429.00
                                                                                                                                                                                                                                                    Satin Stainless
      8301      22 LR     10          Alloy Steel/           Black                    Williams™ Fiber Optic Front,     22''         41''          –              6 lbs.         13.75''      1:16''    $359.00
                                      Satin Blued            Synthetic                Adjustable Rear                                                                                                                8352     22 WMR    9           Stainless Steel/   Black Synthetic     None           18''          37''             1/2''-28     5.3 lbs.    13.75''      1:14''       $429.00
                                                                                                                                                                                                                                                    Satin Stainless
      8321      22 WMR    9           Alloy Steel/           Black                    Williams™ Fiber Optic Front,     22''         41''          –              6 lbs.         13.75''      1:14''    $359.00
                                      Satin Blued            Synthetic                Adjustable Rear                                                                                                                8353     17 HMR    9           Stainless Steel/   Black Synthetic     None           18''          37''             1/2''-28     5.3 lbs.    13.75''      1:9''        $429.00
                                                                                                                                                                                                                                                    Satin Stainless
      8312      17 HMR    9           Alloy Steel/           Black                    Williams™ Fiber Optic Front,     18''         37''          1/2''-28       5.5 lbs.       13.75''      1:9''     $389.00
                                      Satin Blued            Synthetic                Adjustable Rear
      8305      22 LR     10          Alloy Steel/           Black                    Williams™ Fiber Optic Front,     18''         37''          1/2''-28       5.5 lbs.       13.75''      1:16''    $389.00
                                      Satin Blued            Synthetic                Adjustable Rear                                                                                                                RUGER AMERICAN ® RIMFIRE TARGET
      8322      22 WMR    9           Alloy Steel/           Black                    Williams™ Fiber Optic Front,     18''         37''          1/2''-28       5.5 lbs.       13.75''      1:14''    $389.00
                                      Satin Blued            Synthetic                Adjustable Rear




  RUGER AMERICAN ® RIMFIRE Compact
                                                                                                                                                                                                                                            Model 8360 Shown                                         Cold Hammer-Forged 0.860''             Factory-Installed,   Adjustable Length of Pull Satin Stainless
                                                                                                                                                                                                                                                                                                    Bull Barrel with Factory-Installed     One-Piece Aluminum    with Thumbhole Laminate      or Satin
                                                                                                                                                                                                                                                                                                        Knurled Thread Protector               Scope Rail              Stock Models         Blued Finish
                                                                                                                                                                                                                              COMPARE
                                                                                                                                                                                                                     Model    Caliber   Capacity    Material/ Finish   Stock               Sights         Barrel        Overall          Thread       Weight       Length      Twist        Suggested
                                                                                                                                                                                                                     Number                                                                               Length        Length           Pattern                   of Pull                  Retail
                                                                                                                                                                                                                     8350     17 HMR    9           Alloy Steel/       Black Laminate      None           18''          37''             1/2''-28     6.8 lbs.     13.75''     1:9''        $499.00
                                                                                                                                                                                                                                                    Satin Blued
                          Model 8303 Shown                                                                                                              Available with or without           Two Interchangeable
                                                                                                                                                            Threaded Barrel                Stock Modules Included    8348     22 LR     10          Alloy Steel/       Black Laminate      None           18''          37''             1/2''-28     6.7 lbs.     13.75''     1:16''       $499.00
               COMPARE                                                                                                                                                                                                                              Satin Blued
      Model     Caliber   Capacity    Material/          Stock               Sights                           Barrel          Overall         Thread          Weight         Length       Twist       Suggested
      Number                          Finish                                                                  Length          Length          Pattern                        of Pull                  Retail         8349     22 WMR    9           Alloy Steel/       Black Laminate      None           18''          37''             1/2''-28     6.7 lbs.     13.75''     1:14''       $499.00
                                                                                                                                                                                                                                                    Satin Blued
      8313      17 HMR    9           Alloy Steel/       Black               Williams Fiber Optic Front,
                                                                                       ™                      18''            35.75''         –               5.3 lbs.       12.50''      1:9''       $359.00
                                      Satin Blued        Synthetic           Adjustable Rear                                                                                                                         8369     17 HMR    9           Stainless Steel/   Black Laminate      None           18''          37''             1/2''-28     6.7 lbs.     13.75''     1:9''        $529.00
                                                                                                                                                                                                                                                    Satin Stainless
      8303      22 LR     10          Alloy Steel/       Black               Williams™ Fiber Optic Front,     18''            35.75''         –               5.3 lbs.       12.50''      1:16''      $359.00
                                      Satin Blued        Synthetic           Adjustable Rear                                                                                                                         8367     22 LR     10          Stainless Steel/   Black Laminate      None           18''          37''             1/2''-28     6.7 lbs.     13.75''     1:16''       $529.00
                                                                                                                                                                                                                                                    Satin Stainless
      8323      22 WMR    9           Alloy Steel/       Black               Williams™ Fiber Optic Front,     18''            35.75''         –               5.3 lbs.       12.50''      1:14''      $359.00
                                      Satin Blued        Synthetic           Adjustable Rear                                                                                                                         8368     22 WMR    9           Stainless Steel/   Black Laminate      None           18''          37''             1/2''-28     6.7 lbs.     13.75''     1:14''       $529.00
                                                                                                                                                                                                                                                    Satin Stainless
      8306      22 LR     10          Alloy Steel/       Black               Williams™ Fiber Optic Front,     18''            35.75''         1/2''-28        5.3 lbs.       12.50''      1:16''      $389.00
                                      Satin Blued        Synthetic           Adjustable Rear                                                                                                                         8360     22 LR     10          Alloy Steel/       Black Laminate      None           18''          37''             1/2''-28     6.7 lbs.     13.75''     1:16''       $559.00
                                                                                                                                                                                                                                                    Satin Blued        with Thumbhole
                                                                                                                                                                                                                     8366     22 LR     10          Stainless Steel/   Black Laminate      None           18''          37''             1/2''-28     6.7 lbs.     13.75''     1:16''       $579.00
                                                                                                                                                                                                                                                    Satin Stainless    with Thumbhole

  RUGER AMERICAN ® RIMFIRE with GO Wild® Camo I-M Brush Stock
                                                                                                                                                                                                                     RUGER AMERICAN ® RIMFIRE Long-Range Target




                          Model 8372 Shown                                                                  Threaded Barrel with Factory-              Two Interchangeable          GO Wild® Camo I-M Brush Stock
                                                                                                               Installed Muzzle Brake                 Stock Modules Included
               COMPARE
      Model     Caliber   Capacity    Material/ Finish       Stock                    Sights                           Barrel       Overall       Thread          Weight        Length       Twist     Suggested                                                                                                         Threaded 0.860'' Bull           Factory-Installed             Two-Way
      Number                                                                                                           Length       Length        Pattern                       of Pull                Retail                                                                                                         Barrel with Factory-Installed    One-Piece Aluminum          Adjustable Comb
                                                                     ®
      8372      22 LR     10          Alloy Steel/           Go Wild Camo             None                             18''         38.37''       1/2''-28        5.9 lbs.      13.75''      1:16''    $469.00                                                                                                         Knurled Thread Protector             Scope Rail
                                      Bronze Cerakote ®      I-M Brush
      8373      22 WMR    9           Alloy Steel/           Go Wild® Camo            None                             18''         38.37''       1/2''-28        5.9 lbs.      13.75''      1:14''    $469.00       Model    Caliber   Capacity    Material/ Finish   Stock                                Sights      Barrel           Overall      Weight       Length       Twist        Suggested
                                      Bronze Cerakote ®      I-M Brush                                                                                                                                               Number                                                                                             Length           Length                    of Pull                   Retail
                                                                                                                                                                                                                     8378     22 LR     10          Alloy Steel/       Speckled Black/Brown Laminate        None        22''             40.50''      8 lbs.       13.50''      1:16''       $599.00
      8374      17 HMR    9           Alloy Steel/           Go Wild® Camo            None                             18''         38.37''       1/2''-28        5.9 lbs.      13.75''      1:9''     $469.00
                                                                                                                                                                                                                                                    Matte Blued
                                      Bronze Cerakote ®      I-M Brush

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      RUGER SCOUT RIFLE
                         ®

                                                                                                                                                  R U G E R® S C O U T R I F L E


      The one rifle to have if you could have only one. The Ruger Scout Rifle is the perfect
                                                                 ®




      lightweight, hard-hitting, do-it-all bolt-action rifle.



                                                                                                                                                 308           450              350
                                                                                                                                                               BUSH-
                                                                                                                                                 WIN           MASTER           LEGEND




                                                                                                                               THREE CALIBERS                                   SIX MODELS


                                                                                                                             BLACK                       BLACK                       AMERICAN
                                                                                                                            LAMINATE                   SYNTHETIC                      WALNUT




                                                                                                                            Ruger® Scout Rifle
                                                                                                                            in .450 Bushmaster
                                                                                                                            (Model 6837)




                                                                                                                                                           Ruger® Scout Rifle
                                                                                                                                                           in .350 Legend
                                                                                                                                                           (Model 6841)




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                                                                                                                          Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 115 of 174 PageID #: 793
                                ®
               R U G E R SCO UT R IFL E
  FEATURES
       Forward-mounted Picatinny rail allows use of modern optics, like an                         Non-rotating, Mauser-type controlled round feed extractor is among the
       intermediate eye relief scope (not included), for “both eyes open”                          most positive case extraction systems ever invented, and features a fixed
       sighting and rapid target acquisition.                                                      blade-type ejector that positively ejects the empty cases as the bolt
                                                                                                   is moved fully rearward.
       Built-in, accurate sighting system with adjustable ghost ring rear aperture
       sight and a non-glare, protected blade front sight.                                         Laminate stock models feature durable, laminated wood that free floats the
                                                                                                   barrel and remains stable in weather and temperature extremes.
       Detachable box magazine with push-forward magazine release
       just forward of the trigger guard.                                                          Lightweight synthetic stock models feature a forward aluminum bedding
                                                                                                   block and rear aluminum pillar that positively locate the receiver.
       Integral scope mounts, machined directly on the solid-steel receiver,
       provide a stable mounting surface for included scope rings, eliminating                     Model 6837 features a Ruger® Hybrid Muzzle Brake
       a potential source of looseness and inaccuracy in the field.                                (thread protector included).
       Soft-rubber buttpad with buttpad spacers allows the rifle to be properly                    Three-position safety is easily accessible and allows the shooter to
       sized for different shooters or varying levels of outerwear (three, 1/2''                   lock the bolt or to load and unload the rifle with the safety engaged.
       spacers included).
                                                                                                   Rugged, one-piece, stainless steel bolt.
       Free-floating, cold hammer-forged barrel results in ultra-precise rifling
                                                                                                   Also includes:
       that provides exceptional accuracy and longevity.
                                                                                                   sling swivel studs.
       Rugged and reliable glass-reinforced nylon trigger guard                                                                       308              350                    450
                                                                                                                                                                              BUSH-
       and magazine well.                                                                                                             WIN              LEGEND                 MASTER




                                                                                         Ruger® Scout Rifle in .350 Legend
                                                                                         (Model 6841)


                 COMPARE
      Model     Caliber        Capacity   Material/               Stock        Barrel Feature     Barrel       Overall         Weight*    Length     Twist    Thread           Suggested
      Number                              Finish                                                  Length       Length                     of Pull             Pattern          Retail
      6803      308 Win        10         Alloy Steel/            Black        Flash Suppressor   16.10''      37''- 38.50''   7.1 lbs.   12.75''-   1:10''   5/8"-24          $1,139.00
                                          Matte Black             Laminate                                                                14.25''
      6821      308 Win        10         Stainless Steel/        Black        Flash Suppressor   18.70''      39.50''- 41''   7.3 lbs.   12.75''-   1:10''   5/8"-24          $1,199.00
      LH                                  Matte Stainless         Laminate                                                                14.25''
      6822      308 Win        10         Stainless Steel/        Black        Flash Suppressor   18.70''      39.50''- 41''   7.3 lbs.   12.75''-   1:10''   5/8"-24          $1,199.00
                                          Matte Stainless         Laminate                                                                14.25''
      6829      308 Win        10         Stainless Steel/        Black        Muzzle Brake       16.10''      37''- 38.50''   6.2 lbs.   12.75''-   1:10''   5/8"-24          $1,199.00
                                          Matte Stainless         Synthetic                                                               14.25''
      6837      450            4          Alloy Steel/            American     Ruger® Hybrid      16.10''      37''- 38.50''   6.6 lbs.   12.75''-   1:16''   11/16"-24        $1,199.00
                Bushmaster                Matte Black             Walnut       Muzzle Brake                                               14.25''
      6841      350 Legend     5          Alloy Steel/            Black        Muzzle Brake       16.50''      37''- 38.50''   6.3 lbs.   12.75''-   1:16''   1/2"-28 x 0.4    $1,139.00
                                          Matte Black             Synthetic                                                               14.25''




       Glass-Reinforced Nylon Trigger Guard              Adjustable Ghost Ring Rear Sight                   Buttpad Spacers Allow for                Forward-Mounted Picatinny Rail
                and Magazine Well                                                                           Adjustable Length of Pull

  *Without magazine. LH: Left-Handed.


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      HAWKEYE
                                ®

                                                                                                                                                                     H A W K E Y E®


      The classic Hawkeye bolt-action rifles are built with versatility, style and performance
                            ®




      in mind, meeting the challenges of hunters throughout the world.


                                                                                                                          204           22-250         223           243                270         30-06         308            375
                                                                                                                          RUGER          REM           REM           WIN                WIN         SPRG          WIN            RUGER

                                                                                                                                  300            338         416                                            7mm
                                                                                                                                  WIN            WIN                         6.5              6.5           REM         7mm-08
                                                                                                                                  MAG            MAG         RUGER          CREEDMOOR
                                                                                                                                                                                              PRC           MAG          REM




                                                                                                                                                                                                                     LONG-
                                                                                                                          AFRICAN                    HUNTER           COMPACT LAMINATE                              RANGE
                                                                                                                                                                              COMPACT                               HUNTER

                                                                                                                            LONG-                                      FTW                                              GUIDE
                                                                                                                           RANGE                 PREDATOR                                     ALASKAN                    GUN
                                                                                                                           TARGET                                     HUNTER




                                                                                                                                  Hawkeye® Hunter
                                                                                                                                  in 6.5 Creedmoor
                                                                                                                                  (Model 57104)




                                                                                                                                                         Hawkeye® Alaskan
                                                                                                                                                         in .375 Ruger
                                                                                                                                                         (Model 57100)



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                                                                                                                        Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 117 of 174 PageID #: 795

               H AWK E Y E AF R ICA N          ®




  FEATURES
       The LC6™ trigger features smooth, crisp performance right out of                              Shallow “express-style” windage-adjustable V-notch rear sight and
       the box for increased accuracy on the range or in the field.                                  large white bead front sight for instant target acquisition.
       Non-rotating, Mauser-type controlled round feed extractor is among the                        Integral scope mounts, machined directly on the solid-steel receiver,
       most positive case extraction systems ever invented, and features a fixed                     provide a stable mounting surface for included scope rings, eliminating a
       blade-type ejector that positively ejects empty cases as the bolt                             potential source of looseness and inaccuracy in the field.
       is moved fully rearward.
                                                                                                     Ergonomically pleasing, American walnut stock has rounded contours along
       The Ruger® Muzzle Brake System includes a removable, radial-port muzzle                       the barrel, on the bottom of the stock and on top of the pistol grip and
       brake that significantly reduces felt recoil. For times when the brake is not                 wrap-around checkering on the grip and forend.
       preferred, it may be replaced by the included dynamically-matched muzzle
                                                                                                     Rugged, one-piece, stainless steel bolt.
       weight. Switching between the brake and the weight will not change the
       bullet’s point of impact for a particular load. The included thread protector                 Also includes: barrel band mounted swivel stud;
       may be used if neither the brake nor the weight is desired.                                   optional forend swivel stud.
       Hinged, solid-steel floorplate for easy unloading without having to chamber
       each cartridge. Features an engraved Ruger logo and patented latch that is
       flush with the trigger guard to avoid accidental dumping of cartridges.
       Three-position safety is easily accessible and allows the shooter to lock the
       bolt or to load and unload the rifle with the safety engaged.                                                                                 375                    416
       Cold hammer-forged barrel results in ultra-precise rifling that provides                                                                      RUGER                  RUGER
       exceptional accuracy and longevity.




                                                                                                                                  Hawkeye® African in .375 Ruger
                                                                                                                                  (Model 37186)




                           COMPARE
      Model               Caliber          Capacity   Material/      Stock                  Sights               Barrel       Overall   Weight       Length        Twist      Suggested
      Number                                          Finish                                                     Length       Length                 of Pull                  Retail
      37186               375 Ruger        3          Alloy Steel/   American Walnut with   Bead Front,          23''         44.88''   8 lbs.       13.50''       1:12''     $1,279.00
                                                      Satin Blued    Ebony Forend Cap       Adjustable Rear
      47121               375 Ruger        3          Alloy Steel/   American Walnut with   Bead Front,          23''         44.88''   8 lbs.       13.50''       1:12''     $1,279.00
      LH                                              Satin Blued    Ebony Forend Cap       Adjustable Rear
      37185               416 Ruger        3          Alloy Steel/   American Walnut with   Bead Front,          23''         44.88''   7.8 lbs.     13.50''       1:14''     $1,279.00
                                                      Satin Blued    Ebony Forend Cap       Adjustable Rear




              American Walnut Stock with                  Ruger® Muzzle Brake System                   Hinged, Solid-Steel Floorplate              Bead Front Sight and “Express-Style”
                 Ebony Forend Cap                                                                           for Easy Unloading                       Windage-Adjustable Rear Sight




  LH: Left-Handed.

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               H AW K E YE                  ®




  FEATURES                                                                                                                                                                                              HAWKEYE® LAMINATE COMPACT
       Non-rotating, Mauser-type controlled round feed extractor is among the                              Integral scope mounts, machined directly on the solid-steel receiver,
       most positive case extraction systems ever invented, and features a fixed                           provide a stable mounting surface for included scope rings, eliminating a
       blade-type ejector that positively ejects empty cases as the bolt is moved                          potential source of looseness and inaccuracy in the field.
       fully rearward.
                                                                                                           Rugged, one-piece, stainless steel bolt.
       Hinged, solid-steel floorplate for easy unloading without having to chamber
                                                                                                           Also includes: studs for mounting sling swivels.                                                                                 Model 17111 Shown                                                                                    LC6™ Trigger for             Black Laminate
       each cartridge. Features an engraved Ruger logo and patented latch that is
                                                                                                                                                                                                                                                                                                                                               Increased Accuracy                  Stock
       flush with the trigger guard to avoid accidental dumping of cartridges.                                                                                                                                    COMPARE
                                                                                                                                                                                                        Model    Caliber         Capacity       Material/                    Stock                Sights       Barrel        Overall       Weight       Length      Twist         Suggested
       Three-position safety is easily accessible and allows the shooter to lock                                                                                                                        Number                                  Finish                                                         Length        Length                     of Pull                   Retail
       the bolt or to load and unload the rifle with the safety engaged.                                                                                                                                17108    243 Win         4              Stainless Steel/             Black Laminate       None         16.50''       35.50''       6.2 lbs.     12.50''     1:9''         $1,069.00
                                                                                                                       204                     22-250              223                       243                                                Hawkeye Matte Stainless
       Cold hammer-forged barrel results in ultra-precise rifling that provides                                        RUGER                    REM                REM                       WIN        17111    7mm-08 Rem      4              Stainless Steel/             Black Laminate       None         16.50''       35.50''       6.2 lbs.     12.50''     1:9.5''       $1,069.00
       exceptional accuracy and longevity.                                                                                                                                                                                                      Hawkeye Matte Stainless
                                                                                                                                                                                                        17110    308 Win         4              Stainless Steel/             Black Laminate       None         16.50''       35.50''       6 lbs.       12.50''     1:10''        $1,069.00
                              7mm                                                                                       300                                         338                                                                         Hawkeye Matte Stainless
         6.5                  REM                  7mm-08                    6.5                 30-06                  WIN                    308                  WIN                      375
       CREEDMOOR
                              MAG                   REM                      PRC                 SPRG                   MAG                    WIN                  MAG                     RUGER



                                                                                                                                                                                                        HAWKEYE® LONG-RANGE HUNTER



                              Integral Scope Mounts                                                  Non-Rotating, Mauser-Type                                      Three-Position Safety
                                                                                                   Controlled Round Feed Extractor
                                                                                                                                                                                                                                            Model 47197 Shown                                                                                    LC6™ Trigger for      Speckled Black/Brown
  HAWKEYE® HUNTER                                                                                                                                                                                                 COMPARE
                                                                                                                                                                                                                                                                                                                                               Increased Accuracy         Laminate Stock

                                                                                                                                                                                                        Model    Caliber         Capacity       Material/                     Stock                Sights       Barrel       Overall        Weight       Length      Twist         Suggested
                                                                                                                                                                                                        Number                                  Finish                                                          Length       Length                      of Pull                   Retail
                                                                                                                                                                                                        47197    6.5 PRC         3              Stainless Steel/Hawkeye       Speckled Black/      None         22''         42.25''-       7.2 lbs.     12.75''-    1:8''         $1,279.00
                                                                                                                                                                                                                                                Matte Stainless               Brown Laminate                                 43.75''                     14.25''
                                                                                                                                                                                                        47198    6.5 Creedmoor   5              Stainless Steel/Hawkeye       Speckled Black/      None         22''         42.25''-       7.2 lbs.     12.75''-    1:8''         $1,279.00
                                                                                                                                                                                                                                                Matte Stainless               Brown Laminate                                 43.75''                     14.25''
                                                       Model 57104 Shown                     LC6™ Trigger for Increased Accuracy   Red Rubber Buttpad for Recoil Reduction         American Walnut
                      COMPARE
                                                                                                                                                                                        Stock
      Model         Caliber             Capacity       Material/                         Stock              Sights      Barrel       Overall     Weight        Length        Twist      Suggested
      Number                                           Finish                                                           Length       Length                    of Pull                  Retail
      57104         6.5 Creedmoor       4              Stainless Steel/Satin Stainless   American Walnut    None        22''         42''        7.2 lbs.      13.50''       1:8''      $1,099.00

      57105         6.5 PRC             3              Stainless Steel/Satin Stainless   American Walnut    None        22''         42''        7.2 lbs.      13.50''       1:8''         $1,099.00
                                                                                                                                                                                                        HAWKEYE® LONG-RANGE TARGET
      57107         308 Win             4              Stainless Steel/Satin Stainless   American Walnut    None        20''         40''        7 lbs.        13.50''       1:10''        $1,099.00

      57108         30-06 Sprg          4              Stainless Steel/Satin Stainless   American Walnut    None        22''         42.75''     7.4 lbs.      13.50''       1:10''        $1,099.00

      57109         300 Win Mag         3              Stainless Steel/Satin Stainless   American Walnut    None        24''         44.75''     8.1 lbs.      13.50''       1:10''        $1,099.00

      57120 LH      6.5 Creedmoor       4              Stainless Steel/Satin Stainless   American Walnut    None        22''         42''        7.2 lbs.      13.50''       1:8''         $1,099.00

      57121 LH      300 Win Mag         3              Stainless Steel/Satin Stainless   American Walnut    None        24''         44.75''     8.1 lbs.      13.50''       1:10''        $1,099.00

      57124         7mm Rem Mag         3              Stainless Steel/Satin Stainless   American Walnut    None        24''         44.75''     8.1 lbs.      13.50''       1:9.5''       $1,099.00

      57125         204 Ruger           5              Stainless Steel/Satin Stainless   American Walnut    None        24''         44''        8 lbs.        13.50''       1:12''        $1,099.00
                                                                                                                                                                                                                                            Model 47184 Shown                    Unique, Two-Stage,         Heavy-Contour, Target Barrel    20 MOA Picatinny Rail                Two-Way
                                                                                                                                                                                                                                                                                  Adjustable Target           Featuring Ruger® Hybrid                                        Adjustable Comb
                                                                                                                                                                                                                                                                             Trigger (Not LC6™ Trigger)            Muzzle Brake
                                                                                                                                                                                                                  COMPARE

  HAWKEYE® COMPACT                                                                                                                                                                                      Model    Caliber             Capacity    Material/      Stock                 Sights    Barrel        Overall        Weight         Length       Thread     Twist          Suggested
                                                                                                                                                                                                        Number                                   Finish                                         Length        Length                        of Pull      Pattern                   Retail
                                                                                                                                                                                                        47183    300 Win Mag         5           Alloy Steel/   Speckled Black/       None      26''          47.50''-49''   11 lbs.        13''-        5/8''-24   1:9''          $1,279.00
                                                                                                                                                                                                                                                 Matte Black    Brown Laminate                                                              14.50''
                                                                                                                                                                                                        47184    6.5 Creedmoor       10          Alloy Steel/   Speckled Black/       None      26''          47''-48.50''   11 lbs.        13''-        5/8''-24   1:8''          $1,279.00
                                                                                                                                                                                                                                                 Matte Black    Brown Laminate                                                              14.50''
                                                                                                                                                                                                        47189    6.5 PRC             3           Alloy Steel/   Speckled Black/       None      26''          47''-48.50''   11 lbs.        13''-        5/8''-24   1:8''          $1,279.00
                                                       Model 37139 Shown                                                                               LC6™ Trigger for               American Walnut                                            Matte Black    Brown Laminate                                                              14.50''
                                                                                                                                                     Increased Accuracy                    Stock
                        COMPARE                                                                                                                                                                         57122    204 Ruger           10          Alloy Steel/   Speckled Black/       None      26''          47''-48.50''   11 lbs.        13''-        1/2''-28   1:12''         $1,279.00
      Model            Caliber              Capacity     Material/                       Stock              Sights      Barrel       Overall     Weight       Length         Twist         Suggested                                             Matte Black    Brown Laminate                                                              14.50''
      Number                                             Finish                                                         Length       Length                   of Pull                      Retail       57123    308 Win             10          Alloy Steel/   Speckled Black/       None      26''          47''-48.50''   11 lbs.        13''-        5/8''-24   1:10''         $1,279.00
      37139            308 Win              4            Alloy Steel/Satin Blued         American Walnut    None        16.50''      35.50''     5.7 lbs.     12.50''        1:10''        $979.00                                               Matte Black    Brown Laminate                                                              14.50''
      37140            7mm-08 Rem           4            Alloy Steel/Satin Blued         American Walnut    None        16.50''      35.50''     6 lbs.       12.50''        1:9.5''       $979.00

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               H AWK E Y E                         ®




  HAWKEYE® PREDATOR




                               Model 17121 Shown
                                                                                                           Green Mountain             Unique, Two-Stage, Adjustable Target                   Model 47139 Features
                                                                                                           Laminate Stock                  Trigger (Not LC6™ Trigger)                      an Adjustable Length of Pull
                           COMPARE
      Model               Caliber              Capacity    Material/                    Stock                     Sights       Barrel        Overall         Weight             Length        Twist        Suggested
      Number                                               Finish                                                              Length        Length                             of Pull                    Retail
      17123               204 Ruger            5           Stainless Steel/             Green Mountain            None         24''          44''            8 lbs.             13.50''      1:12''        $1,139.00
                                                           Hawkeye Matte Stainless      Laminate
      17121               22-250 Rem           4           Stainless Steel/             Green Mountain            None         24''          44''            8 lbs.             13.50''      1:14''        $1,139.00
                                                           Hawkeye Matte Stainless      Laminate
      17122               223 Rem              5           Stainless Steel/             Green Mountain            None         22''          42''            7.7 lbs.           13.50''      1:9''         $1,139.00
                                                           Hawkeye Matte Stainless      Laminate
      47108               6.5 Creedmoor        4           Stainless Steel/             Green Mountain            None         24''          44''            8.1 lbs.           13.50''      1:8''         $1,139.00
                                                           Hawkeye Matte Stainless      Laminate
      47139               6.5 Creedmoor        4           Stainless Steel/             Green Mountain            None         24''          43.25''-        8.1 lbs.           12.75''-     1:8''         $1,159.00
                                                           Hawkeye Matte Stainless      Laminate                                             44.75''                            14.25''




  HAWKEYE® FTW HUNTER




                               Model 47170 Shown
                                                                                             LC6™ Trigger for Increased Accuracy        Natural Gear™ Camo Hardwood Stock                  Ruger® Muzzle Brake System
                                                                                                                                           with Adjustable Length of Pull                    for Reduced Felt Recoil
                          COMPARE
      Model           Caliber              Capacity       Material/                  Stock                Sights      Barrel          Overall       Weight            Length        Thread        Twist       Suggested
      Number                                              Finish                                                      Length          Length                          of Pull       Pattern                   Retail
      47166           375 Ruger            3              Stainless Steel/           Natural Gear™        None        22"             41.25'' -     7.8 lbs.          12.75''-      5/8''-18      1:12''      $1,269.00
                                                          Hawkeye Matte Stainless    Camo Hardwood                                    42.75''                         14.25''
      47170           6.5 Creedmoor        4              Stainless Steel/           Natural Gear™        None        24"             43.25'' -     7.6 lbs.          12.75''-      1/2''-24      1:8''       $1,279.00
                                                          Hawkeye Matte Stainless    Camo Hardwood                                    44.75''                         14.25''




  HAWKEYE® ALASKAN




                               Model 57100 Shown
                                                                                             LC6™ Trigger for Increased Accuracy             Hogue® OverMolded® Stock                      Ruger® Muzzle Brake System
                                                                                                                                                                                             for Reduced Felt Recoil
                COMPARE
      Model     Caliber             Capacity       Material/                 Stock              Sights                Barrel          Overall       Weight            Length        Thread       Twist        Suggested
      Number                                       Finish                                                             Length          Length                          of Pull       Pattern                   Retail
      57100     375 Ruger           3              Stainless Steel/          Black Hogue®       Bead Front/           20"             42''          8.1 lbs.          13.50''       5/8''-18     1:12''       $1,279.00
                                                   Hawkeye Matte Stainless   OverMolded®        Adjustable Rear
      57101     338 Win Mag         3              Stainless Steel/          Black Hogue ®      Bead Front/           20"             42''          8 lbs.            13.50''       1/2''-32     1:10''       $1,279.00
                                                   Hawkeye Matte Stainless   OverMolded®        Adjustable Rear
      57102     300 Win Mag         3              Stainless Steel/          Black Hogue ®      Bead Front/           20"             42''          8.1 lbs.          13.50''       1/2''-24     1:10''       $1,279.00
                                                   Hawkeye Matte Stainless   OverMolded®        Adjustable Rear




147                                                                                                                                                                                                                         R UGER .C OM / H A W K E Y E   148
                                                                                                                    Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 120 of 174 PageID #: 798
                                  ®
               R U G E R GU ID E GU N
  FEATURES
       Shallow “express-style” windage-adjustable V-notch rear sight and large                 The LC6™ trigger features smooth, crisp performance right out
       white bead front sight for instant target acquisition.                                  of the box for increased accuracy on the range or in the field.
       Rugged, Green Mountain laminate stock is dimensionally stable in                        Hinged solid-steel floorplate for easy unloading without having to chamber
       environmental extremes, and features a soft rubber buttpad with buttpad                 each cartridge. Features an engraved Ruger logo and latch that is flush
       spacers that allow the rifle to be properly sized for different shooters                with the trigger guard to avoid accidental dumping of cartridges.
       or varying levels of outerwear (three, 1/2'' spacers included).
                                                                                               Three-position safety is easily accessible and allows the shooter to
       Wrap-around checkering provides a sure grip in any weather.
                                                                                               lock the bolt or to load and unload the rifle with the safety engaged.
       The Ruger® Muzzle Brake System includes a removable, radial-port
                                                                                               Cold hammer-forged barrel results in ultra-precise rifling that provides
       muzzle brake that significantly reduces felt recoil. For times when the
                                                                                               exceptional accuracy and longevity.
       brake is not preferred, it may be replaced with the included dynamically-
       matched muzzle weight. Switching between the brake and the weight will                  Integral scope mounts, machined directly on the solid-steel receiver,
       not change the bullet’s point of impact for a particular load. The included             provide a stable mounting surface for included scope rings, eliminating
       thread protector may be used if neither the brake nor the weight is desired.            a potential source of looseness and inaccuracy in the field.
       Non-rotating, Mauser-type controlled round feed extractor is among                      Rugged, one-piece, stainless steel bolt.
       the most positive case extraction systems ever invented, and features
       a fixed blade-type ejector that positively ejects the empty cases as                    Also includes: barrel band mounted swivel stud;
       the bolt is moved fully rearward.                                                       optional forend swivel stud.



                                                                                                                                Ruger® Guide Gun in .375 Ruger
                                                                                                                                (Model 47125)


                                                                                               338
                                                                                               WIN                    30-06
                                                                                                                      SPRG
                                                                                                                                                375                   416
                                                                                               MAG                                              RUGER                 RUGER

                         COMPARE
      Model             Caliber       Capacity    Material/          Stock            Sights               Barrel    Overall         Weight     Length      Twist      Suggested
      Number                                      Finish                                                   Length    Length                     of Pull                Retail
      47117             338 Win Mag   3           Stainless Steel/   Green Mountain   Bead Front,          20''      41''- 42.50''   8 lbs.     12.75''-    1:10''     $1,279.00
                                                  Hawkeye Matte      Laminate         Adjustable Rear                                           14.25''
      47118             30-06 Sprg    4           Stainless Steel/   Green Mountain   Bead Front,          20''      41''- 42.50''   8.1 lbs.   12.75''-    1:10''     $1,279.00
                                                  Hawkeye Matte      Laminate         Adjustable Rear                                           14.25''
      47124             375 Ruger     3           Stainless Steel/   Green Mountain   Bead Front,          20''      41''- 42.50''   8.1 lbs.   12.75''-    1:12''     $1,279.00
      LH                                          Hawkeye Matte      Laminate         Adjustable Rear                                           14.25''
      47125             375 Ruger     3           Stainless Steel/   Green Mountain   Bead Front,          20''      41''- 42.50''   8.1 lbs.   12.75''-    1:12''     $1,279.00
                                                  Hawkeye Matte      Laminate         Adjustable Rear                                           14.25''
      47130             416 Ruger     3           Stainless Steel/   Green Mountain   Bead Front,          20''      41''- 42.50''   8.1 lbs.   12.75''-    1:14''     $1,279.00
                                                  Hawkeye Matte      Laminate         Adjustable Rear                                           14.25''




                                                                                                        Integral Scope Mounts




               Ruger Logo Engraving              “Express-Style” Windage-Adjustable Rear          Ruger® Muzzle Brake System                       Buttpad Spacers Allow for
                                                  Sight and Large White Bead Front Sight                                                           Adjustable Length of Pull


  LH: Left-Handed.

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      77-SERIES RIFLES                                                                                                                             77-SERIES RIFLES


      In 1983, Ruger responded to the many shooters who desired a high-quality, adult-size .22 LR
      rimfire rifle – one that was built to centerfire standards of strength, accuracy and aesthetics.
      Focused on building a rifle that was accurate, economical and extremely handsome, Bill Ruger
      launched the rotary magazine fed 77-Series of bolt-action rifles.                                                                                                                           44
                                                                                                                                 17          17                    22           357               REM
                                                                                                                                HORNET       WSM                 HORNET         MAG               MAG


                                                                                                                                 FIVE CALIBERS                                 NINE MODELS

                                                                                                                                                                                 ®
                                                                                                                              RUGER      ®
                                                                                                                                               RUGER         ®
                                                                                                                                                                            RUGER            RUGER          ®
                                                                                                                              77/17            77/22                        77/357   ™
                                                                                                                                                                                             77/44




                                                                                                                                                  Ruger 77/17® in .17 WSM
                                                                                                                                                  with Green Mountain
                                                                                                                                                  Laminate Stock and
                                                                                                                                                  Stainless Finish
                                                                                                                                                  (Model 7219)




                                                                                                                                                                                         Ruger 77/22® in .22 Hornet
                                                                                                                                                                                         with American Walnut Stock
                                                                                                                                                                                         and Blued Finish
                                                                                                                                                                                         (Model 7225)



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                                                                                                                        Case 1:22-cv-00951-RGA Document 37-1 Filed 01/31/23 Page 122 of 174 PageID #: 800

               7 7 -S E R IES
  FEATURES                                                                                                                                                                               RUGER 77/22®
       Features a rugged, stainless steel bolt with 90˚ bolt throw and rapid lock                 Integral scope mounts, machined directly on the solid-steel receiver,
       time for added accuracy.                                                                   provide a stable mounting surface for included scope rings, eliminating
                                                                                                  a potential source of looseness and inaccuracy in the field.
       Detachable rotary magazine features a unique rotor to separate
       cartridges and provide reliable feeding. Mounts flush with the stock                       Three-position safety is easily accessible and allows the shooter to
       to eliminate protrusions at the rifle’s balance point.                                     lock the bolt to load and unload the rifle with the safety engaged.                                         Model 7226 Shown                                                                   Matte Stainless or Blued Finish                  American Walnut or
                                                                                                                                                                                                                                                                                                                                            Green Mountain Laminate Stock
       Threaded, cold hammer-forged barrel results in ultra-precise rifling                       Also includes: sling swivel studs.                                                                                               COMPARE

       that provides exceptional accuracy and longevity.                                                                                                                                 Model    Caliber          Capacity      Material/           Stock        Sights        Barrel           Overall         Weight       Length      Twist     Thread        Suggested
                                                                                                                                                                                         Number                                  Finish                                         Length           Length                       of Pull               Pattern       Retail
                                                                                                                                                                                         7225     22 Hornet        6             Alloy Steel/        American     None          20''             39.25''         6.5 lbs.     13.50''     1:14''    1/2''-28      $999.00
                                                                                                                                                                                                                                 Blued               Walnut

                                                              17                          17                        22                             357                        44         7226     22 Hornet        6             Stainless Steel/
                                                                                                                                                                                                                                 Matte Stainless
                                                                                                                                                                                                                                                     Green
                                                                                                                                                                                                                                                     Mountain
                                                                                                                                                                                                                                                                  None          18.50''          37.75''         7 lbs.       13.50''     1:14''    1/2''-28      $1,069.00
                                                                                                                                                                             REM
                                                             HORNET                       WSM                     HORNET                           MAG                       MAG
                                                                                                                                                                                                                                                     Laminate




                                                                                                                                                                                         RUGER® 77/357™




                                                                                                                                                                                                                                                                                                                                    Gold Bead Front and Adjustable Rear Sights

                                                                                                                                                                                         Model    Caliber          Capacity      Material/            Stock       Sights        Barrel            Overall         Weight      Length      Twist     Thread        Suggested
                                                                                                                                                                                         Number                                  Finish                                         Length            Length                      of Pull               Pattern       Retail
                                                                                                                                                                                         7419     357 Mag          5             Stainless Steel/     Black       Gold Bead     18.50''           38.50''         5.5 lbs.    13.50''     1:16''    1/2''-28      $999.00
                                                                                                                                                                                                                                 Brushed Stainless    Synthetic   Front,
                                                                                                                                                                                                                                                                  Adjustable
                                                                                                                                                                                                                                                                  Rear



                                                                                                                                                                                         RUGER 77/44® with American Walnut Stock


        Stainless Steel Bolt with 90˚ Throw                  Three-Position Safety                    Detachable Rotary Magazine                          Integral Scope Mounts




                                                                                                                                                                                                                                                                                                                                        Bead Front and Adjustable Rear Sights
  RUGER 77/17 ®
                                                                                                                                                                                         Model    Caliber          Capacity      Material/            Stock       Sights        Barrel            Overall         Weight      Length      Twist     Thread        Suggested
                                                                                                                                                                                         Number                                  Finish                                         Length            Length                      of Pull               Pattern       Retail
                                                                                                                                                                                         7416     44 Rem Mag       4             Alloy Steel/         American    Bead Front,   18.50''           38.50''         5.2 lbs.    13.50''     1:20''    11/16''-24    $999.00
                                                                                                                                                                                                                                 Blued                Walnut      Adjustable
                                                                                                                                                                                                                                                                  Rear


                                Model 7222 Shown
                                                                                                                                                                                         RUGER 77/44® with Black Synthetic Stock
                                                                                                             Matte Stainless or Blued Finish                   American Walnut or
                                                                                                                                                         Green Mountain Laminate Stock
                   COMPARE
      Model      Caliber           Capacity   Material/             Stock        Sights        Barrel         Overall         Weight           Length    Twist   Thread     Suggested
      Number                                  Finish                                           Length         Length                           of Pull           Pattern    Retail
      7220       17 Hornet         6          Stainless Steel/      Green        None          18.50''        37.75''         7 lbs.           13.50''   1:9''   1/2''-28   $1,069.00
                                              Matte Stainless       Mountain
                                                                    Laminate
      7222       17 WSM            6          Alloy Steel/          American     None          20''           39.25''         5.7 lbs.         13.50''   1:9''   1/2''-28   $999.00                             Model 7417 Shown
                                              Blued                 Walnut
                                                                                                                                                                                                                                                                                          Bead Front and Adjustable Rear Sights           Brushed Stainless or Blued Finish
      7219       17 WSM            6          Stainless Steel/      Green        None          18.50''        37.75''         7 lbs.           13.50''   1:9''   1/2''-28   $1,069.00                                               COMPARE
                                              Matte Stainless       Mountain                                                                                                             Model    Caliber          Capacity      Material/            Stock       Sights        Barrel            Overall         Weight      Length      Twist     Thread        Suggested
                                                                    Laminate                                                                                                             Number                                  Finish                                         Length            Length                      of Pull               Pattern       Retail
                                                                                                                                                                                         7417     44 Rem Mag       4             Stainless Steel/     Black       Bead Front,   18.50''           38.50''         5.2 lbs.    13.50''     1:20''    11/16''-24    $999.00
                                                                                                                                                                                                                                 Brushed Stainless    Synthetic   Adjustable
                                                                                                                                                                                                                                                                  Rear
                                                                                                                                                                                         7418     44 Rem Mag       4             Alloy Steel/         Black       Bead Front,   18.50''           38.50''         5.2 lbs.    13.50''     1:20''    11/16''-24    $899.00
                                                                                                                                                                                                                                 Blued                Synthetic   Adjustable
                                                                                                                                                                                                                                                                  Rear

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         No.1                                                                                                                                                                                                                                N o.1 R I F L E


         When you only have one shot, make it count. When you think of single-shot rifles, think of
         the best – think Ruger No.1. The No.1 rifle is made for virtually every sporting activity.
                                                 ®




                                                                                                                                                                                                                                                        450
                                                                                                                                                                                                                                                        BUSH-
                                                                                                                                                                                                                                                        MASTER




                                                                                                                                                                                              CLASSIC SINGLE-SHOT




                                                                                                                                                                                                                             No.1 with Black Laminate Stock
                                                                                                                                                                                                                             in .450 Bushmaster
                                                                                                                                                                                                                             (Model 21304)




      Model    Caliber      Capacity   Material/          Stock      Sights   Barrel          Barrel   Overall   Weight     Length    Thread       Twist    Suggested   FEATURES
      Number                           Finish                                 Feature         Length   Length               of Pull   Pattern               Retail
      21304    450          1          Stainless Steel/   Black      None     Ruger® Hybrid   20''     36.50''   7.5 lbs.   13.50''   11/16''-24   1:10''   $1,899.00    Sliding tang safety provides instant security, visibility and accessibility.            Integral scope mounts, machined directly on the solid steel quarter rib,
               Bushmaster              Satin Stainless    Laminate            Muzzle Brake                                                                                                                                                                       provide a stable mounting surface for included scope rings.
                                                                                                                                                                         Strong, simple, compact falling block breech mechanism with
                                                                                                                                                                         artillery-style breechblock and under-lever is ideally suited for                       Cold hammer-forged barrel results in ultra-precise rifling that
                                                                                                                                                                         powerful cartridges.                                                                    provides exceptional accuracy and longevity.
                                                                                                                                                                         Robust, sturdy, sculptured receiver forms a rigid support for barrel,                   Also Includes: sporting style buttpad; sling swivel studs.
                                                                                                                                                                         stock and sliding breech block.
                                                                                                                                                                         Ejector mechanism provides maximum leverage at the point
                                                                                                                                                                         where the ejector engages the cartridge case and can be adjusted
                                                                                                                                                                         to provide extraction only.




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               R U G E R R IFL E MA GA ZIN ES
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      1-Round, 22 LR Magazine              •                                                                                    •                                            •                                                           90344   $21.95    3-Round, AI-Style Magazine                                                                                                                                                                                                        90560   $39.95
                                                                                                                                                                                                                                                           (308 Win/6.5 Creedmoor/                                                                                                                             •                                               •
      5-Round, 22 LR Magazine              •                                                                                    •                                            •                                                           90041   $21.95    243 Win)
      10-Round, 22 LR Magazine             •                                                                                    •                                            •                                                           90005   $21.95    5-Round, AI-Style                                                                                                                                                                                                                 90561   $39.95
      10-Round,                                                                                                                                                                                                                          90451   $47.95    Magazine (308 Win/                                                                                    •                                             •                                               •
                                           •                                                                                    •                                            •                                                                             6.5 Creedmoor/243 Win)
      22 LR Magazine (3-Pack)
      10-Round,                                                                                                                                                                                                                          90223   $24.95    10-Round, AI-Style Magazine                                                                                                                                                                                                       90562   $39.95
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      22 LR Magazine (Clear)                                                                                                                                                                                                                               (5.56 NATO/223 Rem)
      15-Round, 22 LR Magazine             •                                                                                    •                                            •                                                           90463   $28.95    10-Round, AI-Style                                                                                                                                                                                                                90563   $39.95
                                                                                                                                                                                                                                                           Magazine (308 Win/                                                                                    •                                             •                                               •
      25-Round, 22 LR Magazine             •                                                                                    •                                            •                                                           90361   $33.95    6.5 Creedmoor/243 Win)
      25-Round,                                                                                                                                                                                                                          90548   $51.95    5-Round,                                                                                                                                                                                                                          90694   $17.95
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      22 LR Magazine (2-Pack)                                                                                                                                                                                                                              350 Legend Magazine
      25-Round, 22 LR Magazine                                                                                                                                                                                                           90591   $39.95    10-Round,                                                                                                                                                                                                                         90695   $17.95
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      (Clear-Sided)                                                                                                                                                                                                                                        350 Legend Magazine
      2x25-Round,                                                                                                                                                                                                                        90398   $58.95    5-Round,                                                                                                                                                                                                                          90146   $63.95
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      22 LR Magazine                                                                                                                                                                                                                                       350 Legend Magazine
      9-Round,                                                                                                                                                                                                                           90076   $24.95    9-Round,                                                                                                                                                                                                                          90147   $69.95
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      22 WMR /17 HMR Magazine                                                                                                                                                                                                                              350 Legend Magazine
      15-Round,                                                                                                                                                                                                                          90585   $29.95    5-Round,                                                                                                                                                                                                                          90683   $ 84.95
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      22 WMR/17 HMR Magazine                                                                                                                                                                                                                               338 Lapua Magazine
      4-Round, Short-Action Magazine                                                                                                                                                                                                     90573   $39.95    17-Round, SR9 ®
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             90326   $44.95
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      (22-250 Rem)                                                                                                                                                                                                                                         9mm Luger Magazine
      4-Round, Short-Action Magazine                                                                                                                                                                                                     90689   $39.95    17-Round, Security-9 ®                                                                                                                                                                                                            90675   $39.95
      (243 Win/308 Win/7mm-08 Rem/                                                                                                                            •                                                                                                                                                 •
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      6.5 Creedmoor)
                                                                                                                                                                                                                                                           17-Round, SR9 ® 9mm Luger                                                                                                                                                                                                         90449   $57.95
      5-Round, Short-Action Magazine                                                                                                                                                                                                     90440   $39.95                                                         •
                                                                                                                                                                                                                                                           Magazine (2-Pack)
      (223 Rem/5.56 NATO/                                                                                                                                     •
      204 Ruger/300 BLK)                                                                                                                                                                                                                                   10-Round, SR9 ®                                                                                                                                                                                                                   90325   $44.95
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      5-Round, 223 Rem Magazine                                                     •                                                                                                                                                    90009   $29.95
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      10-Round,                                                                                                                                                                                                                          90339   $39.95                                                         •
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      223 Rem Magazine
                                                                                                                                                                                                                                                           17-Round, Ruger American ® Pistol                                                                                                                                                                                                 90510   $39.95
      20-Round,                                                                                                                                                                                                                          90010   $39.95    9mm Luger Magazine                                   •
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      223 Rem Magazine                                                                                                                                                                                                                                     (Nickel-Teflon)
      30-Round,                                                                                                                                                                                                                          90035   $49.95    10-Round, Security-9 ®                                                                                                                                                                                                            90638   $39.95
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      223 Rem Magazine                                                                                                                                                                                                                                     9mm Luger Magazine
      5-Round,                                                                                                                                                                                                                           90428   $ 24.95   10-Round, Ruger American ®                                                                                                                                                                                                        90514   $39.95
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      5.56 NATO/223 Rem Magazine                                                                                                                                                                                                                           Pistol 9mm Luger Magazine                            •
      10-Round,                                                                                                                                                                                                                          90384   $ 19.95   (Nickel-Teflon)
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      5.56 NATO/223 Rem Magazine                                                                                                                                                                                                                           10-Round, Ruger American®                                                                                                                                                                                                         90617   $39.95
      10-Round,                                                                                                                                                                                                                          90458   $ 74.95   Pistol 9mm Luger Compact                             •
                                                                                                                                                                                                              •                                            Magazine
      5.56 NATO/223 Rem Magazine
      30-Round, 5.56 NATO/                                                                                                                                                                                                               90420   $ 19.95   10-Round, SR9c ®                                                                                                                                                                                                                  90369   $44.95
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      223 Rem Magazine                                                                                                                                                                                                                                     9mm Luger Compact Magazine

      10-Round, AI-Style Magazine                                                                                                                                                                                                        90562   $39.95    10-Round, Security-9 ® Compact                                                                                                                                                                                                    90667   $39.95
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      (5.56 NATO)                                                                                                                                                                                                                                          9mm Luger Magazine

      4-Round, Long-Action Magazine                                                                                                                                                                                                      90435   $39.95    10-Round, Security-9 ® Compact                                                                                                                                                                                                    90686   $55.95
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      (270 Win/30-06 Sprg)                                                                                                                                                                                                                                 9mm Luger Magazine (2-Pack)

      3-Round, Magnum Magazine                                                                                                                                                                                                           90549   $49.95    12-Round, Ruger American ®                                                                                                                                                                                                        90618   $39.95
                                                                                                                                                              •                                                                                            Pistol 9mm Luger Compact                             •
      (7mm Rem Mag /300 Win Mag)
                                                                                                                                                                                                                                                           Magazine
      5-Round, 300 BLK Magazine                                                     •                                                                                                                                                    90583   $ 29.95
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      10-Round,                                                                                                                                                                                                                          90584   $ 39.95   9mm Luger Magazine
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      300 BLK Magazine                                                                                                                                                                                                                                                            ®
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      20-Round,                                                                                                                                                                                                                          90484   $39.95    9mm Luger Magazine
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      300 BLK Magazine
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      5-Round,                                                                                                                                                                                                                           90682   $ 84.95   9mm Luger Magazine (2-Pack)
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      300 Win Mag Magazine
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      5-Round, 7.62x39 Magazine                                                                •                                                              •                                                                          90012   $29.95    40 S&W Compact Magazine
      10-Round, 7.62x39 Magazine                                                               •                                                              •                                                                          90485   $39.95    10-Round, SR40 ®                                                                                                                                                                                                                  90351   $44.95
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                                                                                                                                                                                                                                                           40 S&W Magazine
      20-Round,                                                                                                                                                                                                                          90338   $39.95
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      7.62x39 Magazine                                                                                                                                                                                                                                                                                          •
                                                                                                                                                                                                                                                           40 S&W Magazine
      5-Round, 308 Win/4-Round                                                                                                                                                                                                           90352   $69.95
                                                                                                             •                                                                                                •                                            5-Round, 6.8mm Magazine                                                      •                                                                                                                                                    90332   $29.95
      450 Bushmaster Magazine
      5-Round, 308 Win Magazine                                                                                                                                                                               •                          90354   $39.95    3-Round,                                                                                                                                                                                                                          90633   $39.95
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                                                                                                                                                                                                                                                           450 Bushmaster Magazine
      10-Round,                                                                                                                                                                                                                          90353   $74.95
                                                                                                             •                                                                                                •                                            5-Round, MSR Magazine                                                                                                                                                                                                             90679   $42.95
      308 Win Magazine                                                                                                                                                                                                                                                                                                        •
                                                                                                                                                                                                                                                           (.450 Bushmaster)
      20-Round, 308 Win/7.62 x 51/                                                                                                                                                                                                       90448   $19.95
                                                                                                             •                                                                                                                                             5-Round, AI-Style Magazine                                                                                                                                                                                                        90145   $39.95
      6.5 Creedmoor Magazine                                                                                                                                                                                                                                                                                                                                                                                                                                                    •
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      22 LR Magazine                                                                                                                                                                                                                  9mm Luger Magazine                      •
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      5-Round,                                                                                                                                                                                                       90041   $21.95
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      22 LR Magazine                                                                                                                                                                                                                  10-Round,                                                                                                                                                                                                       90638   $39.95
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      10-Round,                                                                                                                                                                                                      90005   $21.95
                                                                                                                                                                                                        •                             10-Round,                                                                                                                                                                                                       90685   $55.95
      22 LR Magazine
                                                                                                                                                                                                                                      9mm Luger Magazine          •
      10-Round,                                                                                                                                                                                                      90451   $47.95   (2-Pack)
      22 LR Magazine                                                                                                                                                                                    •
      (3-Pack)                                                                                                                                                                                                                        17-Round,                                                                                                                                                                                                       90675   $39.95
                                                                                                                                                                                                                                                                  •
                                                                                                                                                                                                                                      9mm Luger Magazine
      10-Round,                                                                                                                                                                                                      90223   $24.95
                                                                                                                                                                                                        •                             10-Round, Security-9 ®                                                                                                                                                                                          90686   $55.95
      22 LR Magazine (Clear)
                                                                                                                                                                                                                                      Compact 9mm Luger           •
      10-Round,                                                                                                                                                                                                      90599   $29.95   Magazine
                                                                                                                                                                                          •
      22 LR Magazine
                                                                                                                                                                                                                                      10-Round, 9mm Luger                                                                                                                                                                                             90666   $39.95
      10-Round,                                                                                                                                                                                                      90231   $29.95   Magazine (Competition                                               •
                                                                                                                                                                             •
      22 LR Magazine                                                                                                                                                                                                                  Model Only)
      10-Round,                                                                                                                                                                                                      90645   $41.95   12-Round, 9mm Luger                                                                                                                                                                                             90618   $39.95
      22 LR Magazine                                                                                                                                                         •                                                        Magazine with
      (2-Pack)                                                                                                                                                                                                                                                                              •
                                                                                                                                                                                                                                      Extended Floorplate
      10-Round,                                                                                                                                                                                                      90646   $41.95   (Nickel-Teflon®)
      22 LR Magazine                                                                                                                                                                      •                                           15-Round,                                                                                                                                                                                                       90637   $39.95
      (2-Pack)                                                                                                                                                                                                                                                    •
                                                                                                                                                                                                                                      9mm Luger Magazine
      10-Round,                                                                                                                                                                                                      90382   $34.95   15-Round,                                                                                                                                                                                                       90684   $55.95
      22 LR Magazine                                                                                                                                                                                                                  9mm Luger Magazine          •
                                                                                                                                                                    •
      with Extended                                                                                                                                                                                                                   (2-Pack)
      Floorplate
                                                                                                                                                                                                                                      15-Round,                                                                                                                                                                                                       90681   $44.95
      10-Round,                                                                                                                                                                                                      90647   $48.95   9mm Luger Magazine          •
      22 LR Magazine with                                                                                                                                                                                                             & Adapter
                                                                                                                                                                    •
      Extended Floorplate
      (2-Pack)                                                                                                                                                                                                                        17-Round,                                                                                                                                                                                                       90510   $39.95
                                                                                                                                                                                                                                      9mm Luger Magazine                      •
      10-Round,                                                                                                                                                                                                      90696   $34.95   (Nickel-Teflon ®)
                                                                                                                                                          •
      22 LR Magazine
                                                                                                                                                                                                                                      10-Round,                                                                                                                                                                                                       90701   $49.95
      10-Round,                                                                                                                                                                                                      90697   $48.95                                                                                                                  •
                                                                                                                                                                                                                                      5.7x28mm Magazine
      22 LR Magazine                                                                                                                                      •
      (2-Pack)                                                                                                                                                                                                                        10-Round,                                                                                                                                                                                                       90712   $69.95
                                                                                                                                                                                                                                      5.7x28mm Magazine                                                                                              •
      15-Round,                                                                                                                                                                                                      90463   $28.95   (2-Pack)
                                                                                                                                                                                                        •
      22 LR Magazine
                                                                                                                                                                                                                                      20-Round,                                                                                                                                                                                                       90700   $49.95
      25-Round,                                                                                                                                                                                                      90361   $33.95                                                                                                                  •
                                                                                                                                                                                                        •                             5.7x28mm Magazine
      22 LR Magazine
                                                                                                                                                                                                                                      20-Round,                                                                                                                                                                                                       90711   $69.95
      25-Round,                                                                                                                                                                                                      90548   $51.95   5.7x28mm Magazine                                                                                              •
      22 LR Magazine                                                                                                                                                                                    •                             (2-Pack)
      (2-Pack)
                                                                                                                                                                                                                                      8-Round,                                                                                                                                                                                                        90639   $39.95
      25-Round,                                                                                                                                                                                                      90591   $39.95                                                                       •
                                                                                                                                                                                                                                      10mm Auto Magazine
      22 LR Magazine                                                                                                                                                                                    •
      (Clear-Sided )                                                                                                                                                                                                                  6-Round,                                                                                                                                                                                                        90621   $34.95
                                                                                                                                                                                                                                      380 Auto Magazine
      2x25-Round,                                                                                                                                                                                                    90398   $58.95                                                                                                                                                   •       •
                                                                                                                                                                                                        •                             with Extended
      22 LR Magazine                                                                                                                                                                                                                  Floorplate
      5-Round,                                                                                                                                                                                                       90428   $24.95   6-Round,                                                                                                                                                                                                        90644   $48.95
      5.56 NATO/223 Rem                                                                                •                                                                                                                              380 Auto Magazine
      Magazine                                                                                                                                                                                                                                                                                                                                                                        •       •
                                                                                                                                                                                                                                      with Extended Floorplate
      10-Round,                                                                                                                                                                                                      90384   $19.95   (2-Pack)
      5.56 NATO/223 Rem                                                                                •                                                                                                                              6-Round,                                                                                                                                                                                                        90333   $34.95
      Magazine                                                                                                                                                                                                                        380 Auto Magazine
                                                                                                                                                                                                                                                                                                                                                                                      •       •
      30-Round,                                                                                                                                                                                                      90420   $19.95   with Extended
      5.56 NATO/223 Rem                                                                                •                                                                                                                              Floorplate
      Magazine                                                                                                                                                                                                                        6-Round, 380 Auto                                                                                                                                                                                               90643   $48.95
      5-Round,                                                                                                                                                                                                       90694   $17.95   Magazine with Extended                                                                                                                          •       •
                                                                                                       •                                                                                                                              Floorplate (2-Pack)
      350 Legend Magazine
      10-Round,                                                                                                                                                                                                      90695   $17.95   7-Round, 380 Auto                                                                                                                                                                                               90405   $39.95
                                                                                                       •                                                                                                                                                                                                                                                                              •
      350 Legend Magazine                                                                                                                                                                                                             Extended Magazine

      7-Round,                                                                                                                                                                                                       90652   $39.95   7-Round, 380 Auto                                                                                                                                                                                               90626   $39.95
                                                                                          •                                                                                                                                           Extended Magazine                                                                                                                                       •
      9mm Luger Magazine
      7-Round,                                                                                                                                                                                                       90363   $39.95   7-Round, 380 Auto                                                                                                                                                                                               90416   $39.95
      9mm Luger Magazine                                                                                                                                                                                                              Magazine with                                                                                                                      •
                                                                                                                                 •                                                                                                    Extended Floorplate
      with Extended
      Floorplate
                                                                                                                                                                                                                                      7-Round,                                                                                                                                                                                                        90366   $29.95
                                                                                                                                                                                                                                                                                                          •
      7-Round,                                                                                                                                                                                                       90642   $55.95   45 Auto Magazine
      9mm Luger Magazine
                                                                                                                                 •                                                                                                    7-Round, 45 Auto                                                                                                                                                                                                90664   $29.95
      with Extended Floorplate
      (2-Pack)                                                                                                                                                                                                                        Magazine (Officer                                                   •
                                                                                                                                                                                                                                      Model Only)
      9-Round, 9mm Luger                                                                                                                                                                                             90404   $44.95
                                                                                                                                 •                                                                                                    7-Round, 45 Auto                                                                                                                                                                                                90636   $39.95
      Extended Magazine
                                                                                                                                                                                                                                      Magazine with
                                                                                                                                                                                                                                                                                            •
      9-Round,                                                                                                                                                                                                       90600   $39.95   Extended Floorplate
                                                                           •                                                                                                                                                          (Nickel-Teflon)
      9mm Luger Magazine
      10-Round,                                                                                                                                                                                                      90667   $39.95   8-Round,                                                                                                                                                                                                        90365   $39.95
                                  •                                                                                                                                                                                                                                                                       •
      9mm Luger Magazine                                                                                                                                                                                                              45 Auto Magazine
      10-Round, 9mm Luger                                                                                                                                                                                            90617   $39.95   10-Round,                                                                                                                                                                                                       90512   $39.95
      Magazine with                                                                                                                                                                                                                   45 Auto Magazine                        •
                                                           •                                                                                                                                                                          (Nickel-Teflon®)
      Extended Floorplate
      (Nickel-Teflon®)

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             R U G E R L E GA L INF OR MATI ON
  9mm RUGER AMERICAN® PISTOL PRODUCT SAFETY BULLETIN: Ruger has discovered that some Ruger American® Pistols chambered in 9mm may                                                                                                   LCP® RECALL NOTICE: In 2008, Ruger received a small number of reports from the field indicating that LCP® pistols could discharge when
  exhibit premature wear of the locking surfaces between the slide and barrel which, if ignored, can result in a crack developing near the ejection port of the slide. This typically                                               dropped onto a hard surface with a round in the chamber. We are firmly committed to safety and would like to retrofit all affected LCP® pistols. The retrofit
  does not occur at round counts below 10,000 rounds. The condition is easily identified during routine maintenance and cleaning and the crack should be visible long before the pistol becomes unsafe to                           involves installation of an upgraded hammer mechanism at no charge to the customer.
  shoot. Ruger is committed to safety and is asking owners of Ruger American® Pistols chambered in 9mm to inspect their pistols for excessive wear or cracks and, if necessary, sign up for this retrofit.
  Details about what to look for and how to sign up for the retrofit appear below and on our website at Ruger.com/APRetrofit.                                                                                                          We want to remind gun users that, for maximum safety when carrying any pistol with a loaded magazine in
                                                                                                                                                                                                                                       place, the chamber should be empty, and the slide should be closed. Any gun may fire if dropped or struck.
  Ruger American® Pistols chambered in .45 Auto are NOT subject to this Safety Bulletin. Similarly, other Ruger® pistols chambered in 9mm (for example, SR9®, LC9s®, etc.)
  are NOT subject to this Safety Bulletin.                                                                                                                                                                                          How to determine if your pistol needs the retrofit: Any LCP® pistol bearing prefix “370” (that is, serial number 370-xxxxx) may be affected.
                                                                                                                                                                                                                                    Retrofitted “370” prefix LCP® pistols with the new hammer mechanism installed have been marked with a diamond in the flat portion of the slot just behind
  Products Subject to This Safety Bulletin: Ruger American® Pistols chambered in 9mm with serial number prefixes “860” and                                                                     9mm LUGER         SILVER             and below the hammer, as shown to the right. If your pistol has the diamond*, it does not need the retrofit. Any LCP® marked with the serial number prefix “371” (serial number 371-xxxxx) or higher is not
  “862” are subject to this Safety Bulletin. These include duty (full-sized) and compact models, in both Manual Safety and Pro (no manual                                                                       BARREL              affected. When we return your pistol, we also will send you a FREE magazine with the new finger grip extension as a “thank you” for your patience and cooperation. Visit RUGER.COM/LCPRECALL for
  safety) configurations. One easy way to tell if your pistol is subject to this Safety Bulletin is by looking at the barrel. If your 9mm Ruger                                                                                     more information.
  American® Pistol is equipped with a silver-colored, stainless steel barrel, you should follow the inspection procedure outlined below.
  Retrofitted and newly manufactured Ruger American® Pistols will be equipped with a black, nitrided stainless steel barrel.                                                                                                        SR9® RECALL NOTICE: We have determined that some Ruger® SR9® pistols manufactured between October 2007
                                                                                                                                                                                                                                    and April 2008 can, under certain conditions, fire if dropped with their manual safeties in the “off” or “fire” position. The pistols
  Description of the Issue: In some instances (typically at round counts in excess of 10,000 rounds), the locking surfaces between                         “860” OR “862”                                                           will not fire if the manual safety is in the “on” or “safe” position.
  the slide and barrel can experience excessive wear. If ignored, this condition will worsen and can result in a crack developing near the                  SERIAL PREFIX
  ejection port of the slide. If cracking occurs, it will become visible long before an unsafe condition develops. However, if the crack is                                                                                         We designed a replacement trigger group which prevents firing when dropped and retrofits all affected Ruger® SR9® pistols
  not addressed and the pistol remains in service, the pistol may eventually fail to function or become unsafe to shoot.                                 A. EXCESSIVE                                                               at no charge. This retrofit only applies to SR9® pistols with serial number prefix “330” (330-xxxxx) and these new parts at
                                                                                                                                                            WEAR ON                                                                 NO CHARGE to our customers. When we return your pistol, we also will send you a FREE magazine as a “thank you” for
                                                                                                                                                            SLIDE
  How To Inspect Your Pistol: If your pistol is dirty, clean it thoroughly before performing the inspection. Disassembly and cleaning                                                                                               your patience and cooperation*.
  instructions appear in your instruction manual, which is available online at Ruger.com/Service/ProductHistory. Inspect your pistol,
                                                                                                                                                                                                                                    In order to ensure correct fitting, the new parts must be installed at our Ruger factory in Prescott, Arizona. We will remove the
  paying particular attention to the barrel/slide lockup surfaces and the sidewalls of the slide at the corners of the ejection port. If you                                                                       B. EXCESSIVE
                                                                                                                                                                                                                      WEAR ON       old parts and install the new trigger group promptly, at no charge, and will return the pistol to you. The old parts will not be returned. Visit RUGER.COM/SR9RECALL for more information.
  observe excess wear in the lockup surfaces (A and B) or a crack in the slide (C), you should immediately stop using your pistol and sign                                                                            BARREL
  up for the retrofit. If you are unsure, we recommend that you sign up for the retrofit and allow us to inspect your barrel/slide assembly.                                                                                        For additional product, safety or service information, please visit RUGER.COM
  If you do not observe excess wear in the lockup surface or a crack in the slide, no further action on your part is necessary at this time.
  Nonetheless, you should continue to monitor these areas and, if you suspect that either of these conditions is developing, sign up for the
  retrofit or contact Customer Service. Ruger reminds consumers that periodic inspection of any firearm is important to ensuring its safe                      RIGHT SIDE OF SLIDE UNDER EXTRACTOR
  operation. You should clean and inspect your firearm after each range session. Proper maintenance increases the longevity of your                                                                                                 AN IMPORTANT FREE SAFETY OFFER FROM RUGER:
  firearm and will allow early detection of worn or broken parts.                                                                                                                                                                   Do you own an “old model” (pre-1973) Ruger® Single-Six®, Blackhawk®, Super Blackhawk® or Bearcat® single-action revolver like these?

  How To Sign Up For The Retrofit:                                                                                                                                                                                                                                                              Three frame screws                                                                                      Serial numbers below
                                                                                                                                                                                                                 C. CRACK IN
                                                                                                                                                                                                                    SLIDE
  STEP 1: If you detect or suspect excess wear in the locking surfaces or a crack in the slide, or if you are uncertain, please visit the                                                                                                                                                       identify the “old model”                                                                                93-00000 identify old
  Ruger American® Pistol Retrofit Website at Ruger.com/APRetrofit and sign up to return your barrel/slide assembly to Ruger. You will                                                                                                                                                           Single-Six ®, Blackhawk ®,                                                                              Bearcat ® and Super
  be asked to provide your name, address, and telephone number, an email address, and the serial number of your pistol. You will be                                                                                                                                                             and Super Blackhawk ®                                                                                   Bearcat ® models made
  added to a list to have the inspection and retrofit performed on a first-come, first-served basis.                                                                                                                                                                                            made from 1953 to 1972.                                                                                 from 1958-1972.
  STEP 2: In the next few weeks, you will receive a USPS box with a prepaid shipping label and detailed packaging and shipping instructions. Follow the instructions and return only your barrel/slide assembly.

  STEP 3: We will inspect your barrel/slide assembly and install new components as needed, FREE OF CHARGE. We will make every effort to return your barrel/slide assembly within one week of the day                                Three frame screws identify the “old model” Single-Six®, Blackhawk® and Super Blackhawk® made from 1953 to 1972. Serial numbers below 93-00000 identify old Bearcat® and Super Bearcat®
  we receive it.                                                                                                                                                                                                                    models made from 1958-1972.
                                                                                                                                                                                                                                    The Ruger® Conversion Kit is an entirely new operating system for these revolvers. It can help prevent accidental discharges caused by a drop or blow to the hammer if the
                                                                                                                                                                                                                                    user has failed to take the basic safety precaution of keeping the hammer down on an empty chamber. That’s very important!
  MARK IV™ RECALL NOTICE: We have determined that all Mark IV™ pistols (including 22/45™ models) manufactured prior to June 1, 2017 have the potential to discharge unintentionally if                                              This mechanism can be factory-installed in “old model” revolvers without any further alteration. The frame and other major parts will not be affected by this conversion. The value of the gun will not be
  the safety is not utilized correctly. In particular, if the trigger is pulled while the safety lever is midway between the “safe” and “fire” positions (that is, the safety is not fully engaged or fully disengaged), then the
                                                                                                                                                                                                                                    impaired, and we will return your original parts for collector’s purposes.
  pistol may not fire when the trigger is pulled. However, if the trigger is released and the safety lever is then moved from the mid position to the “fire” position, the pistol may fire at that time. Although only a small
  percentage of pistols appear to be affected and we are not aware of any injuries, Ruger is firmly committed to safety and would like to retrofit all potentially affected pistols with an updated safety mechanism.               To receive a free factory safety conversion, write to us at Sturm, Ruger and Company, Inc.; 411 Sunapee Street Newport, NH 03773 or call 336-949-5200. We will provide you with a shipping container and
  Until your Mark IV™ pistol has been retrofitted or you verify that it is not subject to the recall, we strongly recommend that you not use your pistol.                                                                           instructions. You only pay initial shipping to our factory. We will cover all other charges including return shipping costs. Please write to us without delay if you have one of these guns, and tell your friends about
                                                                                                                                                                                                                                    the availability of this kit. Remember that the safest way to carry any older single-action revolver, regardless of manufacturer, is with the hammer down on an empty chamber.
  How to determine if your pistol needs the retrofit: All Mark IV™ pistols produced prior to June 1, 2017 are potentially affected and
  therefore are being recalled. This includes Mark IV™ Target, Hunter, Competition, 22/45™, 22/45™ Lite and 22/45™ Tactical models.                                                                                                 PLEASE WRITE TO US AT:
  These models bear serial numbers beginning with “401” (2017 models) or “WBR” (2016 models). Mark I, Mark II™ and Mark III™                                                                                                        Ruger / Conversion Department / 411 Sunapee Street / Newport, NH 03773 or call 336-949-5200
  Pistols are NOT affected.                                                                                                                                                                                                         For full details and a FREE shipping box. If your single-action revolver has the words “New Model,” “Bisley” or “Vaquero” on the frame, this offer is not applicable.

  Newly manufactured Mark IV™ pistols will begin with serial number “500.” Thus, if you have a Mark IV™ or 22/45™ pistol with a serial
  number beginning with the number “5,” your pistol is not subject to the recall.                                                                                                                                                   NOTICE: Typographic, photographic and/or descriptive errors are subject to correction. We apologize for any inconvenience. Weights of all Ruger® firearms, and rifles in particular, may vary from the
                                                                                                                                                                                                                                    published weight because of variations in wood density, bore size, barrel length and style. All weights specified in this reference guide are approximate. In some instances, length, width or height dimensions
  Mark IV™ and 22/45™ pistols retrofitted with the updated safety mechanism are easily identified by the letter “S” in the white safety dot                                                                                         may have been rounded or truncated. All ammunition that appears in this reference guide is shown actual size only when noted. Sturm, Ruger & Co., Inc. does not manufacture scopes, optics or lasers.
  that is visible when the safety is engaged.                                                                                                                                                                                       Scopes, optics and lasers are not included with any firearm purchase unless specifically noted.
  Visit the Mark IV™ Recall website at Ruger.com/MarkIVRecall to look up your serial number and verify if it is subject to the recall.                                                                                              All specifications and prices are subject to change without notice. Sturm, Ruger & Co., Inc. reserves the right to change the prices, specifications or availability of its products at any time without notice.
  Please have the unloaded pistol available when you visit the website and obtain the serial number directly from the pistol.                                                                                                       The following are registered trademarks of Sturm, Ruger & Co., Inc.: 9E; 10/22; 10/22 Takedown; AC-556; All-Weather; AR-556; Arms Makers For Responsible Citizens; Bearcat; Blackhawk;
  Next steps (if your pistol is affected):                                                                                                                                                                                          BX-15; BX-25; BX-Trigger; EC9s; Elite 452; Everything You Need and Nothing You Don’t; GP100; Hawkeye; It’s Mine and It’s American; It’s Mine. And It’s American.; LC380; LC9; LC9s; LCP; LCR; LCRx;
                                                                                                                                                                                                                                    M77; Match Champion; Mini-14; Mini Thirty; Old Army; Power Bedding; Redhawk; Ruger; Ruger 22/45 Lite; Ruger 77/17; Ruger 77/22; Ruger 77/44; Ruger American; Ruger American Pistol;
  STEP 1: Follow the instructions at the Mark IV™ Recall Website and sign up for the recall. You will be asked to provide your name,                                                                                                Ruger American Rifle; Ruger American Rimfire; Ruger Custom Shop; Ruger Hunting; Ruger Inside & Out; Ruger Precision; Ruger Precision Rifle; Ruger SP101; Ruger Titanium; Ruger Vaquero;
  address, telephone number, an e-mail address and the serial number of your pistol.                                                                                                                                                Rugged, Reliable Firearms; Security-9; Silent-SR; Single-Nine; Single-Six; Single-Ten; SR1911; SR9; SR9c; SR22; SR-22; SR40; SR40c; SR-556; SR-556 Takedown; SR-762; Super Redhawk Alaskan; Wrangler.

  STEP 2: You will be added to a list to have the retrofit installed on a first-come, first-served basis. In the next few weeks, you will receive                                                                                   Actual colors may vary from those displayed in this reference guide due to variations in print quality, light, wood, metal and other factors. Inspect product before purchase.
  a prepaid USPS box with a shipping label and detailed packaging and shipping instructions. Simply follow the instructions in your instruction                                                                                     The following are trademarks of Sturm, Ruger & Co., Inc.: 10/22-FS; 22 Charger; 22/45; 22/45 RP; 77/357; Bisley; Gold Label; I’m a Ruger American; LC380CA; LC6; LCR-357; Mark II; Mark III;
  manual to separate the barrel/receiver assembly and return the grip frame assembly to us in accordance with the shipping instructions.                                                                                            Mark IV; Model 96; P345; P345D; P345PR; P85; P90; P91; P93; P94; P95; P97; PC Carbine; Ruger 10/17; Ruger 77/50; Ruger Marksman Adjustable; R.I.O.S. (Ruger Inertia Operating System); Security-Six;
                                                                                                                                                                                                                                    Service-Six; Single-Seven; Speed-Six; SR45; SR-556c; SR-556VT; Super Bearcat; Target Grey; This is Ruger. This is America.; Train. Compete. Defend.; Tri-Flex.
  STEP 3: We will install the updated safety mechanism, and return your grip frame assembly to you, all FREE of charge. Individual consumers will receive a FREE magazine (a $29.95 value) as
  a “thank you” for their patience and cooperation. (Customers in states with magazine shipping restrictions will receive a ShopRuger gift certificate in lieu of a magazine.) We will make every effort
  to return your pistol within one week of the day we receive it.

  We recognize that this is an inconvenience so, as a thank you, we will include an extra magazine at no charge to you when we return the pistol.*                                                                                  * For Connecticut residents only, we will send you a ShopRuger.com gift certificate in lieu of the magazine.


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          CO N TA CT INFO R MAT IO N




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                             2020 FIREARMS C ATALOG


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                             Exhibit 7
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